Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 1 of 188. PageID #: 90140




                        EXHIBIT 3
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 2 of 188. PageID #: 90141
                                                                CONFIDENTIAL



EXPERT REPORT

Analysis of Distributor and Manufacturer
Regulatory Compliance to Maintain
Effective Controls for the Prevention of
Diversion of Controlled Substances




Prepared by
James E. Rafalski
37637 Five Mile Road #278
Livonia, MI 48154




                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 3 of 188. PageID #: 90142
                                                                CONFIDENTIAL



                                  Table of Contents
  I.     Qualifications and Experience……………………………………………………….. 4
  II.    Standards………………………………………………………………………….….. 8
         A. Statutory Duty……………………………………………………………………..8
         B. Regulatory Duty………………………………………………………………...…9
         C. MDL2804 Discovery Ruling No. 12………………………………………….…10
         D. ARCOS/DADS……………………………………………………..……………14
         E. DEA Diversion Investigators Manual…………………………………………....15
         F. DEA Distributor Initiative Briefings…………………………………………….16
         G. September 2006 - DEA Guidance Letter ………………………………………..17
         H. June 2007 - Southwood Pharmaceuticals, Inc. Distributor Case ……………..…19
         I. December 2007 – DEA Guidance Letter…………………………………….…..20
         J. DEA Administrative Actions……………………………………………….…....21
         K. Industry Guidelines – Healthcare Distribution Alliance……………………..…..31
         L. DEA Chemical Handler’s Manual…………………………………………...…..36
         M. Maintenance of Effective Controls Against Diversion of Controlled
            Substances………………………………………………………………………..36
  III.   Identifying Suspicious Orders Distributed in CT1…………………………………..40
  IV.    Registrant Suspicious Order Monitoring Systems (SOMs) (Distributors)…………..46
         A. Cardinal Health…………………………………………………………………..47
                   1.Court Ordered SOMS Discovery Disclosure………………………….…47
                   2.SOMS Corporate Policy Disclosed………………………………………48
                   3.Enforcement Actions…………………………………………………….49
                   4.Suspicious Orders Reported in CT1 Jurisdictions……………………….50
                   5.Due Diligence Conducted……………………………………..…………51
                   6.Opinions Related to Cardinal Health………………………….…………54
         B. McKesson Corporation…………………………………………………………..69
                   1.Court Ordered SOMS Discovery Disclosures………….………………..70
                   2.SOMS Corporate Policy Disclosed……………………………….….…..70
                   3.Enforcement Actions…………………………………………...………..72
                   4.Suspicious Orders in CT1 Jurisdictions…………………………….……72
                   5.Due Diligence Conducted………………………………………….…….73
                   6.Opinions Related to McKesson Corporation………………………….…74
         C. AmerisourceBergen Drug Corporation…………………………………………..81
                   1.Court Ordered SOMS Discovery Disclosures………………………...…81
                   2.SOMS Corporate Policy Disclosed……………………………………....81
                   3.Suspicious Orders in CT1 Jurisdictions……………………………….…89
                   4.Due Diligence Conducted………………………………………………..89
                   5.Opinions Related to AmerisourceBergen Drug Corporation……….……91
         D. CVS Health……………………………………………………………...……….94

                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 4 of 188. PageID #: 90143
                                                                CONFIDENTIAL



                   1. Court Ordered SOMS Discovery Disclosure……………………………94
                   2. SOMS Corporate Policy Disclosed……………………………….……..95
                   3.Enforcement Actions………………………………………………..….101
                   4.Suspicious Orders Reported in CT1 Jurisdictions……………………...104
                   5. Opinions Related to CVS………………………………………………105
          E. Walgreens Boots Alliance……………………………………………………....114
                   1. Court Ordered SOMS Disclosure……………………………….……..115
                   2.SOMS Corporate Policy Disclosed……………………………………..115
                   3.Enforcement Actions…………………………………………………...115
                   4. Due Diligence Conducted……………………………………………...117
                   5.Suspicious Orders Reported in CT1 Jurisdictions…………………...…120
                   6.Opinions Related to Walgreens……………………………………...…120
          F. Henry Schein, Inc. (“Henry Schein”) ………………………………………….136
                   1. Court Ordered SOMS Disclosure…………………………………...…136
                   2. SOMS Corporate Policy Disclosed…………………………………….136
                   3. Enforcement Actions…………………………………………………..141
                   4. Suspicious Orders Reported in CT1 Jurisdictions………………….….142
                   5. Due Diligence Conducted……………………………………………...142
                   6. Opinions Related to Henry Schein…………………………………..…142
   V.     Registrant Suspicious Order Monitoring Systems (SOMs) (Manufacturers)………145
          A. Allergan…………………………………………………………………..……..151
          B. Janssen……………………………………………………………..…….……..159
          C. Mallinckrodt…………………………………………………………....……….162
          D. Purdue Pharma……………………………..……………..…………….………167
          E. Endo……………………………………….…………..…………………..……172
          F. Teva……………………………………………………………………...……..178
          G. Insys…………………………………………………………………..………..186


                                    List of Schedules

Schedule I – Facts and Information Considered
Schedule II – Charts/Graphs from Expert Report of Craig McCann
Schedule III – Cardinal Health Suspicious Orders 2013-2018
Schedule IV –Data Related to Distributions by Cardinal Health to Ross Westbank Pharmacy




                                             1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 5 of 188. PageID #: 90144
                                                                CONFIDENTIAL



I.   QUALIFICATIONS AND EXPERIENCE
     Statement of Qualifications

        ● 1999 graduate of Eastern Michigan University with a degree in Public
          Administration.

        ● 26 years of law enforcement experience.

        ● Retired in 2002 as an Executive Lieutenant with the Romulus Police Department.

        ● Drug Enforcement Administration Diversion Investigator assigned to the Detroit
          Divisional Office from September 2004 through retirement in June 2017. Diversion
          Investigators are responsible for several different types of investigations including
          regulatory investigations, state-action related investigations, pre-registration
          application investigations, civil investigations, administrative investigations, and
          criminal investigations.     In 2011 Detroit DEA management restructured the
          responsibilities of the diversion investigators in the Detroit Divisional Office. At
          that time, Mr. Rafalski’s primary responsibility was to conduct administrative,
          civil, and regulatory investigations of DEA registrants.

        ● Successfully completed the following DEA training: Basic Diversion Investigator
          School (2004), Distributor Briefing/Training (2008), Advanced Diversion
          Investigator School (2009), Comprehensive Regulatory Investigation Training
          (2010), Diversion Leadership School (2011), Advanced Diversion Investigator
          School (2015).

        ● Participated as a DEA Instructor in the design and presentation of the following
          training programs: Task Force Officers Training and Orientation, Detroit,
          Michigan (January 2009), Basic Narcotics Training, Macomb Police Academy,
          Clinton Township, Michigan (April 2009), U.P. Prescription Diversion/Asset
          Forfeiture Class, Marquette, Michigan (July 2009 and September 2010), and Basic
          Narcotic Investigator Course, Richmond, Kentucky (May 2010). Prescription Drug
          Diversion, Gaylord, Michigan (2015)

     Awards
       ● Maintained a performance rating of “Outstanding” from 2005 to 2016.

        ● Received DEA performance awards from 2009 to 2015 and in 2017.

        ● Received an award from the Detroit Federal Executive Board in 2013 for exemplary
          public service to the DEA.

        ● DEA Administrator’s Award for the investigation of the Harvard Drug Group.


                                             1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 6 of 188. PageID #: 90145
                                                                CONFIDENTIAL



        ● In June of 2013 and September of 2017 he received recognition from the United
          States Attorney’s Office, Eastern District of Michigan for the Harvard Drug Group
          and Mallinckrodt LLC

     Significant Investigations

        ● 2004 -2008 Investigation of Dr. Leo Ognen
             ○ Criminal opioid investigation related to improper prescriptions.
             ○ Led to the creation of prescribing database utilized in Ohio.
             ○ Conducted interviews with employees of pharma companies.
             ○ Resulted in conviction and incarceration.

        ● 2006 – 2011 Investigation of Dr. Sohrab Shafinia, D.O.
             ○ Criminal opioid investigation of conspiracy to possess controlled
                 substances with intent to distribute.
             ○ Investigation led to the identification and conviction of an organized
                 prescription drug ring.
             ○ Extensive reviews of Michigan Automated Prescribing Records (MAPS)
             ○ Conducted interviews, surveillance, recruiting and utilizing cooperating
                 individuals, as well as undercover activities.
             ○ Investigation led to the identification and conviction of the responsible
                 pharmacist.

        ● 2006 – 2008 Investigation of Dr. Louis Cannella, M.D.
             ○ Criminal opioid investigation related to improper prescriptions.
             ○ Extensive reviews of Michigan prescription monitoring program records.
             ○ Led to the creation of a Wisconsin prescription database.
             ○ Conducted numerous interviews of witnesses and defendants, surveillance,
                 recruiting and using cooperating individuals, as well as other investigative
                 activities.
             ○ Resulted in conviction and incarceration.

        ● 2006 Regulatory Investigation of Walgreen, Perrysburg, Ohio
             ○ Unannounced regulatory investigation related to ensure compliance with
                regulations and record keeping involving controlled substances.
             ○ Conducted an accountability audit, record-keeping review, and security
                investigation.
             ○ Resulted in the issuance of a Letter of Admonition for inadequate SOMS.

        ● 2007 Regulatory Investigation of Lake Erie Medical Supply
             ○ Regulatory investigation related to repackaging, relabeling and distribution
                of controlled substances mainly to physicians and medical offices.
             ○ Recommended a distributor briefing at DEA headquarters in November
                2008 to reiterate regulatory requirements to registrants.

                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 7 of 188. PageID #: 90146
                                                                CONFIDENTIAL



               ○ Attended the November 2008 distributor briefing presented by other
                 Diversion Investigators.

        ● 2010 – 2011 Administrative Investigation of The Harvard Drug Group
             ○ Conducted a review of ARCOS data to identify any unusual patterns of
                 distribution of oxycodone to Florida pain clinics.
             ○ Conducted extensive review of company records and policies, controlled
                 substance order forms, DEA Form 222s, and interviews of employees.
             ○ Conducted review of chargeback system.
             ○ Investigation led to an Order to Show Cause in June of 2010 for among
                 other things, developing work around as to not trigger SOMS.
             ○ Investigation concluded with entry of an Administrative Memorandum of
                 Agreement that remained in effect for three years.

        ● 2010 – 2013 Administrative Investigation of Masters Pharmaceutical
             ○ Met with and interviewed employees and initiated an on-site investigation.
             ○ Served several DEA Administrative subpoenas and obtained 21 customers
                 files to review.
             ○ Reviewed customer files which contained customer due diligence including
                 but not limited to: questionnaires, on-site investigation reports, written
                 notations, utilization reports, ship to memos, SOMS information, and
                 electronic notations.
             ○ Investigation concluded with the issuance of an Order to Show Cause.
             ○ Order to Show Cause resulted in revocation of DEA registration which was
                 affirmed by United States Court of Appeals for the District of Columbia
                 Circuit.

        ● 2010 – 2017 Administrative Investigation of Mallinckrodt L.L.C.
             ○ Administrative investigation begun in response to information related to a
                 chargeback program based on other investigations.
             ○ Reviewed the chargeback discount program and transactional information
                 involved in the program, which included the purchasers name, address, type
                 and strength of drug, and date of transaction.
             ○ The investigated chargeback data contained information that allowed
                 Mallinckrodt to see the geographic distribution of their products, the
                 volume and size of purchases.
             ○ Chargeback data also disclosed some pharmacies and/or practitioners
                 utilizing multiple distributors to purchase the same product in large
                 quantities.
             ○ Through an administrative subpoena requested documents related to
                 suspicious order system and related policies, related compliance policies,
                 chargeback data, customer files, internal and external communications to
                 include emails, written correspondence, and notes.


                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 8 of 188. PageID #: 90147
                                                                CONFIDENTIAL



                         ○ Administrative investigation resulted in an Administrative Memorandum of
                           Agreement that remained in effect for three years.

        As a DEA Diversion Investigator with 13 years of experience (2004-2017), I am uniquely
qualified to offer expert opinions regarding compliance with federal regulations governing the
distribution of controlled substances including oxycodone and hydrocodone. I am familiar with
the DEA Diversion Investigators Manual and received training from the United States Department
of Justice on suspicious order monitoring, data analysis from ARCOS, reporting of suspicious
orders and the due diligence required before shipping an order flagged as suspicious. I directly
participated in the successful prosecution of Masters Pharmaceutical which resulted in a case
opinion from the highest federal court in the country (to date). I led the first action that led to a
memorandum of agreement with a manufacturer for failure to maintain effective controls to
prevent diversion and failing to design and operate an adequate suspicious order monitoring
system.

         Based (a) on my education, training and experience, (b) the law, regulation and practices
in the area of CSA enforcement, and (c) on my review of document and testimony provided in this
case (MDL 2804), I am of the opinion to a reasonable degree of professional certainty that there
was a systematic, prolonged failure over many years by the defendant manufacturers and
distributors to maintain effective controls against diversion of legitimate opioid prescriptions into
the illicit market. 1 I am further of the opinion that this systematic failure was a substantial cause
of the opioid epidemic plaguing the country and specifically in Cuyahoga County and Summit
County. I am prepared to testify regarding the regulatory duties imposed by the CSA and federal
regulations. I have been asked to review the documents produced by the defendants and
depositions taken in MDL2804 and offer opinions regarding statutory and regulatory compliance.

        I offer my opinions herein to a reasonable degree of professional certainty. I believe the
facts stated herein are true and accurate and based on the record provided to me. I understand that
the defendants continue to supplement discovery and have disclosed tens of millions of documents.
I have relied upon the defendant's answers to Combined Discovery Requests (served on July 1,
2018) as a basic outline for evidence of compliance to reach my opinions.

        I am being compensated at the rate of $300.00 per hour for the time I have spent related to
this report. The hourly rate for my time spent testifying is $500.00 per hour. I have not previously
provided expert testimony at trial or deposition. I have not authored any publications or articles.
In addition to the documents and testimony cited within my report, I have also reviewed documents
identified in the attached Schedule I.




1
    I provide all opinions in this report with a reasonable degree of professional certainty.
                                                              1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 9 of 188. PageID #: 90148
                                                                CONFIDENTIAL



           II.      STANDARDS

                    A.       STATUTORY DUTY.

        Each distributor owes a duty to maintain effective control against diversion of prescription
opiates into the illicit market. 21 U.S.C.A. § 823(b)(1) [1970].

         The Controlled Substances Act (“CSA”) and its implementing regulations create
restrictions on the distribution of controlled substances. See 21 U.S.C. §§ 801–971 (2006); 21
C.F.R. §§ 1300–1321 (2009). The main objectives of the CSA are to conquer drug abuse and to
control the legitimate and illegitimate traffic in controlled substances. Congress was particularly
concerned with the need to prevent the diversion of drugs from legitimate to illicit channels. To
effectuate these goals, Congress devised a closed regulatory system making it unlawful to
manufacture, distribute, dispense, or possess any controlled substance except in a manner
authorized by the CSA. The CSA categorizes all controlled substances into five schedules. The
drugs are grouped together based on their accepted medical uses, the potential for abuse, and their
psychological and physical effects on the body. Each schedule is associated with a distinct set of
controls regarding the manufacture, distribution, and use of the substances listed therein. The CSA
and its implementing regulations set forth strict requirements regarding registration, labeling and
packaging, production quotas, drug security, and recordkeeping. 2

        The CSA authorizes the DEA to establish a registration program for manufacturers,
distributors, and dispensers of controlled substances designed to prevent the diversion of legally
produced controlled substances into the illicit market. 3 Any entity that seeks to become involved
in the production or chain of distribution of controlled substances must first register with the DEA. 4

        The CSA provides for control by the Justice Department of problems related to drug abuse
through registration of manufacturers, wholesalers, retailers, and all others in the legitimate
distribution chain, and makes transactions outside the legitimate distribution chain illegal. 5
“Congress was particularly concerned with the diversion of drugs from legitimate channels. It was
aware that registrants, who have the greatest access to controlled substances and therefore the
greatest opportunity for diversion, were responsible for a large part of the illegal drug traffic.” 6

       Distributors of Schedule II drugs—controlled substances with a “high potential for abuse” 7
– must maintain “effective control against diversion of particular controlled substances into other

2
    Gonzales v. Raich, 545 U.S. 1, 12–14 (2005) (internal citations omitted).
3
 H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970); see 21 U.S.C. § 801(2); 21 U.S.C. §§
821-824, 827, 880.
4
    21 U.S.C. § 822; 21 C.F.R. § 1301.11.
5
    1970 U.S.C.C.A.N. 4566, 4569 (emphasis added).
6
    United States v. Moore, 423 U.S. 122, 135 (1975).
7
    21 U.S.C. §§ 812(b), 812(2)(A)-(C)
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 10 of 188. PageID #: 90149
                                                                 CONFIDENTIAL



than legitimate medical, scientific, and industrial channels.” 8 The CSA is designed to improve the
administration and regulation of the manufacturing, distribution, and dispensing of controlled
substances by providing for a “closed” system of drug distribution for legitimate handlers of such
drugs. Such a closed system is intended to reduce the widespread diversion of these drugs out
of legitimate channels into the illicit market, while at the same time providing the legitimate
drug industry with a unified approach to narcotic and dangerous drug control. 9 The CSA seeks,
through appropriate regulation of the manufacture and distribution of drugs, to reduce the
availability of drugs subject to abuse except through legitimate channels of trade and for legitimate
uses. 10

Based on my review of all the relevant documents and testimony taken in this case (MDL 2804) it
is my opinion to a reasonable degree of professional certainty that the multiple distributors
servicing Cuyahoga County and Summit County failed to maintain effective control against
diversion of prescription opiates into other than legitimate medical, scientific, and industrial
channels in violation of 21 U.S.C.A. § 823(b)(1). The bar graphs included as Figures 1 and 2 in
Schedule II evidence the volume of hydrocodone and oxycodone distributed into Cuyahoga
County and Summit County from 1996 to 2018.

           B.       REGULATORY DUTY
        Each distributor “shall design and operate a system to disclose to the registrant suspicious
orders of controlled substances. The registrant shall inform the Field Division Office of the
Administration in his area of suspicious orders when discovered by the registrant. Suspicious
orders include orders of unusual size, orders deviating substantially from a normal pattern, and
orders of unusual frequency.” 11
           This regulatory duty has been defined to include the following obligations:
           The “security requirement” at the heart of this case mandates that distributors
           “design and operate a system” to identify “suspicious orders of controlled
           substances” and report those orders to DEA (the Reporting Requirement). 21
           C.F.R. § 1301.74(b). The Reporting Requirement is a relatively modest one: It
           requires only that a distributor provide basic information about certain orders to
           DEA, so that DEA “investigators in the field” can aggregate reports from every
           point along the legally regulated supply chain and use the information to ferret out
           “potential illegal activity.” Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501
           (Drug Enf't Admin. July 3, 2007). Once a distributor has reported a suspicious
           order, it must make one of two choices: decline to ship the order, or conduct some


8
    21 U.S.C. § 823(b)(1).
9
    1970 U.S.C.C.A.N. 4566, 4571-72.
10
     1970 U.S.C.C.A.N. 4566, 4574.
11
     21 C.F.R. § 1301.74(b) [1971]
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 11 of 188. PageID #: 90150
                                                                 CONFIDENTIAL



           “due diligence” and—if it is able to determine that the order is not likely to be
           diverted into illegal channels—ship the order (the Shipping Requirement). 12
        The regulatory duty is not difficult to follow and understand. As one who voluntarily
applies to become a registrant must submit an application and undergo a pre-registration
investigation. The pre-registration investigation involves a through onsite inspection of the
registrant’s facilities as well as extensive discussions of the applicable regulations and the security
requirements that must be followed. While there are numerous requirements related to registration,
my opinions focus on the following compliance requirements:
           ● Maintain effective controls to prevent the diversion of controlled substances into “other
             than legitimate medical, scientific, and industrial channels”;
           ● “Design and operate” a system to identify suspicious orders; and
           ● Report suspicious order “when discovered.”
           C.       MDL2804 Discovery Ruling 12
        The Court in MDL2804 issued a discovery ruling (Discovery Ruling 12) which outlines
the statutory and regulatory duties imposed by federal law upon distributors of controlled
substances. 13 The ruling addresses the following legal standards:
           Distributors of opioids are required to “‘design and operate a system’ to identify
           ‘suspicious orders of controlled substances’ and report those orders to DEA (the
           Reporting Requirement).” Masters Pharmaceutical, 861 F.3d 206, 212 (D.C. Cir.
           2017) (quoting 21 C.F.R. § 1301.74(b)). Federal regulations explain that
           “suspicious orders include [among others] orders of unusual size, orders
           deviating substantially from a normal pattern, and orders of unusual frequency.”
           21 C.F.R. § 1301.74(b). Thus, an order for opioids received by a distributor from
           a retail pharmacy may qualify as “suspicious” for any of a number of different
           reasons. 14

12
     Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206, 212–13 (D.C. Cir. 2017) (emphasis added).
13
     See Discovery Ruling No. 12 regarding Suspicious Order Interrogatory [Doc. 1174].
14
  “Of course, an order may be suspicious for other reasons, even if it doesn’t fit the Monthly Total Rule, such as
that the pharmacy-customer “submitted more order forms in a 30-day period than it had in any of the prior six
calendar months [the ‘Order Form Rule’], or if the timing of the order did not comport with the customer’s general
ordering pattern over those six months [the ‘Order Timing Rule’].” Id. There are many other algorithms a distributor
could use to identify opioid orders as suspicious, including: (1) the order for the opioid was placed within 30 days of
an earlier suspicious order for the same opioid (the “Consecutive Order Rule”); (2) the order for the opioid was
placed within 30 days of an order for the same opioid from a different distributor (the “Multi-Distributor Rule”); (3)
the percentage increase in the amount of opioid ordered exceeded a certain threshold (the “Percentage Increase
Rule”); or (4) the amount of opioid ordered exceeded by some threshold the amounts ordered by other similar or
nearby pharmacies (“the Pharmacy Comparison Rule”).
          “See also Masters Pharmaceuticals, Inc., Decision and Order, 80 Fed. Reg. 55418-01 at *55477 (DEA
Sept. 15, 2015) (“a pharmacy’s business model, dispensing patterns, or other characteristics might make an order
suspicious, despite the particular order not being of unusual size, pattern or frequency. In other words, orders placed
by a pharmacy that engages in suspicious activity, but places orders of regular size, pattern, and frequency, could
still be deemed suspicious.”); id. at *55478 (noting that “suspicion” is a low bar: it “is simply a far lower standard of
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 12 of 188. PageID #: 90151
                                                                 CONFIDENTIAL




         The simplest example is that a given order for an opioid may be suspicious if it
         was of “unusual size” – say, an order that pushed a pharmacy’s monthly total
         number of opioid doses to exceed the monthly totals the same pharmacy had
         ordered in the prior six months. The Order refers below to this algorithm as the
         “Monthly Total Rule.” (Masters Pharmaceutical described the “Monthly Total
         Rule” as follows: an order is suspicious if “that order—combined with other
         orders placed in the same 30-day period—requested more doses of a controlled
         medication than the pharmacy had requested in any of the previous six calendar
         months.” Id. at 213.)

         As noted, once it has identified a suspicious order, a distributor is required to
         report it to the Drug Enforcement Agency (“DEA”). See 21 C.F.R. §1301.74(b)
         (“The [distributor] shall inform the Field Division Office of the Administration
         in his area of suspicious orders when discovered by the [distributor].”).
         Furthermore, having received a suspicious order, the distributor “must make one
         of two choices: decline to ship the [suspicious] order, or conduct some ‘due
         diligence’ and—if it is able to determine that the order is not likely to be diverted
         into illegal channels—ship the order (the Shipping Requirement).” Id. at 212–13.
         Of course, a distributor’s due diligence efforts must be thorough: “the
         investigation must dispel all red flags indicative that a customer is engaged in
         diversion to render the order non-suspicious and exempt it from the requirement
         that the distributor ‘inform’ the Agency about the order. Put another way, if, even
         after investigating the order, there is any remaining basis to suspect that a
         customer is engaged in diversion, the order must be deemed suspicious and the
         Agency must be informed.” Masters Pharmaceuticals, Inc., Decision and Order,
         80 Fed. Reg. 55418-01 at *55477 (DEA Sept. 15, 2015) (hereinafter, “Decision
         and Order”). Indeed, the DEA may revoke a distributor’s certificate of
         registration as a vendor of controlled substances if the distributor identifies orders
         as suspicious and then ships them “without performing adequate due diligence.”
         Masters Pharmaceuticals, 861 F.3d at 212. 15




proof than whether it is ‘likely’ that the circumstance exists,” and “the regulation’s adoption of suspicion as the
threshold for triggering the requirement that a distributor inform the Agency about the order does not even rise to the
level of probable cause.”)” Discovery Ruling No. 12, fn 2.
15
  Discovery Ruling No. 12 [Doc. 1174]. See also, id., at n.3 (“The Decision and Order was a final order
entered by the DEA revoking Masters Pharmaceutical’s certificate of registration, without which Masters
Pharmaceutical could not sell controlled substances. In Masters Pharmaceutical, the D.C. Circuit Court
of Appeals denied a petition for review, leaving intact the DEA’s analysis and conclusion in the Decision
and Order.”)
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 13 of 188. PageID #: 90152
                                                                 CONFIDENTIAL



        The Order noted the “legal authorities reviewed above leave unclear exactly when an
order is deemed suspicious, and thus when a distributor is required to inform the DEA that it
received a suspicious order. The following flowchart illustrates the issue.” 16




                   This flowchart shows how a distributor’s Suspicious Order Monitoring
           System must work and diagrams the process a distributor must undertake when
           it receives a suspicious order. Notably, there is a “yellow light” (caution) and a
           “red light” (stop) in the process. When a distributor first identifies an order as
           suspicious, this is a “yellow light” – it cannot ship the order without doing some
           investigation. If that investigation does not “dispel all red flags indicative that a
           customer is engaged in diversion,” then the distributor gets a “red light” and must
           not ship the order. Masters Pharmaceutical, 861 F.3d at 222. Beyond requiring
           that a distributor must employ some Suspicious Order Monitoring System
           (“SOMS”), the federal regulations do not make explicit exactly what algorithm(s)
           the SOMS must use to identify suspicious orders, or exactly what due diligence
16
     See Discovery Ruling No. 12 issued December 9, 2018 at page 5.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 14 of 188. PageID #: 90153
                                                                 CONFIDENTIAL



           efforts are required when investigating an order after it is identified as suspicious.
           For example, a distributor is not required to use the Monthly Total Rule or the
           Pharmacy Comparison Rule; it is free to design its SOMS using any algorithms
           and rules it believes will get the job done.

                    With regard to the Reporting Requirement, it is not entirely clear whether
           a distributor’s obligation to inform the DEA attaches: (1) when the “yellow light”
           flashes – that is, when the distributor first identifies an order as suspicious; or (2)
           only after the “red light” flashes – which would mean a distributor does not have
           to inform the DEA it received a suspicious order if investigation shows the order
           was legitimate, after all. Indeed, the authorities cited above provide support for
           each approach, as shown by the following quotations.

           “Red Light”

               •   “[I]f, even after investigating the order, there is any remaining basis to
                   suspect that a customer is engaged in diversion; the order must be deemed
                   suspicious and the Agency must be informed. Decision and Order, 80
                   Fed. Reg. at *55478.

               •   “DEA regulations expressly provide that deviations in size, frequency, or
                   pattern are the sort of indicia that give rise to a suspicion and, unless the
                   suspicion is dispelled, the obligation to report. Masters Pharmaceuticals,
                   861 F.3d at 215 (citing Decision and Order, 80 Fed. Reg. at *55,479; and
                   21 C.F.R. §1301.74(b)).

           “Yellow Light”

               • “Once a distributor has reported a suspicious order, it must make one of
                 two choices: decline to ship the order or conduct some ‘due diligence’
                 and—if it is able to determine that the order is not likely to be diverted
                 into illegal channels—ship the order (the Shipping Requirement).”
                 Masters Pharmaceutical, 861 F.3d at 212–13. 17


        In other words, the Court determined it is unclear whether an order is “suspicious” (and so
must be reported to the DEA) as soon as a distributor’s SOMS flags it as suspicious, or only after
due diligence fails to dispel any suspicion. In any event, it is clear that distributors are required to
identify suspicious orders from pharmacies and cannot ship those orders unless they conduct “due
diligence” that determines those orders are not likely to be diverted. Further, distributors are
required to report suspicious orders to the DEA upon discovery.


17
     Discovery Ruling No. 12 [1174].
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 15 of 188. PageID #: 90154
                                                                 CONFIDENTIAL



                    D.     ARCOS/DADS
        The Automated Records and Consolidated Orders System/Diversion Analysis and
Detection System (ARCOS/DADS) 18 system is used to track and report the transfer of
pharmaceuticals and to detect potential diversion. This system of records is maintained pursuant
to the reporting requirements of the Comprehensive Drug Abuse Prevention and Control Act of
1970 19 and to fulfill the United States treaty obligations under the Single Convention on Narcotic
Drugs and the Convention on Psychotropic Substances of 1971. 20
        The Automation of Reports and Consolidated Orders System (ARCOS) is the automated
system developed by DEA to monitor selected controlled substances. ARCOS software enables
the government to maintain a current and historical record of selected controlled substance
inventories and transactions from the point of manufacture to the point of sale, distribution, or
other disposition, and finally, to the dispenser level. 21
       The information contained in the ARCOS system consists of documentation of individual
business transactions between individuals who handle controlled substances at every level, from
manufacturers down to the pharmacies. Records include copies of controlled substances
inventories, drug codes, deletion and adjustment reports, sales, and purchase orders, and includes,
but not limited to the date of the transaction, the name, quantity, and quality of the
chemicals/substances purchased or dispensed, the parties to the transaction, NCD code, and the
DEA registrant numbers. This information provides an audit trail of all manufactured and/or
imported controlled substances.
        All automated data files associated with ARCOS/DADS are maintained in the Department
of Justice Data Center and the Drug Enforcement Administration Data Center and the system is



18
  “ARCOS” refers to the automated, comprehensive drug reporting system which monitors the flow of DEA
controlled substances from their point of manufacture through commercial distribution channels to point of sale or
distribution at the dispensing/retail level - hospitals, retail pharmacies, practitioners, mid-level practitioners, and
teaching institutions. Included in the list of controlled substance transactions tracked by ARCOS are the following:
All Schedules I and II materials (manufacturers and distributors); Schedule III narcotic and gamma-hydroxybutyric
acid (GHB) materials (manufacturers and distributors); and selected Schedule III and IV psychotropic drugs
(manufacturers only). ARCOS accumulates these transactions which are then summarized into reports which give
investigators in Federal and state government agencies information which can then be used to identify the diversion
of controlled substances into illicit channels of distribution. The information on drug distribution is used throughout
the United States (U.S.). by U.S. Attorneys and DEA investigators to strengthen criminal cases in the courts. See
United States Department of Justice, Drug Enforcement Administration, Diversion Control Division, Automation of
Reports and Consolidated Orders System (ARCOS), Background: What is ARCOS and What Does it Do?,
https://www.deadiversion.usdoj.gov/arcos/#background (last visited September 7, 2017)
19
     (21 U.S.C. 826(d))
20
     69 FR 51104-02.
21
  See ARCOS Registrant Handbook, United States Department of Justice, Drug Enforcement Administration,
Office of Diversion Control, Section 1.1.1, ARCOS Defined (Version 1.0 August 1997).


                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 16 of 188. PageID #: 90155
                                                                 CONFIDENTIAL



located at Drug Enforcement Administration, 700 Army Navy Drive, Arlington, VA 22202. 69
FR 51104-02.
        The ARCOS/DADS system uniquely has access to all of the data submitted by each DEA
registrant from the across the country. 22 These distribution transactional records are compiled by
the DEA through a portal and the data is compiled by DEA in accordance with law for determining
quota, distribution trends, internal audits, inspection, investigations and other analyses.23
Additionally, the DEA provides internet access to summary data from this system.
        The DOJ/DEA disclosed the national ARCOS database to the Plaintiffs’ Executive
Committee (2006-2014) and that additional transactional data was independently disclosed by
some of the defendants. Both sets of data were then uploaded to a database managed by Craig J.
McCann, PhD, CF, of Securities Litigation and Consulting Group, Inc. (“SLCG”) (retained as an
expert by the PEC). I have relied upon data derived from and provided by SLCG in the formulating
of specific requests.
       The ARCOS data, defendant transactional data, and the SLCG reports generated therefrom
are consistent with the types of data, facts, information, and reports I would typically rely on in
conducting the analysis and reaching the opinions contained herein. I am very familiar with the
ARCOS data and defendant transactional data and have experience analyzing the data and reports
generated therefrom. I have reviewed SLCG’s methods and reports and they are consistent with
my understanding, based on my experience, of how the data should be analyzed.
                   E.       DEA DIVERSION INVESTIGATOR’S MANUAL.
        The DEA published a manual which provides further guidance related to the statutory and
regulatory duties. Portions of the manual have previously been publicly available and accurately
set forth the charge for DEA investigator as follows:
           Registrants, who routinely report suspicious orders, yet fill these orders, with reason to
           believe they are destined for the illicit market, are expressing an attitude of irresponsibility
           that is a detriment to the public health and safety as set forth in 21 U.S.C. 823 and 824.
           Suspicious orders include those which are in excess of legitimate medical use or exhibit
           characteristics leading to possible diversion such as: orders of unusual size, unusual
           frequency, or those deviating substantially from a normal pattern. The supplier can
           determine whether the order is excessive by checking their own sales and establishing
           the average amount of controlled substances shipped to registrants of the same apparent
           size in a particular geographic area. If the customer exceeds this threshold, the request
           should be viewed as suspicious. This activity, over extended periods of time, would lead
           a reasonable person to believe that controlled substances possibly are being diverted. An

22
  The DEA maintains the Automation of Reports and Consolidated Orders System (“ARCOS”), an official
automated comprehensive drug reporting system that monitors the flow of DEA controlled substances from their
point of manufacture through commercial channels to the point of sale or distribution at the dispensing/retail level.
Drug wholesalers do not have access to the ARCOS data or to the data of other wholesalers and distributors.
Keysource Med., Inc. v. Holder, No. 1:11-CV-393, 2011 WL 3608097, at *2 (S.D. Ohio Aug. 16, 2011).
23
     https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/index.html
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 17 of 188. PageID #: 90156
                                                                 CONFIDENTIAL



          investigation will be conducted for possible violation of the CSA and regulations upon
          determining that the reporting registrant, as a general practice, does not voluntarily halt
          shipments of controlled substances to registrants involved in suspected diversion or to
          registrants against whom previous action has been taken. In these instances, the registrant
          is subject to the appropriate prosecution and/or administrative action. 24

       Importantly, the DEA does not approve or disapprove supplier shipments of controlled
substances. The responsibility for making the decision to ship rests with the supplier. 25 26
                  F.       DEA DISTRIBUTOR INITIATIVE BRIEFINGS.
        In August 2005, Drug Enforcement Administration designed and implemented the DEA
Distributor Initiative. The initiative was in response to the growing number of rogue Internet
pharmacies illegally dispensing controlled substances and their pattern of purchasing extremely
large amounts of a limited type of controlled substances from distributors. This program consisted
of an individual meeting between the DEA and distributors to re-iterate to DEA registrants their
responsibilities under the Controlled Substances Act and Code of Federal Regulations and to
discuss current trends and methods of diversion.
       In February 2014, at a conference in North Carolina, DEA Deputy Assistant Administrator
Joseph T. Rannazzisi reported that the DEA had conducted distributor briefings to 81 registrants
that had a total of 233 registered locations. The DEA has produced in discovery summaries of
some of these meetings as follows:
          Memorandum, Meeting with Cardinal Health, Inc. Concerning Interact Pharmacies on
          August 22, 2005; 27
          Memorandum, Conference Call with. Mr. John. Gilbert of McKesson Corp. on November
          28, 2005; 28


24
  See DEA Diversion Investigators Manual (1996) (CAH_MDL2804_02203353,
CAH_PRIORPROD_DEA07_01176914 at 01176957) ; see also DEA Diversion Manual (1990)
(CAH_PRIORPROD_DEA_01176247 at 01176301); DEA Diversion Investigators Manual (2011)
(CAH_MDL2804_00953317 at 00953396, CAH_MDL2804_01483146, CAH_MDL2804_01563592) (“By its very
nature, an order is a request to purchase controlled substances and has not yet been filled. Reporting a filled order is
potentially allowing controlled substances to be diverted. Therefore, suspicious orders will not be filled.”)
25
  See DEA Diversion Investigators Manual (1996) (CAH_MDL2804_02203353,
CAH_PRIORPROD_DEA07_01176247); see also DEA Diversion Investigators Manual (2011)
(CAH_MDL2804_00953317, CAH_MDL2804_01483146, CAH_MDL2804_01563592) (“DEA field offices will
not approve or disapprove a registrant's shipment of controlled substances, nor their procedures for detecting
suspicious orders. The responsibility for detecting suspicious orders and making the decision to ship rests solely
with the registrant.”)
26
  At the request of DEA/DOJ, Plaintiffs have removed a section of this Report based on DEA/DOJ’s claim that a
claw-back of a document cited in the removed section is forthcoming.
27
     US-DEA-00000352.
28
     US-DEA-00000369.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 18 of 188. PageID #: 90157
                                                                 CONFIDENTIAL



           Memorandum, Meeting Between Office of Diversion Control (OD) and McKesson Corp.
           on January 3, 2006; 29
           Memorandum, Internet Presentation; with AmerisourceBergen on August 10, 2005; 30 and
           Memorandum, Distributor Initiative Briefing with AmerisourceBergen Drug on May 16,
           2017. 31
        At these briefings DEA personnel would reiterate the registrant’s requirement to maintain
effective controls to prevent diversion as required in U.S.C. 21 § 843(e) and 21 C.F.R. §
1301.71(a). During these meetings the DEA specifically focused on discussing 21 C.F.R. §
1301.74(b) which states, “The registrant shall design and operate a system to disclose to the
registrant suspicious orders of controlled substances. The registrant shall inform the Field Division
Office of the Administration in his area of suspicious orders when discovered by the registrant.
Suspicious orders include orders of unusual size, orders deviating substantially from a normal
pattern, and orders of unusual frequency.” DEA also advised the registrant at these meetings that
DEA cannot tell a distributor if an order is legitimate or not. 32 The distributor has the responsibility
to determine which orders are suspicious and once identified they should report those orders to
DEA and should not distribute suspicious orders. 33 Further, it was reiterated that a distributor was
advised prior to shipping any order that was determined to be suspicious, the distributor should
conduct a due diligence investigation to insure the controlled substances in the order are not likely
to be diverted and document their due diligence actions. 34 Failure to do so could result in action
against their DEA registration.
                  G.       DEA GUIDANCE LETTER
      (September 2006) - Written notification issued to distributors and manufacturers from DEA
Deputy Assistant Administrator Joseph T. Rannazzisi. 35
        In September 2006, in response to the nationwide growing health problems involving
diversion of controlled substances, DEA Deputy Assistant Administrator Joseph T. Rannazzisi
forwarded a letter to all DEA registered distributors and manufacturers. The purpose of the letter



29
     US-DEA-00000371.
30
     US-DEA-00000147.
31
     US-DEA-00000144
32
     US-DEA-00000352, 00000360.
33
     Id.
34
   See also Novelty Distributors, Inc., 73 Fed. Reg. 52,689, 52,669 (Drug Enf’t Admin. September 3, 2008)
(“Fundamental to its obligation to maintain effective controls against diversion, a distributor must review every
order and identify suspicious transactions. Further, it must do so prior to shipping the products. Indeed, a distributor
has an affirmative duty to forgo a transaction if, upon investigation, it is unable to determine that the proposed
transaction is for legitimate purposes.”)
35
     See CAH_MDL_PRIORPROD_DEA07_00837645.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 19 of 188. PageID #: 90158
                                                                 CONFIDENTIAL



was to reiterate the legal duties of distributors as DEA registrants and provide some examples of
activities that may be indicative of diversion.
        Mr. Rannazzisi’s letter referenced 21 U.S.C. 823(e) that restated the requirement that
distributors and manufacturers have a legal requirement to maintain effective controls against
diversion. Mr. Rannazzisi’s letter further cited DEA Regulation 21 C.F.R. 1301.74(b) which states
the requirement for a registrant to design and operate a system to disclose suspicious orders of
controlled substances and to report suspicious orders to the D.E.A. when discovered. The system
should be capable of identifying a suspicious order based on size, pattern and frequency and
reporting that order to DEA. Contained in the written notification were a list of circumstances that
may be indicative of diversion. Those circumstances listed the following:
       a.      Ordering excessive quantities of a limited variety of controlled substances
       b.      Ordering a limited variety of controlled substances in quantities disproportionate to
               the quantity of non-controlled medications ordered.
       c.      Ordering excessive quantities of a limited variety of controlled substances in
               combination with excessive quantities of lifestyle drugs.
       d.      Ordering the same controlled substances from multiple distributors.
         The written communication also listed some guidance for a distributor by providing some
possible inquiries of a customer’s business activity that could be indicative of diversion. Mr.
Rannazzisi further stated and reiterated:
            The DEA regulations require all distributors to report suspicious orders of
            controlled substances. Specifically, the regulations state in 21 C.F.R.
            1301.74(b):
                 The registrant shall design and operate a system to disclose to the
                 registrant suspicious orders of controlled substances. The registrant
                 shall inform the Field Division Office of the Administration in his
                 area of suspicious orders when discovered by the registrant.
                 Suspicious orders include orders of unusual size, orders deviating
                 substantially from a normal pattern, and orders of unusual
                 frequency.
            It bears emphasis that the foregoing reporting requirement is in addition to,
            and not in lieu of the general requirement under 21 U.S.C. 823(e) that a
            distributor maintain effective controls against diversion.
            This, in addition to reporting all suspicious orders, a distributor has a statutory
            responsibility to exercise due diligence to avoid filling suspicious orders that
            might be diverted into other than legitimate medical, scientific, and industrial
            channels. Failure to exercise such due diligence could, as circumstances



                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 20 of 188. PageID #: 90159
                                                                 CONFIDENTIAL



                warrant, provide a statutory basis for revocation or suspension of a distributor’s
                registration. 36
                    H.       JUNE 2007 SOUTHWOOD                          PHARMACEUTICALS,           INC.
                             DISTRIBUTOR CASE
        DEA Deputy Administrator Michele M. Leonhart issued an Order on June 22, 2007 37,
detailing the revocation of DEA registration for Southwood Pharmaceuticals, Inc (“Southwood”).
The Order further denied any pending applications for renewal or modification of registration
because of the imminent danger to the public health or safety.
        The language contained in this Order clearly re-iterated the requirement for a distributor to
have a suspicious order monitoring program. The Order states the following, “a registrant must
‘‘design and operate a system to disclose to the registrant suspicious orders of controlled
substances’’; suspicious orders must be reported to the local Field Division Office upon discovery
by the registrant. 38 Under the regulation, suspicious orders include orders of unusual size, orders
deviating substantially from a normal pattern, and orders of unusual frequency.’’
        This Order also contains a description of the conduct of Southwood causing the revocation
of their DEA registration as described in the Order to Show Cause and Immediate Suspension
Order of Registration (OTSC/ISO) issued on November 30, 2006. The OTSC/ISO detailed that
Southwood distributed controlled substances to customers they knew or should have known were
diverting controlled substances. The OTSC/ISO stated Southwood repeatedly supplied excessive
quantities of hydrocodone to fifteen pharmacies that were orders of unusual size and frequency as
well as substantially deviating from the normal pattern. The OTSC/ISO further stated Southwood
never reported any of the orders as suspicious to the DEA.
        The OTSC/ISO also stated that Michael Mapes of the DEA conducted a meeting with
Southwood by conference call on July 17, 2006. The content of the meeting described in the
OTSC/ISO is consistent with the DEA Distributor Program being conducted by the DEA and
described in this timeline. During this meeting Mr. Mapes discussed the purchasing activities of
several pharmacies who were customers of Southwood. During this meeting Mr. Mapes also
provided Southwood with a description of illegal conduct of Internet pharmacies and described
factors to consider when assessing customers for diversion. These factors included the size and
frequency of order, range of product order, and the percentage of control substances ordered when
compared to non-controlled substances. Mr. Mapes further discussed the factors that are required
to ensure a prescription is legally prescribed by a physician.
        The following statement is contained in the OTSC/ISO, "a pattern of drugs being
distributed to pharmacies [which] are diverting controlled substances demonstrates a lack of
effective controls against diversion by the distributor" and could lead to the revocation of the
distributor's registration.” Mr. Mapes further stated, "… any distributor who was selling controlled

36
     See id. (emphasis added).
37
     Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007).
38
     21 CFR 1301.74(b).
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 21 of 188. PageID #: 90160
                                                                 CONFIDENTIAL



substances that are being dispensed outside the course of professional practice must stop that
distribution immediately." 39
        The OTSC/ISO stated Mr. Mapes discussed with Southwood representatives whether it
could ship an order which it had reported as suspicious. Mr. Mapes advised Southwood
representatives if they reported a suspicious order to the D.E.A. they still needed to make the
decision as to whether to ship the order. The OTSC/ISO further detailed that Southwood
representatives asked Mr. MAPES whether they should stop shipping controlled substances to the
internet pharmacies and Mr. MAPES replied the DEA cannot tell a distributor whether a particular
order is legitimate or not, and whether to ship was "a business decision," but Southwood had an
obligation to ensure that the controlled substance being distributed were used for legitimate
medical purposes.
                 I.      DECEMBER 2007 DEA GUIDANCE LETTER
       In December 2007, DEA Deputy Assistant Administrator for the Office of Diversion
Control, Joseph T. Rannazzisi issued a second letter to all DEA registered distributors and
manufacturers restating much of the information contained in the previous letter. 40
        This letter was focused on reiterating the responsibilities of manufacturers and distributors
to inform DEA of suspicious orders as required by 21 CFR 1301.74(b)
        The letter re-iterated that 21 CFR 1301.74(b) requires a manufacturer or distributor to
design and operate a system to disclose to the registrant suspicious order of controlled substances.
The letter further notified registrants it is the sole responsibility of registrants to design and operate
the system. The letter advised registrants of the following, “Past communications with DEA,
whether implicit or explicit, that could be construed as approval of a particular system for report
suspicious orders, should no longer be taken to mean that DEA approves a specific system.
        The letter also notifies that filing a monthly report of transactions to the DEA, often referred
to as excessive purchase reports, does not meet the regulatory requirement to report suspicious
orders.
         The letter also reiterated the following requirements:
         1. 21 CFR 1301.74(b) requires DEA registrants inform the DEA of suspicious order when
            discovered by the registrant.
         2. DEA registrants must conduct an independent analysis of suspicious orders prior to
            completing a sale to determine if the controlled substances are likely to be diverted.
         3. The regulation states suspicious orders include orders of an unusual size, deviating
            substantially from a normal pattern, and orders of an unusual frequency. The criteria
            are disjunctive and are not all inclusive.

39
  Southwood Pharmaceuticals, Inc.; Revocation of Registration, 72 Fed. Reg. 36,487, 36,492(Drug Enf’t Admin.
July 3, 2007).
40
     CAH_MDL_PRIORPROD_DEA07_00092296.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 22 of 188. PageID #: 90161
                                                                 CONFIDENTIAL



        4. DEA registrants who routinely report suspicious orders, yet fill these orders without
           first determining whether the orders are not being diverted may be failing to maintain
           effective controls against diversion that may result in possible action against their DEA
           registration.
             J. DEA ADMINISTRATIVE ACTIONS
        Distributors and manufacturers in this industry regularly monitor DEA administrative
actions involving maintenance of effective controls against diversion and failure to identify and/or
report suspicious orders. There are many different types of sources that make the details of DEA
administrative action available for the industry to review. The type of information available can
be a very in-depth article or publications simple as a press releases. Two examples of an in-depth
sources of information is the information published in the Federal Register involving DEA cases
against Masters Pharmaceutical Inc. and Southwood Pharmaceuticals Inc.

        The DEA posts administrative case information on the Internet on their website at
www.deadiversion.usdoj.gov. The DEA and Department of Justice also normally issue press
releases on administrative actions that subsequently generate media coverage and reviews by law
firms. Further, trade organizations like HDA typically publish articles regarding DEA
administrative action for review by their members. Typically, when a DEA administrative
action occurs, there are several law firms that closely follow the industry and they post articles on
their websites that describe the action and offer opinions of future impact to the industry.

        Listed below are some of the significant administrative action against distributors and
manufacturers for failing to maintain effective controls against diversion and for failing to identify
and/or reports suspicious orders:

     1. April 24, 2007, the DEA issued an Order to Show Cause and Immediate Suspension Order
        against the AmerisourceBergen Orlando, Florida distribution center alleging failure to
        maintain effective controls against diversion of controlled substances. On June 22, 2007,
        AmerisourceBergen entered into a settlement and release agreement with the DEA related
        to the allegations made by the agency. 41

     2. June 22, 2007, the DEA revoked the Registration of Southwood Pharmaceuticals, Inc. 72
        Fed. Reg. 36,487 (Department of Justice; Southwood Pharmaceuticals, Inc.; Revocation of
        Suspension (July 2, 2007)) on Tuesday, July 3, 2007July 3, 2007, Department of Justice,
        Drug Enforcement Administration article in the Federal Register, titled, Southwood
        Pharmaceuticals, Inc.; Revocation of Registration. 42

41
  AmerisourceBergen Corporation, AmerisourceBergen Signs Agreement with DEA Leading to Reinstatement of its
Orlando Distribution Center’s Suspended License to Distribute Controlled Substances, June 22, 2007, available at
http://investor.amerisourcebergen.com/news-releases/news-release-details/amerisourcebergen-signs-agreement-dea-
leading-reinstatement-its (last visited March 11, 2019).
42
   Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007)(also available at
https://www.deadiversion.usdoj.gov/fed regs/actions/2007/fr07032.htm (last visited March 10, 2019)).
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 23 of 188. PageID #: 90162
                                                                 CONFIDENTIAL




     3. November 29, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
        Order against the Cardinal Health Auburn, Washington Distribution Center which
        suspended their DEA registration for failure to maintain effective controls against diversion
        of hydrocodone. 43

     4. December 7, 2007, DEA issued an Order to Show Cause and Immediate Suspension Order
        against the Cardinal Health Lakeland, Florida Distribution Center for failure to maintain
        effective controls against diversion of hydrocodone. 44

     5. December 7, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
        Order against the Cardinal Health Swedesboro, New Jersey Distribution Center for failure
        to maintain effective controls against diversion of hydrocodone. 45

     6. January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal Health
        Stafford, Texas Distribution Center for failure to maintain effective controls against
        diversion of hydrocodone. Cardinal agreed to suspend shipping any controlled substances
        from the location pending a resolution with the DEA. 46

     7. May 2, 2008, McKesson Corporation agree to pay a $13 million civil penalty and entered
        into an Administrative MOA with the DEA which provided that McKesson would
        “maintain a compliance program designed to detect and prevent the diversion of controlled
        substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and
        follow the procedures established by its Controlled Substance Monitoring Program. 47

     8. On September 30, 2008, Cardinal Health agreed to pay a $34 million civil penalty and
        entered into a Settlement and Release Agreement and Administrative Memorandum of

43
  Cardinal Health, Press Release, Cardinal Health Receives DEA Order to Temporarily Cease Distribution of
Controlled Substances from Auburn Wash. Facility, November 29, 2007, available at (Source:
https://ir.cardinalhealth.com/news/press-release-details/2007/Cardinal-Health-Receives-DEA-Order-to-Temporarily-
Cease-Distribution-of-Controlled-Substances-from-Auburn-Wash-Facility/default.aspx (last visited March 11,
2019).
44
   Cardinal Health, Press Release, Cardinal Health to Cease Distribution of Controlled Substances from Florida
Facility, December 7, 2007, available at https://cardinalhealth mediaroom.com/newsreleasearchive?item=122500
(last visited March 8, 2019).
45
  Drug Topics, “DEA hits third Cardinal Health distribution center,” December 21, 2007, available at
https://www.drugtopics.com/pharmacy/dea-hits-third-cardinal-health-distribution-center (last visited March 8,
2019).
46
  Drug Topics, “Cardinal caught between DEA and pharmacies over diversion control,” April 14, 2008, available at
https://www.drugtopics.com/community-practice/cardinal-caught-between-dea-and-pharmacies-over-diversion-
control (last visited March 9, 2019).
47
  Settlement and Release Agreement and Administrative Memorandum of Agreement, entered into May 2, 2008,
between DEA and McKesson Corporation, available at https://www.dea.gov/sites/default/files/ 2018-
06/Pharmaceutical%20Agreements%20-%20McKesson%20-%202008 0.pdf (last visited March 19, 2019).
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 24 of 188. PageID #: 90163
                                                                 CONFIDENTIAL



        Agreement (MOA) with the DEA related to its Auburn Facility, Lakeland Facility,
        Swedesboro Facility and Stafford Facility. The MOA also referenced allegations by the
        DEA that Cardinal failed to maintain effective controls against the diversion of controlled
        substances. 48

     9. January 9, 2009, Rite Aid agreed to pay $5 Million in civil penalties to resolve allegations
        that Rite Aid knowingly filled prescriptions for controlled substances that were not issued
        for legitimate medical purposes; failed to notify the DEA of significant thefts and losses of
        controlled substances; failed to maintain or failed to furnish to the DEA upon request
        records required to be kept under the Controlled Substances Act for a period of two years;
        and failed to properly execute DEA forms used to ensure the amount of Schedule II drugs
        ordered by Rite Aid were actually received violations of the Controlled Substances Act in
        eight states. 49

     10. April 21, 2009, Settlement and Release Agreement and Administrative Memorandum of
         Agreement between DOJ/DEA and Masters Pharmaceutical Inc. 50

     11. June 15, 2010, Order to Show Cause – Immediate Suspension Order served to The Harvard
         Drug Group, Livonia, MI. 51

     12. June 10, 2010, DEA suspended Sunrise Wholesale, Inc. from selling controlled substances
         for supplying excessive amounts of oxycodone to “pill mills.” 52

     13. October 13, 2010, settlement was reached between the DEA and CVS Pharmacy, Inc.
         resolving the criminal investigation of unlawful distribution and sales of pseudoephedrine
         ("PSE") by CVS/pharmacy stores in Southern California and Nevada and a CVS/pharmacy
48
  United States Attorney’s Office. (October 2, 2008) Cardinal Health Inc., Agrees to Pay $34 Million to Settle
Claims That It Failed to Report Suspicious Sales of Widely-Abused Controlled Substances [Press Release].
Available at https://www.justice.gov/archive/usao/co/news/2008/October08/10 2 08.html (last visited March 10,
2019).
49
  United States Department of Justice, (January 12, 2009) Rite Aid Corporation and Subsidiaries Agree to Pay $5
Million in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act [Press Release].
Available at https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-
penalties-resolve-violations (last visited March 8, 2019).
50
  Settlement and Release Agreement and Administrative Memorandum of Agreement between DEA and Masters
Pharmaceutical, Inc. Available at https://www.dea.gov/sites/default/files/2018-
06/Pharmaceutical%20Agreements%20-%20Masters%20Pharmaceutical%20-%202009.pdf (last visited March 19,
2019.
51
  Administrative Memorandum of Agreement between DEA and The Harvard Drug Group, LLC dated March 28,
2011. Available at https://www.dea.gov/sites/default/files/2018-06/Pharmaceutical%20Agreements%20-
%20Harvard%20Drug%20Group%20-%202011.pdf (last visited March 19, 2019).
52
  LaMendola, Bob. “DEA accuses Sunrise company of supplying painkillers to ‘pill mills.’” Sun-Sentinel. June 22,
2010. Available at https://www.sun-sentinel.com/business/fl-xpm-2010-06-22-fl-drug-wholesaler-stopped-
20100621-story.html (last visited March 19, 2019).
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 25 of 188. PageID #: 90164
                                                                 CONFIDENTIAL



        distribution center in Southern California. CVS paid a penalty of $75,000,000.00 and
        forfeited $2.6 million in profits for a total payment of $77.6 million. 53

     14. April 18, 2011, Harvard Drug Group agreed to pay $8,000,000 in civil penalties as part of
         settlement with DEA related to allegations that Harvard failed to have in place an effective
         system for identifying suspicious orders of controlled substances, violating the Controlled
         Substances Act. 54

     15. June 10, 2011, Order to Show Cause and Immediate Suspension Order served on
         Keysource Medical Inc. Keysource Medical distributed 48 million doses of oxycodone
         products to Florida Pharmacies. 55

     16. July 6, 2011, Order Denying Plantiff’s (Keysource Medical) Motion for Temporary
         Restraining Order and for Preliminary Injunction. 56

     17. February 2, 2012, the DEA issued an Order to Show Cause and Immediate Suspension
         Order against the Cardinal Health Lakeland, Florida Distribution Center for failure to
         maintain effective controls against diversion of oxycodone. 57

     18. March 7, 2012, Memorandum of Opinion [Doc. 32] from the United States District Court
         for the District of Columbia, Cardinal Health, Inc., vs. Eric H. Holder, Jr., Civil Action
         No. 12-185 (RBW), denying Cardinal’s challenge of the DEA’s Order to Show Cause and
         Immediate Suspension of Registration of Cardinal’s Lakeland Distribution Center. 58

     19. April 5, 2012, A United States Attorney Office press release stated Keysource Medical
         agreed to pay a $320,000 fine for failing to guard against diversion of controlled

53
 United States Attorney’s Office. (October 14, 2010) CVS Admits Illegally Selling Pseudoephedrine to Criminals
who made Methamphetamine, Agrees to Pay $77.6 Million to Resolve Government Investigation [Press Release].
Available at https://www.justice.gov/archive/usao/cac/Pressroom/pr2010/148 html (last visited March 19, 2019).
54
  United States Drug Enforcement Administration. (April 18, 2011) Michigan Based Pharmaceutical Wholesaler
Harvard Drug Group to Pay $8,000,000 in Settlement [Press Release]. Available at https://www.dea.gov/press-
releases/2011/04/18/michigan-based-pharmaceutical-wholesaler-harvard-drug-group-pay-us (last viewed on March
19, 2019).
55
  United States Drug Enforcement Administration. (June 10, 2011) Cincinnati Pharmaceutical Supplier’s DEA
License Suspended [Press Release]. Available at https://www.dea.gov/press-releases/2011/06/10/cincinnati-
pharmaceutical-suppliers-dea-license-suspended (last visited March 11, 2019).
56
  Keysource Medical, Inc., v. Attorney General of the United States, et al., No. 1:2011cv00393, Order Denying
Plaintiff’s Motion for Temporary Restraining Order and for Preliminary Injunction [Doc. 22], available at
https://law.justia.com/cases/federal/district-courts/ohio/ohsdce/1:2011cv00393/147299/22/ (last visited March 11,
2019).
57
 2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
CAH_MDL2804_02465982.
58
  Copy of Order available at https://www.govinfo.gov/content/pkg/USCOURTS-dcd-1 12-cv-
00185/pdf/USCOURTS-dcd-1 12-cv-00185-0.pdf (last visited March 19, 2019).
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 26 of 188. PageID #: 90165
                                                                 CONFIDENTIAL



           substances. and states Keysource Medical agreed to voluntarily surrender their DEA
           registration in September 2011. 59

       20. May 14, 2012, Cardinal Health entered into an Administrative MOA with the DEA, which,
           among other things, stipulated that its compliance with the terms of the 2008 MOA were
           inadequate in certain respects and that its Lakeland, Florida Distribution Center’s DEA
           registration would be suspended for two years. 60

       21. March 28, 2013, settlement was reached among the United States and the DEA and CVS
           Pharmacy, Inc and Oklahoma CVS Pharmacy, L.L.C., to resolve claims that CVS violated
           the CSA by: (1) filling prescriptions for certain prescribers whose DEA registration
           numbers were not current or valid; (2) entering and maintaining invalid DEA registration
           numbers on CVS dispensing records for certain prescriptions, which were at times provided
           to state prescription drug monitoring programs; and (3) entering and maintaining CVS
           dispensing records including prescription vial labels that identify a non-prescribing
           provider as the prescribing provider for certain prescriptions. CVS paid a fine of
           $11,000,000.00. 61

       22. In July, 2013, the DEA initiated a regulatory investigation at CVS Indiana. After the
           investigation and after the DEA had informally indicated its displeasure with what it found
           at CVS, Mark NiCastro, the CVS Indiana Director of Operations, sent correspondence to
           the DEA. In the correspondence, Mr. NiCastro attempted to explain to the DEA why the
           CVS Indiana distribution center had never reported a suspicious order and he wrote:

                    “In your recent email, you asked for information concerning CVS store
                    orders that have been stopped outside of Indiana. Across the chain, the CVS
                    SOM process has stopped and cancelled orders. I have attached the dates
                    and the offices to which we reported these orders. As we discussed during
                    the DEA audit and during our recent phone call, it is important to remember
                    that CVS is shipping only to its own stores, and there are additional due
                    diligence processes in our pharmacy operations group which monitor the
                    dispensing of prescriptions across the entire CVS chain to ensure
                    appropriate dispensing by stores. This is a primary contributor to the limited
                    number of suspicious orders identified through our distributor SOM
                    process.” 62


59
  United States District Attorney’s Office, Southern District of Ohio. (April 5, 2012) Cincinnati Pharmaceutical
Distributor to Pay $320,000 for Failing to Guard Against Diversion of Controlled Substances [Press Release].
Available at https://www.justice.gov/archive/usao/ohs/news/04-05-12.html (last visited March 11, 2019).
60
 2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
CAH_MDL2804_02465982.
61
     CVS-MDLT1-000060822 – 000060829.
62
     See NiCastro Depo. at 204-207; Ex. 42.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 27 of 188. PageID #: 90166
                                                                 CONFIDENTIAL



       23. July 17, 2013, Walgreens agreed to pay $80 Million in civil penalties related to
           allegations that Walgreens was filling numerous prescriptions that Walgreens employees
           knew, or should have known, were not issued for a legitimate medical purpose. 63

       24. June 19, 2014, In Regards to Masters Pharmaceutical the Administrative Law Judge issued
           a Recommended Decision in regards to the Order to Show Cause Hearing that occurred on
           February 24 through 28 and March 3 through 4, 2014. 64

       25. On September 2, 2014, settlement was reached among the United States and the DEA and
           CVS Pharmacy, Inc. The Settlement resolved claims against CVS for filling from April 1,
           2012 to July 31, 2012, 153 prescriptions at eight different pharmacies, written by Dr. Pedro
           Garcia during a time period during which his Texas Department of Public Safety
           Controlled Substances registration was expired. CVS paid a $1,912,500 fine. 65

       26. On May 12, 2015, a settlement was reached among the United States and the DEA and
           CVS Health and all of its subsidiaries and affiliates. The Settlement resolved claims that
           CVS failed “to fulfill its corresponding responsibility to ensure that CVS dispensed
           controlled substances only pursuant to prescriptions issued for legitimate medical purposes
           by practitioners acting in the usual course of their professional practice, as required by 21
           CF.R. §1306.64.” The Settlement also covered CVS’s “Florida Distribution Center[s]
           failure to maintain effective controls against the diversion of controlled substances into
           other than21 U.S.C. §823(e)” and failure to timely detect and report suspicious orders of
           controlled substances. CVS's conduct complained of is set forth in the February 2, 2012
           Orders to Show Cause and Immediate Suspension Orders issued to CVS stores 219 and
           5195. CVS paid a fine of $22,000,000.00. 66

       27. On July 24, 2015, a Settlement was reached among the United States and the DEA and
           CVS Health to resolves claims that from May 1, 2013 through July 30, 2014, CVS failed
           to keep complete and accurate records of Schedule II controlled substances at a CVS store
           in Massachusetts in violation of 21 U.S.C. § 827(a)(3) and 21 C.F.R. §§ 1304.11(e)(3)(i),
           1304.21, and 1304.22; and that CVS failed to report a March 14, 2014 robbery to the DEA
           within one business day in violation 21 C.F.R. § 1301.76(b). CVS paid a $50,000 fine. 67

       28. On August 7, 2015, a Settlement was reached among the United States and the DEA and
           CVS Health. The Settlement resolved claims that between March 3, 2010 and August,
63
   United States Attorney’s Office, Eastern District of New York. (July 17, 2013) Eastern District U.S. Attorney’s
Office Participates in Record Settlement: Walgreens Agrees to Pay $80 Million in Civil Penalties Under the
Controlled Substnaces Act [Press Release]. Available at https://www.justice.gov/usao-edny/pr/eastern-district-us-
attorney-s-office-participates-record-settlement-walgreens-agrees (last visited March 19, 2019).
64
     Masters Pharm., Inc., 80 Fed. Reg. 55,418-55,501 (Drug Enf’t Admin. Sept. 15, 2015).
65
     CVS-MDLT1-00060907 – 000060914.
66
     CVS-MDLT1-000060796 – 000060804.
67
     CVS-MDLT1-000099702 –000099704.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 28 of 188. PageID #: 90167
                                                                 CONFIDENTIAL



           2015 CVS stores in Rhode Island (1) filled prescriptions with invalid prescriber DEA
           number (knew or should have known in violation of 21 U.S.C. § 842(a)(1) and 21 C.F.R.
           § 1306.04); (2) filled prescriptions for Schedule III controlled substances written by
           psychiatric nurse practitioners who were not authorized under state law or by terms of their
           DEA registration to issue such prescriptions in violation of 21 U.S.C. § 842(a)(1) and 21
           C.F.R. § 1306.03(a)(1); and (3) entering, creating, or maintaining CVS dispensing records
           in which the DEA registration numbers of non-prescribing practitioners, were substituted
           for the DEA registration numbers of prescribing practitioners in violation of 21 U.S.C. §
           842(a)(5) and 21 C.F.R. § 1306.24. CVS paid a $450,000 fine. 68

       29. September 8, 2015, Masters Pharmaceutical – DEA Acting Administrator Chuck
           Rosenberg issued a Final Order revoking the DEA registration of Master Pharmaceutical
           Inc. 69

       30. On December 18, 2015, a Settlement was reached among the United States and the DEA
           and CVS Pharmacy, Inc. The Settlement was the result of a DEA Inspection that was
           performed after CVS reported the theft of over 40,000 dosages of controlled substances by
           two former employees from a Texas CVS pharmacy. The inspection that was started due
           to theft demonstrated that CVS again failed its CSA obligations. CVS paid a fine of
           $345,000.00. 70

       31. On December 31, 2015, the DEA issued a letter of admonishment for violations in
           distributing HCPs at the CVS Indiana distribution center. This DEA finding was the result
           of the July 2013 investigation. Before the admonishment, Agent Gillen of the DEA sent
           an email to Mr. Nicastro outlining that CVS Store No. 6880 ordered            dosage units
           of hydrocodone between January 1, 2012 and October of 2013. The pharmacy is located in
           Vincennes, IN with a population of approximately 18,000 people. Additionally, he
           indicated that Store No. 6757 ordered            of hydrocodone tablets for Columbus, IN,
           which has a population of 45,000. Agent Gillen then writes: “Both stores have purchased
           a large quantity of Hydrocodone given their population.” 71

       32. On February 12, 2016, a Settlement was reached among the United States and the DEA
           and CVS Pharmacy, Inc. In the Settlement, CVS acknowledged that between 2008 and
           2012, “certain CVS/pharmacy retail stores in Maryland did dispense certain controlled
           substances in a manner not fully consistent with their compliance obligations under the
           CSA…” CVS paid a fine of $8,000,000.00. 72


68
     CVS-MDLT1-000060847 – 000060855.
69
     Masters Pharm., Inc., 80 Fed. Reg. 55,418-55,501 (Drug Enf’t Admin. Sept. 15, 2015).
70
     CVS-MDLT1-00060915-00060921.
71
     See CVS-MDLT1-00008014 – 00008015; CVS-MDLT1- 000076135.
72
     CVS-MDLT1-000060805-00060811.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 29 of 188. PageID #: 90168
                                                                 CONFIDENTIAL



      33. June 30, 2016, CCS agreed to pay $3.5 Million to resolve allegations that 50 of its stores
          violated the Controlled Substances Act by filling forged prescriptions for controlled
          substances – mostly addictive painkillers – more than 500 times between 2011 and
          2014. 73

      34. On October 20, 2016, a Settlement was reached among the United States and CVS
          Pharmacy, Inc. The Settlement resolved claims from an investigation that the DEA began
          in January 2016. The DEA investigated two CVS stores in Connecticut. Although the
          offending conduct occurred after CVS quit distributing HCPs, it is indicative of the overall
          pattern and practice of CVS. The Settlement resolves claims that CVS failed to keep paper
          Schedule III-V prescriptions either in a separate prescription file or readily retrievable from
          other prescription records, which allegedly violated 21 U.S.C. 827(b)(2)(A) and (B) and
          21 C.F.R. 1304.04(h)(4) and failed to keep Schedule III-V purchase invoices on at least 31
          occasions in separate or in a readily retrievable manner from all other records of the
          pharmacy, which allegedly violated 21 U.S.C. 827(b)(2)(A) AND (b) AND 21 C.F.R.
          1304.04(h)(3). CVS paid a $600,000 fine. 74

      35. December 22, 2016, Consent Order entered into between the United States and Kinray,
          LLC, a subsidiary of Cardinal Health. 75

      36. December 23, 2016, Cardinal Health agreed to pay a $34 million civil penalty to the DEA
          to resolve allegations that it failed to report suspicious orders and meet its obligation under
          the CSA in Florida, Maryland, New York, and Washington. 76

      37. January 5, 2017, McKesson Corporation entered into an Administrative MOA with the
          DEA wherein it agreed to pay a $150 million civil penalty for violation of the 2008 MOA
          as well as failure to identify and report suspicious orders at its facilities in Aurora,
          Colorado; Aurora, Illinois; Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida;
          Landover, Maryland; La Vista, Nebraska; Livonia, Michigan; Methuen, Massachusetts;
          Santa Fe Springs, California; Washington Courthouse, Ohio; and West Sacramento,
          California. 77

73
   United States District Attorney’s Office, District of Massachusetts. (June 30, 2016) CVS to Pay $3.5 Million to
Resolve Allegations that Pharmacists Filled Fake Prescriptions [Press Release]. Available at
https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-fake-prescriptions
(last visited March 19, 2019).
74
     CVS-MDLT1 000060830 – 000060838.
75
  United States of America v. Kinray, LLC, Case #16 Civ. 8767-RA. Available at https://www.justice.gov/usao-
sdny/press-release/file/920806/download (last visited March 19, 2019).
76
   United States Attorney’s Office, Middle District of Florida. (December 23, 2016) United States Reaches $34
Million Settlement with Cardinal Health for Civil Penalties Under the Controlled Substances Act [Press Release].
Available at https://www.justice.gov/usao-mdfl/pr/united-states-reaches-34-million-settlement-cardinal-health-civil-
penalties-under (last visited March 19, 2019).
77
  United States Department of Justice. (January 17, 2017) McKesson Agrees to Pay record $150 Million settlement
for Failure to Report Suspicious Orders of Pharmaceutical Drugs [Press Release]. Available at
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 30 of 188. PageID #: 90169
                                                                 CONFIDENTIAL




       38. January 18, 2017, Walgreens agreed to pay $200,000 following an investigation by the
           Massachusetts Attorney General’s Office found that Walgreens failed to track the opioid
           use of high-risk patients in the state’s Medicaid program. 78

       39. March 9, 2017, Rite Aid paid $834,200 to the United States to settle claims that Rite Aid
           pharmacies in Los Angeles, California dispensed and/or recorded controlled substances
           using a medical practitioner’s incorrect or invalid DEA registration number. 79

       40. June 30, 2017, the United States Court of Appeals for the District of Columbia Circuit
           published an opinion denying the Masters’ petition of review and upholding the Final
           Order. 80

       41. On July 5, 2017, a settlement was reached among the United States and the DEA and CVS
           Pharmacy, Inc. The Settlement was the result of an investigation began by the DEA as a
           result of “an increase in the number of thefts and explained losses of Hydrocodone…” at
           numerous Eastern District of California CVS retail stores. The Settlement resolved claims
           for the following misconduct: 1) failure to “provide effective controls and procedures to
           guard against theft and diversion of controlled substances (see 21 C.F.R. §1301.71(a)) and
           failure to notify DEA of certain thefts or significant losses of controlled substances within
           one business day of the discovery (see 21 C.F.R. §1301.74(c)); 2) failure to maintain
           schedule 3-5 invoices (21 CFR §1304.04(a)); 3) failure to maintain Schedule 3-5 records
           separate from non-controlled substance records (21 CFR §1304.04 (h)(3)); 4) failure to
           conduct a Biennial Inventory on one specific day (21 CFR §1304.11(c)); 5) failure to
           maintain complete and accurate records (21 CFR §1304.21(a)); 6) failure to record the date
           of acquisition of controlled substances (21 CFR §1304.22(c), 1304.22(a)(2)(iv); 7) failure
           to record the amount received on Schedule 3-5 invoices (21 CFR §1304.22(c)); 8) failure
           to record the amount received and the date received on DEA 222 forms (21 CFR
           §1305.13(e)); 9) failure to maintain DEA-222 forms (21 CFR §1305. 17(a)); and 10) failure
           to maintain DEA-222 forms separate from other records (21 CFR §1305. 17(c)). CVS
           admitted that between April 30, 2011 and April 30, 2013 the retail stores violated their




https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-report-suspicious-orders
(last visited March 19, 2019).
78
  Associated Press, “Walgreens to pay $200k, change opioid procedures,” The Washington Times, January 19,
2017, available at https://www.washingtontimes.com/news/2017/jan/19/walgreens-to-pay-200k-change-opioid-
procedures/) (last visited March 11, 2019).
79
  United States Attorney’s Office, Central District of California. (March 9, 2017) Rite Aid Corporation Pays
$834,300 to Settle Allegations of Violating the Controlled Substances Act [Press Release]. Available at
https://www.justice.gov/usao-cdca/pr/rite-aid-corporation-pays-834200-settle-allegations-violating-controlled-
substances-act (last visited March 19, 2019).
80
     Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017).
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 31 of 188. PageID #: 90170
                                                                 CONFIDENTIAL



          recordkeeping obligations, but it denied that the recordkeeping obligations caused any
          diversion. CVS paid a fine of $5,000,000.00. 81

      42. July 7, 2017, Department of Justice/DEA and Mallinckrodt entered into a Memorandum of
          Agreement to resolve allegations that if failed to maintain effective controls to prevent
          diversion and to detect and report suspicious orders. 82

      43. January 24, 2018, the U.S. Attorney's Office entered into settlement with Rite Aid for
          improper sales of the meth precursor pseudoephedrine. 83

      44. On June 15, 2018, a Settlement was reached among the United States and the DEA and
          CVS Health. The Settlement resolved claims that between February, 2013 and January,
          2015, CVS failed to report to the DEA in writing, within one business day of discovery,
          thefts or significant losses of controlled substances, including hydrocodone, from certain
          Long Island CVS Pharmacy retail stores, as required by 21 C.F.R. §1301.76(b). CVS
          agreed to pay a $1,500,000.00 fine. (CVS-MDLT1-000060839 – 000060846).

      45. On July 29, 2018, a Settlement was reached the among the United States and the DEA and
          CVS Pharmacy, Inc., to resolve claims related to a November 2013 inspection of a CVS
          Pharmacy in Calera, Alabama. The Settlement resolved claims that CVS violated the CSA,
          as a result of violations of : (1) 21 C.F.R. 1305.13(c) (requirement to record the amount
          received and/or the date received on DEA 222 forms); (2) 21 C.F.R. 1304.21(a)
          (requirement to maintain complete and accurate records); and (3) 21 C.F.R. 1304.21(a)
          and/or (d) (requirement to document the number of packages received or the date package
          received on Schedule III through V purchase invoices). CVS agreed to pay a $1,000,000
          fine. 84

      46. August 21, 2018, CVS agreed to pay $1 Million to settle allegations that CVS stores in
          Alabama failed to keep adequate records in violation of the Controlled Substances Act. 85



81
     CVS-MDLT1 000060856-000060871.
82
  Administrative Memorandum of Agreement between DEA and Mallinckrodt, plc and its subsidiary Mallinckrodt,
LLC, dated July 7, 2017. Available at https://www.justice.gov/usao-edmi/press-release/file/986026/download
(March 19, 2019).
83
  United States Attorney’s Office, Southern District of West Virginia. (January 24, 2018) U.S. Attorney’s Office
enters settlement with Rite Aid based on improper sales of meth precursor pseudoephedrine [Press Release].
Available at https://www.justice.gov/usao-sdwv/pr/us-attorneys-office-enters-settlement-rite-aid-based-improper-
sales-meth-precursor (last visited March 11, 2019).
84
     CVS-MDLT1-000060812 –000060821.
85
  United States Attorney’s Office, Northern District of Alabama. (August 21, 2018) CVS Pharmacy Pays $1 Million
Penalty in Settlement with DOJ for Violations of the Controlled Substances [Press Release]. Available at
https://www.justice.gov/usao-ndal/pr/cvs-pharmacy-pays-1-million-penalty-settlement-doj-violations-controlled-
substances-act (last visited March 19, 2019)
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 32 of 188. PageID #: 90171
                                                                 CONFIDENTIAL



       47. December 31, 2018, the DEA and the Rhode Island Attorney General announced $300,000
           settlement with Rite Aid for filling prescriptions of Schedule III controlled substances in
           excess of statutory maximums. 86

           K.       INDUSTRY GUIDELINES - HEALTHCARE DISTRIBUTION ALLIANCE
       A large number of drug distributors and manufacturers are members of The Healthcare
Distribution Alliance (HDA), a trade organization that provides industry information, provide
guidance on best practices, industry standards, regulation/legal changes, and other related services.
       A review of the website for The Healthcare Distribution Alliance (HDA) provided the
following history of the organization. 87 The Western Wholesale Druggists’ Association (WWDA)
was formed on March 15, 1876 and consisted of 95 wholesale druggists. In 1882 the WWDA
became the National Wholesale Druggists Association (NWDA) that was representing distribution
companies as an advocate in the distribution industry.
         In 2000 the NWDA organization was renamed Healthcare Distribution Management
Association (HDMA). The website stated the organization changed reflected the “Association’s
vision of a progressively more efficient and effective distribution system.” In 2016 the HDMA
changed names to the Healthcare Distribution Alliance (HDA). The website states the following,
“Now headquartered in Arlington, Virginia, HDA represents 36 distribution companies —
national, regional and specialty — as well as more than 130 manufacturer and more than 50 service
provider/international members, respectively. These members serve more than 200,000 licensed
healthcare providers, delivering over 15 million lifesaving products to these outlets every day. But
just as in 1876, HDA’s mission has remained the same, which is to protect patient safety and access
to medicines through safe and efficient distribution; advocate for standards, public policies and
business processes that enhance the safety, efficiency and value of the healthcare supply chain;
and, create and exchange industry knowledge and best practices.”
NWDA 1984 Suspicious Order Monitoring Policy
       A review of Cardinal Health discovery material revealed a thirty-eight page document from
1984 by NWDA which was a draft outline of a suspicious order monitoring system. The
documents can be found in the Cardinal Health discovery material in a group of documents that
begin with a cover page containing, “NWDA Suspicious Order Monitoring System” with this
stamped information, “Received Jun 21 1993 by Folsom.” 88



86
   United States Drug Enforcement Administration. (December 31, 2018) DEA and Attorney General Kilmartin
announces $300,000 settlement with Rite Aid for filling prescriptions of Schedule III controlled substances in excess
of statutory maximums [Press Release]. Available at https://www.dea.gov/press-releases/2018/12/31/dea-and-
attorney-general-kilmartin-announces-300000-settlement-rite-aid (last visited March 11, 2019).
87
     See https://www hda.org/ (last viewed on March 20, 2019).
88
  The group of documents described in this section can be found in the Cardinal Health discovery material with a
Bates stamp range of CAH_MCL2804_01465723 to CAH_MCL2804_01465761.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 33 of 188. PageID #: 90172
                                                                 CONFIDENTIAL



        The first seven pages of the document describes some of the elements of a suspicious order
system. These seven pages do not contain a date indicating when the system was designed. There
are two DEA letters in the documents that do identify a date which are letters from the DEA. These
DEA letters provide comment and guidance to NWDA in regards to the suspicious order system.
The first DEA letter was addressed to Mr. Ronald J. Streck, Vice President of Government Affairs
(NWDA) and signed by G. Thomas Gitchel, Acting Chief Diversion Operations Section (DEA).
The letter contained a stamped date of April 27, 1984, which details a meeting between the two on
April 13, 1984. This letter stated the DEA reviewed a draft form of the suspicious order monitoring
system. This DEA letter contained the following comment:
          The NWDA’s draft format for a suspicious order monitoring system provides as
          excellent framework for distributor registrants to “…design and operate a system
          to disclose to the registrant suspicious orders of controlled substances.” (21 CFR
          1301.74(b).) However, I am compelled to note, as I have in our previous
          discussions, that any automated data compliance processing system may provide
          the means and mechanism for compliance when the data is carefully reviewed and
          monitored by the wholesaler. As previously discussed, an after-the-fact computer
          printout of the sales data does not relieve a registrant of its responsibility to report
          excessive or suspicious orders when discovered. I am enclosing a copy of your
          draft with my pen-and-ink changes.” 89
       The second DEA letter was addressed to Mr. Ronald J. Streck, Vice President of
Government Affairs (NWDA), signed by G. Thomas Gitchel, Acting Chief Diversion Operations
Section (DEA) that was stamped with a date of May 14, 1984, which appeared to be a follow-up
communication from the April 27, 1984 letter. This letter details that there was a NWDA meeting
that was attended by DEA employee David Walkup. This DEA letter contained the following
comment:
          I want to assure you that DEA fully supports NWDA’s effort to introduce a uniform
          reporting system among its members. This system, as proposed, will meet the
          reporting requirements of 21 CFR 1301.74(b). However, I want to make it clear
          that the submission of a monthly printout of after-the-fact sales will not relieve a
          registrant from the responsibility of reporting excessive or suspicious orders. DEA
          has interpreted “orders” to mean prior to a shipment. 90
       The background section of the system details it was created in co-operation with the DEA.
Further, the document states that the DEA may be providing some variances and limits that would
be incorporated into the suspicious order system.
       On page 7 of the suspicious order system document is “Section IX” that contains the
following statement: “Single orders of unusual size or deviation must be reported immediately.
The submission of a monthly printout of after-the-fact sales will not relieve a registrant from the
responsibility of report these excessive or suspicious orders. DEA has interpreted “orders” to

89
     CAH_MDL2804_01465723, 01465732.
90
     CAH_MDL2804_01465723, 01465734.
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 34 of 188. PageID #: 90173
                                                                 CONFIDENTIAL



mean prior to a shipment.” This statement along with the letter from DEA is an important
communication that identifies the DEA was requiring the suspicious order system to identify single
orders of controlled substances that must report immediately prior to being shipped.
2008 Healthcare Distribution Management Association (HDMA) Industry Compliance
Guidelines: Report Suspicious Orders and Preventing Diversion of Controlled Substances.
       In 2008 the HDMA posted on their website industry compliance guidelines that were titled,
“Reporting Suspicious Orders and Preventing Diversion of Controlled Substances.” In the
introduction section of the document appeared this comment:
          At the center of a sophisticated supply chain, distributors are uniquely situated to
          perform due diligence in order to help support security of controlled substances
          they deliver to their customers. Due Diligence can provide a greater level of
          assurance that those who purchase CS from distributors intend to dispense them
          flor legally acceptable purposes. Such due diligence can reduce the possibility that
          controlled substances within the supply chain will reach locations they are not
          intended to reach. 91
        On October 17, 2008, DEA Chief Counsel Attorney Wendy H. Goggins sent a written
statement to HDMA President and CEO John M. Gray commending the HDMA for their efforts
to assist their members in fulfilling the obligations regarding the Controlled Substance Act and
corresponding regulations. 92
       The HDMA compliance guidelines document contains a general framework for a basic
suspicious order monitoring system. 93 The document contains the following elements with
accompanying suggested guidelines:
          1.      Know Your Customer Due Diligence
          2.      Monitoring for Suspicious Orders
          3.      Suspend/Stop an Order of Interest Shipment
          4.      Investigation of Orders of Interest
          5.      File Suspicious Order of Interest
          6.      Employees, Training and Standard Operating Procedures (SOPs)
          7.      Additional Recommendations
          8.      Glossary of Abbreviations



91
     February 10, 2012 Declaration of Joseph Rannazzisi, CAH_MDL_PRIORPROD_DEA12_00014479, 00014512.
92
     CAH_MDL_PRIORPROD_DEA12_00000825.
93
     CAH_MDL_PRIORPROD_DEA12_00000826.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 35 of 188. PageID #: 90174
                                                                 CONFIDENTIAL



Although there are several areas or concerns which might render a suspicious order monitoring
system less effective, the guidance provided by HDMA does contain several key elements that are
consistent with compliance with 21 C.F.R. Section 1301.71(a) and 1301.74(b). Some of the keys
areas of the guidance are the following:
        1.     Recommending distributors conduct thorough due diligence investigations that are
documented and retained is essential in establishing a customer and providing a history for any
further compliance actions or investigations. 94
        2.      Guidance for a distributor to develop an electronic suspicious order system as
detailed in a standard operation procedure, although not required by regulation, demonstrates
HDMA recognizes the manual review of orders for deviations in size, frequency, or pattern would
render it ineffective. 95
        3.      Separating customers by business activity or class of trade is an essential system
element. Further enhancement for monitoring and setting averages would be to form subgroups
by the size of the customer. 96
        4.      Recommending of placing the controlled substances being monitored into groups
or families provides a starting point for setting an average and monitoring. Only monitoring drug
families and failing to evaluate the unusual order size, pattern, or frequency of any specific drug
within a drug family has a much higher probability of failing to identify diversion of specific highly
abused drugs. 97
        5.     Thresholds are set as averages shipped to a customer’s facility that are consistent
with that class of customer. Threshold are recommended to calculated for single orders and
average monthly orders per family, per customer, and class of trade. Thresholds should utilize the
information obtained in the due diligence investigation. A sales history of a minimum of six
months and maximum of 24 months is recommended. Thresholds for new customer accounts
should be established at the lowest level indicated by the due diligence investigation. An important
component is the periodic review of cumulative orders for the customer to evaluate purchasing
trends. 98 Note: The use of a six-month average does not provide a sufficient purchase history for
establishing accurate thresholds.
       6.      A distributor should consider allowing use of alternative criteria, outside of the
suspicious order system, to be utilized to identify a suspicious order. 99
     7.    On Page 9, Section III in the section titled, SUSPEND/STOP AN ORDER OF
INTEREST SHIPMENT, there is clear guidance from HDMA of what action should be taken by

94
     CAH_MDL_PRIORPROD_DEA12_00000826, 00000829-00000832.
95
     CAH_MDL_PRIORPROD_DEA12_00000826, 00000832.
96
     CAH_MDL_PRIORPROD_DEA12_00000826, 00000833.
97
     Id.
98
     Id.
99
     Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000834.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 36 of 188. PageID #: 90175
                                                                 CONFIDENTIAL



a distributor when an order exceeds a threshold which is contained in the following statement, “If
an order meets or exceeds a distributor’s threshold, as defined in the distributor’s monitoring
system, or is otherwise characterized by the distributor as an order of interest, the distributor should
not ship to the customer, in fulfillment of that order, any units of the specific drug code product as
to which the order met or exceeded a threshold or as to which the order was otherwise characterized
as an order of interest.” 100
        8.      Recommending if an order meets or exceeds a threshold the distributor examine the
order further. The examination aids the distributor in deciding to either fill the order and ship or
to continue to hold the order. This section also states, “Further examination will also aid in
determining whether the and when to report the order to DEA under 21 C.F.R. Section
1301.74(b).” 101
       9.      The following statement is made in regard to an order of interest, “The drug or
drugs that cause an order to become an order of interest should not be shipped to the customer
placing the order while the order is an order of interest.” 102
       12.    A customer interview should be conducted in regards to order. Any information
provided by the customer should be verified and documented. 103
        13.     All investigation conducted by the distributor should be “fully documented,” and
all records retained in an appropriate section. A critical element of guidance states the following,
“The documentation should include a clear statement of the final conclusion of the investigation,
including why the order investigated was (or was not) determined to be “suspicious.” The
statement should be signed and dated by the reviewer.” 104
        15.    Order determined to be “suspicious” should be reported immediately upon being
so determined. 105
            18.   The following guidance was provided for the content of the standard operating
policy:
                  a.    Describe how an initial review and investigation will be conducted;
                  b.    Reflect the distributor’s and its customers’ business conditions;
                  c.    Are sufficiently flexible to adjust the review/investigation to address the
                        individual product/order/customer circumstances that are likely to occur;



100
      Id.
101
      Id.
102
      Id.
103
      Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000835.
104
      Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000836.
105
      Id.
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 37 of 188. PageID #: 90176
                                                                 CONFIDENTIAL



                  d.     Include a process and/or guidance/criteria for making the final
                         determination that an order is, or is not, “suspicious”;
                  e.     Define a process for reporting to DEA under 21 C.F.R. Section 1301.74(b);
                         and
                  f.     Define a process for allowing release of a shipment, or cancellation of an
                         order, as appropriate. 106
        19.      If a distributor concludes an order is suspicious after conducting an investigation it
is recommended the distributor make a determination whether they will subject future orders from
the same customer for the same drug product to more rigorous scrutiny and/or consider whether to
cease filling all future orders of that drug product or all controlled substances. 107
                  L.     DEA CHEMICAL HANDLERS MANUAL
        Cardinal Health (and others) have responded to discovery referencing the DEA’s Chemical
Handlers Manual and/or the 1998 Reno Report as “guidance” provided by the DEA regarding its
suspicious order monitoring system for Schedule II and III controlled substances, including
prescription opiates. 108 It is worth noting that these guidelines relate to “Listed Chemicals”, rather
than Schedule II and III controlled substances, primarily focused on the sale of chemicals used to
make illicit methamphetamine. “Suspicious orders” of Listed Chemicals are defined by 21 USC
§ 830(b)(1)(A) as orders of “extraordinary” size [based on a formula which generally multiples a
monthly base weight average per base code by a multiplier (3x)]. Notably, the Chemical Handlers
Manual also mandates:
            When a regulated person suspects that an order may be intended for illicit
            purposes, good practice requires that every reasonable effort be made to
            resolve those suspicions. In addition to making required reports, the
            transactions should not be completed until the customer is able to eliminate
            suspicions. 109
Relying upon a threshold of “extraordinary” size fails to detect orders of “unusual size” and is not
compliant with 21 CFR 1301.74(b). Nor is shipping suspicious orders after reporting. Further,
reliance on this threshold also does not detect orders of unusual pattern or frequency.
                  M.     MAINTENANCE OF EFFECTIVE CONTROLS                                AGAINST
                         DIVERSION OF CONTROLLED SUBSTANCES
      Registrants engaged in actively distributing controlled substances should implement
measures to comply with the legal and regulatory requirements. These measures should be
documented as a standard operating policy for the company and be distributed to all relevant

106
      Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000837.
107
      Id.
108
      See, e.g., CAH_MDL_PRIORPROD_HOUSE_0002207; CAH_MDL_PRIORPROD_DEA07_01198690.
109
      CAH_MDL_PRIORPROD_DEA07_01198690, 01198713.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 38 of 188. PageID #: 90177
                                                                 CONFIDENTIAL



employees. These standardized policies should be designed by distributors and manufacturers to
take the utmost precautions to prevent diversion by maintaining the “closed system” of
distribution. Included below are some key components that one would expect to see an operational
system designed to maintain effective controls against diversion.
   ● Registrants must have a comprehensive system in place and conduct an investigation on a
     customer who will be purchasing controlled substances. The following are some of the
     activities utilized to establish a new customer:
         ○ The review to establish a new customer and begin distribution of controlled
             substances is a critical 1st step to ensures a potential customer has a business plan
             consistent with compliance to the Controlled Substances Act. The review should
             confirm the information provided by the potential customer is accurate. One
             commonly used procedure by distributors is to utilize a customer questionnaire
             which asks a series of questions similar to the following:
                 ■ Past history of DEA registration to determine compliance history
                 ■ Check of state and local licensure compliance.
                 ■ Compliance history with state medical/pharmacy board
                 ■ Review the business plan to determine legitimacy of the customer
                 ■ Identify any affiliation with pain management doctors
                 ■ Review percentage of controlled substance business
                 ■ Identify any other distributors providing control substances
                 ■ Review the percentage of cash payments and insurance payments
                 ■ Review of pharmacy utilization reports
                 ■ On-site inspection of customer
                 ■ Internet search to determine any negative information

   ● 21 C.F.R. §1301.74(b) requires all manufacturers and distributors to design and operate a
     system to disclose to the registrant suspicious orders of controlled substances. This
     regulation states that suspicious orders include orders of an unusual size, orders deviating
     substantially for a normal pattern, and orders or an unusual frequency. The regulation
     further states a registrant shall inform the local DEA Division Office of suspicious orders
     when discovered by the registrant. The regulation indicates it is the responsibility of the
     registrant to design and operate a suspicious order monitoring system. The design of a
     suspicious order system must clearly identify when the order is identified by the system.
     A system that establishes thresholds which are legitimate needs of a customer identified
     through a comprehensive “know your customer” should consider any orders exceeding that
     threshold as a suspicious order. The identified order should not be shipped and reported to
     the DEA. The subsequent shipping of that order would be after a due diligence
     investigation has determined the order is being shipped for legitimate use. A suspicious
     order system to be effective contains many components which should include, but not
     limited to, the following:
         ○ Customer Types – Customers should be placed in into customer types based on the
             business activity identified through the due diligence documentation.


                                               1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 39 of 188. PageID #: 90178
                                                                 CONFIDENTIAL



         ○ Scope of Practice – The system should monitor and/or restrict customers to only
           allow the ordering of controlled substances by schedule and type which have been
           identified as required for the legitimate medical needs of the practice.
         ○ Customer Tiers/Groups – Customers who have been placed into customer types
           should be segregated by size in a minimum of three groups, based on the volume
           of their ordering history identified through the due diligence documentation.
         ○ Drug Types – A suspicious order system to be effective should design drug types
           with more specificity that by drug group or drug code. Monitoring controlled
           substances only by the drug code or drug family is too broad and reduces the
           effectiveness of the system. Thresholds should also be designed for those
           controlled substances identified with a higher probability of being targeted for
           diversion.
         ○ Thresholds – A distributor must identify the amount of controlled substances
           required by a customer for the legitimate operation of their business based on the
           registrant’s knowledge of the customers business model, due diligence
           investigation, comparison of purchase amounts by other similar customers.
           Thresholds should be calculated based on the history of usage of customer for a
           period of at least 12 months.
         ○ Population – The geographic distribution of controlled substances should be
           analyzed with relevant population information of available end users. The
           cumulative amount of controlled substances being distributed by a registrant to a
           geographic area or region should be monitored to insure it is consistent with
           legitimate population consumption. Customers who identify an activity of filling
           prescriptions from patients traveling from outside the area require a thorough due
           diligence type investigation including the review of dispensing records (without
           patient information) to confirm the legitimacy of the activity.
         ○ Pattern of Orders – Reviewing orders to determine if there are patterns of ordering
           of controlled and non-controlled drugs with a comparison with relevant industry
           information on the most frequently prescribed drugs. If the ordering pattern
           deviates from established levels or what would be normal for another similarly
           situated customer this could indicate potential diversion.
         ○ Pattern of Orders - Are controlled substances ordered in combinations of frequently
           abused drugs. As an example, purchasing the combination of oxycodone or
           hydrocodone products with Soma, Valium, and/or Xanax. The pattern of ordering
           of known highly abused controlled substances in comparison of other drugs can
           indicate diversion.
         ○ Frequency of Orders – The frequency of orders for controlled substances increasing
           disproportionately for specific controlled substances that have been identified as
           being highly diverted.
         ○ Geographic Distribution – The density of like businesses in geographic areas should
           be reviewed. Further, there should be a comparison of like customers in similarly
           situated geographic areas for deviation of volume and/or pattern of controlled
           substance orders. The system should identify large volume of controlled substances


                                             1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 40 of 188. PageID #: 90179
                                                                 CONFIDENTIAL



              consistently being received from a customer(s) in a state, county and city/township
              that does not have the appropriate customer base density.

   ● A robust and well-documented due diligence program is key for every compliance system
     to identify suspicious orders of controlled substances. As orders of controlled substances
     are identified due to factors such as size, pattern, or frequency, those orders may only be
     shipped if any suspicion is dispelled after adequate due diligence is conducted and it is
     determined that such orders are not likely to be diverted for illicit purposes. The elements
     and procedures involved in a due diligence compliance program for suspicious orders
     should be contained in a standard operation policy and should be readily available to all
     employees whose responsibilities touch on suspicious order monitoring. Characteristics of
     a robust due diligence should include the following:

          ○ An established procedure and criteria for setting threshold quantities.
          ○ The person or department who is responsible for approving threshold quantities is
            specifically identified.
          ○ A procedure for adjusting threshold quantities that requires thorough review and
            documentation.
          ○ Justification for the increase or decrease of thresholds documented by the registrant,
            and made after a review of factors such as the following:
                ■ Analysis of historical orders from the customer as well as any previous
                    adjustments in thresholds and the justification previously provided
                ■ Analysis of the patient population serviced by the customer
                ■ Analysis of the physician population serviced by the customer
                ■ Analysis of the results of an adequate on-site customer review program
                ■ Analysis of other factors that could indicate to the registrant whether or not
                    controlled substances are likely to be diverted for illicit purposes
          ○ Compliance review programs that have independent authority from other corporate
            entities/divisions to review thresholds as well as to approve or disapprove
            customers or threshold adjustments.
          ○ Sales role (if any) in the compliance review program must be appropriately
            managed.
          ○ On-site review includes the acquisition and review of utilization report.
          ○ Request for threshold changes necessitates an on-site review.
          ○ The person(s) is specifically identified who is responsible for reporting suspicious
            orders to the DEA.
          ○ Orders reported as suspicious that are subsequently shipped by the registrant have
            sufficient due diligence review being conducted and documented prior to
            distribution.


                                               1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 41 of 188. PageID #: 90180
                                                                 CONFIDENTIAL



              ○ The documentation of due diligence performed and the results thereof being
                retained
              ○ Suspicious orders also being reported to states where applicable.
              ○ Suspicious orders being reported as drug families and by individual drugs.
              ○ Sufficient training and education for all involved in the distribution of controlled
                substances.
        Almost as essential as the due diligence being conducted is that efforts made to dispel
suspicions and the results thereof are adequately documented and retained. Thorough
recordkeeping and documentation of the steps taken to justify flagged orders are necessary not
only to explain why decisions were made in any particular instance, but also to inform future
decisions regarding flagged orders. One important aspect of every due diligence review should
always be an examination of the historical transactions of the customer who placed the flagged
order. Such an examination is necessary to evaluate trends over time and to inform decisions about
whether or not orders of controlled substances are likely to be diverted into illicit channels. For
purposes of conducting a historical review of a customer when evaluating a flagged order, if prior
due diligence investigations are not adequately documented and retained, they may as well have
not occurred at all.

         As explained above, the goal of suspicious order monitoring is to ensure that bulk orders
of controlled substances are being shipped for legitimate purposes rather than being diverted for
illicit purposes. A suspicious order monitoring system has a self-policing aspect with the twin
aims of both stopping the shipment of orders at risk of diversion and investigating those who have
placed orders that are identified as suspicious. Not shipping a suspicious order is only part of the
equation. The other parts are investigating the buyer and the circumstances surrounding the order
and, if necessary, reporting the suspicious order to the DEA. Any order that is suspicious requires
action to dispel suspicion and confirm legitimacy. Otherwise the order should not ship. When a
distributor neglects to dispel suspicion and ships anyway, the risk of diversion does not disappear
when the order ships. For this reason, any future order or shipment to that particular pharmacy or
buyer should not ship until an investigation of the initial suspicious order occurs because there is
an outstanding concern about the past shipment that has not been addressed. Otherwise, a
distributor is potentially sending larger and larger quantities of controlled substances to a buyer
that is under suspicion of being a diversion risk. The suspicious order monitoring system failures
described above directly led to massive quantities of pills being shipped to buyers who had placed
suspicious orders of controlled substances. These orders never should have shipped until after the
suspicion of diversion was dispelled.


       III.      Identifying Suspicious Orders Distributed in CT1
        I have described in this report the ways in which distributor and manufacturer defendants’
inadequate response to their statutory and regulatory requirements to maintain effective controls
related to the sales of prescription opioids would potentially cause the diversion of these pills for
non-medical use. I have reviewed five suspicious order methodologies, some of which were

                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 42 of 188. PageID #: 90181
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 43 of 188. PageID #: 90182
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 44 of 188. PageID #: 90183
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 45 of 188. PageID #: 90184
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 46 of 188. PageID #: 90185
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 47 of 188. PageID #: 90186
                                                                 CONFIDENTIAL



 McKesson Corporation 148

 CVS 149

 Walgreens 150



        I have been asked to identify the number of opioid pills that entered Cuyahoga and Summit
Counties unlawfully. This is an impossible task due to the defendants’ failure to comply with their
Federal statutory and regulatory requirements. 151 However, it is my opinion to a reasonable degree
of professional certainty that applying the test set forth in Masters Pharmaceutical, Inc. v. Drug
Enforcement Administration, 861 F.3d 206 (2017) provides a reasonable estimate and an initial
trigger and first step to identifying orders of unusual size. 152 See Methodology A above. Pursuant
to Masters, “as a matter of common sense and ordinary language, orders that deviate from a six-
month trend are an ‘unusual’ and not ‘normal’ occurrence” Masters Pharm., Inc. v. Drug Enf't
Admin., 861 F.3d 206, 216 (D.C. Cir. 2017). I say this understanding that this litigation will be
advanced by selecting a methodology quantifying a volume of pills that entered CT1 jurisdictions
unlawfully and providing this data to an economist to measure the harm caused by this volume.
        Based on my education, background, and experience, as well as my review of relevant
documents, the absence of adequate distributor due diligence and failure to respond to indicators
of suspicious orders as described in this report constitutes the Defendants’ failures to comply with
the requirements of the Controlled Substances Act. It is further my opinion that this misconduct
led to the excess quantity of opiate pills flooding the illicit market in CT1 jurisdictions.


            IV.     REGISTRANT SUSPICIOUS ORDER MONITORING SYSTEMS (SOMS)
        I have been asked to review the documents produced in this litigation to determine whether
the distributors complied with the statutory and regulatory duties outlined above. In this process I
have reviewed numerous documents and depositions for each of the enumerated Defendants.
Based on my review it is my opinion to a reasonable degree of professional certainty that each of
the distributors failed to comply with their statutory and regulatory duty to maintain effective
controls to prevent diversion and to design and operate a system to identify and report suspicious
orders.

148
      Id. at 802.
149
      Id. at 847.
150
      Id. at 892.
151
   This includes, but is not limited to, the requirement of the defendants to maintain effective controls against
diversion, the reporting requirement, and the not shipping requirement. The detail of some of these failures is set
out more completely below in the distributor and manufacturer specific sections of this report.
152
      This approach does not take into consideration unusual pattern or frequency.
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 48 of 188. PageID #: 90187
                                                                 CONFIDENTIAL



                  A. Cardinal Health
       Distribution Center: Wheeling, WV
       DEA Registrant Number: RO0153609
       Transactional Data Disclosed:
           Date range:      01/01/1996 through 05/01/2018 153
           Volume:          Cuyahoga County
 Cuyahoga 154                  Total Dosage                  MME            Base Weight
 Oxycodone
 Hydrocodone

                            Summit County
            155
 Summit                        Total Dosage                  MME            Base Weight
 Oxycodone
 Hydrocodone


                        1. Court ordered SOMS Discovery Disclosure:

      •    Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ First Combined Discovery
           Requests (July 31, 2018)
      •    Cardinal Health, Inc.’s First Supplemental Objections and Responses to Plaintiffs’ First
           Combined Discovery Requests (November 30, 2018)
      •    Cardinal Health, Inc.’s Second Supplemental Objections and Responses To Plaintiffs’
           First Combined Discovery Requests (January 22, 2019)
      •    Cardinal Health, Inc.’s Third Supplemental Objections and Responses To Plaintiffs’ First
           Combined Discovery Requests (March 4, 2019)
      •    Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ First Set of Requests for
           Production of Documents (May 29, 2018)
      •    Cardinal Health, Inc.’s Objections and Supplemental Responses to Plaintiffs’ First Set of
           Interrogatories (November 30, 2018)
      •    Cardinal Health, Inc.’s Objections and Second Supplemental Responses to Plaintiffs’ First
           Set of Interrogatories (March 4, 2019)
      •    Cardinal Health, Inc.’s Revised Objections and Third Supplemental Responses to
           Plaintiffs’ First Set of Interrogatories (March 25, 2019)
      •    30(b)(6) Deposition of Cardinal Health (Jennifer Norris) (August 7, 2018)
      •    Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 1 (September 11, 2018)

153
  CAH_MDL2804_00000012, CAH_MDL2804_00000014, CAH_MDL2804_00135241, and
CAH_MDL2804_00617320.
154
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 91.
155
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 721.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 49 of 188. PageID #: 90188
                                                                 CONFIDENTIAL



       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics (O), 9-11 (October 18,
           2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 2 (October 25, 2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 3-5 (November 9, 2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 13, 15-21 (November
           14, 2018)
       •   Cardinal Health’s Supplemental Written Response to Plaintiffs’ 30(b)(6) Topic (a)
           (January 24, 2019)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 16-18 (January 24,
           2019)
       •   Cardinal Health’s Revised and Supplemental Written Response to Plaintiffs’ 30(b)(6)
           Topic (a) (March 4, 2019)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 14 (March 4, 2019)

                     2. SOMS Corporate Policy Disclosed:
           Cardinal Health DEA Compliance Manual (April 5, 2000) 156
         This system that Cardinal used from April of 2000 till sometime in late 2007/early 2008
had two operational aspects. First, Cardinal Health utilized the Ingredient Limit Reports, which
were generated as a retrospective review of the prior month’s distribution data based on a formula
that was applied on a monthly basis. A hard copy was then mailed to the local DEA office.
According to Mr. Reardon, Vice President Quality and Regulatory Affairs from 2005 to 2007 and
a Director in regulatory prior to 2000, this system was utilized by Cardinal as far back as the early
1990’s. See Deposition of Steve Reardon, November 30, 2018 at 410: 10 to 411: 11 and 429: 3-
10. The second part of this system was to have cage/vault employees looking for suspicious orders
based on the “Excessive Purchases Schedule II” and “Excessive Purchases Schedule III, IV, V”
charts. 157 If Cardinal’s pickers and checkers spotted an excessive order they were to notify the
local DEA office prior to shipment of the order if possible and place a copy of these orders in the
distribution center’s suspicious order file along with a Regulatory Agency Contract Form (Form
#1) noting any specific instructions from the DEA. 158
           Cardinal SOM Program (12/01/2007 through 12/22/2008) 159
       The next step in the evolution of Cardinal’s SOM Programs is unclear. According to
document CAH_MDL2804_01522227 Cardinal’s policies change on this date to incorporate
threshold and a know your customer (KYC) system. However according to sworn testimony for
Cardinal via its 30(b) designee Jennifer Norris, Cardinal does not know what changes it made



156
      CAH_MDL_PRIORPROD_DEA07_01383895, 01383939-01384041.
157
      See CAH_MDL_PRIORPROD_DEA07_01383136, 01384160-01384161.
158
      CAH_MDL_PRIORPROD_DEA07_01383895, 01383940 and 01384080.
159
      CAH_MDL2804_01522227
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 50 of 188. PageID #: 90189
                                                                 CONFIDENTIAL



within its SOM systems from September 2006 through at least late 2007. See Norris Deposition
at page 292.
          Cardinal SOM Program (12/22/2008 forward) 160
         In 2008 Cardinal implemented several Standard Operating Procedures (SOP) related to
anti-diversion. This system also had two primary components. The first component was threshold
utilization. This included setting a specific threshold (based on dosage unit) for each customer for
each controlled drug base code or drug family and if the customer exceeded the allotted threshold
the order was to be held and not shipped. The second component to this system was “Know Your
Customer” (KYC) and it obligated Cardinal to know who they were dealing with. The threshold
process and KYC are discussed in more detail in other portions of my report.
                      3. Enforcement Actions
       a) On December 26, 2006, Cardinal entered into an Assurance of Discontinuance Pursuant
          to Executive Law §63(15) with the NY AG related to its failures to prevent and monitor
          price diversion and closed door pharmacies; 161

       b) On September 18, 2007, the DEA issued a Warrant for Inspection against the Cardinal
          Health Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain
          effective controls against diversion of hydrocodone; 162

       c) On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Auburn, Washington Distribution Center
          (“Auburn Facility”) for failure to maintain effective controls against diversion of
          hydrocodone; 163

       d) On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center
          (“Lakeland Facility”) for failure to maintain effective controls against diversion of
          hydrocodone; 164

       e) On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution


160
  CAH_MDL_PRIORPROD_AG_0004208, CAH_MDL_PRIORPROD_AG_0000323,
CAH_MDL_PRIORPROD_AG_0000344, CAH_MDL_PRIORPROD_AG_0000101,
CAH_MDL_PRIORPROD_DEA12_00014535, 00014536; CAH_MDL_PRIORPROD_AG_0000013
161
      CAH_MDL_PRIORPROD_DEA07_00833777.
162
      CAH_MDL2804_02110916, 02110918-02110923.
163
      CAH_MDL2804_00641449, 00641465.
164
      CAH_MDL2804_00641449, 00641469.
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 51 of 188. PageID #: 90190
                                                                 CONFIDENTIAL



          Center (“Swedesboro Facility”) for failure to maintain effective controls against diversion
          of hydrocodone; 165

       f) On January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal
          Health Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain
          effective controls against diversion of hydrocodone; 166

       g) On September 30, 2008, Cardinal Health entered into a Settlement and Release
          Agreement and Administrative Memorandum of Agreement with the DEA related to its
          Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The
          document also referenced allegations by the DEA that Cardinal failed to maintain
          effective controls against the diversion of controlled substances at all 27 of Cardinal’s
          distribution centers nationwide; 167

       h) On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center for
          failure to maintain effective controls against diversion of oxycodone; 168 and

       i) On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the DEA to
          resolve the civil penalty portion of the administrative action taken against its Lakeland,
          Florida Distribution Center. 169

                      4. Suspicious Orders Reported In CT1 Jurisdictions
                                  Pre-Shipment
                                                          Post-Shipment Reporting
                                   Reporting
                    1996
                    1997
                    1998
                    1999
                    2000
                    2001
                    2002
                    2003
                    2004
                    2005

165
      CAH_MDL2804_00641449, 00641474.
166
      CAH_MDL2804_00641449, 00641479
167
      CAH_MDL2804_00641449.
168
      CAH_MDL2804_02465982.
169
      CAH_MDL2804_0005778.
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 52 of 188. PageID #: 90191
                                                                 CONFIDENTIAL



                  2006
                  2007
                  2008
                  2009
                  2010
                  2011
                  2012
                  2013
                  2014
                  2015
                  2016
                  2017
                  2018


                    5. Due Diligence Conducted
       Due Diligence is one of the core components of any SOMS and must be fully integrated if
the SOMS is going to work adequately. The basic premise for due diligence is that a registrant
must know who they are dealing with when distributing controlled substances (potentially
dangerous drugs) into surrounding communities. Cardinal’s due diligence system has evolved
over time and while it has made general improvements in theory the overall application of the
system does not meet its regulatory requirement to maintain effective controls against diversion.
           Cardinal’s due diligence prior to 2006 is very limited, and it is difficult to discern exactly
what due diligence was conducted by Cardinal prior to 2006. Cardinal cited to a defined list of
documents in its Second Supplemental Combined Discovery Responses as the production related
to due diligence conducted on the Cuyahoga County and Summit County customers. 170 It appears
that prior to 2006 Cardinal’s customer due diligence was limited in fashion. The best I can tell it
appears that Cardinal solely sought to ensure compliance with 21 CFR 1301.74(a) which reads in
pertinent part:

        Before distributing a controlled substance to any person who the registrant does not
        know to be registered to possess the controlled substance, the registrant shall make
        a good faith inquiry either with the Administration or with the appropriate State
        controlled substance registration agency, if any, to determine that the person is
        registered to possess the controlled substance.




170
  See Cardinal Second Supplemental Combined Discovery Responses, citing CAH_MDL2804_00000015 –
00001851, CAH_MDL2804_00094067–00094604, CAH_MDL2804_00135242, CAH_MDL2804_00619125,
CAH_MDL2804_01287246–01287525, CAH_MDL2804_02098561, CAH_MDL2804_02101808, and
CAH_MDL2804_02879401–02879958
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 53 of 188. PageID #: 90192
                                                                 CONFIDENTIAL



While such due diligence is a first step in the process it does not meet the required level of
compliance to ensure a sufficient level of maintenance of effective control by which a registrant
should operate.

           In 2005 it appears that the NY AG began an investigation of Cardinal related to the
distribution of its products. 171 This matter involves, amongst other allegations, price diversion
with closed door pharmacies that engaged in contract pricing. This matter resolved in December
of 2006 with the entry of an Assurance of Discontinuance. This appears to have caused Cardinal
to create its first customer screening and monitoring process at least as it applies to “closed-door
pharmacy customers at contract pricing.” 172 This policy is very limited in its application to
“closed-door pharmacy customers at contract pricing” and there was no indication that a like policy
was enacted for Cardinal’s remaining customers. The main function of this policy as it relates to
due diligence was to require a “Contract Pricing Declaration” and a “Site Visit Form.” This
process did not constitute adequate due diligence for these customers. Additionally, it appears that
these forms were not utilized prior to 2006, confirming the lack of due diligence even for closed-
door pharmacies prior to that date. 173

           In 2007/2008 when Cardinal was being investigated by the DEA and received immediate
suspension orders for three of its distribution centers, I see the next significant change in the due
diligence process in place at Cardinal. This is first demonstrated in a training manual that is
prepared by Eric Brantley (at least the manual bears his name) and dated October 2007 and is titled
Know Your Customer Program: Retail Pharmacy Questionnaire Training. 174 There is also a
related document that is an email from Gary Cacciatore sent on December 9, 2007 indicating this
training is being rolled out to the “independent retail sales team” to be completed by December
19, 2007. 175 For this time frame up until 2012 there appears to be some due diligence/know your
customer functions occurring in Cuyahoga County and Summit County for retail independent
pharmacies/drug stores but not to the extent I have outlined above. 176

            During this same time, 2007/2008 to 2012, there seems to be very little in
implementation of actual policies related to know your customer/due diligence. 177 Cardinal Health
provided almost preferential treatment to its chain pharmacies/national accounts as compared to
their retail independent customers. Cardinal Health’s policies did not reflect this almost
preferential treatment. Cardinal admittedly did not conduct the same due diligence on its chain


171
      See CAH_MDL_PRIORPROD_DEA07_00833777.
172
      See CAH_MDL_PRIORPROD_DEA07_00871842.
173
      See CAH_MDL_PRIORPROD_DEA07_00008894.
174
      See CAH_MDL_PRIORPROD_DEA07_02738896.
175
      See CAH_MDL_PRIORPROD_DEA07_02738893.
176
      See Section II. (M.).
177
  See, e.g., Due Diligence files produced by Cardinal Health for customers in the City of Cleveland, Cuyahoga
County, and Summit County, CAH_MDL2804_00000015 –00001851, CAH_MDL2804_00094067–00094604.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 54 of 188. PageID #: 90193
                                                                 CONFIDENTIAL



customers during this time period. 178 This practice is not acceptable for maintaining effective
controls against diversion and is a breach of Cardinal’s obligation as a registrant. As indicated
above, there was clearly some due diligence being conducted, some of which occurred in the way
of on-site investigations, however, according to the Special Demand Committee Report of
Cardinal’s Board of Directors, those investigations were not being reviewed properly. 179 These
requirements are not intended to be an act in futility but are a useful and necessary tool in meeting
the registrant’s regulatory requirements.

         There are several examples of this lack of due diligence/KYC occurring in Cuyahoga
County and Summit County over this span of years. These examples are based on documents
identified in the Second Supplemental Combined Discovery Responses, which identify the due
diligence files for Cuyahoga County and Summit County. Looking at New Choice Pharmacy,
which is located in Summit County, it appears that it initially became a customer of Cardinal’s in
approximately May 2004 and remained a customer until approximately September 2015. During
this timeframe New Choice went through three changes of DEA registration numbers
(FN1432854, BC8680399, and BN8680399) with no real explanation for this in the produced due
diligence file. 180 There could have been several reasons for this change, such as a change of
ownership or change is business model. The distribution of oxycodone to New Choice showed a
pattern of growth from        dosage units of oxycodone in May 2004 to over              dosage units
                                                                                   181
in August 2007 and there appears to be no due diligence until January 2008.            The documents
within this due diligence file fail to recognize risk factors that are apparent while Cardinal
continued to increase the threshold for oxycodone, and eventually on March 7, 2008, the threshold
increased to           oxycodone dosage units per month. 182 While New Choice was located in a
medical complex, and for a time was owned by a hospital group, it did not service the hospital and
instead actually serviced a pain clinic. Its controlled substances sales constituted     of total sales
in the early part of 2008. The due diligence that is contained in Cardinal’s files is not sufficient to
justify this large amount of oxycodone and does not meet Cardinal’s regulatory requirement. 183

         The next example is a chain pharmacy known as CVS #3322 (DEA# AR7531418), which
appears to have been a customer of Cardinal’s from 2000 to at least May 2018. CVS #3322’s
purchases of oxycodone increased over time from           for the month of February 2000 to a high
of        for October 2012. There is a due diligence file produced by Cardinal for CVS 3322, but


178
      See Declaration of Michael A. Mone, CAH_MDL_PRIORPROD_DEA12_00014053 at page 13.
179
   See Investigation Report of the Special Demand Committee, CAH_MDL_PRIORPROD_HOUSE_0003331 at
page 36.
180
  See New Choice Pharmacy Due Diligence file, CAH_MDL2804_00000605-00000618,
CAH_MDL2804_00001518-00001540.
181
      See id.; see also Expert Report of Craig J. McCann, Ph.D, CFA, App. 9, pp. 1424, 1524, and 1536.
182
      See CAH_MDL2804_00619126 and CAH_MDL2804_02098561.
183
  See New Choice Pharmacy Due Diligence file, CAH_MDL2804_00000605-00000618,
CAH_MDL2804_00001518-00001540.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 55 of 188. PageID #: 90194
                                                                 CONFIDENTIAL



there is no documented due diligence prior to January 24, 2014. 184 The diligence that is noted on
this date is a “surveillance site visit report,” which according to Mr. Forst is completely different
than an on-site investigation. 185 Again, this level of due diligence is not sufficient to meet
Cardinal’s regulatory obligations and, as set out above, relying on the chain to conduct their own
due diligence does not meet regulatory requirements.

                         6. Opinions Related to Cardinal Health
           1.       Cardinal Health failed to maintain effective control against diversion of
                    prescription opiates into the illicit market in violation of 21 U.S.C.A. §
                    823(b)(1) [1970].
        The bar graphs identified as Figures 3-14 in Schedule II to this report demonstrate a clear
increase of distribution of prescription opioids into Cuyahoga County and Summit County by dose,
base weight and MME. In my opinion the massive increase in prescription opioids without
sufficient due diligence documented is indicative of a failure to maintain effective control.
           2.       Cardinal Health failed to design and operate a system to identify suspicious
                    orders of controlled substances in violation of the security requirement set forth
                    in 21 C.F.R. § 1301.74(b).
           a.       Policy Period #1 (1996 to 2008):
                    i.       Ingredient Limit Reports
        Cardinal Health claims its system from 1996 to 2008 was premised upon “guidance” from
the 1998 DEA Reno Report. 186 The record does not reveal any documentation which supports this
contention. 187 Moreover, the Reno Report provides guidance on monitoring monthly orders of
chemicals used to make illicit methamphetamine. The Reno Report, referencing the Chemical
Handlers Manual, advises a distributor to set an “ingredient limit” as a tool to detect monthly
orders of extraordinary size. This limit is determined by calculating a monthly average for
similarly situated customers and multiplying by a factor of three (3). Monthly orders in excess of
this limit are deemed “extraordinary” and must be reported.



184
      See CVS #3322 Due Diligence file, CAH_MDL2804_00000204-00000219.
185
      See Depo. of Stephen Forst, 30:4-33:19.
186
    Cardinal Health’s Supplemental Response to Plaintiffs’ First Combined Discovery Request No. 3 (November 30,
2018); Deposition of Jennifer Norris (30(b) Designee for Cardinal Health), 134:16-23.
187
    See Deposition of Jennifer Norris (30(b) Designee for Cardinal Health); Cardinal Health’s original and First,
Second, and Third Supplemental Responses to Plaintiffs’ Frist Combined Discovery Request; Cardinal Health’s
Written Original and Supplemental Responses to Plaintiffs’ First Notice of 30(b) Deposition, Topic (a). Furthermore,
while there is not necessarily evidence that the “guidance” Cardinal allegedly received was communicated by a DEA
field agent, to the extent it was, pursuant to the reasoning in Novelty Distributors, Inc., 73 Fed. Reg. 52,689, n. 53
(Drug Enf’t Admin. September 3, 2008), Cardinal’s reliance on an agent’s “erroneous understanding of the law and
regulations” would have been misplaced..
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 56 of 188. PageID #: 90195
                                                                 CONFIDENTIAL



        Cardinal Health used this methodology to monitor controlled substances but used a factor
of four (4) to identify unusual monthly orders. This design is insufficient to meet the security
requirement because: (a) it fails to identify suspicious orders before shipment; (b) it uses after-
the-fact reporting of suspicious orders; (c) it ships suspicious orders; and (d) it uses a 4x factor
which is in excess of the factor recommended by the Reno Report to detect orders of extraordinary
size. Cardinal Health knew or should have known that such a system, by itself, is woefully
insufficient to meet its obligations under federal law.
        If Cardinal Health designed its system in accordance with the DEA Diversion Investigators
Manual (1996), a copy of which it had in its possession since at least 2003, it would have identified
a serious problem in Cuyahoga County and Summit County. The Manual states:
           Registrants, who routinely report suspicious orders, yet fill these orders, with
           reason to believe they are destined for the illicit market, are expressing an
           attitude of irresponsibility that is a detriment to the public health and safety as
           set forth in 21 U.S.C. 823 and 824. Suspicious orders include those which are
           in excess of legitimate medical use or exhibit characteristics leading to possible
           diversion such as: orders of unusual size, unusual frequency, or those
           deviating substantially from a normal pattern. The supplier can determine
           whether the order is excessive by checking their own sales and establishing the
           average amount of controlled substances shipped to registrants of the same
           apparent size in a particular geographic area. If the customer exceeds this
           threshold, the request should be viewed as suspicious. This activity, over
           extended periods of time, would lead a reasonable person to believe that
           controlled substances possibly are being diverted. 188
Cardinal Health did not retain the algorithm nor the formula used to calculate the average purchase
of controlled substances by the distribution center servicing Cuyahoga County and Summit
County. 189 However, Cardinal Health produced Ingredient Limit Reports from its Wheeling
Distribution Center from which the following “ingredient limits” of oxycodone and hydrocodone
can be derived:
                                                                                   Limit      for Limit for
 Bates Range                                                        Date
                                                                                   9143           9193
 CAH_MDL_PRIORPROD_DEA07_01465435                               –
 01465712                                                           August
                                                                    2005
 (see CAH_MDL_PRIORPROD_DEA07_01465497)
 CAH_MDL_PRIORPROD_DEA07_01713984                               – September
 01714260                                                         2005



188
      See CAH_MDL2804_02203353.
189
      See Special Master Cohen Discovery Hearing Transcript of January 25, 2019, pp. 60-67.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 57 of 188. PageID #: 90196
                                                                 CONFIDENTIAL



 (see CAH_MDL_PRIORPROD_DEA07_01714045)


 CAH_MDL_PRIORPROD_DEA07_01676164          –
 01676385                                      October
                                               2005
 (see CAH_MDL_PRIORPROD_DEA07_01676206)
 CAH_MDL_PRIORPROD_DEA07_01640601          –
 01640859                                      November
                                               2005
 (see CAH_MDL_PRIORPROD_DEA07_01640661)
 CAH_MDL_PRIORPROD_DEA07_01698986          –
 01699238                                      December
                                               2005
 (see CAH_MDL_PRIORPROD_DEA07_01699031)
 CAH_MDL_PRIORPROD_DEA07_01554009          –
 01554254                                      January
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01554060)
 CAH_MDL_PRIORPROD_DEA07_01538085          –
 01538299                                      February
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01538126)
 CAH_MDL_PRIORPROD_DEA07_01611135          –
 01611464                                      March
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01611192)
 CAH_MDL_PRIORPROD_DEA07_01641502          –
 01641682                                      April 2006
 (see CAH_MDL_PRIORPROD_DEA07_01641540)
 CAH_MDL_PRIORPROD_DEA07_01788800          –
 01789058                                      May 2006
 (see CAH_MDL_PRIORPROD_DEA07_01788850)
 CAH_MDL_PRIORPROD_DEA07_01590839          –
 01591156                                      June 2006
 (see CAH_MDL_PRIORPROD_DEA07_01590908)
 CAH_MDL_PRIORPROD_DEA07_01573797          –
                                               July 2006
 01574019


                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 58 of 188. PageID #: 90197
                                                                 CONFIDENTIAL



 (see CAH_MDL_PRIORPROD_DEA07_01573850)


 CAH_MDL_PRIORPROD_DEA07_01475709          –
 01475962                                      August
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01475761)
 CAH_MDL_PRIORPROD_DEA07_01723108          –
 01723339                                      September
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01723159)
 CAH_MDL_PRIORPROD_DEA07_01685103          –
 01685339                                      October
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01685159)
 CAH_MDL_PRIORPROD_DEA07_01650463          –
 01650717                                      November
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01650518)
 CAH_MDL_PRIORPROD_DEA07_01515965          –
 01516204                                      December
                                               2006
 (see CAH_MDL_PRIORPROD_DEA07_01516022)
 CAH_MDL_PRIORPROD_DEA07_01563313          –
 01563602                                      January
                                               2007
 (see CAH_MDL_PRIORPROD_DEA07_01563374)
 CAH_MDL_PRIORPROD_DEA07_01546013          –
 01546207                                      February
                                               2007
 (see CAH_MDL_PRIORPROD_DEA07_01546054)
 CAH_MDL_PRIORPROD_DEA07_01620843          –
 01621127                                      March
                                               2007
 (see CAH_MDL_PRIORPROD_DEA07_01620900)
 CAH_MDL_PRIORPROD_DEA07_01457031          –
 01457282                                      April 2007
 (see CAH_MDL_PRIORPROD_DEA07_01457086)
 CAH_MDL_PRIORPROD_DEA07_01747160          –
                                               May 2007
 01747495


                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 59 of 188. PageID #: 90198
                                                                 CONFIDENTIAL



 (see CAH_MDL_PRIORPROD_DEA07_01747222)


 CAH_MDL_PRIORPROD_DEA07_01601686                    –
 01601970                                                June 2007
 (see CAH_MDL_PRIORPROD_DEA07_01601749)
 CAH_MDL_PRIORPROD_DEA07_01544958                    –
 01545544                                                July 2007
 (see CAH_MDL_PRIORPROD_DEA07_01545069)
 CAH_MDL_PRIORPROD_DEA07_01488350                    –
 01488972                                                August
                                                         2007
 (see CAH_MDL_PRIORPROD_DEA07_01488469)
 CAH_MDL_PRIORPROD_DEA07_01732427                    –
 01732872                                                September
                                                         2007
 (see CAH_MDL_PRIORPROD_DEA07_01732511)
 CAH_MDL_PRIORPROD_DEA07_01696166                    –
 01696738                                                October
                                                         2007
 (see CAH_MDL_PRIORPROD_DEA07_01696272)
 CAH_MDL_PRIORPROD_DEA07_01660982                    –
 01661449                                                November
                                                         2007
 (see CAH_MDL_PRIORPROD_DEA07_01661075)
 CAH_MDL_PRIORPROD_DEA07_01525200                    –
 01525688                                                December
                                                         2007
 (see CAH_MDL_PRIORPROD_DEA07_0155294)
 CAH_MDL2804_00689780 – 00690378
                                                         April 2008
 (see CAH_MDL2804_00689879)


        Additionally, by reviewing this chart it exemplifies some of the concerns I have with
Cardinal Health’s SOMS. This ILR information is all from Cardinal Health’s Wheeling
distribution center and we can see that for this geographic area the limiter amount for oxycodone
is decreasing from October 2005 through March 2007 from 140.26240 down to 104.40680. Then
in April of 2007 the limiter begins to increase until April 2008 (did not have ILR’s for January,
February, and March of 2008), climbing from 104.82816 up to 211.60004, more than doubling the
amount of oxycodone in a year’s time. It is my understanding that this distribution center provides
                                                1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 60 of 188. PageID #: 90199
                                                                 CONFIDENTIAL



distribution services to Ohio, West Virginia, and parts of Pennsylvania. 190 This drastic increase
should have triggered an investigation to ensure the legitimacy of the orders placed by the
customers for oxycodone.
                     ii.     Excessive Orders
        Cardinal Health’s system (early 1990’s-2008) 191 was also designed to identify “individual
orders that appear to be excessive” on a daily basis and notify the DEA, if possible, before the
order is shipped. Excessive orders are defined by the following dosage limits:
            Hydrocodone                                                   800 Tabs/Caps

            Oxycodone / Acet                                              1200 Tabs/Caps
            (Tylox, Roxilox, Roxicet. Percocet. Endocet)

            Oxycodone/Asa                                                 500 Tabs
            (Percodan, Endodan, Roxiprin)

            Oxycodone                                                     600 Tabs 192
            (Oxycontin, Roxicodone)

       During this timeframe Steve Reardon, Vice President Quality and Regulatory Affairs, was
over the anti-diversion department at Cardinal Health. Mr. Reardon testified that this “Excessive
Order” system was expected to be implemented the same across the whole company and
implemented uniformly. 193 According to Mr. Reardon, Cardinal Health’s policy was for any order
that exceeded these “Excessive Order” postings in the cage to be reported to the DEA as a
suspicious order prior to shipment. 194

I asked SLCG to determine how many daily orders exceeded the daily limit set by Cardinal Health
between 1996 to 2018 which resulted in the following:

            Cuyahoga County: 195                 196
                                                  orders of oxycodone (         of all oxycodone orders)
                                      exceeded the daily limit. These orders included            dosage
                                      units of oxycodone.



190
      See Deposition of Craig Baranski, p. 82-83.
191
      See Deposition of Steve Reardon, p. 429.
192
      CAH_MDL_PRIORPROD_DEA07_01383136, 01383401.
193
      See Reardon at 455 to 456.
194
      See Reardon at 453 to 456.
195
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 127.
196
      Id. at Table 32.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 61 of 188. PageID #: 90200
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 62 of 188. PageID #: 90201
                                                                 CONFIDENTIAL



           As you know, I’ve investigated many accounts, tracked their ordering history,
           and reached out for guidance and directions. But without “someone” bringing a
           suspected “excessive quantity” order to our attention, many, many more could
           be going out the door under our noses. I wonder could a similar situation
           happen in Lakeland and management be questioned “why wasn’t this
           discovered?” 203

In my opinion, this represents a breach of the security requirement as it applies to Cardinal Health.

       This is all consistent with the testimony of Mark Hartman, who took over the regulatory
department in December 2007, as the Senior Vice President of Supply Chain Integrity. 204
According to Mr. Hartman as well as a power point presentation that he prepared, Cardinal Health
had leaks in their supply chain. 205 This is during the same time that Cardinal was addressing three
Immediate Suspension Orders and one Order to Show Cause across four of its distribution centers
related to Cardinal Health’s failure to maintain effective controls against diversion. 206
Specifically, Cardinal Health was alleged to have been failing to comply with its regulatory duties
and distributing excess oxycodone, which is consistent with my opinions for Policy Period #1.

        Even Cardinal Health’s counsel recognized that Cardinal Health did not have a sufficient
SOMS to properly detect all suspicious orders during this timeframe. 207 Prior to and during
portions of 2008, Cardinal Health was still delivering not only controlled substances, but
oxycodone in particular, after being specifically told that such an action would be illegal. 208
Further, a spreadsheet produced by Cardinal describes a number of pharmacies, including some in
CT1 jurisdictions, that Cardinal cut off prior to 2008 and the underlying reasons for termination. 209
This document shows that Cardinal serviced pharmacies whose purchase histories, ratio of
purchases of controlled to non-controlled substances, ratio of cash for purchases of controlled
substances, total volume of certain controlled substances (hydrocodone, oxycodone), and other
factors indicated potential diversion. Had Cardinal investigated these pharmacies sooner, as it
should have, Cardinal would have been aware of this activity.


           b.       Policy Period #2 (2008 to 2012):

                    i.       Thresholds
203
      See CAH_MDL_PRIORPROD_DEA07_00135433 (emphasis added).
204
      See Deposition of Mark Hartman at 17:11-16.
205
      See id. 236: 5-13, see also Hartman Depo. Exhibit 13.
206
      CAH_MDL2804_00641449.
207
   See CAH_MDL_PRIORPROD_DEA07_00968964 (“[H]ere, you have an Inet Pharmacy, the account is open,
and Cardinal does not yet have a system for detecting all suspicious orders.”).
208
      Id.; see also, Schedule IV, distributions to Ross Westbank (2006-2014).
209
      CAH_MDL2804_00664969.
                                                              1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 63 of 188. PageID #: 90202
                                                                 CONFIDENTIAL




        After the DEA instituted an enforcement action against Cardinal Health, it began
implementing a different SOM system in 2008. Cardinal Health claims that this revised system
focused on a dual approach. The first approach used in this system required the creation of a
Threshold for each customer and that the Threshold be specific for each base code. The Threshold
was designed to operate as a stop on any shipment which exceeded the predetermined
Threshold. 210 The Second step in this process required Cardinal Health to be familiar with its
customers (Know Your Customers). The record does not support that Cardinal Health complied
with their own thresholds. To the contrary, Cardinal Health continued to ship orders that exceeded
their own Thresholds without complying with their KYC requirements or conducting sufficient
due diligence before shipping suspicious orders.

        Cardinal Health’s approach to setting these Thresholds for its customers, as with the ILR’s,
was fatally flawed. Cardinal Health’s Threshold system required it to determine the 12 month
average for its customers, for each base code based on type and size of customer, and multiply that
average by a multiple of 3 for schedule II’s and a multiple of 5 for schedule III’s. 211 This too is
insufficient under the security requirement because: (a) it premises setting a threshold limit in the
middle of a national opioid epidemic; 212 and (b) Cardinal Health relies on the Reno Report 213 using
a 3x and 5x multiple respectively, which, again, is recommended only to apply to extraordinary
size of controlled substances containing List 1 chemicals, and not to Schedule II and Schedule III
controlled substances which do not contain List I chemicals. 214

         Cardinal Health’s productions demonstrate that it regularly ignored the thresholds it had
set for its customers. The DEA found that following the 2008 settlement with the DEA, Cardinal
failed to report any suspicious orders of oxycodone products for pharmacies in Maryland between
2008 and October 1, 2011. 215 During this time, the DEA found that Cardinal Health increased
thresholds for these Maryland pharmacies despite evidence indicating potential diversion. 216 This
fact was also part of the 2012 DEA enforcement action based on Cardinal Health’s Florida conduct.
This appears to be a systemic problem that was occurring throughout Cardinal Health’s nationwide
operations. Documents provided by Cardinal Health related to the Holder v. Cardinal Health
litigation demonstrates this point. The following are examples of the number of times customers
were permitted to exceed their predetermined thresholds:

210
      See Deposition of Shirlene Justus, July 13, 2018 at 86:14 to 88:6.
211
      CAH_MDL_PRIORPROD_AG_0000013.
212
      See Deposition of Mark Hartman, 286:5-11.
213
   See Deposition of Jennifer Norris (Cardinal Health 30(b) Designee), 134:16-23 (“An ingredient limit report is the
report that was required pursuant to the 1998 DEA report to, I believe, the Attorney General. It included the algorithm
for certain pharmaceuticals, and we on a monthly basis provided the report of the customers who had exceeded the
designated amount that you achieve pursuant to doing the algorithm, the math problem.”).
214
      See Deposition of Steve Reardon, 432:8-433:3.
215
      CAH_MDL2804_025097322, 02509741.
216
      Id. at 02509756, 02509758, 02509764, 02509780
                                                             1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 64 of 188. PageID #: 90203
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 65 of 188. PageID #: 90204
                                                                 CONFIDENTIAL



diversion system.” 220 The spreadsheet contains the dates pharmacies exceeded their thresholds and
what action was ultimately taken with respect to the orders (e.g., Cut, Released, or Reported).
Based on the due diligence files produced, Cardinal frequently failed to conduct adequate due
diligence with respect to orders placed by customers in Cuyahoga and Summit Counties that
exceeded their respective thresholds for controlled substances. The table below identifies a small
sample of the orders that were ultimately released and allowed to ship despite there being
inadequately documented due diligence supporting the justification indicated for the release. 221

   Date of                                                         Justification
                                   Controlled                                               Due
  Threshold        Pharmacy                          Result      (CAH_MDL2804_
                                   Substance                                              Diligence
    Event                                                           00135242)
                    Pharmed
                    Pharmacy
                                                                     “NOT
                     (DEA#
                                                                 UNREASONABLE
                  AP4581155),
                                                                   QUANTITY,
      6/30/2011   24340 Sperry     Oxycodone        Released                                None
                                                                   PATTERN,
                      Drive,
                                                                    AND/OR
                  Westlake OH
                                                                  FREQUENCY”
                   (Cuyahoga
                     County)
                    Pharmed                                       “Order quantity
                    Pharmacy                                      consistent with
                     (DEA#                                         order normal
                  AP4581155),                                      pattern” NOT
      9/28/2011   24340 Sperry     Oxycodone        Released     UNREASONABLE               None
                      Drive,                                       QUANTITY,
                  Westlake OH                                       PATTERN,
                   (Cuyahoga                                         AND/OR
                     County)                                      FREQUENCY”
                  Skilled Care
                    Pharmacy                                      “Order reviewed
                     (DEA#                                         and released.”
                  FS3760041),                                      “VARIATION
                  9299 Market                                      CONSISTENT
      8/13/2017                    Oxycodone        Released                                None
                      Place,                                     WITH BUSINESS
                   Broadview,                                      MODEL - NO
                       OH                                        INDICATION OF
                   (Cuyahoga                                       DIVERSION”
                     County)
220
   See CAH_MDL2804_00135242. See also CAH’s Third Supplemental Responses to Plaintiffs’ Combined
Discovery Requests, App. D.
221
  See, e.g., Due Diligence files produced by Cardinal Health for customers in the City of Cleveland, Cuyahoga
County, and Summit County, CAH_MDL2804_00000015 –00001851, CAH_MDL2804_00094067–00094604.
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 66 of 188. PageID #: 90205
                                                                 CONFIDENTIAL



                      Pharmerica
                        (DEA#
                                                                       “VARIATION
                     BP5756323),
                                                                      CONSISTENT
                         24165
                                   Hydrocodon                        WITH BUSINESS
  4/27/2017          Detroit Road,                        Released                      None
                                       e                               MODEL - NO
                       Westlake,
                                                                     INDICATION OF
                          OH
                                                                       DIVERSION”
                      (Cuyahoga
                       County)
                      Pharmerica
                                                                      “Order reviewed
                        (DEA#
                                                                       and released.”
                     BP5756323),
                                                                       “VARIATION
                         24165
                                                                       CONSISTENT
      8/30/2017      Detroit Road, Oxycodone              Released                      None
                                                                     WITH BUSINESS
                       Westlake,
                                                                       MODEL - NO
                          OH
                                                                     INDICATION OF
                      (Cuyahoga
                                                                       DIVERSION”
                       County)

        According to Christopher Forst, when an order is placed by a pharmacy or drug store that
exceeds a predetermined threshold the particular order is automatically stopped. 222 This means
that the order would not be filled until it was reviewed by a Cardinal Health employee and a
conscious decision was made to release the order that exceeded the threshold. 223

        By setting a threshold for its respective customers Cardinal Health internally determined
at what level a specific order would be triggered as potentially suspicious. Such a trigger under
Cardinal Health’s system then implements the KYC requirement and requires Cardinal Health to
conduct due diligence to determine whether the triggering order can be shipped or not. Such due
diligence must be appropriately documented in the respective customers’ due diligence files to
insure an adequate history of investigative activity.

                    ii. Know Your Customer

       The KYC aspect of Cardinal Health’s system was devised in a way to allow for the
documentational support of the regulatory decision Cardinal Health is required to make for its
customers. This system was intended to collect information from several differing functions
including but not limited to: (a) new account approval process, (b) on-sight investigations, (c)
additional internal research conducted on the customer, and (d) justifications for changes made
and due diligence conducted related to any specific order or threshold change.



222
      See Deposition of Christopher Forst at 339: 9-24.
223
      See id.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 67 of 188. PageID #: 90206
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 68 of 188. PageID #: 90207
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 69 of 188. PageID #: 90208
                                                                 CONFIDENTIAL



determine for which orders there was any 239 due diligence investigation (or review) conducted and
documented prior to shipping any further products of this same drug family. Cardinal had
repeatedly failed to conduct and document adequate due diligence to dispel the suspicious activity
prior to shipping additional opioids of the same drug family. The chart contained in Schedule III
shows that Cardinal Health continued to ship the same opioid drugs to customers who Cardinal
Health had already determined were placing suspicious orders in CT1          of the time ( orders),
and of those orders,      ( orders) were shipped with no documented due diligence

            3.       Cardinal Health failed to report suspicious orders of controlled substances in
                     violation of the reporting requirement set forth in 21 C.F.R. § 1301.74(b).

        Cardinal Health timely reported zero suspicious orders in CT1 jurisdictions (Summit and
Cuyahoga Counties, Ohio) from 1996 to at least 2008, based on the records provided. The ILR is
an after-the-fact distribution report which is insufficient. Cardinal has not been able to produce
suspicious orders that were reported to the DEA for CT1 during Policy Period #2 (2008-2012).
However, it was Cardinal Health’s practice not to report suspicious orders but to “report an order
as suspicious when the customer appeared suspicious” and Cardinal Health was going to terminate
service to that customer. 240 Waiting to the point of termination of a customer prior to reporting any
suspicious orders related to the customer is not sufficient to meet the reporting requirement. This
conclusion is supported by several documents produced by Cardinal Health. First, Cardinal’s
November 1, 2012 Audit Committee Meeting packet indicates that during fiscal years 2010 and
2011 Cardinal only reported               suspicious orders, respectively, nationwide. This is in stark
contrast to the           increase of reported suspicious orders that allegedly occurred in 2012,
according to the document. 241 Additionally, during this same period of time the Baltimore DEA
office provided a presentation to Cardinal Health that, among other things, outlined that between
2008 and October 1, 2011, Cardinal did not report any suspicious orders of oxycodone products in
Maryland. 242

       Finally, during Policy Period #3 Cardinal Health reported           suspicious order but
continued to ship the same base codes to many of those customers. 243 Any additional orders from
these customers without having been cleared would also constitute a suspicious order and should
have been reported to the DEA as such. Also during the 2012-2015 timeframe, Cardinal’s
employee testified that Cardinal failed to report to the DEA approximately 14,000 separate
suspicious orders from around the country. According to Mr. Cameron these were for “subbase


239
      Whether the due diligence was sufficient or not is an additional consideration.
240
   See Investigation Report of the Special Demand Committee, CAH_MDL_PRIORPROD_HOUSE_0003331 at
page 36; also see Supplemental Declaration of Michael A. Mone, CAH_MDL_PRIORPROD_DEA12_00014762 at
page 8; also see CAH_MDL2804_3262274, 03262438.
241
      CAH_MDL2804_03262274, 03262438.
242
      CAH_MDL2804_02509732, 02509741.
243
      See “Know Your Customer” section above.
                                                             1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 70 of 188. PageID #: 90209
                                                                 CONFIDENTIAL



codes” which would generally be for more highly abused dosages. 244 Additionally, using any of
the below methodologies, as described in the Expert Report of Craig McCann, it is apparent
Cardinal Health failed to report thousands of suspicious orders arising out Cuyahoga County and
Summit County. 245

          4.      Cardinal Health failed to stop shipment of suspicious orders of controlled
                  substances in violation of the requirement to maintain effective controls against
                  diversion as set forth in 21 U.S.C.A. § 823(b)(1) [1970].

        Again, the premise of the CSA is to ensure that when dealing with these controlled
substances that are highly addictive in nature and dangerous that we do so in a way that best
protects our communities. This is signified in the CSA’s requirement to all registrants’ to “maintain
effective controls” against diversion. With this understanding, even if Cardinal Health had
properly identified suspicious orders, its corporate policy from 1996 to 2008 was to ship anyway.
This is a blatant failure to maintain effective controls to prevent diversion and a breach of their
regulatory obligations as a registrant.

       Being that I have not specifically seen any suspicious orders identified by Cardinal Health
as being reported for customers in Cuyahoga and Summit Counties during Policy Period #2, I
cannot say whether Cardinal Health shipped any orders into Cuyahoga and/or Summit Counties
that Cardinal Health identified as suspicious. However, I can say that Cardinal Health during this
timeframe did ship suspicious orders that should have been identified. 246

         During Policy Period #3 it appears as Cardinal Health did halt shipment of the orders which
it identified as suspicious. However, it is my opinion based on what has been provided and set out
in Schedule III that Cardinal Health continued to ship base code 9143 and 9193 to the same
registrant after reporting a suspicious order. Such conduct would constitute a violation of Cardinal
Health’s duty to maintain effective controls against diversion.

                  B.       McKesson Corporation
McKesson Corporation
Distribution Center: New Castle, Pennsylvania
DEA Registrant Number:
Transactional Data Disclosed:                Date Range: 10/01/04 – 6/30/2018 247



244
    Depo. of Todd Cameron, pp. 268-271.
245
    See Section III ,“Identifying Suspicious Orders Distributed in CT1.”
246
    See Section III.(A.)(2.) above.
247
      MCKMDL00579972; MCKMDL00478913; MCKMDL00409045; MCKMDL00606062.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 71 of 188. PageID #: 90210
                                                                 CONFIDENTIAL



    Cuyahoga 248               Total Dosage                  MME          Base Weight
    Oxycodone
    Hydrocodone


    Summit 249                 Total Dosage                  MME          Base Weight
    Oxycodone
    Hydrocodone


                       1. Court Ordered SOMS Discovery Disclosures:
•     McKesson Corporation’s Objections and Responses to Plaintiffs’ Combined Discovery
      Requests (07/31/2018);

•     McKesson Corporation’s Supplemental Objections and Responses to Plaintiffs’ Combined
      Discovery Requests (11/30/2018);

•     McKesson Corporation’s Second Supplemental Objections and Responses to Plaintiffs’
      Combined Discovery Requests (03/04/2019).

•     McKesson Corporation’s Third Supplemental Objections and Responses to Plaintiffs’
      Combined Discovery Requests (3/29/2019).

                       2. SOMS Corporate Policy Disclosed:
           McKesson Drug Operations Manual – Section 55 (January 15, 1997) 250
        McKesson Corporation (hereinafter “McKesson”) utilized this system from at least 1997
to May 2007. Section 55 outlines five different reports concerning a customer’s purchases
(Controlled Substances Sales Report, Controlled Substances Customer Purchase Report, Daily
Controlled Substance Suspicious Order Warning Report, Monthly Controlled Substance
Suspicious Purchases Report and the Monthly ARCOS Customer Recap Variance).
(MCKMDL00651873 at 00651919-20). However, the output from these reports was rather basic.
McKesson created daily and monthly reports that documented retrospective sales of controlled
substances, including opioids, when those sales exceeded three times of that customer’s 12 month
purchase average for that base code. (MCKMDL00651873 at 00651919-20; 1/10/19 Gary Hilliard
Depo. at 163:21-169:7). After it was generated, a hard copy of the report was mailed or faxed to
the local DEA office. The reports that were generated were known as DU-45 reports. However,


248
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 136.
249
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 766.
250
      MCKMDL00651873.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 72 of 188. PageID #: 90211
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 73 of 188. PageID #: 90212
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 74 of 188. PageID #: 90213
                                                                 CONFIDENTIAL



              1997                              0 268                          DU-45 Reports
              1998                                0                            DU-45 Reports
              1999                                0                            DU-45 Reports
              2000                                0                            DU-45 Reports
              2001                                0                            DU-45 Reports
              2002                                0                            DU-45 Reports
              2003                                0                            DU-45 Reports
              2004                                0                            DU-45 Reports
              2005                                0                            DU-45 Reports
              2006                                0                            DU-45 Reports
              2007                                0                            DU-45 Reports
              2008                                0
              2009                                0
              2010                                0
              2011                                0
              2012                                0
              2013                             129 269
              2014                              649
              2015                              557
              2016                              300
              2017                              195
              2018                               77 270


                        5. Due Diligence Conducted
        From at least 1997 to May 2007, there was no due diligence conducted by McKesson
regarding potential suspicious orders of controlled substances. From May 2007 to May 2008,
McKesson represented to DOJ that under the LDMP “customers will not be allowed to exceed the
8,000 monthly dosage limit until a due diligence review has been completed.” 271 However, this is
not how the program appears to have actually operated, and in fact, I have seen documentation
indicating that customers were routinely permitted to exceed the 8,000 monthly dosage thresholds


268
   From 1997 through May 2007 it is possible that McKesson reported excessive orders by way of the DU-45
Report for pharmacies in CT1, however, as noted above none of those reports could be located by McKesson and
McKesson’s own employees have not viewed these reports as encompassing true suspicious orders. (See Gary
Hilliard, Jan. 10, 2019 Deposition at 176:8-176:22; MCKMDL00510747). These reports solely listed shipments
that had already occurred and did not report any orders pre-shipment.
269
  All of the suspicious order reports in 2013 occurred on or after August 1, 2013. The orders reported from 2013-
2018 were orders blocked by McKesson and not shipped.
270
      The data I have reviewed runs through June 30, 2018 presently.
271
      MCKMDL00330924 at 00330926; also stamped MCK-HOI-002-0000001 at 0000003.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 75 of 188. PageID #: 90214
                                                                 CONFIDENTIAL



prior to a due diligence review being completed by McKesson. 272 Both the LDMP and CSMP had
a tiered three level review process that was triggered once a customer met their monthly threshold.
However, I have reviewed the multiple due diligence files produced for Summit and Cuyahoga
Counties covering the time span of 2006 to Jan, 1, 2014 and found no evidence of a Level 2 or
Level 3 review being conducted prior to January 1, 2014. 273 Under the CSMP, McKesson also
included a Know Your Customer Process. Again, however, McKesson’s due diligence files
produced in this case show that for years this process was very rudimentary in nature and that there
were very few substantive investigations being performed. 274
                                                                . 275 However, each of the red flags
included beginning in this time frame should have been monitored by McKesson for many years
prior. McKesson’s failure to do so serves as additional evidence of its failure to exercise due care
in preventing diversion of opioid products.
        Based on my review of documents and testimony and as noted throughout this report,
historically the due diligence conducted by McKesson has generally been substandard, at best.
McKesson conducted no due diligence until 2007. Once a due diligence program was finally
instituted to require a review before a customer’s opioid dosage unit threshold could be increased,
threshold increases were routinely authorized with little to no justification. Also, as McKesson
regularly showed complete deference to threshold increase requests from chain pharmacies, the
due diligence for those customers was consistently lacking. Therefore, while McKesson has had
some sort of due diligence program in place since 2007, a review of those programs in practice
make clear that for all practical purposes, McKesson’s due diligence efforts have fallen short of
what is required.
                     6. Opinions Related to McKesson Corporation:
        McKesson Corporation failed to maintain effective controls against diversion of
prescription opiates into the illicit market in violation of 21 U.S.C.A. § 823(b)(1) [1970]. The bar
graphs identified as Figures 15-26 in Schedule II to this report demonstrate a clear escalation of
prescription opioids into Cuyahoga County and Summit County by dose, base weight, and MME.
        There is no more effective control to prevent diversion than blocking a suspicious order
before it is shipped. This notion is also consistent with DEA guidance that has been provided to
industry for decades. 276 As discussed above, from at least 1997 to May 2008, McKesson had no
controls in place to block suspicious orders before they were shipped. Thus, any controls that were

272
      See e.g., MCKMDL00540033.
273
 MCKMDL00496212-MCKMDL00496305; MCKMDL00555448-MCKMDL00555744; MCKMDL00568207-
MCKMDL00568281.
274
       Id.
275
      MCKMDL00330099 at 00330126-130.
276
   (See e.g., 1996 DEA Investigators Manual (CAH_MDL2804_02203346); DEA Memorandum, Legal Guidance
on Reporting Suspicious Orders (March 1, 2007) (CAH_MDL_PRIORPROD_DEA12_00000609).
                                                 1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 76 of 188. PageID #: 90215
                                                                 CONFIDENTIAL



in place during this time period were completely ineffective in meeting the ultimate goal; the
prevention of diversion.
        With the launch of the CSMP in May 2008, for the first time McKesson established a
process for blocking orders that were identified as suspicious. However, it is clear that from the
time the CSMP was launched that McKesson’s programs contained multiple loopholes to ensure
as few orders as possible were blocked, thereby ensuring that the controls that were put in place
remained completely ineffective. In fact, at the outset of the program McKesson notified all of its
customers they should not expect any change in their ability to order controlled substances under
the CSMP. In a document that was to be shared with McKesson’s pharmacy customers when
introducing them to the CSMP, McKesson stated “[t]his program addresses the DEA’s
requirements to ensure controlled substances are used in the way they were intended, but it also
ensures that you as a McKesson customer can continue with business as usual.” 277 Given that
this document was written just after McKesson entered into a $13.25 million dollar settlement with
DOJ for failing to have effective controls against diversion as it pertained to opioid distribution,
the message to McKesson’s customers should have been that it would be anything but business as
usual for them. However, unfortunately this mentality appears to have been pervasive within
McKesson’s regulatory department for years to come, contributing to the following significant
shortcomings with its SOM programs.
        First, while McKesson established thresholds under the CSMP, those thresholds were
frequently set far too high to ever be triggered. In fact, in August 2014, DOJ pointed out this fatal
flaw in McKesson’s CSMP. DOJ noted that McKesson’s review process under the CSMP was not
even triggered until a customer purchased more than 10% of their average 278 ordering month in
the prior 12 month period. Not to mention, these thresholds were set based on purchases from
2007-2008 which DOJ noted was a “year in which McKesson had settled claims because diversion
was flourishing in McKesson-supplied pharmacies.” 279 The extremely high thresholds set by
McKesson for controlled substances did not go unnoticed within the company. On August 31,
2011, Director of Regulatory Affairs, David Gustin, noted “I have thought of an area that needs to
be tightened up in CSMP and it is the number of accounts we have that have large gaps between
the amount of Oxy or Hydro they are allowed to buy (their threshold) and the amount they really
need. (Their current purchases) This increases the ‘opportunity’ for diversion by exposing more
product for introduction into the pipeline than may be being used for legitimate purchases.”’ 280
Despite Mr. Gustin’s concerns, no serious efforts were undertaken to systematically reduce


277
      MCKMDL00543610 at 00543613 (emphasis added).
278
   The reference to the thresholds being set based on the average orders from the prior 12 months also underestimates
how McKesson actually set thresholds. According to McKesson’s own documents, these thresholds were set based
on the highest ordering month from the prior 12 months, not the average month. (See e.g., MCKMDL00626898).
279
      MCKMDL00409224 at 00409234.
280
      MCKMDL00507799.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 77 of 188. PageID #: 90216
                                                                 CONFIDENTIAL



thresholds until 2015, a full four years later. 281 McKesson also continued to utilize a form of this
system to set new thresholds until switching to the AGI based threshold algorithm in the 2017-
2018 time period. In fact, the “business as usual” mentality noted above continued even after
McKesson entered into a $150 million settlement with DOJ for its continuing failure to have
effective controls against diversion following the 2008 settlement. Only two weeks after the
settlement agreement was signed, McKesson’s Senior Director of Regulatory Affairs, Nate Hartle,
attempted to calm customer concerns that McKesson would be stricter on its supply of controlled
substances by once again noting it would be “business as usual from a threshold perspective.” 282
         Second, McKesson routinely increased thresholds without requiring adequate justification
for the increases. In order to have a threshold increased under the CSMP, a customer was supposed
to provide documentation supporting a legitimate change in business that warranted the threshold
increase. 283 However, these requirements were routinely ignored. As an example, in April 2011,
Director of Regulatory Affairs, David Gustin, expressed that McKesson needed to tighten up the
process regarding threshold increases because threshold increases were “almost automatic” and
being granted for insufficient reasons, like “business increase”. 284 Regulatory Affairs Director
Tom McDonald reiterated these concerns in July 2012. Mr. McDonald noted that the company
was too liberally granting threshold increases without proper documentation and often based only
a stated claim of business growth by the customer. 285 Mr. Gustin became so concerned about the
lack of due diligence being conducted by McKesson that he even noted to other colleagues in
regulatory affairs that “[w]e as DRAs need to get out visiting more customers and away from our
laptops or the company is going to end up paying the price . . . big time.” 286 Another Regulatory
Affairs Director, Michael Oriente, responded, “I am overwhelmed. I feel that I am going down a
river without a paddle and fighting the rapids. Sooner or later, hopefully later I feel we will be
burned by a customer that did not get enough due diligence. I feel it is more of when than if we
have a problem rise up.” 287 McKesson ultimately acknowledged the problem of deficient due
diligence, especially as to threshold increase requests. A November 2013 training deck noted a
desire to make threshold change increases “the exception, not the rule” going forward in order to
address the lack of due diligence that had become the norm at McKesson related to threshold
increase requests. 288 The lack of due diligence surrounding threshold increases was also apparent



281
      See MCKMDL00410744; MCKMDL00402184.
282
      MCKMDL00418094 (emphasis added).
283
      MCKMDL00267635 at MCKMDL00267649.
284
      MCKMDL00507221 at 00507223.
285
      MCKMDL00633455.
286
      MCKMDL00634329 at 00634331.
287
      MCKMDL00634329 at 00634330-31.
288
      MCKMDL00516748 at 00516754.
                                                 1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 78 of 188. PageID #: 90217
                                                                 CONFIDENTIAL



to DOJ. In August 2014, DOJ noted that McKesson appeared to be willing to approve threshold
increases for opioids for the flimsiest of reasons. 289
        Third, McKesson has a long track record of absolute deference to retail national account
customers when it comes to threshold increases. McKesson’s Senior Director of Distribution
Operations, Donald Walker, testified that McKesson did not ask for dispensing data in order to
verify the legitimacy of threshold increases for retail national account customers and generally
deferred to those customers to decide when it was appropriate for them to get threshold increases
for controlled substances. (See Donald Walker Deposition; Jan 10, 2019; pp. 190-193.). These
practices resulted in McKesson routinely granting threshold increases to retail national account
customers without any apparent due diligence, including many pharmacies in Summit and
Cuyahoga Counties. 290 McKesson’s conduct in this regard was patently improper, as the duty to
conduct due diligence is non delegable.
        Fourth, McKesson took affirmative steps to reduce the number of controlled substance
orders it would have to block by warning customers that they were approaching a threshold, so the
customer could seek an increase before McKesson would be forced to block their orders. In fact,
this threshold warning system was designed solely to ensure that thresholds could be increased
before any sales were lost. In discussing the creation of these reports in October 2006 Sharon
Mackarness of McKesson stated, “[w]e are in the business to sell product. If we could produce a
report … that warned a customers approach to the threshold, say at 85% of their 10,000 dosages,
work could begin on justifying an increase in threshold prior to any lost sales.” 291 These threshold
warning reports were utilized for years thereafter to great effect as a preemptive tool to increase
thresholds before orders had to be blocked. Presumably understanding the impropriety of
providing these warning reports to customers, in November 2013 McKesson announced to its
employees a new policy pertaining to threshold warning reports. The presentation states “[w]e are
not communicating specific thresholds or providing threshold warning reports. We believe this is
a better practice. Thresholds are not intended to allow customers to manage against a number. We
strongly believe that customers should exercise their corresponding responsibility one prescription
at a time.” 292 However, in the following months McKesson was already making exceptions to this
newly established policy for customers in Summit and Cuyahoga Counties. 293 The shift to not
providing these warning reports was proper and McKesson should have abided by this policy
without exception.


289
      MCKMDL00409224 at 00409235.
290
  See e.g., MCKMDL00000497; MCKMDL00363951; MCKMDL00574488; MCKMDL00555448;
MCKMDL00512974; MCKMDL00628614; MCKMDL00555473; MCKMDL00555484; MCKMDL00555501;
MCKMDL00555506; MCKMDL00628660; MCKMDL00568233; MCKMDL00555480; MCKMDL00555536.
291
      MCKMDL00543971 at 00543972.
292
      MCKMDL00476786 at 00476791.
293
      See e.g., MCKMDL00476692; MCKMDL00485800.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 79 of 188. PageID #: 90218
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 80 of 188. PageID #: 90219
                                                                 CONFIDENTIAL



anything we believe to be truly suspicious we will be meeting the spirit and letter of the regulation.
Simply reporting larger than usual orders does not when there are so many plausible and routine
reasons for orders to be ‘larger than normal.’” 299 Further, another Director of Regulatory Affairs
for McKesson, Gary Hilliard, has testified that McKesson’s suspicious order monitoring system
prior to 2007 was not designed to detect true suspicious orders. 300
        Additionally, because during this time period McKesson was reporting excessive orders it
had already filled it made no effort to detect, investigate, or block any suspicious orders.
Consequently, during this time period McKesson blatantly violated the security requirement set
forth in 21 C.F.R. § 1301.74(b).
           b.       Policy Period #2 (May 2007-May 2008)
       McKesson’s LDMP did not fare better when it came to identifying suspicious orders.
McKesson has been unable to produce any documentation of true suspicious orders being reported
during this time period.
           c.       Policy Period #3 (May 2008-present)
        McKesson’s CSMP could have been used as a tool to report suspicious orders, but was not
used in that fashion until five years after it was initially launched. For Summit and Cuyahoga
Counties, McKesson failed to report a single suspicious order from May 2008 to July 31, 2013. 301
To put that into further context, during that time period McKesson filled approximately
opioid orders in these two counties. 302 This failure to report suspicious orders during this time
frame is not an anomaly that is restricted to Summit and Cuyahoga Counties. As DOJ recognized,
there was a “nationwide” and “systemic” failure of McKesson to report suspicious orders and
otherwise maintain effective controls against diversion. 303 This conclusion is borne out by
McKesson’s failure to report any suspicious orders from its Livonia, Washington Courthouse,
Lakeland, and Metheun distribution centers despite ample evidence of diversion occurring from
customers of each of these distribution centers. 304 The egregiousness of McKesson’s failure to
report suspicious orders is further supported by the quantity of orders McKesson did report as
suspicious once it finally decided to begin engaging in the practice. For example, in 2015 alone,
McKesson has acknowledged it reported a total of 230,000 suspicious controlled substance orders
nationally. 305 Similarly, the rise in suspicious order reports by McKesson in Summit and


299
      MCKMDL00510747.
300
      1/10/19 Gary Hilliard Depo. at 176:8-176:22.
301
      MCKMDL00478912.
302
      MCKMDL00478913.
303
      MCKMDL00409453 at 00409454.
304
      See generally MCKMDL00409453.
305
      McKesson Board of Directors’ Response to International Brotherhood of Teamsters at p. 24.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 81 of 188. PageID #: 90220
                                                                 CONFIDENTIAL



Cuyahoga Counties beginning in late 2013 cannot be supported by any conclusion other than that
prior to that time McKesson completely and utterly failed to meet its regulatory responsibilities.
        It is also apparent that McKesson’s failure to report suspicious orders was not accidental
or due to a misunderstanding of its regulatory duties. In fact, the term “suspicious” when it came
to controlled substances was taboo within the company. At the time McKesson’s CSMP was
created in 2008 it included a section that advised employees to “[r]efrain from using the word
‘suspicious’ in communications”’ because “[o[nce McKesson deems an order and/or customer
suspicious, McKesson is required to act. This means that all controlled substances sales to that
customer must cease and the DEA must be notified.” 306
Reporting Requirement:
         McKesson failed to timely report suspicious orders in Summit and Cuyahoga Counties and
nationally from at least 1997 to 2013. This is supported by the fact that McKesson’s own
regulatory employees have acknowledged that the excessive orders reported on the DU-45 reports
were not synonymous with the type of suspicious orders outlined in the applicable regulations. 307
Moreover, even under the LDMP and CSMP McKesson continued its pattern of failing to report
suspicious orders until finally beginning to do so in late 2013. Finally, the number of suspicious
orders reported in Summit and Cuyahoga Counties beginning on August 1, 2013 and continuing
to June 2018 is insignificant compared to the number of opioid orders McKesson has filled during
that same time period in those counties. During that five year period, McKesson has reported a
total of      suspicious orders in those two counties while also shipping
during that same time frame – less than one half of one percent of orders from Cuyahoga and
Summit Counties. 308
      Further, using any of the methodologies as described in the Expert Report of Craig
McCann, it is apparent McKesson failed to report thousands of suspicious orders arising out
Cuyahoga County and Summit County. 309

Shipping Requirement:
        From at least 1997 to May 2008, McKesson failed to block any suspicious orders
nationally. Due to its high thresholds for many customers, as noted above, McKesson has blocked
an insignificant number of orders in Summit and Cuyahoga Counties after it began the practice in
May 2008. For example, from May 2008 to June 30, 2018 McKesson has blocked a total of
opioid orders from Summit and Cuyahoga County customers. 310 However, during that same time


306
      MCKMDL00518064 at 005118078.
307
      Deposition of Gary Hilliard, 176:8-176:22; MCKMDL00510747.
308
      MCKMDL00675597; MCKMDL00675598; MCKMDL00478912; MCKMDL00616425; MCKMDL00616426.
309
      See Section III, “Identifying Suspicious Orders Distributed in CT1.”
310
      MCKMDL00478912; MCKMDL00616425; MCKMDL00616426.
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 82 of 188. PageID #: 90221
                                                                 CONFIDENTIAL



frame McKesson filled a total of                        from those same two counties. 311 Based
on this data, it is apparent that McKesson’s systems have not been designed to properly block
suspicious orders given the miniscule number of suspicious opioid orders that have actually been
blocked during that time frame.


           C.          AmerisourceBergen Drug Corporation
Distribution Center: Lockbourne, OH
DEA Registrant Number: RA0314562
Transactional Data Disclosed: Date range:               2002-2018 312
 Cuyahoga 313                     Total Dosage               MME              Base Weight
 Oxycodone
 Hydrocodone

 Summit 314                      Total Dosage           MME                Base Weight
 Oxycodone
 Hydrocodone


                             1. Court ordered SOMS Discovery Disclosure:

           •     AmerisourceBergen Drug Corporation’s Second Supplemental Objections and
                 Responses to Plaintiffs’ Combined Discovery Requests (3/4/2019)

                             2. SOMS Corporate Policy Disclosed:
           (1)     Pre-2007 Overview.
                       (a)      The Threshold-Based System
       Beginning as early as 1990, AmerisourceBergen Drug Corporation (“ABDC”) utilized a
threshold-based system to determine if an order is “excessive” (i.e. suspicious). In the deposition
of Senior Vice President of Corporate Security and Regulatory Affairs, Christopher Zimmerman
described the threshold history of ABDC’s Suspicious Order Monitoring System. Mr. Zimmerman
began his employment with ABCS in 1990 and from the time he began his employment until 1998,


311
      MCKMDL00675597; MCKMDL00675598.
312
  See Bates Nos. ABDCMDL00037402; ABDCMDL00037404, ABDCMDL00037406; ABDCMDL00279848-
279853; ABDCMDL00306728-306729; ABDCMDL00308071; ABDCMDL00313653-313654;
ABDCMDL00316111-316114.
313
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 46.
314
      Id. at p. 676.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 83 of 188. PageID #: 90222
                                                                 CONFIDENTIAL



the threshold was described as being calculated through the following procedure: “You take all the
pharmacies within that category and divide by the number of pharmacies to come up with an
average volume for the month per drug category. And then there was a multiplier of three. Any
order that was over the threshold amount would be produced an excessive order report.” 315 Mr.
Zimmerman made a clarification to the threshold calculation by indicating the “3” multiplier was
used for Schedule II and Schedule III narcotic drugs (ARCOS reportable) and a “6” multiplier, or
maybe higher, was used for Non-ARCOS drugs. 316 Mr. Zimmerman stated the controlled
substances identified during that time period were shipped prior to being reported to the DEA in
the excessive purchase report. 317 Such a policy constitutes a clear failure to maintain effective
controls against diversion, as it entails shipping controlled substance orders identified as suspicious
(or in this case, “excessive”), was not designed to identify orders of unusual frequency, or those
that deviated from normal ordering patterns. Further, this system improperly utilized a factor of
“3” and “6” to establish thresholds well above the calculated average for ABDC’s customers.
        During the time period of 1998 through 2007, ABDC implemented a new method of
calculating thresholds. Mr. Zimmerman stated ABDC worked on a threshold project with the DEA
for a two-year period from 1996 through 1998 to provide DEA with more accurate information.
The threshold calculation was now calculated by using only a customer’s four-month rolling
average of that pharmacy’s purchases and then apply a multiplier of three to “identify a trigger that
would identify a suspicious order.” 318 Again, such a policy constitutes a clear failure to maintain
effective controls against diversion because ABDC continued to ship controlled substance orders
identified as suspicious. In addition, the system failed to identify orders of unusual frequency, or
deviating from a normal pattern, used a much shorter time period for calculating the threshold
which would allow the average to increase faster, failed to compare like pharmacies purchasing
activity, and utilized a factor of “3” to establish threshold well above the calculated average for
ABDC’s customers.)
        ABDC’s use of a threshold based system using a 3x multiplier derived from the DEA’s
Chemical Handler’s Manual. 319 It is worth noting that these guidelines relate to “Listed
Chemicals”, rather than controlled substances, primarily focused on the sale of chemicals used to
make illicit methamphetamine. “Suspicious orders” of Listed Chemicals are defined by 21 USC
§ 830(b)(1)(A) as orders of “extraordinary” size [based on a formula which multiples a monthly
base weight average per base code by a multiplier (3x)]. Relying upon a threshold of
“extraordinary” size fails to detect orders of “unusual size” and is not compliant with 21 CFR
1301.74(b). Nor is shipping suspicious orders after reporting. The Chemical Handler’s Manual
specifies that “when a regulated person suspects that an order may be intended for illicit purposes,
good practice requires that every reasonable effort be made to resolve those suspicious. In addition
to making the required reports, the transaction should not be completed until the customer is able

315
      See Zimmerman Deposition, 121:12-21.
316
      Id., 124:18-125:5.
317
      Id., 108:10-109:10.
318
      See Zimmerman Deposition, 122:18-23.
319
      Id., 131:7-133:22.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 84 of 188. PageID #: 90223
                                                                 CONFIDENTIAL



to eliminate the suspicions. The distributor may have to forego some transactions.” 320 Despite
this directive from the Chemical Handler’s Manual, ABDC did not consider foregoing such
transactions at the time. 321
        As discussed above, and pursuant to what a policy summary generated by ABDC after
2015 describes as its “Legacy Diversion Control Program,” 322 ABDC shipped all orders of
controlled substances before ruling out the possibility of the orders being suspicious. 323 Only after
shipping the orders did ABDC report any orders that it deemed to be suspicious to the DEA through
an “excessive order report.” 324 ABDC sent these reports on a monthly basis to the DEA. 325 ABDC
took no other actions with regards to excessive orders prior to 2005, meaning that ABDC shipped
all orders - including orders that may have been suspicious – without any further investigation or
due diligence. 326
        The determination of whether an order is “excessive” i.e. suspicious, has always been
determined by ABDC using a threshold-based system. 327 ABDC deemed an order to be
“excessive” if it exceeded a “threshold.” 328 In order to create thresholds, ABDC generally
identified characteristics by which it could group its customers (this analysis changed over time),
then made certain determinations based on ordering patterns (this analysis also changed over time)
of its customers, and used that information to set a threshold of a drug that could be purchased
without becoming suspicious.
        While documentation of ABDC’s suspicious order monitoring program prior to 2005 is
scant, Mr. Zimmerman testified that it involved a two-step process: “It was an excessive order
report that was produced monthly to send to DEA, and then we also had a manual process at the
distribution centers where the order fillers would identify suspicious orders and report those.” 329
ABDC’s written policies and procedures indicate that at least as early as December 1, 2005, ABDC
operated an “Excessive/Suspicious Order Investigation Program,” to “review the ordering activity
of its customers to identify possible excessive or suspicious orders of controlled substances and
listed chemicals.” 330 Although the system now allegedly provided for the identification and
investigation of excessive orders, ABDC’s system still identified these orders using a threshold.

320
      See Chemical Handler’s Manual, 2001 Edition, at p. 21.
321
      See Zimmerman Deposition, 143:9-145:2.
322
      See ABDCMDL00004578-4602.
323
   See ABDCMDL00000109 (“Historically Controlled Substance/ Listed Chemical order monitoring has been
based on a ship and report process.”)
324
      See Zimmerman Deposition, 110:16-22, 121:7-122:3.
325
      See Mays Deposition, Part I, 101:7-24; see also Zimmerman Deposition, 108:19-24.
326
      See Mays Deposition, Part I, 142:15-143:14.
327
      See ABDCMDL00004578, at 2-4, 7, 10-13.
328
      See Zimmerman Deposition, 121:7-21.
329
      See Zimmerman Deposition, 108:19-109:4.
330
      See ABDCMDL00359957-9961.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 85 of 188. PageID #: 90224
                                                                 CONFIDENTIAL



Therefore, the 2005 system was not new, it merely continued the threshold-based system that was
in place prior to the newly written policy. And, although ABDC conflated concepts of “excessive”
orders and “suspicious” orders by treating them identically, ABDC continued its policy of shipping
such orders to its customers, despite internally identifying them as either excessive or
suspicious. 331 While the 2005 policy and procedures document includes a new “investigation”
component that was not previously present in ABDC’s suspicious order monitoring system, this
component was effectively ignored because, as noted above, ABDC confirmed that it shipped all
orders prior to 2007 without investigating them or reporting them to the DEA.
                        (b)   Discretionary and Subjective Components of the Threshold-Based System
        In addition to the excessive order reports which included orders that exceeded the relevant
threshold, employees in ABDC’s distribution centers (“DCs”) were provided with guidelines
instructing them to report orders that were of an unusual size or frequency, or which deviated from
the normal ordering pattern. 332 ABDC placed signs in the distribution center “cages” with the base
quantity levels that could be ordered and it was left to a distribution center employee’s discretion
to determine whether an order was suspicious. ABDC’s order monitoring system at the time also
required that ABDC confirm whether customers had the appropriate licenses. 333
       At this time, ABDC employed the same monitoring policy across all of its customers,
regardless of the type of customer, or whether they may have operated as “internet pharmacies.” 334
Further, ABDC did not have any policies or procedures in place to compare its customers’ purchase
of controlled substances with the average purchases of similarly situated customers. 335 Rather,
ABDC only “monitored the average of each customer against its own orders at that time.” 336 Nor
did ABDC have any system in place to monitor its purchasing of Schedule II or III controlled
substances as it compared to other types of substances, 337 or any system to evaluate the frequency
of orders of controlled substances placed by its customers 338.
        Prior to 2007, ABDC did not have a clear hierarchy establishing responsibility for
preventing diversion. They did not form their Diversion Control Group or Team until after
2007. 339 This group was later referred to as the Corporate Security & Regulatory Affairs
Department (“CSRA”). Aside from the baseline numeric thresholds ABDC used to identify
“excessive” orders, ABDC lacked clear objective standards for determining when orders from its
customers were “suspicious.” This was due, in part, to the fact that discretion was left to
331
      Id.
332
      See Zimmerman Deposition, 118:1-11.
333
      See Mays Deposition, 170-174.
334
      See Mays Deposition II, 57:16-58:15.
335
      Id., at 68:1-71:23.
336
      Id., at 68:19-69:2.
337
      id., at 72:1-5.
338
      id., at 72:22-73:3.
339
      See ABDCMDL00270533.
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 86 of 188. PageID #: 90225
                                                                 CONFIDENTIAL



distribution center employees to gage what constituted a normal ordering pattern and when a
customer’s order deviated from that pattern.
           (2) Post-2007 Overview of the Order Monitoring Program (OMP).
                    (a)     The June 2007 DEA Enforcement Action and Settlement

        The year 2007 marks a key shift in ABDC’s suspicious order monitoring policies. That
year, the DEA initiated an enforcement action against ABDC due to its filling and shipment of
orders from internet pharmacies, which according to the DEA, ABDC knew to be suspicious.340
The enforcement action shut down ABDC’s Orlando distribution center. On June 22, 2007, ABDC
and the DEA reached a settlement agreement regarding the Orlando distribution center, which
acknowledged “AmerisourceBergen failed to maintain effective controls at the Orlando Facility
against diversion of particular controlled substances into other than legitimate medical, scientific
and industrial channels by sales to certain customers of AmerisourceBergen.” 341 As a result, to
obtain authorization from the DEA to re-open the Orlando facility, ABDC was forced to update
its diversion control program, including adding (1) a more in-depth due diligence process; and (2)
a requirement to stop shipping suspicious orders to customers. 342

        The settlement arose from failures in ABDC’s suspicious order monitoring program, which
were systemic because ABDC maintained national suspicious order monitoring policies and
procedures. 343 According to an April 19, 2007 Order to Show Cause and Immediate Suspension
of Registration issued by the DEA, ABDC distributed hydrocodone to pharmacies in amounts that
far exceeded what an average pharmacy orders to meet the legitimate needs of its customers,
distributed hydrocodone to pharmacies even though they ordered small amounts of other drug
products relative to those purchases, distributed hydrocodone to pharmacies much more frequently
than ABDC’s other customers, and shipping to pharmacies that ABDC knew or should have known
many prescriptions were issued by physicians who did not conduct a medical examination of its
customers, and instead wrote prescriptions for controlled substances ordered by customers over
the internet. 344 Thus, the settlement between ABDC and the DEA resulted in nationwide changes
to ABDC’s suspicious order monitoring program. Specifically, ABDC revamped its procedures
and instituted its Order Monitoring Program (OMP). 345 The most significant change was ABDC
no longer shipped orders to customers that ABDC identified as being suspicious. 346 The OMP
primarily relied on static thresholds to determine whether an order was potentially suspicious and

340
      See ABDCMDL00269383-84.
341
      See ABDCMDL00279854.
342
  (See Zimmerman Deposition, 139:20-140:8; see also Settlement and Release Agreement, ABDCMDL00279854–
00279865).
343
      See Mays Deposition II, 24:18-22.
344
      See ABDCMDL00269383-387.
345
      See generally ABDCMDL00000101.
346
      See ABDCMDL00270533.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 87 of 188. PageID #: 90226
                                                                 CONFIDENTIAL



should be investigated. If an order exceeded a threshold, it was flagged as an excessive or
potentially suspicious order. 347 ABDC would not automatically designate an order that exceeded
threshold as “suspicious.” 348

            (b)   The New Threshold System

        To determine each customer’s threshold under the 2007 system or “Legacy Diversion
Control Program,” (otherwise referred to as the OMP) ABDC grouped customers within a
“Customer Type.” 349 The “Customer Types” were based on how customers were registered with
the DEA, e.g. hospital/clinic, retail pharmacy, distributor, etc. 350 ABDC would then classify each
customer by its “Customer Size,” which was based upon its total average monthly total revenue of
prescription sales of both control and non-controlled drugs (as opposed to its purchasing pattern
of a specific drug family) relative to its peers in the same “Customer Type.” 351 Customer Sizes
were small, medium, large, or extra-large. 352 Then, ABDC looked at the Customer Type, and
Customer Size and created an average purchase among of each drug family within each Customer
Size and applied the same 3x multiplier. Implementation of the arbitrary 3x multiplier, however,
negates the effectiveness of an effective Suspicious Order Monitoring System. Each customer had
its own threshold for each drug family that it purchased, as described below, that was based on the
foregoing analysis. 353

         If a customer’s order exceeded a threshold, ABDC placed it in “OMP review.” 354 After an
order exceeded threshold, all subsequent orders in the same family from that customer were
rejected while the earlier order was in OMP review. 355 Each DC was responsible for “initial review
of all orders in OMP review.” 356 DC associates – sometimes referred to by ABDC as “responsible
persons in charge” (“RPIC”) – were initially responsible for this task. However, as ABDC’s

347
   See Zimmerman Deposition, 112:18-113:2; 119:1-6. ABDC has claimed during deposition testimony that these
were “orders of interest” beginning as early as 2007. However, deposition testimony from ABDC employee Kevin
Kreutzer confirms that there was no use of that terminology during this time period. See Kevin Kreutzer Deposition,
67-68, 91-93, 109 (“Q. Do you recall Mr. Hazewski using the words “orders of interest” in 2009 when he trained
you? A. No, I do not”), 111-12, 115-117). This inconsistency between the recollection of ABDC’s employees
undercuts the credibility of ABDC’s witnesses.
348
   See e.g., ABDCMDL0000002411 (“Depending on certain circumstances, it may be deemed that order is
suspicious.”); see also Mays Deposition, 131:5-16.
349
      See ABDCMDL00000110.
350
      Id.
351
      Id.; see also ABDCMDL00002325.
352
      See ABDCMDL00002405-2418.
353
      Id.
354
      See ABDCMDL00000114.
355
      Id.
356
  Id. The RPIC generally was responsible for the DC level review, although there was not a clear definition by
ABDC of who was supposed to be in charge of reviewing orders at the DC level
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 88 of 188. PageID #: 90227
                                                                 CONFIDENTIAL



program evolved, this role eventually migrated up to the Distribution Center Compliance
Managers. In 2007, the OMP allowed the DC associates to “review, release, or cancel potentially
suspicious orders before they are shipped to customers.” 357 Review at the DC level was based on
“the knowledge of the customer and the order.” 358 If the “DC can determine that the order is not
suspicious, the DC will release the order,” but if DC is unsure, the order will be flagged for
investigation by members of the CSRA investigation team working under the Director of Diversion
Control who were referred to as CSRA Investigators. 359 The CSRA personnel then would
determine whether to report the order to DEA as suspicious. ABDC seemingly had no set, concrete
rules or criteria for distribution center employees to determine what made an order of interest be
elevated to CSRA or be released as not suspicious. 360 The DC associates maintained a number of
different ways to resolve questions regarding orders. However, if a DC cancelled an order
(meaning that it would not be filled by the DC – with or without being reported to the DEA), or
released an order (meaning it was approved for processing and shipped to the customer), the DC
was required to log into the system with an explanation of why the action is being taken. 361

A customer who was repeatedly going over threshold, or whose business was growing could
request a “threshold review” to have its threshold adjusted. If approved, a threshold adjustment
was referred to internally at ABDC as a “Threshold Override.” The procedure for submitting a
threshold review began when ABDC’s sales teams, who were responsible for acquiring new
customers and managing existing customers, submitted threshold review forms to the CSRA
Department. The ABDC sales associate (from the sales team managing customer accounts) would
request the threshold reviews for the customers. 362

                    (3)      FTI Consulting, Inc. Audit of ABDC Compliance Activities.

        In August 2015, ABDC voluntarily engaged an outside consultant – FTI Consulting, Inc.
(“FTI”) - to review its order monitoring system. FTI issued a report documenting the findings of
an audit of ABDC’s compliance activities. 363 The FTI report disclosed numerous problems,
including a lack of resources, a lack of formal training, overburdened workloads, crushing
administrative demands, inconsistent policies, and communications break-downs. 364 In addition
to the report, for various areas within the company, including Diversion Control, a forty-five page


357
      See ABDCMDL00002325.
358
      See Mays Deposition, 220:11-14; see also Zimmerman Deposition, 457:1-459:19.
359
      Id.; see also, ABDCMDL00046622.
360
  See ABDCMDL2405-2418 (describing the DC review process as “arbitrary”); see also ABDCMDL00250024-
250063.
361
      See ABDCMDL00002325.
362
      See Elkins Deposition, 245:2-246:6.
363
      See ABDCMDL00274105-18.
364
      Id.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 89 of 188. PageID #: 90228
                                                                 CONFIDENTIAL



chart discussed “findings & observations,” “Gaps & Risks,” and “Recommendations.” 365 Notably,
a “Gap & Risk” concerning ABDC’s Diversion Control program included “[r]egulatory
obligations related to diversion control.” 366 David May, ABDC’s senior director of Diversion
Control, testified that in response to the report, ABDC took no actions and made no changes to its
diversion policies or procedures. 367

        Despite this willful failure to address specific deficiencies in its OMP, evidence collected
thus far shows that ABDC understands the importance of diversion control. For instance, David
May testified that the company has “anti-diversion programs in place to prevent the misuse and
abuse of controlled substances.” 368 Similarly, Chris Zimmerman, ABDC’s chief compliance
officer, acknowledged, “if we don’t adhere to our effective controls to prevent diversion, yes,
diversion could occur.” 369 As discussed above, however, the evidence shows that ABDC
consistently ignored critical red flags and warning signs from its customers in what amounts to a
structural break-down of its diversion prevention obligations under the CSA, which had real
consequences in the communities where ABDC does business.

         For example, a DEA suspension order concerning one of ABDC’s Ohio customers, East
Main Street Pharmacy, documented deaths that occurred as a result of a failure to prevent
diversion. 370 Ms. Julie Fuller, an ABDC sales representative who was responsible for East Main
Street Pharmacy, testified in the suspension proceedings. Notwithstanding the obvious signs of
illegal activity occurring at the East Main Street Pharmacy, including the fact that more than half
of the pharmacy’s prescriptions were written by an out-of-area doctor who was writing high
volumes of controlled substances, Ms. Fuller “acknowledged that the purpose of her visits was not
‘to observe [the pharmacist]’ in the practice of pharmacy but to get his business.” 371 Subsequent
to the suspension proceedings, Ms. Fuller signed a Declaration, where she stated that as an account
manager, ABDC only provided her general sales training, and did not provide any training or
information on (a) how to identify questionable pharmacy behavior like suspicious dispensing,
sales, or prescription filling practices, (b) how to report concerns regarding those behaviors, or (c)
how to ensure that account managers only signed up and maintained accounts with legitimate
pharmacies. 372




365
      See ABDCMDL00250024-63.
366
      Id.
367
      See May Deposition, 149:2-5.
368
      See May Deposition, 97:22-98:1.
369
      See Zimmerman Deposition, 104:14-17.
370
      See https://www.deadiversion.usdoj.gov/fed_regs/actions/2010/fr1027_3 htm.
371
      Id.
372
      See Declaration of Julie Fuller, ¶ 9 (PLTF_2804_000004483).
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 90 of 188. PageID #: 90229
                                                                 CONFIDENTIAL



           3.       Suspicious Orders Reported In CT1 Jurisdictions: 373
                                         Pre-Shipment Reporting           Post-Shipment Reporting
 2007                                    0                                0
 2008                                    0                                0
 2009                                    1                                0
 2010                                    18                               0
 2011                                    25                               0
 2012                                    45                               0
 2013                                    167                              0
 2014                                    20                               0
 2015                                    3                                0
 2016                                    0                                0
 2017                                    0                                0
 2018                                    0                                0


           4.       Due Diligence Conducted:
        On August 10, 2005, the DEA met with Steve Mays, ABDC’s then-Director of Regulatory
Affairs, to inform him about the common characteristics of pharmacies that divert large amounts
of controlled substances by filling invalid prescriptions obtained by customers using the
internet. 374 Prior to that meeting, ABDC’s due diligence policy consisted solely of “a good faith
effort to make sure that that customer’s properly licensed with the state and registered with the
DEA.” 375
       As a result of the 2005 DEA meeting, ABDC began using a questionnaire to obtain
information about its customers as part of a new due diligence effort, which consisted of 10-12
questions, but they were “all related to internet pharmac[ies].” 376
        After the 2007 DEA enforcement action, ABDC implemented a “Know Your Customer”
due diligence policy. ABDC’s due diligence program was effectuated through the Form 590 retail

373
   See ABDCMDL00379672;                 ABDCMDL00379673;          ABDCMDL00383973;   ABDCMDL00379674;
ABDCMDL00383974.
374
      See ABDCMDL00269383-387.
375
      See Mays Deposition II, 73:24-74:21.
376
      See Mays Deposition 134:16-135:16; Mays Deposition II, 37:1-15.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 91 of 188. PageID #: 90230
                                                                 CONFIDENTIAL



pharmacy questionnaire. The Form 590 was supposed to be filled out by ABDC’s customer sales
representatives in conjunction with ABDC’s pharmacy customers. ABDC’s witnesses testified that
the Form 590 is and was an important component of its diversion control program. 377
        The Form 590 process, however, suffered from numerous deficiencies. First, for many
years, the Form 590 was only for new customers. 378 None of the requisite due diligence
information was collected for existing customers. 379 Additionally, ABDC exempted “retail chain
pharmacies” (broadly defined to include pharmacies with 10 or more locations, or any number of
locations in more than one state) from the Form 590 requirement. 380 Rather than require all
pharmacies within a chain to complete a Form 590, ABDC allowed the chain to complete one
Form 590. This exempted large swaths of ABDC’s customers from the requirement of completing
Form 590.
        Moreover, documents show that even when Form 590s were required, vast numbers of the
forms were either illegibly filled out or contained substantial omissions. 381 Indeed, David May
acknowledged that the “continued deficiency [in the Form 590s] puts us at risk with regulators.” 382
In 2016, ABDC implemented a “CSRA 590 Validation Project” to “validate that all ABDC
customers authorized to purchase controlled substances and identify any with deficiencies” 383, but
one year into the project, ABDC had only received “about 10% percent of the required customer
due diligence documents.” 384 To date, as of May 29, 2018, ABDC estimates that only about 60%
of the due diligence deficiencies have been remedied. 385 The lack of both current and historical
documentation of due diligence efforts are indicative of a failure to maintain effective controls to
prevent diversion.
        In 2013, ABDC’s due diligence efforts were the subject of a DEA audit and subsequent
investigation. According to Joseph Tomkiewicz, an investigator and diversion program manager
at ABDC, DEA agents met him at his personal residence sometime in the fall of 2013. This
resulted in conversations with the U.S. Attorney about ABDC’s due diligence efforts, specifically
whether it had truncated the Form 590 for a specific group of pharmacies, which investigators
believed may have short-circuited ABDC’s customer due diligence process. 386 This point is also
reflected in an ABDC “DEA Audit History” spreadsheet, with notes that indicate: “DEA was not



377
      See, e.g., May Deposition, 263:8-19.
378
    See Zimmerman Deposition, 213:10-17.
379
    Id.
380
    See, e.g., ABDCMDL00000107; see also, Zimmerman Deposition, 213:16-214:9.
381
      See May Deposition, 269:12-20.
382
      See ABDCMDL00159415.
383
      id.; May Deposition, 272:8-13.
384
      Id., at 273:21-24.
385
      Id., at 283:24-284:23.
386
      See Tomkiewicz Deposition, 35:10-23; 57:2-16:14; see also WAGMDL00237263.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 92 of 188. PageID #: 90231
                                                                 CONFIDENTIAL



comfortable with the [OMP] program and analyzed the program specifically how customers are
screened.” 387
        Based on my review of documents and testimony and as noted throughout this report,
historically the due diligence conducted by ABDC has fallen short. First, ABDC conducted no
due diligence until 2005. Once a due diligence program was finally instituted, it consisted of
merely a short questionnaire and checking to confirm that the customer’s licenses were
current. Moreover, ABDC’s initial due diligence program only addressed internet
pharmacies. Later, even when the due diligence was conducted more broadly, it focused on new
customers and, like some other wholesale distributors, ABDC regularly showed complete
deference to chain pharmacies. Therefore, the due diligence for those customers was consistently
lacking. Finally, more recently, it was uncovered that ABDC did not have any of the requisite due
diligence files for significant numbers of its customers, calling into question whether any due
diligence was actually conducted. In my opinion, while ABDC has had some sort of due diligence
program in place since 2005, a review of those programs in practice make clear that for all practical
purposes, ABDC’s due diligence efforts have fallen short of what is required.

           5.   Opinions Related to AmerisourceBergen:
          1.    AmerisourceBergen failed to maintain effective controls against diversion of
                prescription opiates into the illicit market in violation of 21 U.S.C.A. §
                823(b)(1) [1970].

        The bar graphs identified as Figures 27-38 in Schedule II to this report demonstrate a clear
escalation of prescription opioids into Cuyahoga County and Summit County by dose, base weight,
and MME.

       Documents produced by ABDC show that rather than focusing on putting effective controls
to prevent diversion in place and designing and operating a system to detect suspicious orders and
stopping those orders ABDC circumvented the requirements and coached customers on how to
avoid being detected by the system and being the subject of an enforcement action by the DEA.
For example, a July 2013 ABDC document entitled “Sales Talking Points” stated as follows:

                I am rather concerned about your pharmacy for a different reason.
                Based on your overall volume with us, your percentage of C2 orders
                is high and may be deemed suspicious by either our OMP system or
                regulatory authorities. This puts your account with ABDC at
                significant risk of closure or exposure to regulatory and
                enforcement agencies actions.

                Every day, we read about another independent pharmacy under
                investigation. I want to make sure that doesn’t happen to you. The

387
      ABDCMDL00253869.
                                                 1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 93 of 188. PageID #: 90232
                                                                 CONFIDENTIAL



                 way I see it, is that you have a couple of options. First, you can make
                 ABDC your primary wholesaler and shift all purchases to us. The
                 second option is we arrange a short-term transition process and you
                 stop buying C2s from ABDC and shift them to whomever your
                 buying other products. The third option would be to do nothing --
                 but this is not a feasible long-term decision -- and its not a good
                 option for anyone. 388

          2.     AmerisourceBergen failed to stop shipments of suspicious orders of
                 controlled substances in violation of the requirement to maintain effective
                 controls against diversion as set forth in 21 U.S.C.A. § 823(b)(1) [1970].

         ABDC’s official national policy from 1990, up until the DEA Settlement in 2007, was to
ship all orders of controlled substances, regardless of size, frequency, deviations from prior orders,
deviations from averages, deviations from defined thresholds, or whether that order was
determined to be suspicious. This is a blatant violation of the No-Shipping Requirement.

        Further, while ABDC purported to change its system in 2007 pursuant to its settlement
agreement with the DEA, it still did not fully comply with the No-Shipping Requirement after that
date. For instance, the one suspicious order from Summit County ABDC reported to the DEA in
2010 was shipped anyway, rather than held or cancelled. 389 Likewise, one of the 12 suspicious
orders from Summit County ABDC reported to the DEA in 2012 was shipped as well. 390

          3.     AmerisourceBergen failed to design and operate a system to identify
                 suspicious orders of controlled substances in violation of the security
                 requirement set forth in 21 C.F.R. § 1301.74(b).

        Pre-2007, ABDC’s suspicious order monitoring system failed the security requirement set
forth in 21 C.F.R. § 1301.74(b). Specifically, ABDC’s pre-2007 policies constituted a failure to
design and operate a system to identify suspicious orders because they only identified “excessive”
orders that exceeded a 3x threshold, which only took into consideration prior orders of that specific
pharmacy. ABDC’s OMP system did not take into consideration other relevant factors such as
order frequency patterns, order averages of similar pharmacies, or comparisons of sales of
Schedule II or III controlled substances with the sales of other controlled substances. ABDC also
had no meaningful due diligence process in place to investigate whether such “excessive” orders
otherwise qualified as suspicious, other than an effort to make sure a customer was licensed with
the state and registered with the DEA. As evidenced by the 2007 DEA Enforcement Action which
suspended the registration of ABDC’s Orlando distribution facility, ABDC also specifically failed


388
      ABDCMDL00278212 (emphasis added).
389
      See ABDCMDL00379674; ABDCMDL00308070.
390
      See ABDCMDL00383974.
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 94 of 188. PageID #: 90233
                                                                 CONFIDENTIAL



to identify suspicious orders from internet pharmacies that the DEA concluded should have been
identified.
         Post-2007, ABDC failed to design and operate an adequate system to identify suspicious
orders because it continued to employ a “threshold-based system,” which was based on an arbitrary
“3x multiplier” among drug families, which again ignored other relevant information. ABDC also
left critical discretion to identify suspicious orders with its distribution center employees, without
putting in place any set, concrete rules or criteria on how suspicious orders should be
identified. The 2015 FTI Audit Report also revealed numerous problems with ABDC’s system,
including a lack of resources, a lack of formal training, overburdened workloads, crushing
administrative demands, inconsistent policies, and communications break-downs, which
contributed to “gaps and risks” in ABDC’s ability to identify orders as suspicious and prevent
diversion. ABDC’s efforts of due diligence in identifying suspicious orders at this time also fell
well short of effective. Specifically, the “Know Your Customer” due diligence policy was based
on a form filled out by ABDC’s own sales representatives in conjunction with ABDC’s pharmacy
customers, creating a conflict of interest in identifying accurate information. The fact that
ABDC’s chain retail pharmacy customers were exempt from this requirement abdicated ABDC’s
duty to identify suspicious orders to the customers themselves. Further, the Form 590 due
diligence program itself was inconsistently implemented, leaving a lack of current and historical
documentation of due diligence efforts that renders a robust, effective due diligence system
impossible.

           4.       AmerisourceBergen failed to report suspicious orders of controlled
                    substances in violation of the reporting requirement set forth in 21 C.F.R. §
                    1301.74(b).

      Between 1998 and 2008, AmerisourceBergen timely reported zero suspicious orders from
the CT1 jurisdictions. This is a blatant violation of the Reporting Requirement. Further, using
any of the methodologies described in the Expert Report of Craig McCann, it is apparent
AmerisourceBergen failed to report thousands of suspicious orders arising out Cuyahoga County
and Summit County. 391




391
      See Section III, “Identifying Suspicious Orders Distributed in CT1.”
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 95 of 188. PageID #: 90234
                                                                 CONFIDENTIAL



            D.    CVS Health
Distribution Center:                 CVS Indiana, L.L.C.
                                     7590 Empire Drive, Doors 116-123
                                     Indianapolis, Indiana 6219

DEA Registrant Number:               RH0197170

Distribution Center:                 CVS Rx Services, Inc.
                                     150 White Wagon Road
                                     Chemung, New York 14825

DEA Registrant Number:               RC0415871

Transactional Data Disclosed:
      Date range: 2002 to October, 2014 (when CVS quit distributing HCPs). 392

      Volume:

 Cuyahoga 393                   Total Dosage                 MME            Base Weight
 Oxycodone
 Hydrocodone

 Summit 394                     Total Dosage                 MME            Base Weight
 Oxycodone
 Hydrocodone

                       1.        Court ordered SOMS Discovery Disclosure:

            •    CVS HEALTH CORPORATION’S OBJECTIONS AND RESPONSES TO PLANTIFFS’
                 FIRST SET OF INTERROGATORIES (6/18/18)

            •    CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
                 AND RESPONSES TO INTERRROGATORIES NO. 1-6, 8-10, 13, 15-18, 20-21 AND
                 30 OF PLAINTIFFS’ FIRST SET OF INTERROGATORIES (9/10/18)

            •    CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
                 AND RESPONSES TO INTERROGATORIES NO. 11, 13 AND 30 OF PLAINTIFFS’
                 FIRST SET OF INTERROGATORIES (11/30/18)

392
      CVS-MDLT1-000003782–7364.
393
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 181.
394
      Id, at p. 811.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 96 of 188. PageID #: 90235
                                                                 CONFIDENTIAL




       •   CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
           AND RESPONSES TO INTERROGATORIES NO. 7, 12, 14, 15, 17, 19, AND 22-29 OF
           PLAINTIFFS’ FIRST SET OF INTERROGATORIES (1/25/19)

       •   CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
           AND RESPONSES TO INTERROGATORY NO. 15. OF PLAINTIFFS’ FIRST SET OF
           INTERROGATORIES (3/4/19)

       •   CVS HEALTH CORPORATION’S OBJECTIONS AND RESPONSES TO
           PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
           (6/18/18)

       •   CVS INDIANA, L.L.C.’S AND CVS RX SERVICES, INC.’S AMENDED OBJECTIONS
           AND RESPONSES TO REQUESTS NO. 1-6 AND 9 –33 OF PLAINTIFFS’ FIRST SET
           OF REQUESTS FOR PRODUCTION OF DOCUMENTS (9/27/18)

       •   CVS RX SERVICES, INC.’S AND CVS INDIANA, L.L.C.’S OBJECTIONS AND
           RESPONSES TO PLAINTIFFS’ (FIRST) COMBINED DISCOVERY REQUESTS TO
           NATIONAL RETAIL PHARMACY DEFENDANTS (11/30/18).

       •   CVS INDIANA L.L.C. AND CVS RX SERVICES, INC. DISCOVERY RULING NO. 15
           SUPPLEMENT (2/22/19)

       •   CVS INDIANA L.L.C.’S AND CVS RX SERVICES, INC.’S WRITTEN RESPONSE TO
           TOPIC 1 OF PLAINTIFFS’ AMENDED SECOND NOTICE OF DEPOSITION
           PURSUANT TO RULE 30(b)(6) (11/8/18)

       •   CVS’S WRITTEN RESPONSES TO TOPICS 8, 9, 12, 13 AND 14 OF PLAINTIFFS’
           AMENDED SECOND NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6)
           (11/15/18)

       •   CVS INDIANA L.L.C.’S AND CVS RX SERVICES, INC.’S PARTIAL WRITTEN
           RESPONSE TO TOPIC 2 OF PLAINTIFFS’ AMENDED SECOND NOTICE OF
           DEPOSITION PURSUANT TO RULE 30(b)(6) (11/19/18)

       •   CVS’S WRITTEN RESPONSES TO TOPICS 2, 4, 10, 16 AND 17 OF PLAINTIFFS’
           AMENDED SECOND NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6)
           (1/14/19)

              2.     SOMS Corporate Policy Disclosed
        It is my understanding that in response to the Combined Discovery Request No. 2, CVS
listed Bates stamp ranges of documents but failed to identify with specificity the SOM policy
                                             1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 97 of 188. PageID #: 90236
                                                                 CONFIDENTIAL



and/or procedure and/or the date said policy and/or procedure was in effect. Additionally, I
understand that portions of the SOMS Corporate Policy were disclosed in the written responses to
other discovery, the Rule30(b)(6) testimony offered by Mark Vernazza and the testimony of other
deponents.
        CVS’s first written controlled drug operating procedures were circulated on December 1,
2007. The 2007 document was titled “CVS Distribution Center Controlled Drug - DEA Standard
Operating Procedures (SOPs) Manual.” 395 The “standard operating procedures were prepared in
response to a need for a single source of current information for CVS regarding DEA policies and
requirements of the Comprehensive Drug Abuse Prevention Act.” 396 Although the “Suspicious
Order Monitoring (SOM)” section of the standard operating procedures contained some language,
albeit admittedly incomplete as outlined in the document, Mark Vernazza, the CVS 30(b)(6)
witness and CVS in-house attorney, testified that the suspicious order monitoring section of the
standard operating procedures was essentially a draft or placeholder and was not the policy that
was necessarily in place at the time. 397
        In fact, despite admitting in 2007 that a need existed for a “single source of current
information for CVS regarding DEA policies,” CVS did not insert a written SOM policy into the
standard operating procedures until August 25, 2010. 398 In other words, CVS had no written SOM
policies until August 25, 2010. . Although denied by Vernazza, it appears that the August 25,
2010 SOM section of the Standard Operating Procedures was rushed into place to comply with a
DEA request and the section shows a disregard for the necessity and importance of the SOM
process, a fact demonstrated in the inconsistencies of the document itself. 399 For example, the title
headings found within the Table of Contents for the SOM section do not actually match the title
headings used in the document. 400 The page numbers in the Table of Contents for the SOM section
are incorrect. Another example is the,wording of the SOM section itself is inaccurate, indicating
that within the next month the critical Item Review Report (“IRR”) examination process would be
transitioned to each pharmacy DC and outlining procedures to be followed once that happens. 401
Yet the IRR review process was never transitioned to each individual DC. The Controlled Drug –
DEA Standard Operating Procedures Manual for the pre-2014 SOM system was amended multiple
times between 2010 and 2013, with the last revision dated April 18, 2013. 402 None of these
amendments made significant changes to the SOM section, other than the March, 11, 2011


395
      CVS-MDLT1-000025206-000025259.
396
      CVS-MDLT1-000025207.
397
      Vernazza Depo., 214:11–215:10; 219:4–221:13; 305:16–306:5; CVS-MDLT1-000025206–000025259.
398
      Vernazza Depo., 305:16–306:5; CVS-MDLT1-000008964–9032.
399
      Vernazza Depo., 300:6- 312:20; CVS-MDLT1-000089188; CVS-MDLT1-000057751.
400
      See titles found on CVS-MDLT1–00008966 compared with titles used at CVS-MDLT1-00009003.
401
  See CVS-MDLT1-00009004: “During the month of September, 2010, the report will be transitioned to each
pharmacy DC and the following procedures will occur.”
402
      CVS-MDLT1-00008572-000008635.
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 98 of 188. PageID #: 90237
                                                                 CONFIDENTIAL



revision indicated the IRR review was centralized in Knoxville, TN, 403 and later revisions
identified individuals who were supposedly fulfilling certain DEA obligations within CVS. 404 An
example of this is the testimony of Amy Propatier who admitted that she was listed as the CVS
DEA Compliance Coordinator in the Controlled Drug – DEA Standard Operating Procedures
Manuals but that title was only for reference in the Standard Operating procedures and was not her
real job position. She also testified that as the CVS DEA Compliance Coordinator the only thing
she ever did related to suspicious order monitoring was updating the standard operating procedures
manual. 405
       Despite the fact that the Controlled Drug – DEA Standard Operating Procedures Manual
purported to be the “single source of current information for CVS regarding DEA policies,” 406
CVS did author other shorter policies that appear not to have been implemented or, at least, not
consolidated with the “single source” SOP. Many of these shorter policies appear to be the same
or very similar to the information contained within the CVS Distribution Center Controlled Drug
- DEA Standard Operating Procedures (SOPs) Manuals. 407
         On February 29, 2012, the first Work Instructions for Loss Prevention Analyst, outlining
how to perform IRR/SOM analysis was instituted. 408 This appears to be the first written
instructions informing analysts how to perform an IRR review. The IRR is the primary SOM
process, and yet CVS neglected to provide written instructions outlining how to perform that
critical review from its initial use in mid-2009 until February 29, 2012.
        The DEA was on-site at CVS in August, 2013 conducting an investigation. 409 The content
of the CVS letter to Mr. Gillen, who was the Diversion Group Supervisor for that DEA office,
indicates the purpose was a regulatory investigation. This is an investigation of compliance with
DEA security and record-keeping regulations and an accountability audit of selected controlled
substances. Normally the DEA conducts a “closing” upon completing the investigation but
according to the CVS letter, it still had not occurred as of November 21, 2013.
       The CVS letter indicates that CVS and Mr. Gillen had a discussion on November 14, 2013
and Gillen had some concerns about the SOMS process. According to the CVS letter, Gillen was
going to report to his Program Manager in Chicago that CVS had no reporting structure in place. 410
Trying to placate Mr. Gillen’s concerns, Mark Nicastro sent a packet of information to the DEA.

403
      CVS-MDLT1-00008413-00008482.
404
   See for example names inserted into the 5/6/11 Controlled Drug – DEA Standard Operating Procedures Manual
found at CVS-MDLT1-00003177-3242.
405
      Propatier Depo., 79:15 – 81:2.
406
      CVS-MDLT1-000025206-000025259, 000025207.
407
  See PSE and Control Drug Policy & Procedures Template Logistics IRR Analyst – Suspicious Transactions (21
USC 830(b)(1) Effective Date: June 28, 2011. CVS-MDLT1-000083552-83556.
408
      CVS-MDLT1-0000020426–20428.
409
      CVS-MDLT1-000010202.
410
      CVS-MDLT1-000010202.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 99 of 188. PageID #: 90238
                                                                 CONFIDENTIAL


411 412
       As part of the packet, CVS provided the DEA with what it claimed was its Standard
Operating Procedure for Suspicious Order Monitoring but it provided an outdated version of the
policy when a more recent edition was available. Specifically, on January 7, 2013 the “SOM
Process—Stop Order/Order Resumption SOP” was drafted. 413 Revision number three of this
document was dated three days later on January 10, 2013. 414 All of the evidence indicates that
this was also a draft, 415 but CVS sent this document to the DEA on November 21, 2013 and
portrayed it as the Standard Operating Procedure for Suspicious Order Monitoring. 416 A final
revision of the Stop Order/Order Resumption SOP was created on March 28, 2013. 417 Months
before CVS sent the packet to Gillen. In other words, CVS represented to the DEA that the
January 10th version was the standard operating procedures for suspicious order monitoring, even
though it had already been revised and supplanted. Moreover, all of the versions of the “CVS
Distribution Center Controlled Drug - DEA Standard Operating Procedures (SOPs) Manuals”
indicate that they are the “single source” for DEA policies, and they differ from the stand alone
Standard Operating Procedure for Suspicoius Order Monitoring document provided to the DEA.


        Significant differences exist between the January 10th version provided to the DEA on
November 21, 2013 and the March 28, 2013 version that according to the documents was actually
the version in place as of November 21, 2013. The January 10, 2013 CVS document (hereinafter
referred to as Document A) provided to the DEA on November 21, 2013, was titled, “CVS /
Corporate Logistics, External Documents, SOM Process – Stop Orders / Order Resumption SOP”
with a Current Revision Date of 01/10/2013 and assigned Revision Number 03. 418 The more
recent CVS policy that, according to the documents was in place on November 21, 2013 and should
have been sent to the DEA (hereinafter referred to as Document B) was titled, “CVS / Corporate
Logistics, External Documents, SOM Process – Stop Orders / Order Resumption SOP” with a
Current Revision Date of 03/28/2013 and assigned Revision Number 04. 419 It should be noted
both policies contain the following statement underlined in bold font, “THIS IS A
CONTROLLED DOCUMENT – USE LATEST REVISION.”


411
      CVS-MDLT1-000010201 – 10212.
412
    The document as provided to Mr. Gillen representing suspicious orders reported by CVS to the DEA has
insufficient information that renders it useless. The database does not identify the date of order, DEA registration #,
type and strength of drug and/or NDC #.(CVS-MDLT1-000010209)
413
      CVS MDLT1-000028391-000028393. This document was a rough draft. See CVSMDLT1-000028390.
414
      CVS-MDLT1-000010205-000010208.
415
   See email string attaching document and corrections made which created another revision number 3, but that
revision number 3 is dated 1/21/13. (See CVS MDLT1-000025365-000025369).
416
      CVS-MDLT1-0000010201–000010212.
417
      CVS-MDLT1-0000030545–000030548.
418
      CVS-MDLT1-000010205 -000010208
419
      CVS-MDLT1-000030546-000030548
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 100 of 188. PageID #: 90239
                                                                 CONFIDENTIAL



       The most significant difference was in regards to the due diligence process. In Document
A in the Identify and Hold Section of the policy the second paragraph contains the following
language:
       Once an order of interest is identified, the SOM Analyst will complete all necessary
       due diligence and the SOM Manager will be notified to review the order. Due
       diligence will include, but is not limited to: contacting the Pharmacist, reviewing
       dispensing data, reviewing prior ordering data, comparing the quantity of
       controlled substances to non-controlled substances, determining if prescriptions
       for cocktails are being presented to the store, determining if one or several doctors
       make up a disproportionate share of the dispensing at the pharmacy, and
       contacting pharmacy operations to verify the information received from the store
       and to obtain any relevant information they may have about prescriber, nearby
       clinics, changes in the competitive landscape, or changes in the circumstances such
       as a new emergency room or clinic opening nearby that might impart the ordering
       history. If the SOM Manager agrees that order is an order of interest, the
       Distribution Center will be contacted, both by email and telephone, by the SOM
       Manager to place a Hold on the drug family in question on the order of interest and
       the SOM Manager will communicate to the Distribution Center each day to hold
       future orders for the store in question until the order of interest is verified. Once
       the order of interest is placed on hold, the process enters phase two, Review and
       Research.
In Document B the second paragraph of the policy contains the following language:
       Once an order of interest is identified, the SOM Analyst will complete all the
       necessary due diligence, according to the SOM Due Diligence SOP, and the SOM
       Manager will be notified to review the order. Due diligence will include, but is not
       limited to: contacting the Pharmacist, reviewing ordering date, etc. If the SOM
       Manager agrees that the order is an order of interest, the Distribution Center will
       be contacted, both by email and telephone, by the SOM Analyst to place a Hold on
       the drug family in question on the order of interest. Also, the SOM Analyst will
       communicate to the Distribution Center each day to hold future orders until the
       order of interest is verified. Once the order of interest is placed on hold, the process
       enters phase two, Review and Research.
The language in Document A provides a very comprehensive description of the type of due
diligence investigation required to review an order identified by the CVS system as potential
suspicious orders when compared with Document B. The differences in language have a strong
potential to render a different decision in regards to the effectiveness of the due diligence
investigation. Document B contains the additional statement, “according to the SOM Due
Diligence SOP.”       Document B does not specifically identify where to find the SOM Due




                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 101 of 188. PageID #: 90240
                                                                 CONFIDENTIAL



Diligence SOP. There is no mention of due diligence investigations in the Controlled Drug – DEA
Standard Operating Procedures Manual and this is supposed to be the single source document. 420
Another significant difference was in regards to due diligence process. In Document A in the
“Identify and Hold Section” of the policy the first paragraph contains the following language:
          The purpose of the Identify and Hold phase is to identify potentially irregular
          orders and place a Hold on those orders at the Distribution Center. All orders
          identified as potentially irregular are labeled “orders of interest” unless
          determined to be suspicious following the initial due diligence process. Orders of
          interest are identified by the SOM Analyst while reviewing the PSE Item Review
          Report (IRR}, the Control IRR, and/or the Florida 5000 Dose Report (FRR) or by
          warehouse employees reviewing or packing orders for distribution to CVS Stores.
In Document B the language “or by warehouse employees reviewing or packing orders for
distribution to CVS Stores” has been omitted.

Another significant change occurred on the first page in Section 1. – Purpose. The language in
Document A is as follows:
          To detail the three phase approach developed to effectively identify, review and
          stop potentially irregular orders of PSE or controlled substance drugs identified by
          the CVS/Caremark Suspicious Order Monitoring (SOM) process, as well as report
          orders that are deemed to be suspicious.
The language in Document B for the same section as listed above is as follows:
          To detail the 3 phase approach developed to effectively review and stop a
          potentially suspicious order of PSE or Control drug identified by the
          CVS/Caremark Suspicious Order Monitoring (SOM) process, as well as report
          orders that are deemed to be suspicious.
        In Document B the word “identify” no longer appears. Further, Document A uses the term
“irregular orders” which is changed to “suspicious order” in Document B. The change of these
words become more impactful when the use of the term “order of interest” is used in the letter to
Mr. Gillen. This change in terminology regarding this area may cause the potential for the reader
to draw a different conclusion at which point the order should be reported as suspicious to the
DEA.In August, 2013, CVS created “Work Instructions for Suspicious Order Monitoring” 421 and
a “DCHuddle Guide.”422 Both of these documents inform employees of CVS’s desire to detect and
block suspicious orders of controlled substances and other listed chemicals, and they both beg the
question of what CVS was doing until August of 2013. Indeed, although CVS claims that its SOM
process since at least 2006 relied on Pickers and Packers to detect and stop suspicious orders, the

420
      CVS-MDLT1-00008572-000008635.
421
      CVS-MDLT1-000000299–00000303.
422
      CVS-MDLT1-00003028-00003032.
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 102 of 188. PageID #: 90241
                                                                 CONFIDENTIAL



Huddle Guide appears to be the first written instructions addressing the SOM issue that CVS ever
provided to Pickers and Packers.
        Other policies and procedures that CVS produced appear to be different versions of
documents discussed above, or, in some cases, documents that relate to the new SOM system CVS
gradually rolled out in 2014 (the first distribution center going live on March 2, 2014). Due to the
limited amount of time that CVS distributed opioids after the introduction of the new SOM system,
I have not been asked to opine on this system. I am, however, aware of some of the issues that
were raised internally regarding the effectiveness of the new system. 423
                   3.       Enforcement Actions
        In August, 2013 the DEA initiated a regulatory investigation at the CVS Distribution
Center in Indiana. 424 After the investigation and after the DEA had outlined some concerns with
what it found at CVS, Mark Nicastro, the CVS Indiana Director of Operations, sent
correspondence to the DEA. CVS cited the robust “due diligence processes in our pharmacy
operations group, which monitor the dispensing of prescriptions across the entire CVS chain to
ensure appropriate dispensing by stores” as the “primary contributor to the limited number of
suspicious orders identified through our distributor SOM process.” 425 The sufficiency of the
pharmacy level due diligence component of the CVS SOM program is belied by numerous DEA
actions against CVS for the significant due diligence failures in its pharmacy operation, including
the following:

           a. On October 13, 2010, CVS Pharmacy, Inc. entered into a Settlement Agreement with
              the United States and the DEA to resolve the criminal investigation of unlawful
              distribution and sales of pseudoephedrine ("PSE") by CVS/pharmacy stores in
              Southern California and Nevada and a CVS/pharmacy distribution center in Southern
              California. The CVS Distribution Center in La Habra, California, was in a position to
              monitor and report excessive PSE sales to the DEA, but failed to do so, in violation of
              21 U.S.C. Sec. 830(b) and 21 C.F.R. Sec. 1310.05(a)(1). CVS paid a penalty of
              $75,000,000 and forfeited $2.6 million in profits for a total payment of $77.6
              million. 426

           b. On March 28, 2013, CVS Pharmacy, Inc. and Oklahoma CVS Pharmacy L.L.C. entered
              into a Settlement Agreement with the United States and the DEA to resolve claims that
              CVS violated the CSA by : (1) filling prescriptions for certain prescribers whose DEA

423
      Schiavo Depo., 374:23-385:22.
424
      CVS-MDLT1-00008014–00008015.
425
      Nicastro Depo, 203-206; Ex. 42.
426
   See Non-Prosecution Agreement found at http://lib.law.virginia.edu/Garrett/corporate-prosecution-
registry/agreements/cvs.pdf . See also CVS press release announcing Settlement found at
https://cvshealth.com/newsroom/press-releases/cvspharmacy-announces-agreements-us-drug-enforcement-
administration-and-us-attorneys-offices.
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 103 of 188. PageID #: 90242
                                                                 CONFIDENTIAL



             registration numbers were not current or valid; (2) entering and maintaining invalid
             DEA registration numbers on CVS dispensing records for certain prescriptions, which
             were at times provided to state prescription drug monitoring programs; and (3) entering
             and maintaining CVS dispensing records including prescription vial labels that identify
             a non-prescribing provider as the prescribing provider for certain prescriptions. CVS
             paid a fine of $11,000,000. 427

          c. On September 2, 2014, CVS Pharmacy, Inc. entered into a Settlement Agreement with
             the United States and the DEA to resolve claims against CVS for filling (from April 1,
             2012 to July 31, 2012) 153 prescriptions at eight (8) different pharmacies, written by
             the same physician, during a time period during which his Texas Department of Public
             Safety Controlled Substances registration was expired. CVS paid a $1,912,500 fine. 428

          d. On May 12, 2015, CVS Health entered into a Settlement Agreement with the United
             States and the DEA. The Settlement resolved claims that CVS failed “to fulfill its
             corresponding responsibility to ensure that CVS dispensed controlled substances only
             pursuant to prescriptions issued for legitimate medical purposes by practitioners acting
             in the usual course of their professional practice, as required by 21 CF.R. §1306.64.”
             The Settlement also covered CVS’s “Florida Distribution Center[s] failure to maintain
             effective controls against the diversion of controlled substances” and failure to timely
             detect and report suspicious orders of controlled substances. CVS's conduct
             complained of is set forth in the February 2, 2012 Orders to Show Cause and Immediate
             Suspension Orders issued to CVS stores 219 and 5195. CVS paid a fine of
             $22,000,000. 429

          e. On August 7, 2015, CVS Health entered into a Settlement Agreement with the United
             States and the DEA. The Settlement resolved claims that between March 3, 2010 and
             August, 2015 CVS stores in Rhode Island (1) filled prescriptions with invalid prescriber
             DEA numbers (knew or should have known in violation of 21 U.S.C. § 842(a)(1) and
             21 C.F.R. § 1306.04); (2) filled prescriptions for Schedule III controlled substances
             written by psychiatric nurse practitioners who were not authorized under state law or
             by terms of their DEA registration to issue such prescriptions, in violation of 21 U.S.C.
             § 842(a)(1) and 21 C.F.R. § 1306.03(a)(1); and (3) entering, creating, or maintaining
             CVS dispensing records in which the DEA registration numbers of non-prescribing
             practitioners, were substituted for the DEA registration numbers of prescribing



427
      CVS-MDLT1-000060822–000060829.
428
      CVS-MDLT1-000060907–000060914.
429
      CVS-MDLT1-000060796–000060804.
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 104 of 188. PageID #: 90243
                                                                 CONFIDENTIAL



              practitioners, in violation of 21 U.S.C. § 842(a)(5) and 21 C.F.R. § 1306.24. CVS paid
              a $450,000 fine. 430


          f. On December 31, 2015, the DEA issued a Letter of Admonition for violations in
             distributing HCPs at the CVS Indiana distribution center. 431 This DEA finding was the
             result of the 2013 investigation. The DEA found that CVS violated the Controlled
             Substances Act because of a:

                 “[f]ailure to design and maintain a system to detect suspicious and report
                 suspicious orders for Schedule III-V Controlled Substances as required by
                 Title 21 United States Code (USC) 821, Title 21 USC 823(e)(1), and Title
                 21 Code of Federal Regulations (CFR) 1301.74(b) in violation of Title 21
                 USC 842(a)(5) in that CVS failed to detect orders that should have been
                 identified as suspicious for retail locations in Vincennes and Kokomo,
                 Indiana. 432
          g. On February 12, 2016, CVS Pharmacy, Inc. entered into a Settlement Agreement with
             the United States and the DEA. In the Settlement, CVS acknowledged that between
             2008 and 2012, “certain CVS/pharmacy retail stores in Maryland did dispense certain
             controlled substances in a manner not fully consistent with their compliance obligations
             under the CSA….” CVS paid a fine of $8,000,000. 433

          h. On June 30, 2016, CVS Pharmacy, Inc. entered into a Settlement Agreement with the
             United States and the DEA. The Settlement resolved claims that between 2011 and
             2014 CVS pharmacies in Massachusetts had filled hundreds (523) of forged opioid
             prescriptions. CVS entered into a multi-year compliance agreement and paid a fine of
             $3,500,000. 434

          i. On July 5, 2017, CVS Pharmacy, Inc. entered into a Settlement Agreement with the
             United States and the DEA as a result of a DEA investigation showing “an increase in
             the number of thefts and unexplained losses of Hydrocodone…” at numerous Eastern
             District of California CVS retail stores. The Settlement resolved claims for the
             following misconduct: 1) failure to “provide effective controls and procedures to guard
             against theft and diversion of controlled substances” (see 21 C.F.R. §1301.71(a)) and
             failure to notify the DEA of certain thefts or significant losses of controlled substances

430
      CVS-MDLT1-000060847–000060855.
431
      CVS-MDLT1-00008014–00008015.
432
      CVS-MDLT1-00008014–00008015.
433
      CVS-MDLT1-000060805–00060811.
434
      CVS-MDLT1-000060872-00060906.
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 105 of 188. PageID #: 90244
                                                                 CONFIDENTIAL



              within one business day of the discovery (see 21 C.F.R. §1301.74(c)); 2) failure to
              maintain schedule 3-5 invoices (21 CFR §1304.04(a)); 3) failure to maintain Schedule
              3-5 records separate from non-controlled substance records (21 CFR §1304.04 (h)(3));
              4) failure to conduct a Biennial Inventory on one specific day (21 CFR §1304.11(c));
              5) failure to maintain complete and accurate records (21 CFR §1304.21(a)); 6) failure
              to record the date of acquisition of controlled substances (21 CFR §1304.22(c),
              1304.22(a)(2)(iv)); 7) failure to record the amount received on Schedule 3-5 invoices
              (21 CFR §1304.22(c)); 8) failure to record the amount received and the date received
              on DEA 222 forms (21 CFR §1305.13(e)); 9) failure to maintain DEA-222 forms (21
              CFR §1305. 17(a)); and 10) failure to maintain DEA-222 forms separate from other
              records (21 CFR §1305. 17(c)). CVS admitted that between April 30, 2011 and April
              30, 2013 the retail stores violated their recordkeeping obligations but it denied that the
              recordkeeping obligations caused any diversion. CVS paid a fine of $5,000,000. 435


                 4.      Suspicious Orders Reported In CT1 Jurisdictions: 436
          2006: 0
          2007: 0
          2008: 0
          2009: 0
          2010: 0
          2011: 0
          2012: 0
          2013: 0
          2014: 0

                 5.      Opinions Related to CVS
              1. CVS failed to maintain effective control against diversion of prescription
                 opiates into the illicit market in violation of 21 U.S.C.A. § 823(b)(1) [1970].
        The increase in prescription opioids without any due diligence documentary basis is
indicative of a failure to maintain effective control against diversion. The bar graphs identified as

435
      CVS-MDLT1 000060856-000060871.
436
   CVS RX SERVICES, INC.’S AND CVS INDIANA, L.L.C.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
(FIRST) COMBINED DISCOVERY REQUESTS TO NATIONAL RETAIL PHARMACY DEFENDANTS (11/30/18).
Request Nos. 3-7.
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 106 of 188. PageID #: 90245
                                                                 CONFIDENTIAL



Figures 39-44 in Schedule II to this report demonstrate a clear increase of distribution of
prescription opioids into Cuyahoga County and Summit County by dose, base weight and MME.


           2.        CVS failed to design and operate a system to identify suspicious orders of
                     controlled substances in violation of the security requirement set forth in 21
                     C.F.R. § 1301.74(b).
                a.   Period #1: 2006 – early to mid- 2009

      From 2006 to early to mid-2009, the CVS SOM program consisted of Pickers and Packers
and PDMR (“Viper”) Reports.
        Pickers and Packers were stationed in the controlled substance cage within the distribution
center who would pick and pack controlled substance orders. The Pickers and Packers would
identify orders that they believed were simply too large and would notify the Rx Inventory Control
manager of the order. Ms. Wilson, a Picker and Packer since 1996, testified that she was guided
by a “gut feeling” and then later testified that she used a crude rule of thumb that she learned in
1996 that, according to her, never changed throughout the entire period that CVS distributed
HCPs. 437 The evidence indicates that the first formal written policy for the Pickers and Packers
was introduced in August, 2013 with two documents: 1) “Work Instructions for Suspicious Order
Monitoring” 438 and 2) “DC Huddle Guide.”439 Regardless of the rule used by the Pickers and
Packers, the evidence demonstrates that essentially no orders were ever identified by the Pickers
and Packers as potentially suspicious and needing investigation. For the Indiana distribution center
during the period from 2006 through 2014, Sherri Hinkle was the Rx Inventory Control person
that the Pickers and Packers would notify if they believed an order merited investigation. 440 Ms.
Hinkle testified that she would be notified and investigate approximately one control drug
substance order every six months. 441
                b. Similarly, the Viper report was not an effective SOM process. CVS’s own
                   witnesses testified that this report was NOT a report to determine suspicious orders:
                   “But the point of this was not to produce results for the purposes of determining
                   whether suspicious orders were made and reporting those to the DEA.” 442 Rather,
                   the Viper Report was an aggregate report that showed shipping versus dispensing




437
      Wilson Depo., 62:8 – 64:6.
438
      CVS-MDLT1-000000299–00000303.
439
      CVS-MDLT1-00003028-00003032.
440
      S. Hinkle Depo., 14:5-15:22; 65:22-66:15; Wilson Depo., 40:21-42:1.
441
      S.Hinkle Depo., 83:23-86:1.
442
      Vernazza Depo., 191:18–21.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 107 of 188. PageID #: 90246
                                                                 CONFIDENTIAL



                    to determine whether there was a theft of product. 443 444 Period #2 Early to Mid-
                    2009 until March 2014

                    1. Item Review Reports 445

        In 2007 CVS hired Buzzeo to help create DEA control drug standard operating procedures.
This engagement lead to the manuals identified above as the “CVS Distribution Center Controlled
Drug - DEA Standard Operating Procedures (SOPs) Manual.” As part of the engagement, in late
2008-early 2009, Buzzeo delivered to CVS an “SOM model … designed to ‘pend’ an order which
may be classified as a ‘suspicious’ order for DEA reporting purposes.” 446 The SOM model
consisted of complex multiple logistic regression algorithms and was designed to pend any order
with a score of .15 or higher. The IRR was a print-out that consisted of all controlled drug orders
for that day that were identified as potentially suspicious by the SOM algorithm. This was a daily
report that was run five days per week. As is described in the Due Diligence Conducted section
below, CVS only performed due diligence on a small percentage of the orders identified in the
IRR as potentially suspicious.

         The IRRs had some specific problems that fit within the time periods below but it also had
one overarching issue that continued from mid-2009 until March, 2014 – when performing the
calculation of whether the order was suspicious, the IRRs did not consider orders delivered to CVS
pharmacies by outside vendors. 447 CVS had full access to every order its pharmacies placed to
outside vendors but did not incorporate this information in its SOM system. Maintenance of
effective controls requires CVS to utilize all relevant transaction information. Not surprisingly, the
VIPER reports which are used as inventory tools and to gauge whether there is a loss of product
from theft automatically incorporates outside vendor information. 448
The outside vendor issue was not rectified until the new AGI SOM program was implemented in
2014. As late as January of 2013, CVS was analyzing the potential risks of not tracking orders
that its pharmacies placed to outside vendors and concluded that it needed to due to the “DEA
‘Know Your Customer’ requirements.” 449 CVS recognized that in order for the “dispensing data
in the algorithm to be useful, we must account for all controlled substances ordered.” 450 In fact, a

443
      Burtner Depo., 384:12–21.
444
      Dugger Depo., 104:12–22.
445
   During this period the IRR was the primary SOM process used by CVS. However, CVS also continued to use
the Pickers and Packers and PDMR Viper reports in conjunction with the IRR.
446
  See Cegedim Dendrite Compliance Solutions Powered by BuzzeoPDMA “Descriptive Over Document: Cegedim
Dendrice Suspicious Order Monitoring (SOM) Model” Version 1.0 – December 2008. CVSMDLT1-000123386–
000123392).
447
      Burtner Depo., 284:21 – 285-20.
448
      Burtner Depo., 382:20 -387:17.
449
      CVS-MDLT1-000103328, at 28.
450
      CVS-MDLT1-000103328.
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 108 of 188. PageID #: 90247
                                                                 CONFIDENTIAL



CVS pharmacy lost 68,000 hydrocodone pills and then refilled its hydrocodone supply by calling
outside vendors instead of placing orders through the CVS distribution centers. 451 Most troubling,
according to CVS, in the event that CVS detected an order to an outside vendor which CVS
identified “as an order deviating from normal size, frequency, and/or buying pattern and deemed
to not be for legitimate purposes or are at risk of being diverted [those orders] are not required to
be reported to the DEA.” 452

                             a. Early to Mid-2009 through March, 2011

                                       i. Changing the Algorithm Triggering Score

         From early to mid-2009 through March, 2011, the IRR (for the entire country) was being
reviewed by Henry “John” Mortelliti. Mortelliti was the first individual to begin review of the new
IRR and he worked in loss prevention at the Lumberton distribution center in New Jersey. The
SOM algorithm delivered in December 2008 and implemented in early 2009 was designed to pend
an order with a score of 0.15 or higher. In July, 2009 CVS reported to Buzzeo that the SOM model
was pending a large number of orders that CVS believed were “not suspicious on their face” and
it requested that the model be changed. As a result revised coefficients for the algorithm were
delivered to CVS on August 27, 2009and the pend score of .15 remained the same. 453 454. Between
June, 2010 and August, 2010 Mortelliti adjusted the IRR pend score from .15 to .65. 455 On
February 8, 2011 a completely retuned SOM algorithm was delivered to CVS with another set of
co-efficients. The February, 2011 changes returned the pend score to .15. 456 However, a review
of IRRs from February and March of 2011 shows that the pend score was .65. In fact, an IRR
from as early as February 20, 2011, nine days after the consultant returned the model and returned
the pend score to .15, demonstrates that the score at that point was already returned by CVS to
.65. 457 Further, I have been informed that no documents have been produced that indicate why,
after the model was retuned by the consultants and the pend score returned to .15, CVS again
changed the pend score to .65.
                                      ii. All Flagged HCP Orders That Appear On The IRR Are Sent Out
                                          To Analysts For Additional Specialized Investigation




451
      CVS-MDLT1-000103327.
452
      CVS-MDLT1-000078060-000078069, at 78068 (emphasis added).
453
      CVS-MDLT1-000109623-000109625.
454
      CVS-MDLT1-00114642-00114652.
455
      Mortelliti Depo. Exs. 612, 614, 615.
456
      CVS-MDLT1-24494; 24495-24499; P. Hinkle Depo., pp. 194-214.
457
      CVS-MDLT1-000100851-000100864.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 109 of 188. PageID #: 90248
                                                                 CONFIDENTIAL



        Mortelliti testified that while he was reviewing the IRR, every HCP order that appeared on
the IRR was referred out for additional investigation which he believed was necessary. 458 Although
Mortelliti testified that he felt it was necessary for all HCP flagged orders to be sent out for
additional investigation, he has no idea what due diligence was actually performed. It is my opinion
that all HCP orders that were flagged on the IRR merited additional investigation beyond just
reviewing the information on the IRR. Significant evidence exists that calls into question the
accuracy of Mortelliti’s statement. First, Mortelliti testified that he would contact the loss
prevention manager and the pharmacy manager of the distribution centers to freeze all orders that
were flagged on the IRR. 459 However, Dugger, the Indiana loss prevention manager, told the DEA
that he never received a call from Mortelliti about the IRR. 460 Second, during this time period
Mortelliti testified that the Field Viper analysts were the individuals reviewing every order of HCP
that flagged on the IRR. However, I have been informed that the only documents that indicate any
investigation that was ever done on individual orders by these types of analysts during this time
period are the IRR Recaps and the IRR Recaps directly contradict Mortelliti’s testimony. ee
section on IRR Recaps). Mortelli was questioned during his deposition as to whether he was able
to find documentation that supported his position that he sent all IRR flagged orders of HCP out
for additional investigation. He unequivocally testified that he tried to find documents that
supported his story that he sent these flagged orders out for additional investigation but he was
unable to find any supporting documents. 461
                                         iii. Algorithm Not Functioning Correctly – Loses Historical Data –
                                              Active Ingredient
        In October of 2010 it was discovered that the algorithm was not functioning properly.
Because the algorithm monitored orders by drug and not active ingredient, any change in how the
drug was identified would cause the historical data to be lost. In a business description document
requesting resources to change the model, Mortelliti wrote in October of 2010, that the algorithm
model lost historical data and caused CVS to not be compliant with DEA expectations. 462 The
loss of the historical data caused the algorithm to not function properly. Although it is unclear
when the model was fixed, a business request update of April 25, 2011 indicated that the problem
was still not fixed and it had a finish date of December 31, 2011. 463
                              b. March/April, 2011 to December, 2013

        In March/April, 2011 CVS moved the IRR review process to the Knoxville, Tennessee
distribution center. At this point, the active ingredient issue was still not fixed and the IRRs were
still missing historical data. From March, 2011 until early 2012, the IRR review for the entire

458
      Mortelliti Depo., 367:1–14.
459
      Mortelliti Depo., 57:16 – 58:12.
460
      Mortelliti Depo., 58:17 – 62:18; Exh. 135.
461
      Mortelliti Depo., 220:7 – 221:22.
462
      Mortelliti Depo., 129:11 – 131:11, Ex, 16; Vernazza Depo., 400 – 455.
463
      Mortelliti Depo., 177:9 – 186:2.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 110 of 188. PageID #: 90249
                                                                 CONFIDENTIAL



country was centralized in Knoxville. In early 2012, Aaron Burtner began reviewing IRRs at the
Indiana distribution center. 464 During this period, the evidence indicates that the IRRs would
consist of hundreds of flagged orders with some IRRs having over 1,000 orders. All orders listed
on the IRR were identified by the computer algorithm as potentially suspicious and should have
had additional investigation. The evidence indicates that during this period, very few orders that
were identified on the IRR as potentially suspicious were investigated beyond the IRR. (See Due
Diligence Conducted).
                    2. Due Diligence Conducted

         Due diligence, as it relates to CVS’s SOM program, can be broken down into two distinct
subparts: i) What tools were available to conduct due diligence; and ii) What due diligence was
actually performed based on the evidence produced by CVS. CVS might claim that reviewing the
information contained within the four corners of the IRR constitutes due diligence, but little
information exists on the IRR that is probative of why an order is suspicious and represents a threat
of diversion. The CVS SOM program was dependent upon all flagged orders receiving a
comprehensive due diligence investigation. This was acknowledged by Mortelliti when he
testified that he referred all HCP flagged orders out for additional investigation. The evidence
demonstrates that CVS conducted very little effective due diligence.
                    i)       What tools were available to conduct due diligence

                   Viper Report It appears that before 2012, the Viper report was the only due
           diligence tool available. As outlined above, Viper was really just an inventory control,
           theft detection system and was not designed or operated to “produce results for the
           purposes of determining whether suspicious orders were made and reporting those to the
           DEA.” 465 b. Microstrategy
                   Microstrategy was implemented as a SOM tool in February, 2012. 466 This database
           was the primary SOM tool an analyst could use if an investigation of an order beyond the
           IRR was done. Microstrategy provided an analyst with the information necessary to do
           appropriate due diligence: patient ID number, if a doctor is prescribing an inordinate
           amount, how the drugs were paid for, distance patients traveled to fill the prescriptions,
           quantity dispensed, dispensing data, information on the pharmacy, information on the
           patient, 467 and outside vendor deliveries of the same drugs to the stores. 468

                    c.       Store metrics

464
  In September, 2012 the IRR review is centralized again and now the entire country is being reviewed at the
Indiana distribution center.
465
      Vernazza Depo., 191:18-21.
466
      Burtner Depo., 379:4-13.
467
      Burtner Depo., 385: 6–18; 396:23–397:17; Helfrich Depo., 18:4–19:8; 176:3–12.
468
      Burtner Depo., 284-6: 285:9.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 111 of 188. PageID #: 90250
                                                                 CONFIDENTIAL



                   In December, 2012, CVS introduced a new tool for due diligence called Store
           Metrics that produced a report called “Store Statistics for SOM Order Review.” Store
           Metrics contained much of the same information (top doctors, top patients, volume,
           distance traveled, patient population, payment method) 469 but formatted into an easily
           readable report. The Store Metrics report was the primary tool for doing investigations, but
           the report used stale data that by July 2013 was over one year old and made the report
           “irrelevant and pointless.” 470

                    ii)     What due diligence was actually performed based on the available
                            evidence: All of the evidence indicates that CVS performed due diligence
                            on very few orders that were flagged by the IRR system. Mortelliti testified
                            that while he was reviewing IRRs from mid-2009 until March of 2011 he
                            sent every flagged orders of HCP out for additional investigation but as
                            addressed above and below that is belied by the evidence. Further, the
                            evidence affirmatively demonstrates that from January, 2011 until the new
                            SOM system was implemented in March,2014, very few of the orders
                            flagged on the IRR as suspicious were ever investigated. This is established
                            by 1) the IRR recaps that list the few flagged orders that received a due
                            diligence investigation; 2) the time studies that demonstrate how few orders
                            were actually investigated; and 3) the testimony of Gary Millikan who
                            indicated that he investigated 5% or less of the IRR flagged orders; and 4)
                            the testimony of Shauna Helfrich and Kelly Baker who both indicated that
                            they did not investigate all of the flagged orders and they had no idea how
                            many they would actually investigate.
                            a. IRR Recaps: According to CVS policy and testimony, anytime an order
                                received due diligence beyond simply reviewing the IRR, that review
                                was documented on the IRR Recap. 471 Review of the IRR Recap
                                Reports shows that few orders actually received additional
                                investigation. The IRR Recap Report from January, 2011 to June, 2012
                                shows that only one flagged HCP order placed by a pharmacy in CT1
                                was investigated. 472 The IRR Recap Report from February 6, 2013 to
                                December 30, 2013 shows that only one flagged HCP order placed by a
                                pharmacy in CT1 was investigated. 473 In other words, over a 28-
                                month period, during the height of the opioid crisis, CVS undertook
                                two investigations of HCP orders in CT1. Additionally, an IRR

469
      Burtner Depo., 311:2-23.
470
      Baker Depo., 259:16–262:19; Ex. 27;; Ex. 29.
471
      Burtner Depo. , 404: 24–405:10; 474:23–475:8. P. Hinkle Depo., 130:8 - 131:1.
472
      Burtner Depo., 488:6–490:4; Ex. 441.
473
      Burtner Depo., 485:2–487:1; Ex. 440.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 112 of 188. PageID #: 90251
                                                                 CONFIDENTIAL



                                 Recap from January 2, 2014 to February 11, 2014 demonstrated that
                                 one CT1 store had an order investigated during this time period. 474
                                 The IRR Recaps also contradict Mortelliti’s claim that he referred all
                                 HCP orders for additional investigation. Mortelliti was reviewing IRRs
                                 during the first three months that the recaps are available (January,
                                 February, March of 2011). I have been informed that during that time
                                 period, 37 HCP orders for CT1 stores were flagged on the IRR and not
                                 one of those orders appears on the IRR Recap as receiving additional
                                 investigation.

                             b. Time Studies: Mr. Burtner, who began reviewing IRRs in February,
                                2012 and was subsequently named the SOM Manager, created various
                                time studies as part of his job. The time studies were intended to track
                                a typical day. During the time Burtner created the time studies he was
                                reviewing the IRR for half the country – five distribution centers. Over
                                twelve days in 2012, the time studies indicate Burtner performed an
                                investigation beyond the IRR on zero (0) orders on eight (8) separate
                                days; one (1) order on two (2) separate days; two (2) orders on one (1)
                                day; and three (3) orders on one (1) day. In other words, for one half of
                                the country over a period covering twelve days ranging from June 14,
                                2012 to September 6, 2012, CVS investigated a total of seven control
                                substance orders. 475

                             c. Less Than 5%: Gary Millikan was the operations manager at the Indiana
                                distribution center from 1998 until 2010, and the production manager
                                until he retired in June, 2012He also was the Indiana distribution center
                                DEA Compliance Coordinator from 2006 through his retirement in
                                June, 2012. . 476 Because the distribution center was so short-staffed in
                                the SOM department, he came back to work part-time in August, 2013
                                and he started reviewing IRRs. Mr. Millikan admitted during his
                                deposition that he did due diligence on less than 5% of the suspicious
                                orders flagged on the IRR. 477


                             d. No Idea How Few Orders Were Investigated: Shauna Helfrich, an IRR
                                analyst, testified that she does not remember how many flagged orders

474
      Helfrich Depo.,142:17–143:22; Ex. 14.
475
      Burtner Depo., 340–371; 505; Ex. 500.
476
      Millikan Depo., 32:20 – 33:11.
477
      Millikan Depo., 213:9 – 214:12.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 113 of 188. PageID #: 90252
                                                                 CONFIDENTIAL



                                 on an IRR she did additional due diligence on. Despite repeated
                                 questions on her due diligence efforts, Ms. Helfrich was not able to even
                                 estimate or give a percentage of how many flagged orders on which she
                                 did due diligence. She had absolutely no memory or idea of the orders
                                 on which she did due diligence. 478 Kelly Baker, another IRR analyst,
                                 also could not remember how many flagged orders on an IRR she did
                                 due diligence or a deep dive on. He merely remembers one example of
                                 a deep dive that he did and that is it. Furthermore, Mr. Baker did not
                                 dispute Gary Millikan’s testimony that he did a deep dive on about five
                                 percent of the orders on an IRR. 479

                    iii)     A Due Diligence Investigation Should Have Been Conducted On All HCP
                             Orders Flagged On The IRR As Suspicious: As I referenced above, it is my
                             opinion that all orders that flagged on the IRR should have received
                             additional investigation. This would include all orders that flagged on the
                             IRR as a result of violating CVS’s Maximum Cutoff Volume and Maximum
                             Cutoff Ratio; two thresholds that were established in October, 2012. 480 I
                             agree with Mr. Mortelliti’s testimony that all flagged orders of HCP needed
                             to be referred out for additional investigation. 481 Additional investigation
                             could include review of patient profiles such as the age, distance traveled,
                             and method of payment; review of ratios of HCP purchases to other
                             controlled substances; review of other drugs purchased that consist of a drug
                             cocktail; review or comparison to like stores; review of prescribing
                             physician profiles; and total amount of a drug purchased by the pharmacy.
                             As is clear, none of this information is shown on the IRR. 482
                                 The implications of the failure to perform additional investigation on
                             orders flagged on the IRR cannot be overstated. As referenced above, from
                             January, 2011 to June, 2012 one flagged HCP order placed by a pharmacy
                             in CT1 was investigated. 483         Similarly, from February 6, 2013 to
                             December 30, 2013 one flagged HCP order placed by a pharmacy in CT1
                             was investigated. Combined, two orders were investigated over an 18


478
      Helfrich Depo., 105:5-107:24.
479
      Baker Depo., 102:9-103:6; 165:14-166:22.


480
      CVS-MDLT1-00055836-00055838.
481
      Mortelliti Depo., 367:4-22; 368:22-369:2.
482
   Millikan Depo., 230:24-232:7. Additionally, total purchased is not shown on the IRR since the IRR does not
include outside vendor orders.
483
      Burtner Depo., 488:6–490:4; Ex. 441.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 114 of 188. PageID #: 90253
                                                                 CONFIDENTIAL



                       month period. As referenced above, 37 HCP orders flagged on the IRR from
                       January, 2011 through March, 2011 (a 3 month period). This is a large
                       number of orders to simply ignore. These numbers must be evaluated with
                       the understanding that CVS had also artificially reduced the number of
                       orders flagging by increasing the pend score from .15 to .65.


        Based on my review of documents and testimony and as noted throughout this report,
historically the due diligence conducted by CVS has been inadequate. While CVS has employed
different due diligence programs over the years, a review of those programs in practice make clear
that for all practical purposes, CVS’s due diligence efforts have fallen short of what is required.


        3.     Reporting Requirement.

       CVS timely reported zero suspicious orders from 2006 to September 30, 2014. Further,
using any of the methodologies as described in the Expert Report of Craig McCann, it is apparent
CVS failed to report thousands of suspicious orders arising out Cuyahoga County and Summit
County. 484

       4.      Shipping Requirement.

         CVS claims that when it “determines that an order for a controlled substance is suspicious,
its policy is and has been to decline to ship the order and to report the order to the DEA.” 485




484
  See Section III, “Identifying Suspicious Orders Distributed in CT1.”
485
  CVS’S WRITTEN RESPONSES TO TOPICS 8, 9, 12, 13 AND 14 OF PLAINTIFFS’ AMENDED SECOND
NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6), Response No. 14.
                                                 1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 115 of 188. PageID #: 90254
                                                                 CONFIDENTIAL



            E.         Walgreens Boots Alliance
Distribution Centers:
       During the relevant time period Walgreens Boots Alliance, Inc. (“Walgreens”) had 13
Distribution Centers (“DCs”) that handled controlled substances. Three of those DCs handled
schedule 2 controlled substances (Jupiter, Florida; Perrysburg, Ohio; and Woodland,
California). 486 According to Walgreens Transactional Data, Walgreens distributed prescription
opioids to the CT1 jurisdictions through at least five of its Distribution Centers: 487
            •    Perrysburg, Ohio Distribution Center (DEA # RW0294493) from at least May 2003
                 through March 2013;
            •    Mt. Vernon, Illinois Distribution Center from (DEA # RW0152467) February 2013
                 through April 2014;
            •    Jupiter, Florida Distribution Center (DEA # RW0277752) from at least September
                 2002 through January 2007;
            •    Bethlehem, Pennsylvania Distribution Center (DEA # RW0161872) from at least
                 August 2002 through May 2003; and
            •    Orlando, Florida Distribution Center (DEA # RW0155994) from at least August 2002
                 through September 2002.


Transactional Data Disclosed:
Date range: 1996 through 2014 488
Volume:

 Cuyahoga 489                    Total Dosage                MME           Base Weight
 Oxycodone
 Hydrocodone

 Summit 490                      Total Dosage                MME           Base Weight
 Oxycodone
 Hydrocodone



486
   See WAGMDL00659801 at WAGMDL000659817. See also WAGFLDEA00000117 (listing all three CII
facilities)
487
  See WAGMDL00293631; WAGMDL00490979; WAGMDL00773926; ABDCMDL00170319; and MNK-
T1_0005986422 at MNK-T1 0005986423.
488
      See WAGMDL00293631; WAGMDL00490979; and WAGMDL00773926.
489
      See Expert Report of Craig J. McCann, Ph.D, CFA, App. 10, p. 226.
490
      Id. at p. 856.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 116 of 188. PageID #: 90255
                                                                 CONFIDENTIAL




                 1.      Court ordered SOMS Discovery Disclosure

          •   Walgreens Boots Alliance, Inc.’s Objections and Responses to Plaintiffs’ First Set of
              Interrogatories (6/21/2018);

          •   Walgreen Co. And Walgreen Eastern Co.’s Amended Objections and Responses to
              Plaintiffs’
          •   First Set of Interrogatories (10/3/2018);

          •   Walgreen Co. and Walgreen Eastern Co’s Responses to Plaintiffs’ “(First) Combined
              Discovery Requests” (11/30/2018);

          •   Walgreen Co. and Walgreen Eastern Co’s Supplemental Responses to Plaintiffs’
              “(First) Combined Discovery Requests” (12/21/2018);

          •   Walgreen Co. and Walgreen Eastern Co’s Objections and Responses to Plaintiffs’ First
              Notice of Deposition Pursuant to Rule 30(b)(6) Topic 1(O) and Second Notice of
              Deposition Pursuant to Rule 30(b)(6) Topics 2 (A)-(J), 9, 10, 11, 13, 14 and 15
              (1/17/2019);

          •   Walgreen Co. and Walgreen Eastern Co’s Second Supplemental Responses to
              Plaintiffs’ “(First) Combined Discovery Requests” (2/19/2019);

          •   Walgreen Co. And Walgreen Eastern Co.’s Second Amended Objections and
              Responses to Plaintiffs’ First Set of Interrogatories (3/4/2019).

                 2.      SOMS Corporate Policy Disclosed
        Walgreens’s various SOM Programs are described in my opinions, set forth below in other
areas of this report.
                 3.      Enforcement Actions
       In May 2006, the DEA sent Walgreens a Letter of Admonition citing Walgreens for
recordkeeping inadequacies and security deficiencies at its Perrysburg Distribution Center.
Specifically, the DEA found that the “formulation utilized by the firm for reporting suspicious
ordering of controlled substances was insufficient.” 491

        In April 2012, the DEA served a Subpoena to one of Walgreens’s Schedule 2 controlled
substance distribution centers, the Jupiter Distribution Center, requesting, among other things, all
controlled substance SOPs, communications about controlled substances, and customer due

491
      WAGMDL00709510.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 117 of 188. PageID #: 90256
                                                                 CONFIDENTIAL



diligence files for 14 Walgreens stores, and also served a Warrant of Inspection on the Jupiter
Distribution Center, authorizing seizure, among other things, all records related to distribution of
controlled substances. 492

        After reviewing the materials provided by Walgreens in response to the April 2012
subpoenas, on September 13, 2012, the DEA issued an Order to Show Cause (OTCS) and
Immediate Suspension of Registration (ISO) to Walgreens on the basis that the Jupiter Distribution
Center constituted “an imminent danger to the public health and safety” and ordered that Jupiter
controlled substance vault be sealed. 493 The DEA alleged that Walgreens’s Jupiter DC failed to
comply with DEA regulations that required it to report to the DEA suspicious drug orders that
Walgreens received from its retail pharmacies. Further, the DEA alleged that Walgreens’s failure
to sufficiently report suspicious orders was a systemic practice that resulted in at least tens of
thousands of violations and allowed Walgreens’ retail pharmacies to order and receive at least
three times the Florida average for drugs such as oxycodone. The allegations in the OTSC and
ISO were exacerbated by the fact that over a year earlier, on April 7, 2011, Walgreens had entered
into a prior Settlement Agreement with DEA regarding allegations of non-compliance with the
Controlled Substance Act wherein Walgreens had agreed to “maintain a compliance program to
detect and prevent diversion of controlled substances.” 494

       In February 2013, the DEA issued similar Subpoenas and Warrant of Inspection on the
Perrysburg Distribution Center. 495 Walgreens employees made plans in preparation for the
Perrysburg DC being “shut down” by the DEA, like the Jupiter DC. 496 Within weeks of receiving
the six subpoenas and warrant, Walgreens decided to “discontinue distribution of controlled
substances from the Perrysburg facility” in order to “eliminate any immediate need for further
DEA administrative action” regarding the Perrysburg facility. 497

        On June 11, 2013 Walgreens entered into a Settlement and Memorandum of Agreement
(“MOA”) with the DEA to resolve outstanding allegations involving the Walgreens Distribution
Centers and pending actions concerning six Walgreens retail pharmacies located in
Florida. Walgreens agreed to pay $80 million in civil penalties, the largest settlement in DEA
history at that time, to resolve the DEA’s claims that Walgreens negligently allowed controlled
substances, including oxycodone and other prescription painkillers, to be diverted into the black
492
      WAGMDL00777158; CAH_MDL2804_01431074.
493
   See Settlement and Memorandum of Agreement between the Department of Justice, DEA, and Walgreens Co.,
with appendices (collectively, “Walgreens 2013 MOA”) (WAGMDL00490963-WAGMDL00490978;
WAGMDL00387975-WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387654
(Letter from Michele Leonhart to Walgreen Company, Order to Show Cause and Immediate Suspension of
Registration (Sept. 13, 2012), [“Jupiter Show Cause Order”]).
494
 See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387975.
495
      WAGMDL00493697; WAGMDL00493694.
496
      WAGMDL00477975; WAGMDL00358471.
497
      WAGMDL00674280.
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 118 of 188. PageID #: 90257
                                                                 CONFIDENTIAL



market. 498 In addition to the $80 million civil penalty, Walgreens agreed to surrender its Jupiter
DC’s registration to distribute or dispense controlled substances listed in Schedules II – V for two
years from issuance of the Jupiter ISO, ending in 2014. As part of the MOA, Walgreens admitted
that Walgreens’s “suspicious order reporting for distribution to certain pharmacies did not meet
the standards identified by DEA in three letters from DEA's Deputy Assistant Administrator,
Office of Diversion Control, sent to every registered manufacturer and distributor, including
Walgreens, on September 27, 2006, February 7, 2007 and December 27, 2007.”

                   4.      Due Diligence Conducted:
        Due Diligence, as discussed in more detail in other areas within this report, relates to the
KYC process and specific investigations related to potential suspicious orders in an effort to
determine if said orders may be shipped. Walgreens conducted very limited and irregular due
diligence prior to the formation of the Pharmaceutical Integrity Department in late 2012/beginning
of 2013. For example, limited pre-2012 emails produced by Walgreens reveal that the “warehouse”
(Walgreens DC) would call stores to inquire about large orders, but those orders would be cleared
if the store confirmed that they were intentionally placed. 499 Even after the creation of the
Pharmaceutical Integrity Department, Walgreens did little due diligence and did not keep complete
records of any due diligence performed outside of a relatively small number of emails beginning
in 2012 500 and sparse database notations about limited orders in and after 2013. 501 Walgreens
failed to produce any due diligence records pre-dating 2011. Walgreens’s failure to retain
historical records and failure to incorporate historical due diligence information into its SOMs
program is problematic because an important aspect of every due diligence review should always
be an examination of the historical of the customer who placed the flagged order. Without such
information, one cannot fully evaluate trends over time or make fully informed decisions about
whether or not orders of controlled substances are likely to be diverted into illicit channels.
        Walgreens claims that it engaged in “a variety of practices” for conducting due diligence
on potentially suspicious orders over time. 502 One of the practices Walgreens specifically points
to is that from “time to time, the distribution centers’ function managers also sought input from
personnel in Rx Inventory, who, upon request, reviewed sales history, order history, and item
movement for individual stores, to determine whether orders were in line with a store’s history or
were unusual.” 503 Walgreens points to two documents and the testimony of two individuals, Rx


498
 See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974).
499
      See, e.g., WAGFLDEA00000459.
500
      See e.g. WAGMDL00107532.
501
    See WAGMDL00400358 (ohio_cso_override_history_updated_drug_list.xlsx) (containing limited to information
from Sept 2013 – Sept 2018); WAGMDL00400360 (ohio_flagged_orders.xlsx) (only shows certain flagged orders
from Sept 2016 – Sept 2018).
502
      Walgreens Second Supplemental Responses to Combined discovery, Request No. 7.
503
      Id.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 119 of 188. PageID #: 90258
                                                                 CONFIDENTIAL



Inventory manager, Barbara Martin and Perrysburg Distribution Center CII Function Manager,
Deborah Bish, to support this claim.
         The first document Walgreens cites is an email chain dated January 10, 2011, between the
Jupiter DC CII Function Manager, Kristine Atwell, and Rx Inventory manager, Barbara Martin.
In the email chain, the Ms. Atwell expresses concern that she has “several stores that are ordering
huge quantities of 682971 on a regular basis.” 504 The item Ms. Atwell refers to as “682971” is
Walgreens Inventory Checker (“WIC”) number for 30 mg oxycodone. 505 Ms. Atwell goes on to
state, “I feel that the store needs to justify the large order quantity. Three stores that come to mind
are #7298, #3836 and #5018.” 506 Ms. Martin responds and provides sales history for two of the
three stores specifically mentioned, notes that the third store’s system was down, and states, “You
can contact the store for more information if necessary. These sales are quite high compared to
other non-Florida stores.” Apparently unsatisfied with Ms. Martin’s response, Ms. Atwell replies
stating, “I ran a query to see how many bottles we have sent to store #3836 and we have shipped
them 3271 bottles between 12/1/10 and 1/10/11. I don't know how they can even house this many
bottle to be honest. How do we go about checking the validity of these orders?” Ms. Martin
responds identifying the district pharmacy supervisor’s cell phone number and telling Ms. Atwell
that he “may be able to shed some light on the subject.”
        The second document cited by Walgreens is a continuation of the email chain which
resumed the following day. Ms. Atwell asks for information regarding the store #3836, the store
that Ms. Martin could not access the previous day. Ms. Martin responded relaying that the store
had average weekly sales of 36,200 dosage units which was equal to 362 bottles per week and
noting, “have no idea where these stores are getting this type of volume. The last pharmacy I was
manager at did about 525 rxs/day and we sold about 500 tabs a month (5 bottles).” 507
        Despite having raised these concerns from the DC to a supervisor at corporate
headquarters, it appears that this exchange is the full extent of the “due diligence” performed on
the “huge quantities” of oxycodone identified by Walgreens’s DC personnel and was typical of
Walgreens’s due diligence process. 508 There is no evidence of any actual due diligence beyond
this facially insufficient email exchange. Further, despite the fact that questions had been raised
about this store #3836's ordering volume in January 2011, the very next month, Walgreens filled
and shipped orders totaling another           dosage units of 30 milligram oxycodone to the same
            509
pharmacy. This one store, located in Port Richey, Florida, a town of less than 3000 people in a
county with a population of only approximately             , went from           units of oxycodone

504
      Martin Dep. Ex. 30 (WAGFLDEA00000846).
505
      WAGMDL00436802.
506
      B. Martin Dep. Ex. 30 (WAGFLDEA00000846).
507
      WAGFLDEA00000852.
508
 B. Martin Deposition at 337:16 to 338:19; Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978;
WAGMDL00387975-WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658.
509
 Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 120 of 188. PageID #: 90259
                                                                 CONFIDENTIAL



in 2009 to             units of oxycodone in 2011. 510 Walgreens also cites to the testimony of Ms.
Martin as supportive of this type of due diligence, however, in her deposition, Ms. Martin, the
Walgreens inventory manager responsible for performing due diligence on this order, stated that
she never even attempted to determine the size of the community that was receiving these “huge
quantities” of oxycodone. 511 She further testified that she was not near that store, did not have
access to the store’s prescriptions or patient information, and couldn’t take any “direct action.” 512
It is not surprising that approximately 18 months after this email exchange, store #3836 was one
of the stores for which Walgreens agreed to surrender DEA registration. 513 Ms. Martin’s response
confirms that Walgreens was not performing the required and appropriate due diligence.
        Walgreens also cites to the testimony of Deborah Bish, the CII function manager at
Walgreens’s Perrysburg DC. However, Ms. Bish could only recall one instance in the entire time
she was a the CII Function Manager, from October 2002 to present, that she contacted Ms. Martin
regarding a questionable order. 514 Further, Ms. Bish testified that the one time she elevated an
order to Ms. Martin, Ms. Martin cleared the order to be delivered. 515
        This type of inadequate due diligence evidences Walgreens’s systemic failure to protect
against diversion. Walgreens, when notified by its own employees of the presence of indicators
of the pending threat of diversion, took no action to prevent diversion. This failure is a total
disregard of the maintenance of effective controls against diversion.
        Based on my review of documents and testimony and as noted throughout this report,
historically the due diligence conducted by Walgreens has generally been substandard at best.
Walgreens practice of attempting to catch and correct ordering errors at the distribution center
level is and inventory management program and does not satisfy Walgreens due diligence
obligations. As noted below, Walgreens admits that they performed no pre-shipment or post-
shipment due diligence on any orders that were flagged by their Rigid Formula Reports.
Additionally, even when Walgreens began to cut orders that exceeded their “tolerance,”
“frequency,” or “ceilings,” their policies did not call for appropriate due diligence to be performed
on such orders and did not specify what constituted appropriate due diligence. While I am aware
that Walgreens claims it conducted due diligence via email, phone calls, or other undocumented
means, my review of the materials as referenced herein belie those claims, indicate that such
actions rarely occurred, and that even when they did occur, they fell short of what is required.


510
  Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387656-58; B. Martin
Deposition at 343:22 to 351:17.
511
      B. Martin Deposition at 349:7 to 350:12.
512
      B. Martin Deposition at 337:16 to 338:19.
513
 See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387658
514
      D. Bish Deposition at 28:4-10; 89:15 to 91-10; D. Bish Deposition Exhibit 3.
515
      D. Bish Deposition at 89:15 to 91-10.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 121 of 188. PageID #: 90260
                                                                 CONFIDENTIAL



                     5.        Suspicious Orders Reported In CT1 Jurisdictions
                    Pre-Shipment Reporting                  Post-Shipment Reporting
                                                    Rigid Formula Reports (Customer Grouping
       2006                      None
                                                                    Formula)
                                                    Rigid Formula Reports (Chemical Handlers
       2007                      None                        Manual Appendix E-3)

                                                     Rigid Formula Reports (Chemical Handlers
       2008                      None                         Manual Appendix E-3)

                                                     Rigid Formula Reports (Chemical Handlers
       2009                      None                         Manual Appendix E-3)

                                                     Rigid Formula Reports (Chemical Handlers
       2010                      None                         Manual Appendix E-3)

                                                     Rigid Formula Reports (Chemical Handlers
       2011                      None                         Manual Appendix E-3)

                                                     Rigid Formula Reports (Chemical Handlers
       2012                      None                         Manual Appendix E-3)

       2013                      None                                     None
       2014                      None                                     None
       2015                      None                                     None
       2016                      None                                     None
       2017                      None                                     None
       2018                      None                                     None


Walgreens has testified that, other than the Rigid Formula Reports, it could not “identify” any
reports to the DEA of “suspicious orders of opioids” from 2006-2014 in CT1 despite a “diligent
search”. 516 Walgreens testified no due diligence was conducted on the orders listed in the Rigid
Formula Reports. 517
                     6. Opinions Related to Walgreens
            1.       Walgreens failed to maintain effective control against diversion of prescription
                     opiates into the illicit market in violation of 21 U.S.C.A. § 823(b)(1) [1970].



516
      See Walgreens Second Supplemental Responses to Combined Discovery Requests at Requests 3 and 4.
517
      See E. Bratton Errata.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 122 of 188. PageID #: 90261
                                                                 CONFIDENTIAL



         The bar graphs identified as Figures 45-56 in Schedule II to this report demonstrate a clear
escalation of prescription opioids into Cuyahoga County and Summit County by dose, base weight
and MME.The massive increase in prescription opioids without a documented basis is indicative
of a failure to maintain effective control.
        Walgreens’s also knew opioids it distributed in Florida were migrating into Ohio. Because
Walgreens failed to maintain many pre-2012 documents outside of those produced to the DEA
during the Jupiter DC investigation, many of the pre-2012 documents Walgreens produced relate
to Walgreens distribution in Florida. This information is highly relevant to CT1, however, because
not only does the evidence show that Walgreens’s distribution failures were “systemic”, as noted
by the DEA in the 2013 MOA, but the evidence further shows that Walgreens knew and/or should
have known that the high-volume Florida prescriptions were traveling out of state, including to
Ohio. For example, Pharmacy managers in Florida alerted their supervisors and the distribution
center that they were ordering 55+ bottles a week (where 30 bottles was an admitted red flag) and
that many of the prescriptions were coming from out of state. 518 Walgreens was well familiar with
the “Florida migration” phenomenon, in which prescription opioids were being dispensed in
Florida and transported north to states include Ohio, 519 and knew that ‘‘Interstate 95 has been
renamed the Oxycodone Express because of the brisk travel of people from Kentucky, Tennessee,
[and] Ohio to South Florida to obtain medications.’’ 520 When the DEA issued Orders to Show
Cause to Walgreens’s Jupiter Distribution Center and six Florida Walgreens pharmacies, the DEA
specifically noted likely migration to Ohio. 521
          2.     Walgreens failed to design and operate a system to identify suspicious orders of
                 controlled substances in violation of the security requirement set forth in 21
                 C.F.R. § 1301.74(b).
       Walgreens employed a number of limited and disjointed SOMS programs during
overlapping time periods, none of which fulfilled Walgreens’s duties under the CSA. Walgreens’s
documentation of many of these programs is minimal and, before 2011/2012, there is little
evidence that Walgreens took any steps to more than nominally comply with the CSA’s
requirements. Walgreens’s failures to design and operate an effective SOM program are especially
problematic because Walgreens, as a self-distributor, had limitless information about its customers
available to it at times. As Walgreens admits, Walgreens’s distribution “customers” are the
“individual Walgreens pharmac[ies]” and Walgreens had the ability to conduct “data mining…

518
      WAGFLDEA00000459
519
      WAGMDL00289068, at 289153-154.
520
      WAGMDL00037521..
521
   See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387727, WAGMDL00387760,
WAGMDL00387762, WAGMDL00387833, WAGMDL00387866, WAGMDL00387868, WAGMDL00387876,
and WAGMDL00387941 (detailing suspicious Florida dispensing to Ohio customers), and at WAGMDL00387753
(describing evidence that “many individuals from Ohio … have travelled by carloads to … Florida to obtain
prescriptions for oxycodone….”).
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 123 of 188. PageID #: 90262
                                                                 CONFIDENTIAL



across retail pharmacies to determine the maximum amount that a pharmacy should be allowed to
receive….” 522
          Walgreens Ordering System for Prescription Opioids
        Because Walgreens self-distributed, 523 only distributing controlled substances to its own
pharmacies, Walgreens’s distribution and pharmacy ordering operations were highly integrated.
Walgreens provided stores with suggested orders for controlled substances, with amounts based
on the stores’ previous orders for that drug. As part of its new SOM program, which was not fully
implemented until late 2012/early 2013, Walgreens began to more strictly control the
recommended orders and implemented ceilings which more strictly limited stores’ ability to
exceed the recommended order amounts. As summarized by one of Walgreens’s Pharmaceutical
Integrity Managers in August 2013:
          The Controlled Substances Order Monitoring system now in place sets limits for
          each item based on the chain average for that item for stores of similar size. If a
          particular store fills more of this item than normal and needs additional product we
          would need to document the reason and increase via a CSO Override …. The
          purpose for this is to ensure we have performed adequate review before sending in
          additional inventory.
          The previous system would continue to send additional product to the store without
          limit or review which made possible the runaway growth of dispensing of products
          like Oxycodone, that played a roll [sic] in the DEAs investigation of Walgreens. 524
        As discussed below, the record confirms that Walgreens’s SOM program permitted excess
distribution of prescription opioids to Walgreens’s pharmacies through at least 2013 without any
comprehensive limit or review.
          Walgreens’s Outside Distributors Flagged Walgreens Stores for SOM Violations and
          Relied on Walgreens for Due Diligence
        In addition to self-distributing, Walgreens knew its pharmacies also received shipments of
opioids from outside distributors, including Cardinal, Anda, and AmerisourceBergen. Walgreens
not only had access to data regarding the amount of opioids the Walgreens pharmacies were
receiving from the outside distributors, but Walgreens knew that the outside distributors relied on
Walgreens for some portion of the outside distributors’ due diligence. 525 Additionally, Walgreens
knew that its outside distributors were flagging its own pharmacies for making suspicious orders



522
      WAGMDL00757776.
523
    During the time during which Walgreens was self-distributing, Walgreens stores also received shipments of
controlled substance from outside vendors at various times, including from Cardinal Health, AmerisourceBergen,
and Anda.
524
      WAGMDL00021425.
525
      See, e.g. WAGMDL00302958; WAGMDL00246284; WAGMDL00242055; WAGMDL00032660.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 124 of 188. PageID #: 90263
                                                                 CONFIDENTIAL



for prescription opioids, 526 and yet continued to self-distribute to those pharmacies without
reporting any of those pharmacies’ orders as suspicious.
                     a. RX Questionable Order Quantity (2006 – Present):
        In 2006 Walgreens instituted the Questionable Order Quantity policy, which purported to
establish procedures for verifying questionable store order quantities for prescription items. 527
This policy instructed DC personnel to review orders and contact the pharmacy with questions
regarding quantities. Once all orders were reviewed for accuracy, they were to be processed by
the DC. From 2006 to 2010 this policy made no mention of reporting suspicious orders. In 2010
the policy was updated to include language that suspicious store orders and inquiries would be
handled through the Corporate Office Internal Audit Department and noted that suspicious orders
would be reported to the DEA within 3 days, however the policy gave no specifics as to how or
by whom such orders would be reported. 528 There is further no evidence in the record that the
Internal Audit department had any involvement in reporting suspicious orders. For example, the
Chief Audit Executive at Walgreens could not recall any audit department responsibility
concerning specific suspicious orders. 529 This policy was updated again in October 2013 to state
that Walgreens Strategic Inventory Management System will stop what would be considered
suspicious controlled drug orders from being released for picking. 530
        Walgreens was unable to locate any policies or procedures that Walgreens’s DC personnel
used to identify suspicious or abnormal orders. 531 Walgreens admits, however, that DCs do not
have the ability to detect trends in local markets. 532 Similarly, Walgreens could not locate any
training materials related to this procedure 533 and Walgreens DC personnel did not recall receiving
any training related to orders deviating from a normal pattern. 534 Further, according to Walgreens’s
DC personnel there were no guidelines for determining what constituted an abnormal or suspicious
quantity, but generally anything in the triple digits would be flagged. 535 This meant that a store
had to order 100 or more 100 count bottles oxycodone or hydrocodone (10,000 dosages units)




526
      See, e.g. WAGMDL00302958; WAGMDL00246284; WAGMDL00242055.
527
      WAGMDL00757788.
528
      WAGMDL00751821 at WAGMDL00751822..
529
      See e.g. Deposition of C. Domzalski, at 165.
530
      WAGMDL00749381.
531
      See E. Bratton Deposition at 138:4-16; 142:18 to 143:2; 50:4 to 51:14.
532
      WAGMDL00659801, at WAGMDL00659817.
533
      Id. at 100:21 to 101:4.
534
      See D. Bish Deposition at 72:22 to 73:23.
535
      See D. Bish Deposition at 80:16 to 81:7.
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 125 of 188. PageID #: 90264
                                                                 CONFIDENTIAL



before an order would be flagged. 536 Walgreens was also unable to produce any files documenting
any due diligence related to this procedure. 537
         The creator of the order quantity query at Walgreens testified the query was not created for
the purpose of identifying suspicious controlled substances orders, but was that it utilized a single
number to identify unusually large orders of any product, regardless of whether the order was for
toilet paper, or paper towels, or Claritin, or OxyContin. Additionally, the excessive order query
was never amended or modified for specific use for identifying excessive controlled substances
orders. 538 Ultimately, the DC personnel responsible for implementing this policy conceded that it
was not intended to detect suspicious orders, but rather was a program designed to detect orders
entered in error. 539
         A second aspect of this policy required “pickers”, the DC personnel who actually retrieved
pill bottles off the shelves and placed them into totes for shipping, to look for “questionable” orders
while picking. 540 This facet of the RX Questionable Order Quantity policy was also not intended
to detect suspicious orders as mandated by the security requirement, but as with the policy in
general, merely allowed for the identification of orders potentially entered in error. 541
                b. Rigid Formula Reports (“Suspicious Control Drug Order” Reports) (1998–
                   2012):
       Walgreens submitted a monthly report to the DEA field offices containing all orders that
were outside the parameters of the formula applicable during that time frame.
        While Walgreens internally acknowledged, as early as 1998, the requirement to identify
controlled substance orders of “unusual size[,]… unusual frequency[,]…[or] [d]eviating from a
normal pattern for a store in its category”, 542 Walgreens did very little to appropriately ensure that
such orders were being identified, prevented, or properly reported. The “policy” containing this
requirement states merely that Walgreens is generating and providing “Suspicious Control Drug
Orders” reports listing orders that “may” be suspicious “to distribution centers”. In 2012,
Walgreens updated this “policy” to assert that “[e]ffective calendar year 2012”, Walgreens SOMS
system “prevents suspicious control drugs from being shipped to the stores,” and thus Suspicious



536
      See D. Bish Deposition at 80:11-15.
537
   Id. at 101:5-13. Walgreens also claims that there were line limits in place that set a maximum upper limit on the
quantity per item that could be ordered by a store, however Walgreens was unable to produce any policies,
procedures, reports or other written documentation evidencing the line limits or how they were applied to opioid
products. See E. Bratton Deposition at 191:24 to 194:16.
538
      See D. Peterson Deposition at 26:9 - 28:21; 260:15 -262:7.
539
      See J. Diebert Deposition 129:8-130:1 and D. Bish Deposition at 72:3-21;502:11-503:10.
540
      WAGMDL00749381.
541
      See D. Bish Deposition 110:16-114:5.
542
      WAGFLDEA00001854.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 126 of 188. PageID #: 90265
                                                                 CONFIDENTIAL



Control Drug Orders reports would no longer be generated, but again provided no detail on how
such a system worked or why such measures were only newly being employed. 543
       1. Customer Grouping Formula (1998-2007)
             Walgreens’s “insufficient” formula for reporting suspicious orders to the DEA from
             at least 1998-2007 is outlined in a 2006 Letter of Admonition from the DEA to
             Walgreens, and was as follows:The system set its standard of deviation from a
             normal ordering pattern in groupings of 25 customers, based on the number of non-
             controlled and controlled substance prescriptions filled by each customer. The
             system in place determined the amount of daily prescriptions filled by each of its
             customers of both non-controlled and controlled substance prescriptions. This
             amount was utilized to place each customer in groupings each containing 25
             customers. Of these 25 customer groupings, the firm calculated the average order
             per item of each controlled substance. The firm then took the average and
             multiplied that figure by three. This calculated figure was then used as the base to
             report suspicious orders above such figure. 544

       2. Formula Based on Chemical Handlers Manual Appendix E-3 (2007 – 2012)
        In May 2006 the DEA informed Walgreens that the “formulation utilized by the firm for
reporting suspicious ordering of controlled substances was insufficient,” 545 and “inadequate” and
that Walgreens’s suspicious ordering report “formula should be based on (Size, pattern,
frequency).” 546 Rather than design and operate a system to identify suspicious orders, Walgreens
modified its reporting of suspicious orders to the DEA to use a version of the formula described in
Appendix E-3 to the Chemical Handlers Manual (“Appendix E-3”). 547 Notably, the Appendix E-
3 adopted by Walgreens was virtually identical to the Customer Grouping Formula that the DEA
had just told Walgreens was “insufficient” and “inadequate” in that it also utilized a store average
multiplied by a factor of 3 to calculate a purchase limit. 548 Despite knowing they were utilizing a
formula that they had just been told by the DEA was “insufficient” and “inadequate”, Walgreens
began reporting to the DEA using this Appendix E-3 formula in March 2007. 549 Walgreens did
not perform any due diligence on the suspicious orders identified by these reports prior to shipping


543
      WAGFLDEA00000028.
544
   WAGMDL00709510. See also WAGMDL00757762 at 772-773 (multiplier of 3 was Walgreens’s
“determination of a suspicious order.”).
545
      Id.
546
      WAGMDL00709508.
547
  See Walgreens’s Second Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Request
No. 3.
548
      WAGMDL00400357.
549
       Id.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 127 of 188. PageID #: 90266
                                                                 CONFIDENTIAL



the orders. 550 Walgreens claims that a retrospective analysis of the reports calculated using
Appendix E-3 was performed, but the individuals that Walgreens claimed performed this analysis
stated they had never seen the reports and did not perform due diligence on them. 551 This system
simply reported orders that were greater than three times the store’s average order for the last 13
months, and only when there were orders in excess of this formula for two or more consecutive
months. 552
        Walgreens claims that in 2006 “the Detroit DEA Field Office admonished Walgreens for
not basing its reporting of potentially suspicious orders on the “voluntary formula” found in
Appendix E-3. 553 However, the documents Walgreens cites for this proposition do not evidence
any such admonition and Walgreens has not produced any evidence that it was instructed to base
its reporting of suspicious orders on the formula found in Appendix E-3 to report suspicious orders
or that it was “admonished” for not doing so. 554 Nor does the record reveal any document which
supports this contention. To the contrary, Walgreens produced evidence that in 2007 the DEA
informed Walgreens that it did not want reports identifying all potentially suspicious transactions,
but rather, only those transactions that Walgreens could not classify as not suspicious after
review. 555 A memorandum written by Walgreens employee Justin Joseph outlining the actions
taken during the DEA’s of Walgreens’s Perrysburg DC in 2006 claims that the DEA said that
Walgreen’s suspicious ordering report “formula” should “be based on (Size, pattern,
frequency). 556 In fact, documents show that Walgreens was repeatedly told to stop sending the
Appendix E-3 type of report. 557
        Further, Walgreens had guidance from the DEA that this type of “excessive report” without
any due diligence performed on order did not satisfy the requirements of 21 C.F.R. § 1301.74(b).
Documents produced in this litigation evidence that three of Walgreens’s senior employees
(Dwayne Pinon, Senior Attorney; James Van Overbake, Auditor; and Irene Lerin, Audit Manager)
attended the DEA Office of Diversion Control’s 13th Pharmaceutical Industry Conference in
Houston, Texas on September 11-12, 2007. 558 Michael Mapes, Chief, DEA, Regulatory Section,
gave a presentation at this Conference relating to suspicious orders, which included the reminder
that the CSA “requirement is to report suspicious orders, not suspicious sales after the fact.” 559

550
      See E. Bratton Deposition at 158:22 to 159:24. See also E. Bratton Errata.
551
      See E. Bratton Deposition at 160:1-23; B. Martin Deposition at 163:4 to 168:11.
552
      WAGMDL00400357.
553
  See Walgreens Second Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Response to
Request No. 3.
554
  See Walgreens Supplemental Responses to Plaintiffs’ (First) Combined Discovery Requests, Response to
Request No. 3.
555
      WAGMDL00387635.
556
      WAGMDL00709508.
557
      WAGMDL00660331; WAGMDL00387641.
558
      CAH_MDL_PRIORPROD_DEA07_01185382 at CAH_MDL_PRIORPROD_DEA07_01185404-5.
559
      CAH_MDL_PRIORPROD_DEA_12_00011059; HDS_MDL_00002032 at 2040.
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 128 of 188. PageID #: 90267
                                                                 CONFIDENTIAL



Participant notes from this meeting indicate that Mr. Mapes advised the audience not to “confuse
suspicious order report with an excessive purchase report. They are two different things.” 560
       3. Bancroft Algorithm (2008 to 2012):

           Phase I (August 2009 – September 2010)

        As early as 2005 and 2006, Walgreens acknowledged that its SOM policies were
inadequate and did not meet industry and legal standards, however, Walgreens did not institute a
SOM program at that time. 561 In March 2008, in response to three of Cardinal Health’s DCs being
shut down by the DEA for suspicious drug ordering violations, Walgreens formed a five
department “team” to finally “begin creating” a SOM program, 562 and, in June 2008, developed a
new SOMS algorithm to begin to address the inadequacies of Walgreens’s SOM policies. 563
Despite years of knowledge that its SOM was insufficient, and despite developing a sophisticated
algorithm in 2008, Walgreens did not practically implement its SOM program until 2009, when it
began to pilot the algorithm with respect to orders from seven (7) Walgreens stores. 564 The
algorithm Walgreens developed in 2008 and began to test in August 2009 flagged the regular
periodic orders for controlled substances orders that these seven Walgreens stores placed to
Walgreens Distribution Centers for “tolerance” (size of the order) and “frequency” (how often the
period orders were placed).

        During the substantial majority of Phase I, the SOMS program was only implemented as a
“pilot” or “proof of concept”. 565 While the Phase I SOMS flagged some orders from these seven
stores as suspicious, during Phase I Walgreens did not halt orders that violated the algorithm or
take any other comprehensive steps to prevent the flagged orders from being shipped or filled.

           The SOMS order flagging pilot was not implemented chainwide until September 2010. 566




560
      Acquired_Actavis_00441354 at 441355.
561
   WAGMDL00757193 (“internal controls that ensure compliance with DEA regulations … pertain[ing] to all
company DCs … should be addressed to void potential DEA sanctions”, noting that these issues had been pending
and “un-remediated” since audits in 2005 and 2006, and included “suspicious controlled drug order processing and
reporting” and “lack of formalized CII controlled substance policies and procedures.”); See also
WAGMDL00709508 (““suspicious ordering report is inadequate”); WAGMDL00709510 (“formulation utilized by
the firm for reporting suspicious ordering of controlled substances was insufficient”).
562
      WAGMDL00659801 at 818; WAGMDL00709395.
563
      WAGMDL00624527.
564
      WAGMDL00667936, at 938 and 940; see also WAGMDL00658227.
565
      See E. Bratton Deposition at 207:1 to 210:7; WAGMDL00325170
566
      See E. Bratton Deposition at 208:10 to 209:24.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 129 of 188. PageID #: 90268
                                                                 CONFIDENTIAL



        The algorithm also was only applied on an extremely limited basis, for example, reviewing
only the controlled substances a store ordered from a Walgreens Distribution Center, but ignoring
orders that same store was placing for those same controlled substances from an outside vendor. 567

        Rather than report the orders flagged by its SOMS algorithm, during Phase I Walgreens
continued to use the formula found in the Chemical Handler’s Manual Appendix E-3 to report
orders as suspicious to the DEA. 568 Walgreens knew the SOMS algorithm and the E-3 formula
did not flag the same orders. 569 Despite this, Walgreens did not report the orders flagged by the
Bancroft Algorithm.

           Phase II (September 2010 – June 2012)

        In September 2010, two years after developing its SOMS algorithm, Walgreens first began
to take steps to prevent certain suspicious orders from being filled. In Phase II of Walgreens’s
SOMS program, Walgreens flagged orders according to its SOMS algorithm on a nationwide basis,
and also began to automatically reduce quantities of certain flagged orders before those orders
were filled and shipped by Walgreens distribution centers. 570

        In April 2012, Walgreens created a policy describing its new SOMS program in which it
asserted that the SOMS program now would “identify and modify potentially suspicious orders of
controlled substances … prior to the order being sent to the warehouse for fulfillment.” 571

        In addition to the fact that cutting orders without reporting the same to the DEA as
suspicious fails to comply with Walgreens obligations under the Controlled Substance Act, Phase
II as implemented also had significant gaps or loopholes which caused Walgreens to continue to
provide its stores with suspicious quantities of controlled substances, including the following:

           •    Outside Vendor Orders: The SOMS program still only analyzed orders that
                Walgreens’s stores placed to Walgreens’s DCs in a vacuum and did not analyze the
                store orders in the context of orders which the stores were also placing, at the same
                time, to outside distributors like Cardinal Health, even though Walgreens has
                possession of and access to that information. 572 Accordingly, if a Walgreens store had
                already received from an outside vendor orders amounting to what Walgreens had
                determined to be the store’s full quota for a controlled substance, the Walgreens store

567
      See E. Bratton Deposition at 225:21 to 226:7; WAGMDL00325170
568
      See E. Bratton Deposition at 155:17-22.
569
      WAGMDL00660331.
570
      WAGMDL00667936, at 940.
571
      WAGMDL00757762, at 773. See also WAGMDL00757759, at 761.
572
 See E. Bratton Deposition at 258:8-17; T. Polster Deposition at 144:18 to 145:15; WAGMDL00245768 at
WAGMDL00245769.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 130 of 188. PageID #: 90269
                                                                 CONFIDENTIAL



                would still be permitted to order that same full quota from the Walgreens Distribution
                Center. Rendering the “cutting” of orders meaningless, Walgreens knew that where it
                reduced a Walgreens DC order, that its store often would place the remainder of the
                order with an outside vendor. 573 And yet, Walgreens ignored the outside vendor
                orders and did not report to the DEA when stores would overtly circumvent the
                “cutting” of orders.

           •    Interstoring – In addition to obtaining controlled substances from Walgreens
                Distribution Centers and Outside Distributors, Walgreens stores also obtained
                controlled substances from other Walgreens stores through the process of
                “interstoring.” 574 Walgreens did not consider these interstore transfers as part of its
                SOM analysis. 575 Controlled substance interstoring continued at Walgreens until
                April 2013. 576

           •    Gradual Increase – the SOMS algorithm only considered 13 weeks of sales data and
                would recalibrate the thresholds if there was an increase in sales. Therefore, a
                gradual increase in sales did not result in orders getting cut. 577

           •    PDQ Orders – In addition to their regular periodic order for controlled substances
                from the Walgreens Distribution Centers, Walgreens stores were permitted to place
                ad hoc “PDQ” (“pretty darn quick”) orders for controlled substances outside of their
                normal order days. The limits and automatic reductions Walgreens placed on stores’
                orders to Distribution Centers did not apply to PDQ orders, such that “a store could
                hit their … limit” on a weekly controlled substance order, and then place daily PDQ
                orders for that drug, “and far exceed” the monthly cumulative order limits put in
                place by Walgreens SOM program. 578 Walgreens did not remove oxycodone from
                PDQ ability until October 2012. 579 Other Schedule II controlled substances were not
                removed from PDQ until Phase V. 580 It is not clear if Walgreens ever removed
                schedule III controlled substance, such as hydrocodone from PDQ ability.

573
  See, e.g., WAGMDL00325129 at 130 (future “enhancements” to SOM system will “identify stores that had order
quantity decreased and then placed order to vendor”).
574
      WAGMDL00303305 at 306.
575
   See E. Bratton Deposition at 258:18 to 260:5; See alsoWAGMDL00303305 at 306 (in early 2013, Walgreens
indicated that it was considering including multiple interstore requests within three weeks as a suspicious criterion,
but there is no evidence Walgreens otherwise include interstore transfers in its SOMS analysis).
576
      WAGMDL00700161.
577
      WAGMDL00659801 at WAGMDL00659818.
578
      WAGMDL00705318.
579
      WAGMDL00705318.
580
      See E. Bratton Deposition at 271:20-23.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 131 of 188. PageID #: 90270
                                                                 CONFIDENTIAL




           •    340B – Walgreens admits that orders pursuant to the 340B program were not
                included in the initial phases of the SOMS program. 581

           •    No comparison to Other Stores – Only Comparison to That Store’s History –
                Walgreens admits that, during Phase II, “each pharmacy is looked at individually.” 582

           •    Store and/or Product Removal – During Phases I and II Walgreens had the ability to
                remove both entire stores and products from the SOMS review. 583

           •    Call DC for Manual Workaround: even when Walgreens began cutting orders over a
                certain limit, stores could simply “call the DC” to obtain a “manual work around” the
                purported limit. As Walgreens admitted, the DCs did not have the ability to evaluate
                information necessary to determine the propriety of any such overrides. 584

        Rather than report the orders flagged by its SOMS algorithm, during Phase II Walgreens
continued to use the formula found in the Chemical Handler’s Manual Appendix E-3 to report
orders to the DEA. 585

        Orders flagged by the SOMS algorithm and reduced in Phase II were not reported to the
DEA as suspicious, even though Walgreens’s own documents describe these orders as “suspicious
orders.” 586

           Phase III and Phase IV (June 2012-November 2012)

        In April 2012, the DEA served a Subpoena to one of Walgreens’s three Schedule II
distribution centers, the Jupiter Distribution Center, requesting, among other things, all controlled
substance SOPs, communications about controlled substances, and customer due diligence files
for 14 Walgreens stores, and also served a Warrant of Inspection on the Jupiter Distribution Center,
authorizing seizure, among other things, all records related to distribution of controlled
substances. 587 On September 13, 2012, the DEA issued an Order to Show Cause and Immediate
Suspension of Registration to Walgreens on the basis that the Jupiter Distribution Center



581
      See N. Polster Deposition at 256:9 to 257:4.
582
      WAGMDL00757762 at 773.
583
      See E. Bratton Deposition at 260:6 to 261:4.
584
      WAGMDL00659801 at 817-818.
585
      See E. Bratton Deposition at 155:17-22.
586
      See Bratton Depo at p 227:1-5; WAGMDL00624503; WAGMDL00119542.
587
      WAGMDL00777158; CAH_MDL2804_01431074.
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 132 of 188. PageID #: 90271
                                                                 CONFIDENTIAL



constituted “an imminent danger to the public health and safety” and ordered that Jupiter controlled
substance vault be sealed. 588

        During the latter half of 2012, after the DEA instituted its regulatory investigation and
action regarding Walgreens’s controlled substance distribution practices, Walgreens engaged in
meetings with the DEA about Walgreens’s “Controlled Substance Anti-Diversion and Compliance
Program” in an effort to “cooperate and avoid litigation,” and represented to the DEA that it was
making “new changes” to “enhance” its SOMS program. 589 Internally Walgreens claimed that it
enhanced its SOMS program “in an effort to convince DEA that the proposed penalty is
excessive…” 590

       While these changes narrowed some of the more significant gaps in the SOMS program,
many still remained in Phase III, which ran from June 2012 through August 2012, and in Phase
IV, which ran from August 2012 to November 2012.

        Phase III of the SOMS program began to incorporate outside vendor orders into the overall
SOMS analysis, but only when analyzing order frequency – not in analyzing the tolerance (i.e.
overall limits). 591

       The other gaps which existed in Phase II also generally continued in Phases III and IV. For
example, where a Walgreens store’s order was reduced before being fulfilled by the Walgreens
DC, Walgreens still allowed the store to order the rest of the amount from an outside vendor (i.e.
Cardinal), but now tracked that information on a report. 592

       Orders flagged by the algorithm and reduced in Phase III and IV were not reported to the
DEA as suspicious, even though Walgreens’ own documents continue to describe these orders as
“suspicious orders.” 593

           Phase V (November 2012 forward)




588
   See Walgreens 2013 MOA (WAGMDL00490963-WAGMDL00490978; WAGMDL00387975-
WAGMDL00387982; WAGMDL00387653-WAGMDL00387974) at WAGMDL00387654 (Letter from Michele
Leonhart to Walgreen Company, Order to Show Cause and Immediate Suspension of Registration (Sept. 13, 2012)
[“Jupiter Show Cause Order”].)
589
      WAGMDL00659801 at 802.
590
      WAGMDL00659270.
591
      See E. Bratton Deposition at 254:14-21; WAGMDL00325170, at 174; E. Bratton Deposition at 226:4-12.
592
      WAGMDL00492378.
593
      Bratton Depo at p 227:1-5.; WAGMDL00325170 at 172.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 133 of 188. PageID #: 90272
                                                                 CONFIDENTIAL



        Phase V changed the frequency algorithm to “ceiling limits” which looked at the overall
total a Walgreens store was ordering before allowing the Walgreens Distribution Center to fill the
order, finally incorporating orders from outside distributors into a more comprehensive analysis. 594

       Phase V eliminated the “frequency” analysis and implemented a “ceiling threshold” in
January 2013, examining all orders placed by a store within a giving time period. Walgreens also
began cutting a store’s order to zero when the store manually manipulated a suggested order or
created an order that exceeded the tolerance or ceiling. 595

         Walgreens’s own documents admit that it made the ceiling limits visible to the stores in
advance via a “ceiling tool” and further admit that the purpose of this “ceiling tool” was to provide
stores visibility into the likelihood of an order being flagged – and possibly a means to work around
it – stating “the ceiling tool was designed to provides stores direction to place orders for controls
without an order being flagged.” 596

      Walgreens’s last CII shipment as a distributor to Cuyahoga and/or Summit County was
on March 4, 2013. 597

3.      Reporting Requirement.

        Walgreens failed to timely report any suspicious orders for the CT1 jurisdictions. The
Rigid Formula Reports, used from approximately 1985 598 through 2012, were an after-the-fact
reporting which is insufficient. Walgreens has not been able to produce suspicious orders that
were reported to the DEA after 2012. Using any of the methodologies described in the Expert
Report of Craig McCann, it is apparent Walgreens failed to report thousands of suspicious orders
arising out Cuyahoga County and Summit County. 599

4.      Shipping Requirement.

           Period 1 (1996-2009)

       Even if Walgreens had properly identified suspicious orders, which it did not, its corporate
policy from 1996 to 2010 was to ship anyway. This is a blatant violation of the No-Shipping
requirement. As stated earlier, Walgreens did not perform any due diligence on the suspicious
orders identified by the Chemical Handler’s Manual Appendix E-3 formula prior to shipping,


594
      Walgreens Second Supplemental Combined Discovery Responses, at p. 16.
595
      WAGMDL00246016.
596
      WAGMDL00095316 at 322.
597
      See ARCOS Transactional Data (this excludes Codeine Drug Code 9050).
598
      WAGMDL00660331.
599
      See Section III, “Identifying Suspicious Orders Distributed in CT1.”
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 134 of 188. PageID #: 90273
                                                                 CONFIDENTIAL



despite the fact that even the Chemical Handler’s Manual (on which Walgreens claims it was
relying) requires due diligence prior to shipment. 600

         Though Walgreens initially claimed that a retrospective review of a sample of these orders
was reviewed for appropriateness 601, the Walgreens employee identified as performing this review
stated that she had never reviewed these reports and did not perform due diligence on these
orders. 602 Walgreens subsequently admitted no due diligence had been conducted on any of the
orders identified as “suspicious” on the Suspicious Control Drug Report prior to shipment of these
orders. 603 In August 2010 Dan Coughlin, Walgreens Divisional Vice President Supply Chain, sent
an email to many of those involved in the development of the Bancroft algorithm asking who had
been reviewing the reports generated by the Appendix E-3 formula for the past 25 years and
whether any was presently reviewing “what would be considered suspicious quantities that are
physically ordered and are releasing to stores?” 604 Despite the fact that this email was sent to ten
people, most of whom were identified by Walgreens as having been involved in developing
Walgreens’s order monitoring system or in monitoring or evaluating orders, Walgreens did not
produce any evidence indicating that anyone had ever reviewed these suspicious orders prior to
shipment. 605

         Walgreens claims that from 2006 through the time that Walgreens stopped distributing
controlled substances, Walgreens’s DC personnel called stores with orders greater than a set
threshold quantity and inquired whether the quantity was actually needed, before shipping the
order. 606 As noted previously, this process (Rx Questionable Order Quantity) was not a due
diligence practice instituted to investigate suspicious orders, but in fact was an inventory
management practice intended to identify ordering errors. 607 Walgreens was unable to produce any
policies reflecting what the procedures were for determining a “suspicious order” at the DC level
or what the set thresholds were for any controlled substances, 608and the Perrysburg DC personnel
in charge of Schedule II and III controlled substances were never trained on suspicious orders or
identifying the same. 609 In May 2012, the Perrysburg DC personnel questioned whether the
quantities they typically “let go” were correct and asked for “real, updated guidance on drugs that


600
      See E. Bratton Deposition at 158:22 to 159:24; See E. Bratton Errata. See also WAGMDL00395965 at 988.
601
      Id. E. Bratton Deposition at 160:1-23.
602
      See B. Martin Deposition at 163:4 to 168:11; See E. Bratton Errata.
603
      See E. Bratton Errata.
604
      WAGMDL00660331
605
      Walgreens Second Amended Obj. and Resp. to First Set of Interrogatories, Interrogatory 5.
606
      Walgreens Second Supplemental Responses to Combined Discovery, Request No. 7.
607
      See J. Diebert Deposition 129:8-130:1 and D. Bish Deposition at 72:3-21 and 502:11-503:10.
608
      See E. Bratton Deposition at 138:4-16; 142:18 to 143:2; 50:4 to 51:14.
609
      See J. Diebert Deposition at 61:2-23 and D. Bish Deposition at 64:19-23, 66:7-22, and 401:14-17.
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 135 of 188. PageID #: 90274
                                                                 CONFIDENTIAL



are going to be an issue if the DEA audits…” 610 DC personnel further indicated that because large
orders of opioids such as oxycodone, methadone, and fentanyl were so common that it was
impractical to call and check large orders, and, that when the DC did call and check orders, they
typically learned that the orders were “intentional” and thus appropriate to approve under
Walgreens’s operative DC level SOMS program. 611 This lack of written procedures and guidelines
used to determine what could constitute “suspicious orders”, as well as the lack of any enforcement
of the policy on calling pharmacies led to a total failure of any meaningful due diligence at the DC
level throughout the time period that Walgreens was distributing controlled substances.
           Period 2 (2009-2012)

        Walgreens admits that, since at least 2009, the DEA had instructed Walgreens to “stop
what was considered suspicious drug shipments to any of our stores.” 612 During the 2009 to 2012
period, Walgreens claims personnel in Rx Inventory and Loss Prevention conducted additional
due diligence on potentially suspicious orders, by reviewing reports of orders hitting on the SOMS
threshold limits for tolerance and frequency. 613 This additional “due diligence” consisted of a
review of samples of reports of flagged orders generated by the SOMS algorithm after the orders
had already shipped, in order to validate the algorithm’s logic – not to determine whether the
order was in fact suspicious. 614 Additionally, this additional “due diligence” was performed by
two Walgreens individuals, one of whom dedicated a mere one to ten hours a week to review of
the suspicious orders flagged by the SOMS algorithm. 615 As of August 2010, the Walgreens
algorithm was generating 389+ pages of suspicious order data per week. 616

           Period 3 (2012-2014)

        Pharmaceutical Integrity (“RX Integrity”) was formed in 2012 as a result of the DEA
investigation into Walgreens CSA violations and viewed its role as protecting the DCs and stores
from losing their DEA licenses. 617 After referring to orders flagged by Bancroft algorithm as
“suspicious orders” since the inception of the algorithm, in late 2012 Walgreens put together a
team to “begin the determination between a suspicious order and an order of interest” 618 From this
point forward, RX Integrity took the position that the orders flagged by Walgreens’s algorithm
were not “suspicious” under the controlled substances regulations (despite being described as such

610
      WAGMDL00751871.
611
      WAGMDL00751871.
612
      WAGMDL00660331.
613
      Walgreens Second Supplemental Responses to Combined Discovery, Request No. 7.
614
      See B. Martin Deposition at 169:5 to 170:4; 253:4-15.
615
      See B. Martin Deposition at 70:10-12; 328:5 to 329:7;
616
      WAGMDL00660331.
617
      See WAGMDL00101723; WAGMDL00060486.
618
      See WAGMDL00574824 at 825.
                                                              1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 136 of 188. PageID #: 90275
                                                                 CONFIDENTIAL



in Walgreens own documents), but rather were “orders of interest.” 619 Furthermore, as of January
2013 the RX Integrity team only had the ability to investigate orders placed via a Controlled
Substance Override (“CSO”) Form. 620 The orders flagged via the Walgreens algorithm were a
week old and in most cases had already shipped by the time that RX Integrity had the visibility to
investigate them. 621

         RX Integrity lacked the necessary resources to perform adequate due diligence on the
overwhelming number of orders identified by Walgreens’s algorithm for Walgreens 5,000 plus
stores. 622 In December 2012 when Walgreens’s “updated” SOM program was set to “tracking”
for all controlled substances chainwide, it resulted in 14,000 flagged orders that required due
diligence reviews. 623 At the time these 14,000 orders were flagged, Walgreens’s RX Integrity
department consisted of fewer than 5 people, and at its height it only had had eleven members. 624
Walgreens had the ability to control this workload by simply increasing stores’ ceiling values,
thereby reducing the number of orders that would breach that ceiling. 625

        One of the mechanisms that Walgreens put in place to deal with the number of flagged
orders was the CSO system, an “alternative ordering procedure” to be used in response to demand
increase. 626 Orders that exceeded the Walgreens algorithm were cut to predetermined limits unless
an override was approved. When Walgreens stores were close to hitting their ceiling limits they
were directed to complete a CSO Form. 627 The RX Integrity team of eleven was then tasked with
reviewing the CSO Forms and making decisions with regard to override approvals. At times, the
RX Integrity team received between 1,000 and 3,000 CSO forms per month. 628 When CSO
overrides were submitted they were routinely approved. For example, Walgreens documents show
that over 95% of CSO overrides were approved by RX Integrity in both 2014 and 2015. 629




619
      See N. Polster Deposition at 174:3 to 176:18.
620
      See WAGMDL00414048.
621
      See WAGMDL00414048; WAGMDL00415348.
622
      See N. Polster Deposition at 133:10-13.
623
      See WAGMDL00659270.
624
      See N. Polster Deposition at 240:3-15.
625
      See WAGMDL00370894 at WAGMDL00414048.
626
      See WAGMDL00037074.
627
      See WAGMDL00700240; WAGMDL00095316 at 334.
628
      See N. Polster Deposition at 343:15-23.
629
      See Walgreens Presentation State of Rx Integrity (May 10, 2016) WAGMDL00010887 at WAGMDL00010909.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 137 of 188. PageID #: 90276
                                                                 CONFIDENTIAL



            F.       Henry Schein, Inc. (“Henry Schein”)
Distribution Center: Indianapolis, Indiana (5315 West 74th Street, Indianapolis, IN 46268)
DEA Registrant Number: RH0162494
Transactional Data Disclosed:
            Date range:     01/01/2009 through 07/27/2018 630
            Volume:         Henry Schein provided transactional data for Summit County only.

                                              Opioid Total Dosage          Opioid Total MME
                          Cuyahoga
                                               Units (2006-2014)              (2006-2014)

                                                               31                    632




                                              Opioid Total Dosage          Opioid Total MME
                          Summit
                                               Units (2006-2014)              (2006-2014)

                                                              633                    634




            1.       Court ordered SOMS Discovery Disclosure

                 •   Henry Schein, Inc. and Henry Schein Medical Systems, Inc.’s Amended Objections
                     and Responses to Plaintiffs’ First Combined Discovery Requests (11/30/2018).

       In response to Interrogatory No. 2, Henry Schein disclosed a list of documents and
represented that these were their SOMS policies and procedures. 635

            2.       SOMS Corporate Policy Disclosed
                     a.     1992-1998: Early Suspicious Order Monitoring System



630
      HSI-MDL-00001612.
631
      See Expert Report of Craig J. McCann, Ph.D., CFA, App. 9, p. 3783.
632
      Id. at 3779.
633
      Id. at 3859.
634
      Id. at 3849.
635
      HSI-MDL-00000001 to HSI-MDL-00000441.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 138 of 188. PageID #: 90277
                                                                 CONFIDENTIAL



        Henry Schein has had some form of a written system in place to review customer orders of
controlled substances since at least March 31, 1992. 636 At that time, Henry Schein defined a
suspicious order as “any order that was in excess of the thirty day or six-month thresholds as
defined within the computer system.” 637 Even when the system flagged an order as suspicious,
various Henry Schein employees had authority to override and release a suspicious order.
Although the 1992 procedures imply that the decision to ship a suspicious order should be
documented – noting, “the background information developed in the decision process must be
entered on the approval screen” – the procedures fail to define the background information
required. 638
        Henry Schein’s “Verification Procedures for Controlled Drug Orders,” dated February 5,
1998, outlined the steps for maintaining a customer’s DEA and prescription drug licensing
information. 639 These steps included verifying that a customer’s DEA and/or State Board of
Pharmacy license was on file, that the licenses were valid and current, and that the quantity of
controlled substances was not “in excess of the threshold levels as set forth in the suspicious order
monitoring system.” 640 Even though the procedures acknowledge that suspicious orders can also
include orders that “deviate from a normal pattern” or “orders of unusual frequency,” an exceeded
order threshold is the only metric used to automatically identify a suspicious order. 641
       Orders that are “identified as suspicious . . . will pend for review.” 642 However, Henry
Schein only reported the orders its system initially identified as suspicious if a Henry Schein
employee determined it was necessary to do so after conducting a review. 643 The procedures do
not describe what such a review would require, stating merely that the head of the medical, dental
or vet department would review the customer’s account and determine if the orders were
“compatible with the practitioner’s type of practice and the customer’s purchasing pattern”. Henry
Schein would then call the doctor to confirm that he/she had placed the order before releasing it. 644
                  b.      2001-2006: Development of the Suspicious Order Monitoring system
       Henry Schein made non-substantive revisions to their SOM system procedures between
2001 and 2005. 645 In September 2005, BuzzeoPDMA reviewed Henry Schein’s Suspicious Order

636
      See HSI-MDL-00404222.
637
      Id.
638
      Id. at HSI-MDL-00404223.
639
      See HSI-MDL-00404226.
640
      Id. at HSI-MDL-00404227.
641
      Id.
642
      Id. at HSI-MDL-00404228.
643
      Id. at HSI-MDL-00404227.
644
      Id.
645
  See HSI-MDL-00000082; HSI-MDL-00000073; HSI-MDL-00000139; HSI-MDL-00000056; and HSI-MDL-
00000134.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 139 of 188. PageID #: 90278
                                                                 CONFIDENTIAL



Monitoring system. 646 However, despite BuzzeoPDMA’s recommendations, described in detail
below, Henry Schein’s suspicious order monitoring policies remained essentially the same until
2007, when the company started a “Suspicious Monitoring Program enhancement project.”
      In the September 2005 report summarizing its review of Henry Schein’s suspicious order
monitoring system and procedures, BuzzeoPDMA noted multiple deficiencies, including:
       •   Threshold Issues: Henry Schein designed its suspicious order monitoring system to detect
           suspicious orders based solely upon order thresholds, and the system failed to highlight
           orders for frequency or deviations from patterns. Henry Schein also had no formal process
           in place to review threshold data on a periodic basis, nor a staff pharmacist available to
           review the system thresholds as stated in the standard operating procedure. Additionally,
           thresholds were set based on an average number of orders for each product and did not take
           customer categories such as size or practice into account.

       •   Due Diligence Issues: Henry Schein had no formal process in place to assess the
           appropriateness of the customer’s practice in relation to the drug product ordered.

       •   Reporting Requirement: While Henry Schein investigated all suspicious orders, Henry
           Schein released all orders that it cleared from suspicious status. However, Henry Schein
           did not send this suspicious order activity to DEA until the end of each month, rather than
           “when discovered” as required by 21 CFR 1304.74(b).
       In July of 2006, Henry Schein issued a revised procedures document called “Controlled
Substance Monitoring & Reporting Procedures”. 647 As noted above, changes to Henry Schein’s
suspicious order monitoring procedures during this time (and despite the recommendations for
required changes provided by BuzzeoPDMA) were minimal, with the process for verification of
customer orders and the review of suspicious orders remaining essentially the same.
                  d.      2007: Review by Cegedim Dendrite
       Following a review of Henry Schein’s SOM system in March and July of 2007, a Cegedim
Dendrite consultant, Robert C. Williamson, sent Henry Schein a letter and report summarizing his
findings on September 3, 2007. 648 Mr. Williamson specifically found that the SOM system had
not changed in a substantial way from the time of BuzzeoPDMA’s prior review of Henry Schein’s
system in 2005. 649 Mr. Williamson also noted multiple deficiencies with Henry Schein’s system,
including:
       •   Inadequate Due Diligence for New Customers: Henry Schein’s new account procedures
           were inadequate. The Verifications Department merely confirmed that a customer had a
           valid DEA Registration Certificate, but they failed to capture additional information
646
      See HSI-MDL-00404203.
647
      See HSI-MDL-00000134.
648
      See HSI-MDL-00619797-801.
649
      Id. at HSI-MDL-00619798.
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 140 of 188. PageID #: 90279
                                                                 CONFIDENTIAL



            regarding the customer in order to determine whether the customer is a legitimate business.
            Henry Schein did not use a Controlled Substances Ordering Questionnaire prior to
            authorizing new accounts to purchase controlled substances. 650

       •    Threshold Issues: Henry Schein’s computer program did not identify deviations from usual
            ordering patterns. 651

       •    Inadequate Due Diligence in Reviews of Pended Orders: Henry Schein failed to fully
            investigate orders that pended, the investigation did not include possible on-site interviews,
            and the results of the due diligence investigation were not documented. 652 Further, Henry
            Schein lacked standard operating procedures to memorialize the important internal
            controls, including individual responsibility and other management controls for releasing
            pending orders. 653

       •    Reporting Requirement Issues: Henry Schein still did not immediately report suspicious
            orders to the local DEA office. Instead, Henry Schein sent a monthly report of “Suspended
            Orders Released” and “Pended Invoices Not Shipped”. 654
                   e.      October 2009 to present: The “SOM” Update Project
        According to a November 2, 2009 presentation by Henry Schein’s Director of Regulatory
Affairs, Mike DiBello, the project to update Henry Schein’s suspicious order monitoring system,
took place over a two-year period from September 2007 to October 2009. 655 Cegedim Dendrite
consultant, Robert C. Williamson, had again met with Henry Schein officials on January 17-18,
2008, and made specific recommendations related to improving both the suspicious orders
thresholds and the company’s due diligence in reviewing flagged orders. 656 His recommendations
included the setting up of restrictions to prevent accounts from ordering products not normally
used in their practice, creating a process to monitor orders not only based on thresholds but also
based on model calculations, and updating and memorializing procedures for Verification and
Regulatory Affairs review processes. 657
       According to internal documents, Henry Schein did not implement this new suspicious
order monitoring system until September 22, 2009. 658 In implementing this improved system,

650
      Id. at HSI-MDL-00619799.
651
      Id. at HSI-MDL-00619800.
652
      Id.
653
      Id. at HSI-MDL-00619800-801.
654
      Id. at HSI-MDL-00619801.
655
      See HSI-MDL-00040712.
656
      See HSI-MDL-00386875-879.
657
      Id.
658
      HSI-MDL-00000119-125.
                                                      1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 141 of 188. PageID #: 90280
                                                                 CONFIDENTIAL



Henry Schein adopted some of the basic recommendations that BuzzeoPDMA and Cegedim
Dendrite had made between 2005 and 2009 regarding thresholds and due diligence. However,
Henry Schein continued to submit monthly reports of pended and suspicious orders to DEA.
                         i.        November 2009 – New Account Setup Due Diligence
                                   Procedures
       As a part of Henry Schein’s new suspicious order monitoring system initiated in September
2009, Henry Schein created a new written policy so that all new accounts that ordered controlled
substances would be the subject of a due diligence inquiry. During the due diligence inquiry, the
new account holder would go through a preliminary phone interview and a self-assessment
questionnaire. 659
                        ii.        2012 – Verifications/ Due Diligence Procedures
        Henry Schein’s Controlled Substance Monitoring Procedure policy issued on December 3,
2012, added “Know Your Customer” due diligence procedures. 660 These additional due diligence
investigation steps included additional questionnaires, a phone interview, and possible site visits.
A flow chart of this written process is included on the last page. 661
                       iii.        2016 and 2018 – Changes to SOM and Due Diligence SOPs
        By 2016, Henry Schein’s Regulatory Affairs department had completed the review,
planning and agreement with Cegedim Dendrite for a SOM system threshold “Retunement”. 662
Following these consultations, Henry Schein issued a new standard operating procedure for
controlled substance monitoring and reporting dated March 29, 2016. 663 This version made
changes to the following areas:
        ● Added clarity regarding pended orders and suspicious orders
        ● Added detail on the Know Your Customer/Due Diligence processes
        ● Added section covering the reporting of suspicious orders to DEA and State Authorities
        ● Added detail regarding inventories taken
        ● Added section on monthly state reporting
        In 2018, Henry Schein issued additional SOM policy updates, including a policy
document for Regulatory Affairs Controlled Substance Due Diligence procedures on March 2,
2018, 664 and an updated Controlled Substance Monitoring & Reporting procedures document

659
      See HSI-MDL-00406270-273.
660
      See HSI-MDL-00000194-204.
661
      Id. at HSI-MDL-00000204.
662
      See HSI-MDL-00623053.
663
      See HSI-MDL-00000104-112.
664
      See HSI-MDL-000000208-218.
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 142 of 188. PageID #: 90281
                                                                 CONFIDENTIAL



issued on May 21, 2018. 665 These documents made changes to the following areas: provided an
updated overview of SOMS, described and outlined procedures for federal and state suspicious
order reporting, and described and outlined procedures for federal (ARCOS) and state-controlled
substance transaction reporting.
           3.      Enforcement Actions

                a. In 1998, Henry Schein received a Cease and Desist letter from the Ohio State
                   Board of Pharmacy for the sale of dangerous drugs to persons/entities not
                   licensed/authorized to possess them. 666

                b. On April 27, 2012, the Iowa Board of Pharmacy accepted a Citation and Warning
                   submitted by Henry Schein in order to resolve charges that the company
                   distributed controlled substances to an unauthorized person in violation of the
                   Controlled Substance Act. Henry Schein was assessed a civil penalty of
                   $5,000. 667

                c. In 2012, Henry Schein agreed to pay a $50,000 fine to settle civil allegations by
                   the DEA stemming from distributions to a researcher at the University of
                   Pittsburg who had been criminally charged in connection with the diversion of
                   controlled substances. 668

                d. In November 2012, Henry Schein’s Director of Regulatory Operations, Sergio
                   Tejeda, informed the Program Director for the Prescription Monitoring Program
                   of the Ohio State Board of Pharmacy that Henry Schein had been under reporting
                   sales of controlled substances to the Ohio Board of Pharmacy as required for the
                   previous two years. 669

                e. In 2014, Henry Schein Animal Health agreed to pay a $225,000 fine to settle
                   allegations by the DEA that it sold/distributed dangerous drugs to an entity not
                   licensed/authorized to possess them. 670




665
      See HSI-MDL-000000086-91.
666
      See HSI-MDL-00528774, at 777.
667
      See Iowa Board of Pharmacy, Case No. 2010-35OP, April 27, 2012.
668
      See HSI-MDL-00528774, at 777.
669
      See HSI-MDL-00397293-294.
670
      See HSI-MDL-00528774, at 777.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 143 of 188. PageID #: 90282
                                                                 CONFIDENTIAL



        4.       Suspicious Orders Reported In CT1 Jurisdictions (Summit County only):
        Note that Henry Schein claimed that they were only able to produce reliable transactional
data for Summit County from 2009 to the present – they did not report any suspicious orders to
DEA in that time frame. 671
        2009: 0
        2010: 0
        2011: 0
        2012: 0
        2013: 0
        2014: 0
        2015: 0
        2016: 0
        2017: 0
        2018: 0


        5.    Due Diligence Conducted
        Henry Schein conducted limited due diligence prior to October of 2009, particularly with
respect to the “Know Your Customer” process and investigations relating to potential suspicious
orders. After October 2009, Henry Schein conducted varying levels of due diligence related to
pended orders that will be addressed herein.
        Based on my review of documents and testimony and as noted throughout this report,
historically the due diligence conducted by Henry Schein has been inadequate. While Henry
Schein has employed different due diligence programs over the years, a review of those programs
in practice make clear that for all practical purposes, Henry Schein’s due diligence efforts have
fallen short of what is required. In fact, as discussed herein, Henry Schein has admitted that it
lacked complete due diligence files for all of its customers until at least 2017.
        6.    Opinions Related to Henry Schein:
                 1.       Henry Schein failed to maintain effective controls against the diversion
                          of prescription opiates into the illicit market in violation of 21 U.S.C.A.
                          § 823(b)(1) [1970] in the following ways:

671
   See Henry Schein, Inc. and Henry Schein Medical Systems, Inc’s Amended Objections and Responses to Plaintiff’s
(First) Combined Discovery Requests, No. 3; Henry Schein, Inc.’s Objections and Amended Responses to Plaintiffs’
First Set of Interrogatories, No. 3.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 144 of 188. PageID #: 90283
                                                                 CONFIDENTIAL



        The bar graphs identified as Figures 57-65 in Schedule II to this report demonstrate a clear
escalation of prescription opioids into Cuyahoga County and Summit County by dose, base weight,
and MME.
        A. From at least 1992 to September of 2009, Henry Schein’s suspicious order monitoring
system thresholds did not detect orders based upon deviations of either frequency or pattern.
During this seventeen-year period, Henry Schein set their suspicious order monitoring system
thresholds to detect orders based upon deviations in size only. In fact, as early as September of
2005, Henry Schein’s own consultants, BuzzeoPDMA, had informed the company that it needed
to modify the suspicious order monitoring program to include the detection of orders that deviated
in both frequency and pattern, in addition to detecting orders of unusual size. Further, from 1992
until October of 2009, Henry Schein set their system thresholds to detect suspicious orders based
upon the aggregate ordering history, rather than the individual customer’s prior ordering history.
The system’s threshold calculations did not even consider an individual customer’s purchasing
patterns until Henry Schein implemented their revised Controlled Substance Monitoring &
Reporting Procedures in October of 2009. 672
        B. Based upon information and belief, Henry Schein did not report any suspicious orders
in Summit County from at least 2009 to July 2018. 673 Further, before the publication of the
Masters Pharmaceutical 674 decision, Henry Schein failed to immediately report any suspicious
orders – those of unusual size, orders deviating substantially from a normal pattern, or orders of
unusual frequency - to the DEA when discovered. Instead, Henry Schein referred to these
controlled substance orders that their suspicious order monitoring system flagged as pended orders
of interest.

        Rather than immediately reporting these pended orders of interest to the DEA as suspicious
orders upon discovery, Henry Schein chose to investigate them first. Pended orders that Henry
Schein cleared from suspicion were released to the customer. Orders that Henry Schein did not
clear from suspicion with their due diligence investigation were deemed as suspicious orders and
cancelled. At the end of each month (rather than immediately upon discovery), Henry Schein
submitted two reports to the appropriate field office of the DEA. The first report included those
pended orders that Henry Schein had cleared from suspicious status. The second report reflected
those orders that Henry Schein had deemed suspicious and cancelled after investigation.

       As early as September of 2005, Henry Schein’s own consultants, BuzzeoPDMA, had
informed the company that it needed to start sending suspicious order reports to the DEA

672
   See Rule 30(b)(6) Deposition of Shaun Abreu (“Abreu Dep.”) at 237:21-239:1; 259:17-261:19; 454:12-456:24;
Deposition of Mike DiBello (“DiBello Dep.”) at 181:12-182:17; also see HSI-MDL-00404222-223; HSI-MDL-
00404203-209; HSI-MDL-00619797-800; HSI-MDL-00404219; HSI-MDL-00000119-125; HSI-MDL-00404202-
209; HSI-MDL-00386875-879.
673
   See Henry Schein, Inc. and Henry Schein Medical Systems, Inc’s Amended Objections and Responses to Plaintiff’s
(First) Combined Discovery Requests, No. 3; Henry Schein, Inc.’s Objections and Amended Responses to Plaintiffs’
First Set of Interrogatories, No. 3.
674
    Masters Pharm., Inc. v. DEA, 861 F.3d 206, 219 (D.C. Cir. June 30, 2017).
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 145 of 188. PageID #: 90284
                                                                 CONFIDENTIAL



immediately upon discovery. Yet, it wasn’t until late 2017/early 2018, following the publication
of the Masters Pharmaceutical decision, that Henry Schein began to immediately report orders of
unusual size, orders deviating substantially from a normal pattern, or orders of unusual frequency
to the DEA as suspicious orders when discovered. 675

         C. Before October of 2009, when an order pended as an order of interest in Henry Schein’s
system because it exceeded a threshold, Henry Schein’s due diligence investigation consisted of
merely sending a one-page questionnaire/letter to the customer and reviewing their responses
before determining if the order could be shipped. 676 After October of 2009, Henry Schein
implemented “Know Your Customer” components, including on-site visits and potential telephone
interviews with the customer to determine if a pended order of interest (an order that deviated in
size, frequency, or pattern) could be shipped. 677 Henry Schein did not have any specific standard
operating procedure in place for keeping a written record of due diligence investigations of pended
orders of interest until October of 2009. 678
        D. Before 2012, Henry Schein did not have a written policy relating to its “Know Your
Customer” due diligence obligations. 679 Further, Henry Schein’s Regulatory Affairs department
noted in November of 2013 that the company did not have “Know Your Customer” due diligence
information for sixty percent of their customers and had only varying degrees of completed due
diligence for the remaining forty percent. 680 Henry Schein’s head of Regulatory Affairs, Sergio
Tejeda, even noted in an August 6, 2013, email that Henry Schein’s lack of Know Your Customer
due diligence was the “area of most risk.” 681 Tejeda further noted that Henry Schein still needed
to conduct due diligence inquiries for 27,000 customer accounts, which would take Henry Schein
“3-4 years to become current/fully compliant with DEA due diligence.” 682
        In fact, Henry Schein did not obtain complete due diligence files for all of its customers
until sometime in 2017, a process that required the company to hire at least twelve or more
additional staff members in the company’s verifications and regulatory departments between 2013


675
   See Deposition of Jeff Peacock (“Peacock Dep.”) at 153:1-24; DiBello Dep. at 157:9-24; 267:9-270:12; Abreu
Dep. at 55:12-57:23; 64:11-67:13; 71:4-73:21; 83:10-21; 146:15-148:16; Deposition of Sergio Tejeda (“Tejeda
Dep.”) at 318:5-320:7; 330:24-331:12; also see HSI-MDL-00404202-209; HSI-MDL-00021781-82; HSI-MDL-
00606634-36; HSI-MDL-00647221-23; HSI-MDL-00486513-14; HSI-MDL-00569496.
676
      See Abreu Dep. at 51:18-53:18; 74:3-75:24.
677
      Id. at 127:18-129:22.
678
      See Abreu Dep. at 75:3-24.
679
      See HSI-MDL-00000194-204.
680
   See Abreu Dep. at 294:21-295:7; 308:10-310233:13-134:17; 135:10-22; 144:24-145:9; 149:15-150:21; Tejeda
Dep. at 232:11-15; 233:14-17.
681
      See HSI-MDL-00552881.
682
   Id.; also see Steffanie-Oak Dep. at 74:9-78:1; 98:15-20; Tejeda Dep. at 222:6-16; 225:11-227:9; 233:18-234:15;
248:23-249:3.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 146 of 188. PageID #: 90285
                                                                 CONFIDENTIAL



and 2017. 683 Further, as of 2018, Henry Schein may still approve a pended order of interest without
contacting the customer, relying only on a due diligence letter from a prior pended order of interest
with that same customer. 684 Currently, Henry Schein does not perform any criminal background
checks or medical/dental board disciplinary checks on any of their doctor customers as part of their
due diligence inquiry. 685


      V.       MANUFACTURERS

        It is my expert opinion that manufacturers of opioids, as DEA registrants, have the same
duties as wholesalers to maintain effective controls to prevent diversion of controlled substances
into other than legitimate medical, scientific, and industrial channels. 686 The fact that
manufacturers hold a different position in the supply chain, and have different sources of
information and knowledge, does not change the underlying duty.

       Specifically, manufacturers of opioids must, among other regulatory requirements,
maintain effective controls to prevent diversion, which include, but are not limited to, the following
elements:

      1. Design and operate suspicious order monitoring systems that operate effectively to
         identify, report, and not ship suspicious orders. 687

      2. Make use of all relevant prescribing and transactional data and information they obtain in
         the course of their business activity to identify and prevent diversion and identify
         suspicious orders.

         Manufacturers must ensure that their direct customers—for the most part, distributors—
have sufficient controls in place to prevent diversion of controlled substances. Manufacturers,
initially and then periodically, must verify that their customers maintain effective controls to
prevent diversion.

        Manufacturers must review the orders that distributors place with them to detect suspicious
orders, which include, but are not limited to, orders of an unusual size or frequency or that deviate
from the normal pattern. 688 Upon discovery, manufacturers must report and not ship these orders.

683
      See Abreu Dep. at 310:15-314:15; also see Peacock Dep. at 69:22-71:9; 129:11-130:24.
684
      See Abreu Dep. at 255:6-256:13; HSI-MDL-00404203-209.
685
      See Peacock Dep. at 132:22-133:1; also see Steffanie-Oak Dep. at 105:1-106:23.
686
           21 USC § 823 (b)(1); 21 CFR § 1301.74(b).
687
           21 CFR 1301.74(b).
688
         See Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206, 221 (D.C. Cir. 2017) (“Section
1301.74(b) defines suspicious orders as “includ[ing]” orders of an unusual size, pattern, or frequency, and it is well
established that the word “include” often precedes a list of “illustrative” examples, rather than an exclusive list of
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 147 of 188. PageID #: 90286
                                                                 CONFIDENTIAL



These orders may not be shipped unless the manufacturer conducts and documents its own due
diligence investigation of these orders and dispels the basis for its suspicion. That does not mean
simply relying on the representation by a distributor that there is a reasonable basis for the order.
Actual (and documented) investigations to verify the information must be conducted by the
manufacturer to confirm that the order is not diverted into other than legitimate medical, scientific,
and industrial channels.

        I am aware that some manufacturers have some data on doctors’ prescribing of opioids,
which manufacturers purchase from companies like IQVIA (formerly IMS). It is my
understanding that manufacturers obtain this data in order to target and monitor their marketing
efforts. This data also allows manufacturers to identify prescribers who prescribe opioids in
volumes, types, doses, and combinations, or with frequencies that are indicative of diversion.

        I am also aware that manufacturers also have access to chargeback or fee for services data
(collectively, “chargeback data”), which is provided by distributors. This data provides transaction
information allowing manufacturers to determine who purchased its drugs, in what volumes, and
in which doses. Using chargeback data, manufacturers could identify pharmacies or other
customers whose orders of opioids were of an unusual size, frequency, or pattern, or suspicious in
other ways that are indicative of diversion. Manufacturers could also determine whether a
pharmacy is obtaining opioids through multiple distributors, a red flag of diversion. Manufacturers
could also use chargeback data to monitor the geographic distribution of their drugs in order to
assess whether their drugs are being supplied to hotspots of opioid abuse or in volumes that are
disproportionate to a legitimate market in an area. Based on the documents I reviewed, including
documents from Purdue Pharma, it is clear that manufacturers could and did identify the largest
prescribers and dispensers of their drugs.

        Using relevant data acquired by a manufacturer for compliance purposes is part of
maintaining effective controls to prevent diversion. This obligation was acknowledged by
Mallinckrodt in the Memorandum of Agreement Mallinckrodt entered with the United States in
2017. 689 Mallinckrodt confirmed that it would “design and operate a system that meets the
requirements of 21 CFR 1301.74(b)” and “utilize all available transaction information to identify
suspicious orders of any Mallinckrodt product.” 690 Mallinckrodt agreed “to notify DEA of any
diversion and/or suspicious circumstances involving any Mallinckrodt controlled substances that
Mallinckrodt discovers.” 691 Mallinckrodt also acknowledged that “[a]s part of their business
model Mallinckrodt collects transaction information, referred to as chargeback data, from their

indicia of an identified wrong. [internal citations omitted]. […] Reading section 1301.74(b)’s listed characteristics as
exemplary rather than exhaustive, DEA reasonably concluded that other indicia may also raise suspicions about an
order for controlled substances.”)
689
         Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC at 5 (July 10, 2017), available at
https://www.justice.gov/usao-edmi/press-release/file/986026/download.
690
         Id. at 4
691
         Id.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 148 of 188. PageID #: 90287
                                                                 CONFIDENTIAL



direct customers (distributors). The transaction information contains data relating to the direct
customer sales of controlled substances to ‘downstream’ registrants.” As part of the resolution,
Mallinckrodt agreed that it could and would “report to the DEA when Mallinckrodt concludes that
the chargeback data or other information indicates that a downstream registrant poses a risk of
diversion.” 692
        Thus, to comply with the law, manufacturers that have prescribing and chargeback data are
obligated to incorporate that data into their compliance programs to meet their duties to maintain
effective controls to prevent diversion. Put another way, manufacturers “know what they know”
and must put that knowledge to use when they know it to prevent diversion. Manufacturers must
analyze this data using metrics or methods that are reasonably designed to identify suspicious
orders and that are not so high that they fail to detect suspicious orders. As DEA had pointed out:
“[r]egistrants that rely on rigid formulas to define whether an order is suspicious may be failing to
detect suspicious orders.” 693 Changing these metrics or methods in a suspicious order system to
avoid flagging too many suspicious orders is not an effective control on diversion. These metrics
must look specifically at drugs (or National Drug Codes, known as “NDCs”) that are known targets
of diversion, and not just at drug families. In addition, manufacturers must conduct and document
a due diligence investigation to ensure that the drugs are not being diverted.
        Manufacturers’ sales representatives provide additional visibility into the manufacturers’
downstream customers purchasing their products. These sales representatives have on-site
interaction with doctors’ offices and pharmacies through regular visits. These visits allow the
manufacturers the ability to observe red flags of diversion – long lines, potentially inappropriate
customers, cash payments, and other signs of abuse that would have alerted them to potential
diversion of opioids. These observations of red flags also must be integrated into manufacturers’
compliance programs.

      An example of sales representatives ignoring signs of diversion is illustrated in the case of
Dr. Adolph Harper, Jr., a physician in Akron, Ohio. Although his specialty was obstetrics and
gynecology, Harper prescribed a substantial volume of opioids.

        On October 20, 2014, Harper pleaded guilty to one count of conspiracy to traffic drugs,
four counts of health care fraud and sixteen counts of drug trafficking. He was subsequently
sentenced to ten years imprisonment. The Department of Justice’s news release regarding
Harper’s sentencing indicated that Harper distributed “hundreds of thousands of doses of
prescription medications – including OxyContin, Percocet, Roxicet, Opana and others – from his




692
        2017 Mallinckrodt MOA at 5.
693
        See MNK-T1_7146630, Ratliff Ex. 8 (letter from Deputy Assistant Administrator Joseph Rannazzisi to
Mallinckrodt (Dec. 27, 2007)).
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 149 of 188. PageID #: 90288
                                                                 CONFIDENTIAL



medical offices in Akron between 2009 and 2012.” 694 The sentencing memorandum indicates that
at least eight of Adolph Harper’s patients died as a result of drug overdoses. 695

         In the sentencing memorandum, prosecutors described an office environment that should
have alerted any sales representative who visited Harper’s office: “The atmosphere of Harper’s
office, like his prescribing practices, was also more akin to street-level drug trafficking operation
rather than a medical office. Harper’s customers often waited for hours to see Harper, and many
of these customers exhibited behavior consistent with drug abuse. Witnesses reported seeing
customers passed out in the hallway and office while waiting to see Harper, or vomiting or
urinating on the floor in the waiting room. Customers were also combative and aggressive with
Harper’s staff members if there was any delay in receiving their drugs.” 696

        I reviewed a declaration from Ramona Harrison, who was a receptionist at Harper’s office
from 2010 through January 2012. 697 Harrison said that most of Harper’s patients appeared to be
drug addicts. They often looked disheveled and acted like they were “high” on drugs. Harper’s
waiting room was usually full, with some people needing to stand because there were not enough
seats. Many patients “nodded off’ while they were waiting to see the doctors. Others were
belligerent to the staff or argued with other patients in the waiting room. Harrison noted that some
patients even urinated on themselves and some patients periodically vomited in the water
fountain. 698

       I am informed that, from 1994 through 2005, Harper was called upon at least 109 times by
Purdue sales representatives. 699 Purdue’s last recorded call to Harper’s office occurred on
September 14, 2005. 700 Two months later, on November 17, 2005, a Purdue email stated, “Purdue
determined that the sales representative should cease sales calls on Dr. Harper.” 701 I have not seen
any documentation that Purdue reported Harper to state or federal authorities.

       Based on documents I reviewed, Endo, Cephalon, and Janssen also visited Harper and held
programs that he attended, and he was marketed Opana, Actiq, Nucynta, and Kadian. 702 Harper
was eventually removed from Endo’s call plan according to an April 20, 2012 document, with the

694
        “Akron Doctor Sentenced to 10 Years in Prison For Illegally Prescribing Painkillers, Even After Patients
Died,” U.S. Dep’t of Justice Press Release (Feb. 13, 2015) https://www.justice.gov/usao-ndoh/pr/akron-doctor-
sentenced-10-years-prison-illegally-prescribing-painkillers-even-after.
695
        PLTF_2804-000013676 at 5.
696
        Id at 4.
697
        PLTF_2804_000004562.
698
        Id.
699
        PPLPMDL0030005334.
700
        Id.
701
        PPLPMDL0030005327.
702
        ENDO-OPIOID_MDL-00673563; TEVA_MDL_A_02416207; JAN-OH-00006800.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 150 of 188. PageID #: 90289
                                                                 CONFIDENTIAL



explanation: “License is being investigated and has made local news due to questionable
actions.” 703 This indicated that the removal was based on media reports, as opposed to feedback
from Endo representatives in the field. I am also informed that, according to DEA ARCOS data,
between 2006 and 2009, Harper directly purchased opioids directly from Henry Schein. 704

         According to prosecutors’ sentencing memorandum, several Akron-area pharmacies began
refusing to fill Adolph Harper’s prescriptions. 705 Rite Aid store 3182 in Akron continued to fill
Harper’s prescriptions and requested an increase in its oxycodone thresholds from McKesson after
the store received an influx of Harper’s patients turned away by another Rite Aid branch. 706 Emails
obtained from McKesson disclosed that in September and October 2011, Rite Aid store 3182
requested that McKesson increase its threshold on oxycodone by 15 percent because of “increased
activity from a local pain mgmt. doctor,” Adolph Harper. 707 It appears McKesson approved the
first request, but denied the October 2011 the additional increase. Oriente wrote that Harper “may
be an issue that you may want to do additional due diligence on. He is an Ob/Gyn not a Pain
Management Specialist.” 708 Oriente included complaints about Harper from individuals who had
posted to the website Vitals.com:
     • September 29, 2011: “No one is filling his prescriptions! … some of us are very sick and
         not just drug addicts!” 709
      •   July 15, 2011: “YOUNG PEOPLE ARE DYING BECAUSE THIS MAN WILL GIVE
          PAIN PILLS AND XANAX TO ANYONE! PLEASE SOMEONE STEP IN BEFORE
          ANOTHER LIFE IS LOST.” 710
      •   July 6, 2011: “gives my daughter any pills she wants as long as he can be a pervert once a
          month and check her, in trouble with drug board, he will get you addicted to any pills, he
          is not a doctor he is a drug dealer with his own daughters as accessories.” 711
A Director of Loss Prevention for Rite Aid responded, “I agree, we ran a report and checked his
DEA number and saw the same thing. We have the [Pharmacy District Manager] reviewing a
checklist to visit the clinic. No increases at this time.” 712


703
          ENDO-OPIOID_MDL-02816744 & END00746489
704
          HIS-MDL-00001612; HIS-MDL-00648726.
705
          PLTF_2804_000013676 at 4.
706
          MCKMDL00632908; MCKMDL00626683; PLTF_2804_000013676 at 4.
707
          MCKMDL00632908 & MCKMDL00626683
708
          MCKMDL00627631.
709
          Id.
710
          Id.
711
          Id.
712
          MCKMDL00634992.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 151 of 188. PageID #: 90290
                                                                 CONFIDENTIAL



   It is my expert opinion that:

   1. Sales representatives who visited Dr. Harper should have been aware of and reported the
      signs of diversion at his practice.

   2. A distributor who directly supplied opioids to Dr. Harper should have visited his practice
      and observed and reported signs of diversion.

   3. The increase in volume associated with Dr. Harper’s prescribing should have—and did—
      alert distributors and pharmacies to Dr. Harper’s suspicious prescribing, and those entities
      should have reported Dr. Harper.

        Manufacturers that knew or should have known of suspected diversion of their products by
prescribers and/or pharmacies through relevant transaction data, sales representatives’ visits, or
any other means are required to take action to maintain effective controls to prevent diversion.
Manufacturers should have investigated whether the suspected diversion was the result of
deficiencies in their distributors’ overall compliance program, including the suspicious order
monitoring system that supplied their products to the prescribers and/or pharmacies. The
obligation for taking action exists when the diversion was or should have been discovered, even if
that was after the orders were shipped to those customers, to prevent diversion and protect the
public interest. To the extent that a manufacturer was aware of potential diversion, whether by a
distributor, prescriber, or pharmacy, the manufacturer should have reported the relevant conduct
to the DEA. In addition, manufacturers that continued to distribute their products with reason to
believe those products were being diverted demonstrated a failure to maintain effective controls
against the prevention of diversion.

        In sum, whatever specific methodology a manufacturer used (or failed to use) to implement
effective controls to prevent diversion, to design and operate a system to disclose suspicious
orders, all manufacturers had the obligation to: (1) evaluate all relevant data and information
available to them to prevent and report diversion; (2) identify, report, and stop shipment of
suspicious orders of opioids; and (3) if shipping those suspicious orders, conduct sufficient due
diligence to ensure that those orders are not being diverted into other than legitimate medical,
scientific, and industrial channels. Manufacturers that do not have effective systems to carry out
these obligations, or do not consistently or sufficiently implement these systems, failed to comply
with the law.

        Based (a) on my education, training and experience, (b) the law, regulation and practices
in the area of CSA enforcement, and (c) on my review of document and testimony provided in this
case (MDL 2804), I am of the opinion to a reasonable degree of professional certainty:

   1. Manufacturers with relevant transaction data including the distribution, dispensing, and
      prescribing of their opioids by their direct and downstream customers had an obligation to
      utilize that data in their compliance programs. The failure to integrate that data into their


                                                1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 152 of 188. PageID #: 90291
                                                                 CONFIDENTIAL



         compliance programs was a failure to implement and/or maintain effective controls to
         prevent diversion.

      2. Suspicious order monitoring programs that use rigid multipliers of two or three times the
         average purchase amount to trigger or disclose a suspicious order do not effectively identify
         suspicious orders.

      3. Suspicious order monitoring programs that are designed to only evaluate orders by drug
         code or by drug family and fail to assess specific NDCs that are known targets of diversion
         mask potential diversion and are ineffective.

      4. Manufactures that identify suspicious orders and ship those order must conduct and
         document a due diligence investigation to ensure those drugs are not being diverted into
         other than medical, scientific and industrial channels or they are failing to maintain
         effective controls to prevent diversion.

      5. Manufacturers that adjust their programs for identifying suspicious orders in order to
         reduce the number of orders that were identified as suspicious, without regard to whether
         those orders were suspicious or not, fail to maintain effective controls to prevent diversion.

       Set out below, based on my review of documents produced and testimony given by
defendants in this litigation, are examples of systemic failures of compliance in the various
manufacturers’ obligation to maintain effective controls and suspicious order monitoring
programs.

      A. ALLERGAN

        Based on the evidence I have reviewed in this case, Allergan and its predecessor entities
failed to maintain effective controls to prevent diversion, failed to design and operate adequate
suspicious order monitoring systems, and failed to take reasonable steps to prevent the Allergan
entities’ products from being diverted. This conclusion is based on my review of the evidence
including the following facts:

       1. In 2012, Watson Pharmaceuticals, Inc. purchased Actavis, Inc., and the combined company
          took the “Actavis” name. 713 In March 2015, Actavis purchased Allergan, Inc. and, renamed
          itself again to “Allergan.” 714


713
         https://www.Allergan.com/news/news/thomson-reuters/watson-pharmaceuticals-inc-is-now-actavis-inc
The Allergan Defendants include Allergan plc, Actavis, Inc., Watson Pharmaceuticals, Inc., Watson Laboratories,
Inc., Actavis Pharma, Inc., Actavis LLC, as well as other related subsidiaries.
714
          https://www.Allergan.com/news/news/thomson-reuters/actavis-plc-is-now-Allergan-plc. Through a 2013
acquisition, the company had become a “plc” and moved its headquarters to Ireland to take advantage of “a favorable
tax     structure”   but    kept   its   executive   headquarters      in     New      Jersey,   USA.           See
https://www.Allergan.com/news/news/thomson-reuters/actavis-to-acquire-warner-chilcott-to-create-premi
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 153 of 188. PageID #: 90292
                                                                 CONFIDENTIAL



      2. Before the 2012 merger, Actavis produced twelve different generic opioids including some
         of the most abused and diverted opioids such as generic OxyContin (Oxycodone I
         hydrochloride tablet), generic Opana ER (Oxymorphone tablet) and generic Duragesic (a
         fentanyl transdermal patch). 715 Pre-merger Actavis had the same rudimentary threshold-
         based SOM system in place from November 2000 through October 2012. 716 Under that
         system, the Customer Service group printed a report “several times a day” showing any
         controlled substance order that was “25% over the customer’s rolling average” of orders
         placed over the prior six months. 717 Then, according to an internal document, “Customer
         Service reviews (eyeballs) the suspicious order report throughout the day (when a new
         report is created)” and “any order that looks unusual is investigated and any unusual items
         are cleared before the order is released.” 718

      3. In February 2009, Senior Manager of Actavis’s Customer Service Department, Nancy
         Baran explained to her boss why the existing pre-merger Actavis process was inadequate
         to “prevent shipping excess product”:


                  For starters, the report is not cumulative. For example, if a customer's
                  monthly usage is 3000 units - they can order 2999 units every day of the
                  month and it would not be caught. At the same time, the % of times an
                  order comes up on this report where we would actually stop the order is a
                  fraction of 1%. Orders come in all day long over the 25% threshold. 719

          Baran further stated

                  If we stopped to question and put on hold every one of these orders, it would
                  be crippling. The intent of the DEA suspicious report was designed to
                  prevent excessive shipments of controlled products. In my opinion, it does
                  a lousy job at even that.” 720

      4. Actavis employee Noemi Rebeco, who oversaw the day-to-day implementation of the
         system wrote in August 2009 that “DEA Analyst Omar Plaza” would check the report
         “daily” and then “select customers that are exceeding the normal orders (over 25-50%) …

715
         See Allergan Kaufhold Ex. 3-4 (listing the Amended New Drug Application (“ANDA”) number for each of
the pre-merger Actavis generic opioids.
716
          Woods Depo. Ex. 12 (Allergan_MDL_02081243); Ex. 13 (Allergan_MDL_02128514). Mary Woods served
as the Corporate Representative of the Allergan Defendants with regard to Suspicious Order Monitoring issues. The
first 24 exhibits to her deposition are the SOM SOPs the Allergan Defendants said were in place.
717
          Woods Depo. Ex. 12. at 2.
718
          Id.
719
          Allergan_MDL_02128035
720
          Id.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 154 of 188. PageID #: 90293
                                                                 CONFIDENTIAL



        [choose] the ones that should be investigated … get the reply from customer service
        advising the reason of the large Order (most of the time trade show promotions) and send
        to the local [DEA] office once a month a copy of the ‘suspicious report.’” 721 Baran
        remembered only one order between 2008 and 2017 that was ever deemed to be suspicious
        and reported to the DEA as such, but testified she did not “know any details about it.” 722 All
        other pended orders were cleared and released. 723

      5. As the above-cited evidence shows, the 2000-2012 Actavis system only flagged orders
         unusual in size; it did not flag orders unusual in frequency or unusual in pattern in real
         time. In my opinion, the rigid formula used did not satisfy regulations requiring registrants
         to detect and investigate suspicious orders. The system did not utilize any downstream
         customer information available to Actavis, did not differentiate among NDC codes for
         drugs with a higher risk of diversion, and did not automatically stop orders from shipping.
         Although Actavis mailed reports to the DEA of orders that were identified in the system
         from 2009-2012, the lack of any analysis of such data made the reports meaningless. It
         was not an effective control and Actavis employees recognized as much. Yet the system
         remained in place until 2012. 724

      6. In September 2012, Actavis was implementing a statistics-based more modern SOM
         system designed by the Buzzeo/Cegedim group to detect “orders of interest” in “Direct
         Customer sales.” 725 On October 1, 2012, it began working alongside Actavis’s prior
         system. 726 Until that date, the company had used the SOM system as described in
         November 2000. 727



721
          Allergan_MDL_04333369. The monthly reports Plaza mailed to the DEA between July 6, 2009 and July 14,
2012, make clear that the orders listed were from the automated system. See Allergan_MDL_03328387 (noting that
(“[t]his letter is to report suspicious purchase orders during the month of June 2012”). I have seen no such reports
outside of the July 2009 through July 2012 timeframe.
722
         Baran Deposition, 303:7-304:10.
723
         Id.
724
         A separate program from January 2011 designed by Actavis’s marketing group, tracked only “oxycodone IR
suspicious orders.” Woods Depo Ex. 14 (Allergan_MDL_00490306). The marketing program compared monthly
order rates and noted “any individual customer locations that have ordered 50% or greater than their established six
month order average.” Id. It was not designed to track any DEA regulations, and after three months of trials, it was
apparently abandoned. Acquired_Actavis_00665233 (March 24, 2011 email discussing SOP).
725
         Woods Depo. Exhibit 15 (Allergan_MDL_01684748).
726
        Allergan_MDL_03380778 (Thursday October 4, 2012 email noting that “we went live on Monday with our
enhanced Suspicious Order Monitoring” system).
727
         A separate system, titled “Indirect Customer Sales” also was issued in late 2012. Woods Depo. Exhibit 16
(Allergan_MDL_01979834). This SOP, which was to focus on customers of Actavis’s direct customers using
chargeback and other data, was never implemented. As the contemporaneous notes of a Watson employee noted,
Actavis assigned “no resources,” or personnel, to carry out the indirect SOP. Woods Depo. Ex. 36 at 12( “Also
prepared to work on the indirect side, no resources but have SOP’s – work has been completed already”).
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 155 of 188. PageID #: 90294
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 156 of 188. PageID #: 90295
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 157 of 188. PageID #: 90296
                                                                 CONFIDENTIAL



          dealers.” 732 “[T]hey described it,” Clarke continued, “without using these specific words,
          but in a way that we would just manufacture, put the product out on the street, and not have
          a care as to where it went” and “described finding or seeing or obtaining product, you
          know, opioid products that seemed to be diverted relatively easily.” 733 In late October
          2012, Actavis had a follow-up meeting with two field representatives from the DEA’s
          Newark, New Jersey office where, according to Clarke, DEA requested a reduction of
          approximately 30%-40% in Actavis’ manufacturing quota for oxycodone. 734 Actavis’ then
          CEO, Doug Boothe, however, rejected the DEA’s request. .

  11.     The deficiencies in pre-merger Actavis’ failures to prevent diversion, design and operate
          adequate suspicious order monitoring systems, and take reasonable steps to prevent
          diversion were summed up by Boothe’s testimony. Boothe – again, the CEO of pre-merger
          Actavis – testified that Actavis’ responsibility was only to making certain orders were
          received from licensed pharmacies and were within numerical suspicious order monitoring
          thresholds, and that Actavis had no responsibility (or accountability) for preventing
          diversion:

                   Again, I don't think we had responsibility for, accountability for preventing
                   diversion. We had responsibility and accountability for making certain that
                   the orders that we received were valid from licensed pharmacies and were
                   within our suspicious order monitoring thresholds as it was described earlier
                   then with the Buzzeo model or the more statistical model. So we -- that was
                   our responsibility. Once it goes outside of our chain of custody, we have no
                   capability or responsibility or accountability to -- or at least my
                   understanding, I'm not a lawyer, as it relates to diversion. So, once we ship
                   a valid order to a wholesaler or ship a valid order to a distributor or another
                   smaller wholesaler, our chain of custody is finished at that point. 735

          It is my opinion that this statement reflects an inaccurate interpretation of Actavis’ statutory
          and regulatory requirements.

      12. The core of the Watson SOM system, like the early pre-merger Actavis system, dated to
          the early 2000s. 736 A 2001 memo says Watson’s inventory system automatically compiled
          a “12-month average” of customers’ various orders, and reported violations of it Customer
          Service personnel (also known as the “Call Center” group). 737 A May 2004 Operational
          Procedure added a “SOMS multiplier table” to the system that increased the level at which

732
          Clarke Depo., 86-89.
733
          Id. at 90-91
734
          Id. at 98-102.
735
          Boothe Depo., 408-09.
736
          Woods Depo. Ex. 1 (Allergan_MDL_01844864).
737
          Id..
                                                     1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 158 of 188. PageID #: 90297
                                                                 CONFIDENTIAL



          the inventory system would alert a potentially suspicious order. 738 The multiplier, set by
          people instead of an algorithm, placed a different value for various “classes of trade,” and
          orders from wholesalers, distributors and chain pharmacies were regularly allowed at triple
          the historical average, or more. 739

      13. The Watson system affirmatively allowed customers to get around violations by canceling
          the order, or cutting the quantity. 740 Mary Woods, who was in charge of the Watson SOM
          system, stated that Watson “never needed to file a report” because they would cut or cancel
          the order instead. 741 This policy was consistent through 2012. 742 In 2012, Watson merely
          required that “[i]f the customer decides to cancel or reduce the quantity, they will need to
          provide a reason for the reduction or cancellation.” 743 Before the merger with Watson,
          Actavis policy did not allow reducing or cancelling an order. 744 After the merger, the
          combined company adopted the Watson SOM system, and cutting or cancelling was not
          generally prohibited. Watson also allowed orders to be shipped based on “an employee
          inside of the company [including salespeople] providing the justification” in “an email.” 745
          Watson Call Center/Customer Relations Operation did not add any new staff to handle the
          SOMs “validations” between 2009 and 2012, but the number of validations increased
          substantially. 746 In 2009, each “administrator” handled an average 62 “SOMs validations”
          per month. 747 In 2010, that number jumped to an average of 180, and in 2011 the number




738
          Woods Depo. Ex. 3 (Allergan_MDL_01839001).
739
         Allergan_MDL_02181128 at ‘1150 (noting that the “SOMS Multi” for wholesalers was “3”); see also Id. at
‘1131 (noting that the “SOMS Multi” for “chain” stores was “6”). The wholesaler/distributor and chain store
multipliers apparently covered “99 percent of the orders” in the system. Allergan_MDL_02578082
740
          Allergan_MDL_01839001
741
         Woods 1/10/19 Depo Tr. at 25:18-31:16, Woods Depo. Ex. 30 (“[a]ny time there was a question during the
order process of a suspicious order quantity, we went (and still follow the same procedure) back to a customer to let
them know we would need to notify the DEA due to the quantity they wanted to order. In response, they either
reduced the quantity or cancelled the order").
742
       Allergan_MDL_02146521 at 2 (July 2011 SOM policy); see also Allergan_MDL_03952774 at 9 (April 2007
SOM policy); Allergan_MDL_1839002 at 2 (May 2004 SOM policy).
743
          Allergan_MDL_01175581.
744
            Allergan_MDL_03368470 (Baran PowerPoint presentation making clear that “’Cutting’ orders to a volume
that puts the order under a threshold is not acceptable,” and that the “DEA has stated on this topic, ‘That is like saying
a little bit of diversion is okay’”).
745
          Woods Depo. I, 140:3-141:9.
746
          Woods Ex. 35 at Allergan_MDL_03802654
747
          Id. at 2660.
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 159 of 188. PageID #: 90298
                                                                 CONFIDENTIAL



          reached 280, a 350% increase over 2009. 748 Woods, who oversaw the system, did not seek
          to add more personnel at any time. 749

      14. Like Nancy Baran at Actavis, Thomas Napoli, Watson’s (and then post-merger Actavis’s)
          DEA Compliance Chief, made clear that the system did not comply with the DEA laws
          and regulations. In November 2008 Napoli wrote a memo stating that “[i]t is highly
          recommended that industry utilize a 'total SOM model.' This model favors a more
          statistically-based model that dynamically evaluates a variety of order characteristics to
          determine whether an order should be pending. Characteristics include order size, ordering
          frequency, ordering patterns and percentage of CS ordered." 750 He continued that “[t]his
          approach is viewed to be more effective and defensible than the traditional approach of just
          setting a threshold." 751

      15. Starting in 2011, Napoli advocated to hire Buzzeo/Cegedim to create a new system, just
          as Baran had at Actavis. Napoli wrote that, among other things, the requirement of “manual
          effort is very labor intensive, as the current system is not configured with any analytical
          tools to support timely and accurate decision making. This approach also introduces the
          element of ‘human interaction’ in the order evaluation process.” 752 A 2012 PowerPoint
          from Napoli’s files notes that Cegedim had “produced a written report” and under
          “Findings” noted that the multiplier threshold was “not consistent with specific
          requirements noted within regulations and guidance,” that Watson’s system “evaluates at
          SKU level,” left open the “possibility of distributing orders across multiple SKU’s without
          detection,” and that Watson’s system did not “evaluate listed chemicals.” 753 The
          PowerPoint made “Recommendations” including developing an SOM system to “Fully
          address specific regulatory requirements,” and that system was “Budgeted for 2012
          Implementation.” 754 But the new system was never implemented, and when Watson
          bought Actavis, the combined Company reverted to the Watson system until 2015 when it
          announced it was selling all of its generic drugs and various corporate subsidiaries to Teva,
          and as Napoli said, Teva “already had their own program in place for Suspicious Order
          Monitoring.” 755

      Without restating every finding laid out above, I conclude that from 2000 until 2016,
Watson, post-merger Actavis and Allergan used an SOM system with a threshold based automated

748
          Id.
749
        See e.g. Woods Ex. 33, Allergan_MDL_02187056 at 7060 (noting static headcount in “SOMS Admin” and
“Order Administration-Support”).
750
          Napoli Depo. Ex. 1 (Allergan_MDL_0353513)
751
          Id.
752
          Allergan_MDL_02467546.
753
          Allergan_MDL_02468983 at 8987-8989.
754
          Id. at 8990-91.
755
          Id. at 324: 3-12; After the sale, Napoli said, he “was laid off.” Id. at 325:19.
                                                             1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 160 of 188. PageID #: 90299
                                                                 CONFIDENTIAL



inventory component. Like the pre-merger Actavis system, it only looked for orders of unusual
size and not for frequency and/or pattern in real time. The rigid formula used did not satisfy DEA
requirements to detect and investigate suspicious orders. The automated portion of the system did
not utilize any downstream customer information available, did not differentiate among NDC
codes for drugs with a higher risk of diversion, and only manually stopped orders from shipping.
The companies’ failure to identify suspicious orders was known among their employees. It was
these same employees that cut or reduced orders in order to avoid filling a suspicious order. The
SOM was not an effective control and the Watson and Actavis employees recognized as much.
Yet the system remained in place until 2016, and was not replaced. Now, Allergan asserts that as
a “virtual manufacturer” that outsources its manufacturing, transport and delivery systems, it is no
longer a DEA registrant with regard to Kadian and Norco, and need not have a suspicious order
monitoring system at all. 756 In my expert opinion, there is no category of “virtual” manufacturers,
and Allergan cannot delegate its duties to prevent diversion.

      B. JANSSEN

    Based on the evidence I have reviewed in this case, Janssen failed to maintain effective
controls to prevent diversion by failing to implement adequate compliance to prevent its products
from being diverted. This conclusion is based on the following facts, as established by the
evidence in this case and as elaborated on in more detail throughout this section:
      1. Janssen’s SOM program began in 2006 with its first Standard Operating Procedure for its
         SOM policy, in which Janssen wrote that a “potentially suspicious or excessive”
         controlled substance order can be defined as an order “that exceed[s] the permitted
         quantity by 3 times the normal mean demand” over a 52-week period. 757

      2. In 2013, Janssen modified its definition of suspicious order, stating, “A potentially
         suspicious or excessive controlled substance order can be defined as an order that exceeds
         the minimum order quantity requirements, and is above 3x’s (300% of) the calculated, 12
         month, per weekly order average.” 758 Janssen maintained its same suspicious order
         algorithm from 2006 through at least the date of the deposition of Janssen’s Controlled
         Substances Compliance Director, Michele Dempsey, on March 8, 2019. 759

      3. From 2005 through at least 2018, Janssen has never reported a suspicious order to the
         DEA. 760


756
        See e.g., Acquired_Actavis_01843335 (discussing regulation of entities that refer to themselves as “virtual
manufacturers”).
757
         See JAN-MS-03741170.
758
         See JAN-MS-03124101 (Dempsey Deposition Exhibit 37).
759
         See Dempsey Deposition at 471:23-472:18.
760
         See Dempsey Deposition at 487:2-488:18; see also JAN-MS-05444748 at 761 (Dempsey Deposition Exhibit
26 (Janssen’s SOM Audit Report, stating, “It appears that the JOM SOM has not reported a suspicious order for
controlled substances as suspicious during its entire time in operation.”).
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 161 of 188. PageID #: 90300
                                                                 CONFIDENTIAL



      4. Janssen only monitored for orders of unusual size and failed to ever monitor for frequency
         and/or pattern in real-time. 761

      5. Beginning in 2005, Janssen received chargeback data that would have provided visibility
         into the orders of its opioids by downstream customers. 762

      6. Further, since at least 2011, Janssen’s “SCG Trade Group” and its “marketing teams”
         were using 852 data (wholesalers’ inventory and total sales out to their customers) and
         un-blinded 867 data (“wholesalers total sales out to their customers broken out by outlet,
         i.e., Retail Pharmacies, Hospitals, Long Term Care, Clinics, etc. Last Points-of-Care in
         the Supply Chain where product is shipped prior to delivering to the patients”), as well as
         chargeback data to gain insights into purchasing behavior of individual pharmacies and
         other customers to resolve demand issues and help build demand strategies. 763 According
         to Janssen’s documents, this information was used by sales and marketing to spot high
         prescribers and to ensure that wholesalers were stocking targeted pharmacies with
         Janssen’s opioids. 764 Janssen also was buying third party data from Integrichain and
         ValueTrak. 765

      7. Janssen’s Director of Controlled Substances Compliance, Michele Dempsey was asked
         whether her compliance group was getting stocking data while looking at suspicious order
         monitoring in 2012. The answer was, “no, we were not.” 766 When asked if it might have
         been useful to see which pharmacies were stocking at a higher volume than others in a
         given zip code, Ms. Dempsey replied, “No.” 767

      8. Janssen never incorporated any of the relevant transactional sales data that could assist in
         disclosing diversion into its real-time SOM system, including, IQVIA, chargeback data,
         sales representatives’ tips, or even the Integrichain and ValueTrak data that its Trade
         Analytics team was using in order to sell its opioid products and track stocking at the
         pharmacy level.

      9. In 2012, Janssen Ortho-McNeil’s (“JOM”) “Customer Service” team was required to use
         ValueTrak data after a distributor customer’s order was flagged as potentially suspicious

761
        See Dempsey Deposition at 433:21-455:13.
762
         See JAN-MS-01117436 at slide 3 (“In 2005, wholesalers began sending us information on their shipments to
qualify for Distributor Performance Agreement (DPA). Key information we receive: . . . 844/849 – Chargeback data
which identifies how much a vendor qualifies for rebates.”).
763
        See JAN-MS-01117436 at slide 3.
764
        See JAN-MS-00454956.
765
        See JAN-MS-01117436.
766
        See Dempsey Deposition at 106:1-8; 111:14-18.
767
        See Dempsey Deposition at 114:11-19.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 162 of 188. PageID #: 90301
                                                                 CONFIDENTIAL



          or excessive, and after receive a reason for the increase in demand, only “to show the
          [distributor] customer’s inventory and compare that inventory to the demand of the
          increase.” 768

      10. Ms. Dempsey testified that Janssen only utilized 852 and 867 data from the wholesaler in
          its order monitoring program, “as needed.” 769 However, Ms. Dempsey testified that, in
          2017, when she was aware that another division within Janssen was getting third party
          852 and 867 sales data, “I don’t know if prior to 2017 [the third party data] did include
          Duragesic and Nucynta. But at the time that I was – I learned of this [third party data],
          Duragesic was not included, and Nucynta was no longer a product.” 770 In my expert
          opinion, consistent utilization of this third party data to monitor sales of Janssen’s
          Duragesic and Nucynta for orders that should have been flagged for review based upon
          unusual size, frequency or pattern, certainly was necessary to identify potential diversion
          when evaluating potentially suspicious orders and should have been used for that purpose.

      11. Additionally, through purchases of data from ValueTrak, 771 Janssen stated that “we can
         now identify the most valuable individual pharmacies in the marketplace.” 772 Ms.
         Dempsey further testified that she was unaware that Janssen was purchasing such third
         party data until 2017. 773 Ms. Dempsey also testified that she was unaware that Janssen
          had the “ability to unblind the sales it was making to wholesalers to obtain visibility of
         [Janssen’s] inventory at individual retail stores” until “2017.” 774 This data enabled Janssen
          to know the end customers of its distributors. Janssen was using this information, in
          addition to monitoring pharmacy inventory, to track the “hot spot markets prescribers
          writing the higher strengths so [Janssen] can provide that data to the JOM Planners and
          Wholesaler Buyers.” 775 However, Janssen was not incorporating the third party data into
         its real-time order monitoring platform. 776

768
        See JAN-MS-03124101 at JAN-MS-03124105, section 7.1.6 (Dempsey Deposition Exhibit 37).
769
        Ms. Dempsey testified, “. . . when an order, a controlled substance order, goes through the order monitoring
program, if it is deemed to be questionable, customer service planning is involved in reaching out to the customer to
understand why it is not a typical order. And this data is used to -- in some cases, as justification to show that
downstream inventory is low and it required additional information -- this order was justified for release.” See
Dempsey Deposition at 123:11-124; see also 122:16-123:9 and 132:18-134:11.
770
        See Dempsey Deposition at 104:3-16.
771
        See JAN-MS-00454956; JAN-MS-01117436.
772
         See JAN-MS-01117436 (844-849 – “Stocking Tool Territory Level: For the first time, our sales reps know
which pharmacies have purchased, and which high decile pharmacies have not purchased our products.” Id. at slide
14 (depicting how Janssen was tracking Nucynta down to the specific pharmacies, such as specific CVS, Walgreens
and Wal-Mart locations).
773
        See Dempsey Deposition at 340:6 – 343:20.
774
        See Dempsey Deposition at 98:15-99:16.
775
        See JAN-MS-00454956.
776
        See Dempsey Deposition at 133:2-134:12.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 163 of 188. PageID #: 90302
                                                                 CONFIDENTIAL
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 164 of 188. PageID #: 90303
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 165 of 188. PageID #: 90304
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 166 of 188. PageID #: 90305
                                                                 CONFIDENTIAL



         department’s “boots on the ground.” 789 In a September of 2010 email, Harper was aware
         of the conflict and acknowledged that “the actual day-to-day monitoring responsibility
         should be switched to a non-customer service function in that those that have responsibility
         to manage the orders have a conflict of interest in deciding which orders should ultimately
         be shipped – with ultimate right of refusal retained by Controlled Substance
         Compliance.” 790 791

      7. Mallinckrodt shipped suspicious orders before due diligence was completed. Rausch
         explicitly warned Karen Harper that “[s]ince I don’t hold the orders up during my due
         diligence it’s possible that the order could ship. I thought we discussed this and alerting the
         DEA about a suspicious order/customer for further investigation would be our process
         going forward.” 792

      8. Furthermore, Ms. Harper admitted that Mallinckrodt did not always perform due diligence
         on orders before shipping them 793 and that failure to conduct such an investigation would
         lead to Mallinckrodt potentially shipping suspicious orders. 794

      9. Prior to 2010, Mallinckrodt’s SOM program also failed to utilize chargeback data, or any
         other data available to it, to trace the total amount of Mallinckrodt opioid products being
         delivered to downstream customers. Mallinckrodt did not formally incorporate chargeback
         data into its SOM program until January of 2011, and did not start using its chargeback
         data to systematically review and identify problematic pharmacies until Fall of 2011. 795

      10. More generally, in 2010, Mallinckrodt began identifying through chargeback data
          pharmacies, pain clinics and physicians (almost all of whom were in Florida) that engaged
          in the suspicious practice of purchasing controlled substances from multiple Mallinckrodt
          distributors and wholesalers, but only identified an insubstantial number of suspicious
          orders to the DEA.

      11. In late 2010 Mallinckrodt retained a former DEA employee to review its SOM program.
          This consultant advised Mallinckrodt that its program was inadequate and recommended
          changes. Mallinckrodt did not implement many of these changes, and continued its
789
          Harper Transcript at 59:7-19 (National Account Managers “were our eyes and ears and boots on the ground
at the customer accounts.).
790
         MNK-T1_0000280260.
791
        See e.g., MNK-T1_0000274737, MNK-T1_0000289692, MNK-T1_0000298653, MNK-T1_0000298795,
MNK-T1_0000267906, MNK-T1_0000267896, MNK-T1_0000290934, MNK-T1_0000369397 (collecting
examples of NAM involvement in SOM process).
792
         Harper Transcript 199-203:17
793
         Harper Transcript at 200:4-10.
794
         Harper Transcript at 203:1-17.
795
    MNK-T1_0000289368 (Letter to distributors identifying pharmacies subject to chargeback denials); K. Harper
Deposition 400:11-401:10.
                                                       1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 167 of 188. PageID #: 90306
                                                                 CONFIDENTIAL



           exclusive reliance on a numeric formula for identifying peculiar orders. See Paragraph 2
           above. Mallinckrodt deleted questions from its Distributor Questionnaire regarding the
           distributors monitoring of their customers. 796

       12. Prior to 2008, Mallinckrodt identified nationwide, at most, a total of 25 suspicious orders
           to the DEA. From 2008 through 2011, Mallinckrodt identified, at most, a total of 9
           suspicious orders to the DEA. This is despite numerous orders being flagged for exceeding
           Mallinckrodt’s numeric formula. 797

       13. Despite having access to chargeback data and following press reports identifying
           problematic distributors, as well as internal emails expressing concerns with shipments to
           Florida, Mallinckrodt continued to ship its opioids to distributors that ultimately had their
           licenses revoked or suspended by the DEA for the diversion of prescription drugs. 798
           Furthermore, Mallinckrodt failed to conduct adequate investigations and audits of its
           wholesale distributor customers. 799

       14. There are numerous examples of significant quantities of Mallinckrodt opioid products
           going to physicians that are now serving lengthy prison sentences for the illegal dispensing
           of opioids. These included Dr. Barry Schultz (serving a 157 year sentence for opioid
           trafficking and manslaughter); Dr. Shehta (suspended by the DEA after purchasing 451,700
           UOM of oxy 15 and oxy 30s from Sunrise); Dr. Shook (Mallinckrodt’s leading purchaser
           of oxycodone and sentenced to four years in prison for illegally prescribing opioids). 800
           That these doctors were receiving Mallinckrodt products was not news to Mallinckrodt
           because its chargeback database contained information on all of these doctors and the
           amount of Mallinckrodt opioids they received. In fact, Karen Harper directed the
           compliance department to prepare reports cross-referencing pill mills identified in news
           articles against Mallinckrodt’s chargeback database. 801 Referred to as “indirect match
           reports,” these reports identified specific sales to pills mills, allowing Mallinckrodt to


796
           See MNK-T1_0000368388 (Email from K. Harper to G. Collier and K. Muhlenkamp (8/26/10)).
797
           March 4, 2019 Mallinckrodt Response to Interrogatory No. 32 and Exhibits cited therein.
798
          MNK-T1_0002077756 (summarizing DEA concerns about volume of Oxy 15 & 30 mg tablets being
shipped to Florida and noting that DEA believes that a significant percentage of Mallinckrodt products are being
diverted); MNK-T1_0000562325 (email discussing notice from law enforcement that Mallinckrodt product had
been diverted from Florida to Tennessee and recommending an immediate audit of the distributor); MNK-
T1_0000386857 (email regarding Grand Jury Report and article about the crackdown on Florida pill mills); MNK-
T1_0000279166 (email noting multiple law enforcement inquires in Florida and surrounding states relating to a
Mallinckrodt distributor); MNK-T1_0000384265 (email from customer service rep to sales executive asking if he
“heard anything about Oxycodone in Florida, and why there are so many people from Kentucky going to Florida to
get their prescriptions filled?”).
799
           Harper Transcript at 415:12-417:16.
800
      See Borelli Transcript at 161:23-169 (Dr. Shook); 170:24-172 (Dr. Shehta); and 176:12-177:5 (Dr. Schultz).
801
      See MNK-T1_0000283880.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 168 of 188. PageID #: 90307
                                                                 CONFIDENTIAL



           determine the exact amount of its products that were likely diverted. 802 While these reports
           were used to make after-the-fact determinations that their product was diverted, chargeback
           data was not used to prevent diversion, despite Mallinckrodt’s clear awareness of the
           available of the data and its potential uses.

       15. The above conclusions are further confirmed by the fact that Mallinckrodt has admitted, in
           a Memorandum of Agreement with the DEA, that from 2008-2012, “certain aspects of
           Mallinckrodt’s system to monitor and detect suspicious orders did not meet the standards
           outlined in letters from the DEA Deputy Administrator, Office of Diversion Control, to
           registrants dated September 2, 2006 and December 27, 2007.” 803

        Without restating every finding laid out above, I conclude that Mallinckrodt used an SOM
system with a threshold based trigger, which was then increased in order to avoid identifying
suspicious orders. It only looked for orders of unusual size and not for frequency and/or pattern
in real time. The rigid formula used did not satisfy DEA requirements to detect and investigate
suspicious orders. The system did not utilize downstream customer information available, did not
differentiate among NDC codes for drugs with a higher risk of diversion. Nor did Mallinckrodt
conduct adequate due diligence on suspicious orders, and left clearing suspicious orders to sales
personnel with clear financial conflicts of interest, which Mallinckrodt recognized. Mallinckrodt
also failed to stop shipment of suspicious orders. The SOM was not effective in identifying or
preventing shipment of suspicious orders.


       D. PURDUE PHARMA

        Based on the evidence I have reviewed in this case, Purdue Pharma did not maintain
effective controls to prevent diversion, and did not maintain an adequate SOM program and failed
to take reasonable steps to prevent its products from being diverted. This conclusion is based on
the following facts, as established by the evidence in this case and as elaborated on in more detail
throughout this section:
       1. Purdue designed an Order Monitoring System that recognized its obligations to comply
          with DEA regulations to review and potentially report orders that are deemed suspicious
          when identified. The Purdue OMS system (Purdue schematic below) is a compilation of
          several different standard operating procedures (SOPs) from various departments within
          Purdue.




802
      See MNK-T1_0000283884.
803
      See Depo. of William Ratliff, Ex. 41 (Administrative Memorandum of Agreement”).
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 169 of 188. PageID #: 90308
                                                                 CONFIDENTIAL




       2. Purdue implemented a series of SOPs intended to explain in detailed steps the various
          components of its suspicious order monitoring system. The SOPs (and their updates) that
          relate to Purdue’s OMS are 7.7, 1.14, 65, 007, 1.7.1, 001, CC-SOP-000017, CC-SOP-
          000018, and CC-SOP-000019.

       3. In February 2000, Purdue acknowledged its obligation under the Controlled Substances
          Act to have a “system in place which will disclose suspicious orders of controlled
          substances to Purdue personnel.” 804 Purdue stated specifically, “[w]e are required by the
          DEA to have such a system in place.” 805 From day one, Purdue was primarily concerned
          with the effect that such a system would have on its relationships with its “customers”
          (various distributors). One problem that was identified early on was the fact that Purdue
          “would be reviewing a large percentage of our orders under these guidelines.” The reality,

804
      PPLPC004000119321
805
      Id.
                                                   1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 170 of 188. PageID #: 90309
                                                                 CONFIDENTIAL



            as realized by Purdue’s National Accounts department, was that any review of an order
            “would be well after the shipment.” Purdue’s position was that “National Accounts primary
            function is to sell, not police orders.” 806 This attitude was borne out through the years via
            a practice of rapid approvals of orders of unusual size, frequency, and dollar amounts prior
            to shipment. 807

       4. Purdue’s SOP 7.7 required the Senior Manager of Customer Service, the Senior Director
          of Finance Operations, or the Director of Credit Services to review all suspicious orders
          identified pursuant to SOP 7.7. It required Purdue to inform the field division office of
          DEA of suspicious orders when discovered. Final reports and recommendations were
          placed in Purdue’s “customer’s credit file” as well as being copied to 4 separate Purdue
          executive officers. 808

       5. Despite clear recognition of the limitations of SOP 7.7, in responding to questions from the
          NJ Field Division of the DEA regarding the adequacy of Purdue’s SOM efforts in January
          2006, Purdue identified SOP 7.7 as the mechanism by which Purdue “would determine a
          suspicious order.” 809 Purdue represented to the DEA the following:

                   “During the ordinary course of business, members of the Controlled Substances
                   Team in Customer Service are familiar with customer order frequency, order
                   quantities, and dollar amounts. They review each order for unusual quantities or
                   any other deviation from the customers regular order pattern. If any deviations are
                   found, the Customer Service Representative will submit the customers purchase
                   order to the Senior Manager of Customer Service or the Senior Director of Finance
                   Operations for further review. The company business officials then conduct a
                   further internal review process. If the order appears to be suspicious the
                   information is provided to the Associate General Counsel and the Executive
                   Director of CSA Compliance. A determination will then be made if further
                   investigative steps are required and if the findings should be reported to the
                   appropriate Field Office of the DEA.” 810

            The extensive layering system described above created a regime in which an incoming
            suspicious order would have to be evaluated on four different levels before being
            determined to be “suspicious,” despite the fact that it had been flagged as suspicious by
            Purdue’s Customer Service Representative.


806
   National Accounts further laid out the limitations inherent in Purdue’s earliest version of an Order Monitoring
System in PDD8801146346.
807
  See generally PPLPC004000207529, PPLPC004000207523, PPLPC004000215590, PPLPC004000213649,
PPLPC004000214875, PPLPC004000218107; Deposition testimony of Stephen Seid Vol. 2, 12/13/2018 at 314:20.
808
      PPLPC004000119321.
809
      PPLPC020000057781 at 792.
810
      Id.
                                                        1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 171 of 188. PageID #: 90310
                                                                 CONFIDENTIAL



       6. Purdue’s files contain numerous examples of orders received by National Accounts from
          authorized distributors that were deemed suspicious because they exceeded the size of prior
          orders from the same distributor. These orders were approved, sometimes within minutes,
          without any serious review of the underlying “suspicious” order. 811

       7. SOP 1.14 documents Purdue’s quarterly Fee for Service Credit Process. 812 Purdue had 17
          wholesalers under agreement in 2013. 813 Fee for Service Agreements [FFS] and their
          counterparts, Distribution Service Agreements [DDSA] describe the calculations made by
          Purdue each quarter to provide chargebacks and rebates by Purdue back to each
          wholesaler. 814 The DDSA and/or FFS appear to be separate contracts (with slightly
          different percentages in each) with respect to each authorized Purdue distributor.

       8. Under the terms of the DDSA and/or FFS, Purdue’s distributors were paid to provide
          chargeback data, which is data that specifically traces the sale and distribution of Purdue’s
          product from its authorized distributors to each individual pharmacy, dispenser or other
          outlet. Purdue utilized a third-party software called ValueTrak (previously Edge
          Dynamics) to perform the analytics for the chargeback data. 815816 This chargeback data
          identifies the Purdue product delivered to every retail pharmacy, outlet and/or dispensary
          by Purdue’s authorized distributors. This data provides Purdue with visibility with respect
          to the size, pattern and frequency of most orders delivered to each and every pharmacy or
          other outlet.

       9. SOP 007, which was first instituted in 2009, developed an Order Monitoring System to
          review the above described chargeback data as well as IMS/IQVIA and other prescription,
          pharmacy and prescriber data available to Purdue. 817 The data was collected into the OMS
          database, which had the capacity to accept notes on the pharmacies under investigation by
          the committee. I am informed that information from the OMS database could also be
          generated into a report, and those reports were discussed at OMS committee meetings,
          typically scheduled every quarter, overseen by Purdue’s General Counsel’s Office. 818



811
      Seid deposition at 314:20-318:18 and related exhibits.
812
      PPLPC004000344799.
813
      Id. at 4809.
814
    Purdue’s contractual arrangement with Walgreens was slightly different and styled as an “Inventory Data License
Agreement.” Under the un-signed versions of the agreements that we have, Walgreens would provide to Purdue, as a
licensee, 852 and 867 distribution center data (daily data provided on a weekly basis) as well as store level 852 (data
provided on a daily basis) for a fee. See generally PPLPC004000254710; PPLPC004000320062.
815
      Deposition of Stephen Seid (Fact Deposition), 87:10-88:2; 138:15-139.
816
      See generally deposition testimony of Stephen Seid Vol. 2, 12/13/2018.
817
      PPLPP003430436.
818
      PPLPC041000014663.
                                                               1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 172 of 188. PageID #: 90311
                                                                 CONFIDENTIAL



       10. The OMS SOP 007 included the creation of an OMS Committee overseen by the General
           Counsel’s office at Purdue beginning in 2009 and then moving to Corporate Security’s
           oversight some years later. The OMS committee is currently inactive and suspicious
           monitoring duties are carried out pursuant to three new SOPs CC-SOP-000017, SOP CC-
           SOP-000018 and SOPs CC-SOP 000019 under the supervision of Corporate Ethics and
           Compliance committee, which from 2009 through September 2017 included
           approximately seven members. 819

       11. Pursuant to SOP 007, suspicious orders would by flagged as a result of algorithms applied
           to the chargeback data received from Purdue’s authorized distributors concerning
           approximately 35,000 to 45,000 pharmacies each year, dispensers and other outlets.
           Members of the OMS committee could change the algorithms. 820 At best, pursuant to the
           OMS database, only 1,567 orders were identified for investigation over 8 years. Of those
           investigated, it appears that as of 2012, 365 were reported to DEA. 821 Of the 365, 290 were
           reported in May of 2011 in an attempt to market OxyContin’s new “tamper-resistant”
           formulation. Those 290 pharmacies had actually ordered less OxyContin that the years
           before.

       12. Purdue has no limitation with respect to the amount of time a suspicious order investigation
           can remain open and unreported to DEA. In addition, there is no requirement for any
           investigative material to be in writing. Members of the OMS share what they learn with
           each other and the General Counsel’s office, but there is no requirement that any findings
           be memorialized in writing. 822

       13. Purdue, at least through September 2017, kept no consistent record of suspicious
           pharmacies or other entities referred to DEA as suspicious. Mr. Geraci, Senior VP of
           Compliance and a longstanding member of the OMS testified that the only way such
           referrals could be identified was to undertake a search of email files of individuals tasked
           with reporting duties. 823

       14. Purdue had data available to match suspicious prescribers with suspicious pharmacies but
           failed to refer either the prescribers or the pharmacies to DEA. 824




819
   PPLPC012000378037; Depositions were taken of OMS committee members Stephen Seid, Jack Crowley and
Frank Geraci.
820
      See 30(b)(6) Deposition of Frank Geraci, Apr. 4, 2019, Rough Tr. 179:2-183:20.
821
      PPLPC012000378037
822
      Geraci Rough Tr. 55:16-57:5..
823
      Geraci Rough Tr. 53:12-57:5.
824
      Geraci Rough Tr. 131:3-146:11.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 173 of 188. PageID #: 90312
                                                                 CONFIDENTIAL



        In sum, I conclude that Purdue did not maintain effective controls against diversion, failed
to implement a reasonable SOM program, and failed to take reasonable steps to prevent their
products from being diverted. In addition to my opinions above, it is my opinion that Purdue failed
to keep DEA referral records in an organized and retrievable way making it difficult if not
impossible for Purdue to utilize historical data to identify suspicious pharmacies, pharmacists,
prescribers or other dispensaries. Purdue failed to use consistent algorithms and failed to
investigate the suspicious orders identified by the algorithms. The algorithms Purdue did use were
rigid and did not satisfy DEA requirements to detect and investigate suspicious orders. Purdue
failed to clearly define a time limit for suspicious investigations to continue before DEA referral
and otherwise allowing investigations to continue indefinitely. Purdue failed to adequately utilize
ADD reports 825, ROCs 826, Region Zero lists 827, and other indicia of abuse and diversion. Purdue
failed to maintain an OMS database that could not be overwritten nor keep a record of queries.
Purdue’s most recent OMS SOPs continue to exhibit the same flaws as the previous SOPs.


         E. ENDO

        Based on the documents and testimony I have reviewed, Endo—like the Qualitest and Par
entities that I am informed Endo acquired in 2010 and 2015 828, respectively—did not maintain
effective controls against diversion, failed to implement a reasonable SOM program, and failed to

825
   SOP 1.7.1 (2002, 2015) Abuse and Diversion Detection Program (ADD) “is designed to ensure that interactions
with Prescribers and Pharmacists, that reveal observations or circumstances that suggest potential concerns, generate
appropriate review and follow up.”825 The policy established an internal procedure at Purdue for implementing the
ADD program and it provided specific examples of observations and circumstances that warrant review and follow
up through submission of an ADD Report. This policy also requires the Corporate Compliance Department to audit
and review sales representatives’ call notes to evaluate compliance with this ADD policy.
826
   SOP 000001.0 (ROC) (2005, 2009) concerns the routing of Reports of Concern Regarding PPLP Marketed Opioids
by field personnel at Purdue Pharma and all associated companies.826 The SOP does not apply to adverse events, but
are defined as “an alleged specific occurrence of abuse or diversion of a PPLP Marketed Opioid Analgesic. Any
reports were sent to Drug Safety and Pharmacovigilance Department (DSP) and then DSP forwarded any material
they believe contains a ROC to Risk Management
827
    SOP 65 required that there be a system in place to identify and handle possible cases of abuse and
diversion. Purdue’s Sales Administration Department had access to prescriber information through IMS/IQVIA. Per
SOP 65, on a monthly basis, a list of the top 200 prescribers of selected products was to be generated for review,
including a report of the outliers. The top 200 were selected based on the total number of prescriptions written in the
previous 12 months. The General Counsel’s office would then decide what, if any, further action would be taken. A
sample list was attached to this SOP (with attachments A-F). Attachment A stated that doctors who can continue to
be called on are printed in RED and doctors that cannot be called on nor can representatives receive commission are
in BLUE and known as REGION ZERO.
828
   Endo's acquisition of Qualitest (Endo Press Release, 9/28/2010. “Endo Pharmaceuticals Announces Agreement to
Acquire Qualitest Pharmaceuticals for $1.2 Billion.” Accessible at http://investor.endo.com/news-releases/news-
release-details/endo-pharmaceuticals-announces-agreement-acquire-qualitest; P. Campanelli Tr. 30:21-31:4) and Par
(Endo Press Release, 9/28/2015. “Endo Completes Acquisition of Par Pharmaceutical and Provides Financial
Guidance.” Accessible at http://investor.endo.com/news-releases/news-release-details/endo-completes-acquisition-
par-pharmaceutical-and-provides; P. Campanelli Tr. 31:13-15).

                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 174 of 188. PageID #: 90313
                                                                 CONFIDENTIAL



take reasonable steps to prevent its products from being diverted. This conclusion is borne out by
the documentary and testimonial evidence in this case, as further detailed below:


       1. I am informed that Defendants Endo Pharmaceuticals, Inc. (together with Endo Health
          Solutions, Inc, “Endo”) and Par Pharmaceutical, Inc. (together with Par Pharmaceutical
          Companies, Inc. f/k/a Par Pharmaceuticals Holdings Inc., “Par”) develop, manufacture,
          market, distribute, and/or sell prescription opioid products. 829 Endo affiliate Qualitest
          manufactured opioids both before and after Endo acquired it in 2010. Par also
          manufactured opioids before and after it was acquired by Endo in 2015. In 2015,
          Qualitest’s operations were combined with Par. Endo now sells branded products, while
          Par sells generics and/or non-promoted products. 830

       2. Although Endo is not a DEA registrant, in connection with its interactions with both
          DEA and FDA, it has represented that it would monitor orders and distribution of opioid
          products for signs of diversion, including suspicious orders. 831 The witness designated
          by Endo to provide testimony on behalf of Endo on SOM issues affirmed that Endo
          understood that it had a responsibility to maintain effective controls against diversion for
          orders of its opioid products. 832

       3. At all times, Endo’s internal order review system was carried out by employees in
          commercial/customer service departments, not by compliance staff that were
          independent from the sale of the product. 833

829
    Endo Press Release, 6/23/2006. “Endo Press Release, “Endo Receives FDA Approval for Opana ER (oxymorphone
HCl) Extended-Release and Opana (oxymorphone HCl) Immediate Release Tablets CII.” Accessible
at: http://investor.endo.com/news-releases/news-release-details/endo-receives-fda-approval-opanar-er-
oxymorphone-hcl-extended) [Charachterizes the Opana NDA as “internally developed”]; S. Macrides Tr. 40:6-
41:8; ENDO-OPIOID_MDL-04927196 generally; ENDO-CHI_LIT-00547005 generally; S. Macrides Tr. 40:6-22; S.
Macrides Tr. 40:6-22.
830
      Depo. of P. Campanelli, 32:8-18; Depo. of Macrides, 81:1-17; 81:23-82:12, 16-17.
831
    Endo met with the DEA to brief the agency on Endo’s risk management plan to prevent diversion of oxycodone
ER. See 2003.9.30 DEA ENDO Meeting ENDO- OPIOID_MDL-00451334. This was following the announcement
of the DEA’s action plan to prevent diversion and abuse of OxyContin (which also mentioned a long history of abuse
of Endo’s Percocet and Percodan oxycodone combination products). 2003.7.14 DEA Action Plan to Prevent
Diversion, ENDO-OPIOID_MDL-01692317. Endo assured the DEA Endo would “monitor for signals of diversion”
of generic OxyContin, and noted that, although Endo could not “predict what that signal will look like,” Endo was
“committed to working with the DEA and law enforcement agencies as appropriate” ENDO DEA Meeting Minutes,
p.2 ENDO-OPIOID, MDL-01706007. Endo made similar representations to FDA in a “RiskMAP” put in place in
connection with Endo’s launch of Opana ER in 2006. ENDO-CHI_LIT-00234542. The RiskMAP represented that
“[a]s for all of Endo’s controlled substance products, the manufacturing and distribution chain is highly controlled
and closely monitored,” including “order management practices” that allegedly “monitored [order data] frequently
to look for unusual changes in deliveries to customers.” Id. at § 3.4 and Appendices 2 & 3.
832
      S. Macrides Tr. 94:5-21
833
      L. Walker Tr. 53:1-54:10; ENDO-CHI_LIT-00234542.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 175 of 188. PageID #: 90314
                                                                 CONFIDENTIAL




       4. Until at least 2014, Endo never conducted any due diligence with respect to the
          customers to which it was selling its opioids beyond confirming the customer held a
          DEA registration. 834 In testimony, Endo asserted that it relied on due diligence and site
          visits conducted by Qualitest/Par, but testimony from representatives of Qualitest’s head
          of DEA compliance from 2011 through 2014 indicates that Qualitest had no responsibility
          for Endo’s SOM process or associated due diligence. 835

       5. Until at least 2013, Endo’s internal order review system was a “limited” system using
          a rudimentary algorithm that did not monitor for orders of unusual quantity, size, or
          frequency. 836 The process was designed only to identify “excessive” orders from a
          commercial perspective, rather than suspicious orders based on unusual volume,
          frequency or pattern. Specifically, in 2013, Ms. Walker stated:

            In Endo’s SAP system, we have a limited SOM Program that looks at our buying
            (wholesalers) customers’ 3 month and 12 month history and if any order is above
            the 3 or 12 month it goes on hold until it is reviewed by Customer Service. 837

           Beginning in 2014, Endo expanded its algorithm for identifying suspicious orders to
           include three order characteristics—quantity, size, and frequency—by class of customer
           trade. 838 However, despite tens of thousands of order line items for controlled substances
           having been flagged under this and predecessor order systems, no suspicious orders were
           ever reported to DEA by Endo or UPS for Endo products at any point in time. S. Macrides
           Tr. 103:19-109:5; L. Walker Tr. 67:4-68:7.

       6. Endo never examined chargeback data as part of its internal order review process for

834
   Prior to 2014, Endo conducted no due diligence on its customers or customers’ customers. Walker Tr., 633:18-
635:21. In 2014, Endo was aware of a duty to perform such due diligence. ENDO-OPIOID_MDL-05968962. Endo
inquired whether UPS (Endo’s third party order fulfiller) could carry out this due diligence on its behalf.
PAR_OPIOID_MDL_0000369517. But UPS made clear that it could not carry out Endo’s “know your customer”
duties. PAR_OPIOID_MDL_0000369517. Additionally, UPS noted in its own November 2009 SOM Summary
that due to UPS’s lack of a direct contact with its clients’ (like Endo) customers, UPS is unable to conduct routine
customer questionnaires, on-site visits, or ensure legitimate use of controlled substance products. UPSSCS0007432.
Endo’s corporate designee confirmed that the “know your customer” obligation was an Endo obligation. S.
Macrides Tr. 544:14-545:14.
835
      T. Norton Tr. 346:13-18.
836
      EPI000620553
837
      Id. at EPI000620553
838
    ENDO-OPIOID_MDL-05969985; It does not appear that Endo ever had any SOM-specific SOPs. L. Walker Tr.
300:23 – 309:24. Ms. Walker did identify a 2015 SOM Program Summary (ENDO-OPIOID_MDL-059482), but that
document does not contain any “Standard Operating Procedure.” Notably, a master list of Endo’s company-wide
SOPs did not contain any SOM SOPs or DEA Compliance procedures, at least as of 2012. ENDO-OPIOID_MDL-
05950068.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 176 of 188. PageID #: 90315
                                                                 CONFIDENTIAL



           its branded opioids. As of December 2018, Endo’s order review system did not
           utilize chargeback or IMS/IQVIA data, and relied on Qualitest and later Par to
           perform site visits and due diligence. 839 However, the former head of DEA
           compliance for Qualitest, Tracy Norton, testified that her group had no responsibility
           for Endo’s branded business. 840 Ms. Walker also testified that Endo never conducted
           site visits of its customers or its customers’ customers. 841

       7. Endo’s internal order review system never resulted in any order of an Endo opioid being
          reported to the DEA and Endo never blocked shipment of any opioid order based on its
          internal reviews, despite orders being flagged for review by Endo’s systems. 842

       8. An August 2008 audit by a DEA consultant found that Qualitest’s system for reporting
          suspicious orders to DEA needed improvement to comply with regulatory
          requirements—particularly with respect to information needed for decisions about
          whether or not to ship an order. 843 Additionally, from 2008-2015, Qualitest was the
          subject of several DEA investigations, letters of admonition, civil penalties, and
          enforcement actions. 844 Among other things, the DEA found Qualitest records could

839
      L. Walker Tr. 190:1-190:13, 164:9-174:17.
840
      T. Norton Tr. 343:18-346:18.
841
      L. Walker Tr. 635:1-9.
842
   In the fall of 2013, Endo and Qualitest audited the UPS SCS SOM program. PAR_OPIOID_MDL_0000404095;
L. Walker Tr. 586:15-590:4. Among other things, the internal audit found that, as of February 2013, UPS SCS had
not reported any Endo/Qualitest product orders as “suspicious orders” to any agency, did not visit customers, lacked
the functionality to visit or know customers’ customers, and did not utilize chargeback data, trending analyses, or
modify its program based on current diversion trends.                          PAR_OPIOID_MDL_0000404285;
PAR_OPIOID_MDL_0000404095 (noting “items identified as concerns during the audit are classified below as E/Q
or UPS”) (emphasis added); see also PAR_OPIOID_MDL_0000376972, p. 9 (“gaps identified” in UPS SCS
program).         See also UPS DEA Non-Prosecution Agreement, Mar. 29, 2013, available
athttps://www.justice.gov/sites/default/files/usao-ndca/legacy/2013/03/29/UPS.%20signedNPA.pdf
843
      PAR_OPIOID_MDL_0000076010.
844
    DEA Enforcement Actions Include: 1) Sept. 25, 2008 DEA Investigation of SOM Handling & Procedures
PAR_OPIOID_MDL_0000399716; 2) Sept. 24, 2010 DEA Letter of Admonition for Generics Bidco Violations with
Sept. 30, 2010 QT Response to DEA Letter of Admonition PAR_OPIOID_MDL_0001615738; 3) Sept. 27, 2010 DEA
Notice of Intent to Serve Civil Penalties for Violations of the Controlled Substances Act
PAR_OPIOID_MDL_0002102288; 4) Feb. 15 2011 QT MOA with Alabama US Attorney & $15,000 Fine
PAR_OPIOID_MDL_0002102288 (failed to maintain complete and accurate records and inventories of controlled
substances imported and/or received in violation of federal statute and regulations); 5) Nov. 2011 DEA Charlotte
Inspection PAR_OPIOID_MDL_0000390035 (DEA discussed SOMS requirements at length and the initial inspection
that led to Mar. 2013 SOMS meeting); 6) July 10, 2012 QT DEA Deficiency Letter (for failure to maintain adequate
security and storage of controlled substances or keep accurate accountability) and Aug. 10, 2012 QT Response to
Deficiency Letter ENDO-OPIOID_MDL-02827463 ; 7) Nov. 27, 2012 DEA Quota Meeting
PAR_OPIOID_MDL_0000369261; 8) Mar. 6, 2013 DEA QT SOM Meeting PAR_OPIOID_MDL_0001647888
(internal DEA Meeting Minutes found QT had Inadequate SOMS); 9) Oct. 17, 2013 Follow-Up DEA Meeting for
Briefing on Compliance Efforts/Changes re SOMS ENDO-OPIOID_MDL-01448683; 10) Sept. 30, 2014 Qualitest
DEA Notice of Intent to Serve Civil Penalties for CSA Violations PAR_OPIOID_MDL_0001059825 ( relating to
inaccurate recordkeeping & egregious inventory discrepancies) and Dec. 31, 2014 QT Settlement Discussion
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 177 of 188. PageID #: 90316
                                                                 CONFIDENTIAL



          not account for, and had deviations of, at least 9 million pills for the period of
          December 31, 2012 through July 14, 2014. 845

       9. As late as March 2013, Qualitest’s SOM process had multiple deficiencies, including:

               i. Qualitest applied SOM only to “retail” customers; 846
              ii. Orders were only on the basis of “historical purchases by an individual customer
                  (thresholds),” 847 and not by size pattern or frequency as required by 21 CFR
                  1301.74; 848;
             iii. Qualitest did not evaluate chargeback data for SOM 849;

             iv. Qualitest did not conduct rigorous due diligence of its customers or customers’
                 customers; 850 851

              v. Qualitest’s site visits and due diligence were carried out by sales
                 personnel, not compliance staff. 852

       10. At least as late as June 2009, Qualitest personnel “cut” orders down in size and just
           increased the number of orders, so that each smaller order would clear Qualitest’s SOM
           “thresholds,” without reporting the size of the original single order to the DEA as


Response. PAR_OPIOID_MDL_0002108008 (noted new SOPs and SAP system they were implementing to fix issues
DEA identified in their inventory & record keeping of controlled substances); 11) Feb. 18, 2015 QT MOA with
Alabama US Attorney & $300,000 Penalty PAR_OPIOID_MDL_0002102254; 12) Sept. 10, 2015 DEA Letter of
Admonition for Manuf. QT/Vintage Pharmaceuticals CSA Violations ENDO-OPIOID_MDL-02879035 and Sept. 29,
2015 QT Response to DEA Letter of AdmonitionENDO-OPIOID_MDL-02879037.
845
      PAR_OPIOID_MDL_0001059825.
846
      PAR_OPIOID_MDL_0000363469
847
      PAR_OPIOID_MDL_0001647888
848
  PAR_OPIOID_MDL_0001647888; PAR_OPIOID_MDL_0000373333; PAR_OPIOID_MDL_0000018920; T.
Norton Tr. 301:11-302:2
849
      PAR_OPIOID_MDL_0001647888; T. Norton Tr. 71:12-73:5
850
    PAR_OPIOID_MDL_0001647888 (During the meeting with FDA Norton stated that Qualitest did not conduct
“routine” visits to customers or customers’ customers); T. Norton Tr. 232:1-13 (Norton was “unaware” of any due
diligence files created as a result of customer visits prior to 2013)
851
   In October 2013, Qualitest wrote to its customers explaining that Qualitest was changing its SOM process to include
confirmation that customers had suspicious order monitoring practices in place to ensure legitimate use of their
products. In its letter, Qualitest acknowledged it had a duty to conduct its business as a “responsible corporate citizen”
and, therefore, “to do as much as we can to prevent drug abuse and diversion in our communities.do everything
possible to prevent diversion, and that the failure to have “adequate controls in place to discourage and prevent the
diversion of prescription products” can lead to prescription opioids leaving “legitimate channels,” with “heart-
wrenching consequences” for the community. ABDCMDL00337067.
852
      PAR_OPIOID_MDL_0001647888
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 178 of 188. PageID #: 90317
                                                                 CONFIDENTIAL



          suspicious. 853

       11. The due diligence process Qualitest implemented in late 2013 was not applied
           conscientiously or consistently. For example, large “Tier 1” customers’ orders could not
           be reported or stopped as suspicious through the process that applied to other customers,
           but were instead routed to the Chief Operating Officer.

       12. Qualitest’s implementation of its new standards was not robust, and overlooked diversion
           risks for its biggest customers. For example, even when proper policies were lacking and
           raised concerns, Qualitest continued to seek ways to work with the customer, rather than
           terminating the relationship. 854 It was only when Qualitest began looking at chargeback
           data that Qualitest found problematic secondary customers and actually reported them to
           DEA. Likewise, Qualitest did not report or cease distribution for any of its biggest
           customers or their customers. Par’s 3/4/19 Response to Plaintiffs’ Interrogatory No. 32.
           Indeed, Qualitest’s SOM Advisory Board, established to determine appropriate action on
           SOM issues, did not have the authority to terminate “Tier 1” customers, i.e. a customer
           with a minimum of ten million dollars in overall sales and/or 750,000 dosage units of
           controlled substances or List 1 chemical purchases annually; such action was left to the
           discretion of the Chief Operating Officer. 855

       13. At least as early as 2010, Par was selling opioid products, 856 but, according to an
           outside audit, had no SOM program. 857

       After Endo acquired Par in 2015, internal documents confirmed that Par’s order review
process still had major deficiencies, including: SOM decisions made by sales or customers

853
    Specifically, the 2009 Qualitest SOM audit review found: “The review of Order Release Requests showed that
many requests were made for quantities of drugs that were several times greater than the current limit set in the order
monitoring system. In most of those instances, the size of the order was cut down and the order was approved to be
released, with some increase to the limit in the Order Monitoring System. Although the original order requested a
quantity of controlled substances that was larger than QT was willing to ship to the customer, no report of a suspicious
order was sent to the DEA as required by 21 CFR 1301.74(b). Each Order Release Request that is rejected or modified
by QT should be sent to DEA as a suspicious order. Sending these orders to DEA will document to DEA that QT is
monitoring the orders on a continuing basis and is monitoring controlled substance orders in a reasonable manner.”
Id. at PAR_OPIOID_MDL_0000398177. See also . PAR_OPIOID_MDL_0000398174.
854
   E.g., PAR_OPIOID_MDL_0000020898 (March 19, 2014 report by Qualitest Manager, Customer Due Diligence
& SOM expressing “concern with the current program” used by Preferred Pharmaceuticals);
ENDO_HSGAC_0010368 (October 2014 emails concerning ongoing communications between Qualitest and
Preferred Pharmaceuticals concerning Preferred Pharmaceuticals’ very informal SOM program).
855
      PAR_OPIOID_MDL_0001642692.
856
   See Par 3/4/2019 Response to Plaintiffs’ Interrogatory No. 33, Exhibit A (reflecting sales, for example, of
Chlorphen/Hydrocodone (in 2010), Morphine Sulfate ER (beginning in 2012), and Oxycodone (beginning in 2014).
857
  Review of Par’s DEA compliance found “There is no Suspicious Order Monitoring program in place.”
PAR_OPIOID_MDL_0001053153.
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 179 of 188. PageID #: 90318
                                                                 CONFIDENTIAL



service rather than regulatory employees, no customer due diligence other than confirming a
DEA license, no reliable review for size, pattern or frequency and an SOP that only required
reporting “criminal” activities to the DEA, which “misse[d] the point of the regulations,”
which is that, “suspicious orders should be reported as soon as they are identified.” 858
Furthermore, there were no SOMS staff and the SOMS function was limited to a manual
review conducted by sales personnel, which was “viewed as a conflict of interest by the
DEA,” 859 After the Par-Endo merger, the former elements of the QT DEA compliance unit
took responsibility for SOMS for both businesses. 860
        In sum, I conclude that Endo, Qualitest, and Par did not maintain effective controls against
diversion, failed to implement a reasonable SOM program, and failed to take reasonable steps to
prevent their products from being diverted. Endo employed a rigid “excessive orders” system
operated by sales and commercial personnel, never looked to available data on its customers’
customers, and failed to conduct any meaningful due diligence of its customers. Until at least
the spring of 2013, Qualitest applied SOM review only to “retail” customers, used a rigid formula
that did not examine orders for unusual size, frequency, or pattern or account for class of trade,
ignored available data on its customers’ customers, and failed to conduct any meaningful due
diligence. After the spring of 2013, Qualitest’s SOM program lacked real rigor, independence,
and consistency. Par had no effective, independent SOM program prior to 2015 and, thereafter,
operated under the deficient program Qualitest used. None of these entities employed an SOM or
order review program that was an effective control against diversion.


            F. TEVA

       I am informed that Teva Pharmaceuticals Industries, Ltd. (“Teva Ltd.”) sells and distributes
name-brand and generic opioid pharmaceutical products through the following United States
subsidiaries: 861
            •   Teva Pharmaceuticals USA, Inc. (“Teva USA”), which sold and continues to sell
                generic opioids pharmaceutical products at least since 2006. 862




858
      PAR_OPIOID_MDL_0001596366
859
      PAR_OPIOID_MDL_0001024034.
860
      Id.
861
   Depo. of Hassler, 34:11-43:19, Exhibit 4.
862
    I am informed Teva is the ANDA holder for generic Vicoprofen (hydrocodone bitartrate and Ibuprofen tablets;
ANDA 076023) which was approved by the FDA on April 11, 2003. Additionally, I am informed Teva acquired Barr
Pharmaceuticals in 2008, and Barr was the ANDA holder for generic Demerol Tablets (meperidine hydrochloride
tablets; ANDA 088639), which was approved by the FDA on July 2, 1984. Moreover, Barr received a license from
Cephalon to sell generic Actiq, which became effective September 5, 2006. (see Cephalon, Inc. v. Barr Labs., Inc.,
389 F.Supp.2d 602 (2005)) Therefore, it appears Teva and its predecessor entities may have sold generic opioids prior
to 2006. See also, Depo. of Hassler, 217:17-218:6.
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 180 of 188. PageID #: 90319
                                                                 CONFIDENTIAL



         •   Cephalon Inc. (“Cephalon”), which Teva Ltd. acquired in 2011, and which sold and
             continues to sell Actiq and Fentora, two name-brand Transmucosal Immediate-Release
             Fentanyl products approved by the FDA in 1998 and 2006 respectively. 863
         •   Watson Laboratories, Inc., Actavis, LLC, and Actavis Pharma, Inc. (f/k/a Watson
             Pharma, Inc.) (“Actavis Generic entities”), which Teva Ltd. acquired from Allergan plc
             in 2016 as part of its acquisition of Allergan’s global generic pharmaceutical business
             for $40.5 billion, and which sold and continues to sell generic opioids. 864

       I am further informed Teva USA and Cephalon ran a combined SOM program after
Cephalon’s acquisition in 2011, and I am informed that both entities operated as a single unit with
regard to the marketing, sale and distribution of Cephalon’s name-brand opioid products. After
Teva Ltd. acquired the Actavis Generic entities in 2016, those entities were folded into the Teva
USA SOM program.
    Based on the evidence I have reviewed in this case, Teva did not maintain effective controls
against diversion via an adequate SOM program and failed to take reasonable steps to prevent its
products from being diverted. This conclusion is based on the following facts, as established by
the evidence in this case and as elaborated on in more detail throughout this section:

      1. The only written standard operating procedure identified by Teva that in any way concerns
         suspicious order monitoring is SOP-0013489 (“Order Management”), which was approved
         for Cephalon on June 1, 2009 prior to its acquisition by Teva. Under those procedures,
         orders by customers that are not pre-authorized by Cephalon were investigated as
         potentially suspicious and investigated by the Logistics Manager or designee and the order
         is reported to the DEA if follow up suggested it is suspicious. Unauthorized customers that
         wished to proceed with their orders were required to open new accounts. 865

      2. In 2012, Teva hired Ronald Buzzeo and Cegedim Relationship Management to perform an
         onsite review and assessment of Teva’s then current SOM system at Teva’s North Wales,
         Pennsylvania site. 866

      3. On September 25, 2012, Buzzeo and Cegedim submitted their report 867 to Teva’s Director
         of DEA Compliance, Colleen McGinn.

      4. The Buzzeo report noted Teva had a “rudimentary” SOM system with a process for
         opening new accounts and pended orders using a program known as “SORDS (Suspicious

863
   Depo. of Marchione, 23:16-22; 68:17-69:12; Ex. 5; Ex. 32.
864
   Watson Pharmaceuticals acquired Actavis Group in 2012, and changed its name to Actavis plc. In 2016, Allergan
plc completely shed its generic drug business and sold the Actavis Generic entities and its other generic assets to Teva
Ltd. for $40.5 billion. See also Depo. of Hassler, 34:11-43:19; Ex. 4; 56:11-58:9; 59:10-63:20; Ex. 5.
865
    Depo. of Hassler, 72:11-76:21; Ex. 7.
866
    Depo. of McGinn, 236:15-237:23; 243:12-266:1; Ex. 15.
867
    MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).
                                                           1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 181 of 188. PageID #: 90320
                                                                 CONFIDENTIAL



           ORDerS), which the report concluded “is not sufficiently sensitive to customer ordering
           practices to result in any meaningful analysis of customer order practices.” 868

       5. The Buzzeo report further noted Teva had never identified a suspicious order or reported a
          suspicious order to the DEA, and had “no program to review ‘downstream distribution’ of
          Teva products, and there were “no formal Standard Operating Procedures or official
          guidelines ….” 869

       6. The Buzzeo report 870 made a number of further findings and recommendations including
          the following:

                  a. Teva’s current due diligence on new and existing customers was inadequate.
                     The report recommended expanding the amount of initial due diligence for
                     existing and potential customers to include at a minimum further initial client
                     screening including a questionnaire, an on-site visit and internet research on the
                     customer.
                  b. Teva’s SORDS system was inadequate to properly evaluate for suspicious
                     orders. That system “rel[ied] heavily upon the use of standard deviations for
                     identifying orders that [were] possibly suspicious.” Under this system, any
                     order that was in excess of three standard deviations above the mean was
                     “pended” for further investigation, which the report noted only identified three
                     out of 1000 orders and failed to identify orders of unusual frequency or pattern.
                     The empirical rule is that a system using three standard deviations would
                     identify only 0.3% of orders as requiring further investigating. The report
                     recommended immediate changes to SORDS including reducing the limit from
                     three to two standard deviations, as well as certain long-term solutions to
                     improve their monitoring system.
                  c. Teva’s investigation of “pended” orders was not well-documented. The report
                     recommended a process for Teva to investigate and document its investigation
                     and to access information in the course of such investigation.
                  d. Teva did not have standard operating procedures or official guidelines for the
                     operation of an SOM program, and the procedures followed did not have
                     sufficient depth for opening new accounts and reviewing pended orders. The
                     report recommended developing such written procedures and guidelines.
                  e. Additional recommendations included developing, incorporating and using
                     information “regarding what their wholesaler/distributor customers sell further
                     ‘downstream;’” putting in place SOM programs for Teva’s manufacturing sites;
                     and addressing state regulations.



868
      MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).
869
      MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).
870
      MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 182 of 188. PageID #: 90321
                                                                 CONFIDENTIAL



       7. After the report was submitted, Teva decided to develop and operate a new SOM system
          internally rather than retain outside third parties to assist in this process. Teva first hired
          Kevin Kreutzer from AmerisourceBergen in January 2013 to design, develop and operate
          the Teva SOM program. Mr. Kreutzer was terminated by Teva after two and a half months
          on the job. Prior to that time, Teva never had an individual who was specifically assigned
          to manage the suspicious order monitoring program. 871 Teva next hired Joseph
          Tomkiewicz from AmerisourceBergen in January 2014 to design, develop and operate the
          Teva SOM program. Mr. Tomkiewicz was a corporate investigator for AmerisourceBergen
          from 2008 to 2012, performing new customer due diligence and suspicious order review,
          and was its Diversion Program Manager in 2013 before leaving for Teva. 872

       8. Tomkiewicz ultimately designed a SOM program which he coined “DefOps,” which
          means “Defensible Operations,” which Tomkiewicz testifed was named that way because
          it was intended to be a system defensible if there was an audit by state pharmacy
          organizations or the DEA. 873 The first version of the DefOps system was not put in place
          until March 1, 2015 to replace the SORDS system. 874

       9. The written SOPs for the system were drafted and approved internally by Teva in August
          2014, nearly two years after the Buzzeo/Cegedim report recommended Teva have written
          SOM procedures in place. 875 The initial SOM SOPs and later revisions are as follows: 876


 SOP                            SOP Name                              SOP                   BATES
  No.                                                                 Date
 8279       SOM – Customer Due Diligence                           8/1/2014      TEVA MDL A 02660924
 8280       SOM – Customer Site Visits                             8/1/2014      TEVA MDL A 02660932
 8277       SOM – DEA Order Holds                                  8/1/2014      TEVA MDL A 02660892
 8278       SOM – Do Not Ship List                                 8/1/2014      TEVA_MDL_A_01061094
 8489       SOM – DEA Order Holds – Locations Other                10/1/2015     TEVA_MDL_A_03160173
            Than New Britain, PA, and North Wales, PA
 8277       SOM – DEA Order Holds                                  6/18/2018     TEVA MDL A 01158453
 8278       SOM – Do Not Ship List                                 6/18/2018     TEVA MDL A 01158463
 8279       SOM – Customer Due Diligence                           6/18/2018     TEVA_MDL_A_01158470
 8280       SOM - Customer Site Visits                             6/18/2018     TEVA MDL A 01158479

871
      12/14/18 McGinn Depo., pp. 289-90.
872
  Depo. of McGinn, 289:18-299:4; 300:8-319:5; 320:11-21; 322:17-24; 323:11-18; Ex. `2; Ex. 19; Ex. 20.;
Tomkiewicz Dep. p. 139:19-140:4; 141:11-142:7; 142:24-143:11; 144:4-6; 217:10-218:16.
873
      11/28/18 Tomkiewicz Depo., pp. 267-77 (DefOps System); pp. 319-29 (2015 internal audit findings).
874
      11/28/18 Tomkiewicz Depo., p. 266.
875
      11/28/18 Tomkiewicz Depo., p. 243; see also 11/16/18 Hassler Depo., Exh. 7 (SOM SOP Chart).
876
  11/28/18 Tomkiewicz Depo., pp. 244 and 358-58; 11/16/18 Hassler Depo, pp. 72-78 and Exh. 7 (SOM Chart);
MDL_A_01060005 (9/25/12 Buzzeo/Cegedim Report).
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 183 of 188. PageID #: 90322
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 184 of 188. PageID #: 90323
                                                                 CONFIDENTIAL



        without sufficient documentation of a basis to dispel that suspicion. The documents and
        deposition testimony by Teva’s SOM manager, Mr. Tomkiewicz, reflect Teva’s DEA
        Compliance Department identified a potentially suspicious order by Publix Supermarkets
        for its in-store pharmacies made through Anda, Inc., one of Teva’s wholesaler customers.
        Per Teva’s procedures, Mr. Tomkiewicz requested that the Teva Sales Department obtain
        further information about their top 10 stores by oxycodone tablet volume; a breakdown by
        SKU number of their ER and IR volume; and a list of the top 5 prescribers for each of the
        10 locations. Mr. Tomkiewicz identified a number of red flags with regard to the order
        including with regard to their Florida location, sales volume, and emphasis on the higher
        doses. 884 Upon receipt of further information and upon further investigation and analysis,
        Mr. Tomkiewicz found that 9 of the 10 pharmacies had ordered between 25.4% to 58.6%
        of the highest strength IR oxycodone dose (30 mg), and for 8 of those 9 the 30 mg was the
        largest percentage of sales. 885 In contrast, for the remaining pharmacy (which was near a
        cancer center) the lowest dose (5 mg) was the largest percentage of sales (42.3%) and the
        highest 30 mg dose sales was only 5%. 886 Mr. Tomkiewicz’s investigation and analysis of
        the top 5 prescriber information showed substantial pill mill activity associated with a
        number of those prescribers. 887 In the course of Mr. Tomkiewicz’s investigation, Teva’s
        Vice President for Commercial Operations, Christine Baeder, Teva’s Director of National
        Accounts, Jocelyn Baker, and Teva’s Senior Director for Trade Customer Service, exerted
        substantial pressure on the DEA Compliance Department and on Mr. Tomkowicz
        personally to release the full order to Publix and not to report the order to the DEA. 888 The
        Teva Sales Department took the view that the dispensing data was “good enough for them,”
        and that “Publix has 0.8% overall market share and we (Teva) are trying to capture generic
        oxycodone market share.” 889 Teva ultimately shipped the Publix order and did not report
        it to the DEA. 890 Teva should have reported the Publix order to the DEA and should not

884
   11/28/18 Tomkiewicz Depo., pp. 417-21 and Exh. 17 thereto. The “serious red flags” identified by Tomkiewicz in
his October 16, 2015 (Exh. 17) included the following:
        “1.      This is a high strength oxycodone ultimately going to Florida, a well established hot spot for
                 oxycodone abuse in the U.S.
        2.       The total quantities in the Publix forecast put them significantly above their peers as far as size and
                 class of trade are concerned.
        3.       The breakdown by strength with an emphasis on 40 mg does not appear to be normal for a retail
                 pharmacy.”
885
        11/28/18 Tomkiewicz Depo., pp. 440-45 and Exh. 22 thereto (pp. 1-2).
886
        11/28/18 Tomkiewicz Depo., pp. 442-43 and Exh. 22 thereto.
887
        11/28/18 Tomkiewicz Depo., pp. 445-51 and Exh. 22 thereto (pp. 1-2).
888
         11/28/18 Tomkiewicz Depo., pp. 408-59 and Exhs. 17 to 22; see also example of customer service
involvement in Exh. 23 (customer service representative releasing order). In addition, Teva’s first SOM Manager,
Kevin Kreutzer, testified he was terminated because he had contacted a downstream customer during an SOM
investigation. (11/27/18 Kreutzer Depo., pp. 269-270.)
889
        11/28/18 Tomkiewicz Depo., pp. 440-45 and Exh. 21 thereto
890
        11/28/18 Tomkiewicz Depo., pp. 408-10.
                                                          1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 185 of 188. PageID #: 90324
                                                                 CONFIDENTIAL



           have shipped the order. There is no written record of any steps that were taken by Publix
           or any follow up by Teva after the order was shipped to ensure Teva’s oxycodone was not
           diverted for inappropriate uses.

       14. Teva Ltd., which I am informed is Teva’s parent company in Israel, audited Teva’s DEA
           compliance department in 2015 and prepared a report critical of the department and the
           SOM program. 891 The report stated that Teva investigated 10,000 line orders per month of
           Schedule II products; of these 10,000 orders, 95% were automatically released. Only 5%
           of the orders were placed on hold to be manually checked. 892 The report found the DEA
           Department was in “non-compliance with DEA requirements” and was at “High Risk” of
           DEA regulatory action, and the SOM program was at “Moderate Risk” for such action. 893
           For the SOM program, the report focused primarily on the fact that suspicious orders were
           cleared through the decisions of a single person, which exposed the system to the risk of
           mistaken releases. 894 Ultimately, the recommendation was not implemented. 895

       15. I am informed that Teva’s 2018 SOM SOPs remain in effect, and apply to all Teva Ltd.
           U.S. subsidiaries, including Teva USA, Cephalon and the acquired Actavis Entities. The
           2018 written standard operating procedures are essentially the same as the initial SOM
           procedures that were approved by Teva in 2014. 896

       16. Teva’s current DEA Compliance Senior Director affirmed the following at her deposition:
              o At all times Teva sold and distributed opioid products, Teva had a duty to have a
                  suspicious order monitoring program in place. 897
              o Teva has a duty to investigate if they find suspicious opioid orders from their
                  customers. 898
              o If Teva does not have a suspicious order monitoring system or fails to have one that
                  is effective in identifying suspicious orders then they have breached their duty and
                  responsibility according to DEA regulations. 899
              o If Teva fails to investigate potentially suspicious orders then they have breached
                  their duty. 900

891
      11/28/18 Tomkiewicz Depo., Exh. 14 (2015 Internal Audit Report), [TEVA_MDL_A_02475564].
892
      11/28/18 Tomkiewicz Depo., pp. 319-29 (calculations re: orders flagged, investigated, and released).
893
      TEV_A_MDL_A_02475564 (2015 Internal Audit, pp. 12, 18 and 22 of PDF).
894
      TEV_A_MDL_A_02475564 (2015 Internal Audit, pp. 18 and 22 of PDF).
895
      11/28/18 Tomkiewicz Depo. pp. 329-35.
896
    Hassler Dep. p. 72:11-76:21, Exh. 7; Tomkiewicz Dep. p. 220:20-221:20; 227:9-228:7; 231:10-13; 241:12-244:3;
244:5-246:9; 285:22-287:6; 301:7-12; 358:10-359:8; McGinn Dep. p. 323:1-10.
897
      12/14/18 McGinn Depo., p. 125.
898
      12/14/18 McGinn Depo., p. 128.
899
      12/14/18 McGinn Depo., p. 129.
900
      12/14/18 McGinn Depo., p. 131.
                                                            1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 186 of 188. PageID #: 90325
                                                                 CONFIDENTIAL



               o If Teva did not follow the DEA regulations and have effective systems in place to
                 prevent diversion, then they contributed to the opioid epidemic. 901

       17. I have not seen any suspicious orders were reported by Teva to the DEA prior to 2013, and
           from 2013 to 2018 the following numbers of suspicious orders were reported to the DEA
           by Teva: 902

           2013: 1
           2014: 1
           2015: 5
           2016: 0
           2017: 5
           2018: 16
        Without restating every finding laid out above, I conclude Teva’s SORDs system in place
until 2015 was inadequate for multiple reasons, including the reasons stated in the
Buzzeo/Cegedim report. Teva also took nearly two years after the Buzzeo report (August 2014) to
approve written procedures, and two and one-half years after that report (March 2015) to institute
a new SOM system. Teva also did not implement the use of chargeback or 867 data to identify
suspicious orders by downstream customers until 2015 and 2017 respectively. Teva also designed
an in-house SOM program I am informed without overview, assistance or review from outside
consultants, but rather relied primarily on a single individual, Joseph Tomkiewicz, for the design
and implementation of the program. 903 Teva’s SOM program also relies on and involves
substantially the Teva sales department, which has clear financial conflicts, in its SOM
investigation and system, and does not provide adequate separation of its SOM employees from
the sales department in their investigation and decision-making with regard to decisions to suspend
and report suspicious orders. Teva only identified 28 suspicious order reports to the DEA in its
responses to interrogatories after the Buzzeo/Cegedim Report, mostly for smaller distributors and
many of which consisted of multiple reports for the same distributors.




901
      12/14/18 McGinn Depo., p. 135.
902
         See 1/7/19 Responses and Objections of Defendants Cephalon, Inc., Teva Pharmaceuticals USA, Inc., Teva
Pharmaceutical Industries Ltd., Actavis LLC, Actavis Pharma, Inc., and Watson Laboratories, Inc. to Plaintiffs’ Third
Set of Interrogatories, Response to Interrogatory No. 32 (at p. 11) and Appendix A thereto (listing bates numbers for
DEA reports). Many of the DEA reports identified in Appendix A appear to be duplicates.
903
           McGinn Dep. p. 323:11-324:4; 341:5-13; 395:2-6; Tomkiewicz Dep. p. 216:15-219:18; 268:8-13; 320:4-12
                                                         1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 187 of 188. PageID #: 90326
                                                                 CONFIDENTIAL



           G.      Insys 904
    Based on the evidence I have reviewed in this case, Insys failed to maintain effective controls
to prevent diversion by failing to take reasonable steps to prevent its products from being diverted.
This conclusion is based on the following facts, as established by the evidence in this case and as
elaborated on in more detail throughout this section:
       1. From the launch of Subsys in 2012, the majority of Insys’ sales were to wholesale
          pharmaceutical distributors, which would sell Subsys to pharmacies, hospitals and other
          customers. In 2012, three wholesale pharmaceutical distributors, Cardinal Health, Inc.,
          McKesson Corporation and AmerisourceBergen Corporation, comprised approximately
                of the total gross sales of Subsys. These wholesalers comprised a significant portion
          of the distribution network. 905

       2. According to Insys, these distributors implemented SOM programs that addressed what
          had been set forth by the DEA. Distributors did not provide any SOPs of their programs
          but told Insys that they: review the size of the store and its product mix; review schedule
          II controlled substances (CII) vs. traditional drug dispensed; review the size patterns around
          CII medications; timing of CII orders; location of the facility, as well as some geographic
          areas that are ‘hot spots’ for diversion. Insys conducted no independent investigation
          regarding the distributors’ SOM programs at all. In spite of all this, distributors were
          allowed increases in Subsys if a specific reason for the requested increase was
          communicated. 906

          Insys never incorporated any of the relevant transactional sales data that could assist in
          disclosing diversion into its real-time SOM system, including, IQVIA, chargeback data,
          sales representatives’ tips, or even the Integrichain data that its Sales Operations team was
          using in order to sell its opioid products and track stocking at the pharmacy level. In spite
          of this, I am informed that Insys used this information to spot high prescribers and to ensure
          that wholesalers were stocking targeted pharmacies with Subsys, and that Insys was also
          buying third party data from Integrichain.
       3. Insys had a Trade and Distribution department tasked with ensuring the availability of Insys
          products while also maintaining effective controls to prevent diversion. 907 I am informed
          that Dion Reimer is the former Insys employee, is the person most knowledgeable with

904
       Multiple depositions of Insys witnesses have been stayed pending a criminal trial in the District of
Massachusetts. I reserve the right to supplement these opinions as any new information become available.
905
      INSYS-MDL-007657600
906
      Id. at FN1
907
      INSYS-MDL-001668983
                                                    1
Case: 1:17-md-02804-DAP Doc #: 1914-5 Filed: 07/19/19 188 of 188. PageID #: 90327
                                                                 CONFIDENTIAL



           respect to the SOMs policies at Insys. However, Mr. Reimer’s deposition has been stayed
           until after the criminal trial by the DOJ in the District of Massachusetts because Mr. Reimer
           is on the DOJ’s witness list.

       4. Nevertheless, deposition testimony by current Insys employees has confirmed that Insys
          failed to implement any SOM system or maintain any SOM protocols until 2018. 908

       5. This failure to conduct any sort of SOM process continued despite the fact that Insys was
          conscious that it habitually lost track of inventory in its downstream customers like Linden
          Care. 909 For other wholesalers where they did not receive inventory level reports, Insys
          estimated the levels. Significant differences between actual and estimated inventory levels
          often resulted. Many times, distributor purchases exceeded customer demand, a situation
          that creates a risk of diversion.

In my expert opinion, Insys failed to conduct any SOM process, even failing to track for orders of
unusual size. The lack of any SOM program did not satisfy DEA requirements to detect and
investigate suspicious orders. Insys failed to maintain effective controls to prevent diversion.

       I reserve the right to amend or supplement my opinions in this matter considering any
new or additional information.




                                                                        James E. Rafalski

                                                                        Date: April 15, 2019




908
      See Deposition of James Doroz at 53; 118; 251. See also Thomas Udicious Tr. at 19; 44.
909
      See James Doroz Tr. at 221.
                                                          1
